Case 24-12752-MFW    Doc 7-2   Filed 12/06/24   Page 1 of 190




                         Exhibit B

                    Proposed Sale Order
                 Case 24-12752-MFW             Doc 7-2      Filed 12/06/24         Page 2 of 190




                          THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              Chapter 11
    In re:

    Yield10 Bioscience, Inc., et al.,                         Case No. 24-12752

                                     Debtors. 1               (Joint Administration Requested)



          ORDER (A) AUTHORIZING THE SALE OF SUBSTANTIALLY ALL
         OF THE DEBTORS' ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
          ENCUMBRANCES, AND OTHER INTERESTS, (B) GRANTING THE
         PURCHASER THE PROTECTIONS AFFORDED TO A GOOD FAITH
                PURCHASER, (C) APPROVING THE ASSUMPTION
    AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
       LEASES RELATED THERETO, AND (D) GRANTING RELATED RELIEF

             Upon consideration of the motion (the “Motion”) of the above-captioned debtors and

debtors-in-possession (the "Debtors") in their Chapter 11 cases (the “Chapter 11 Cases”),

pursuant to sections 105(a), 363, and 365 of title 11 of the United States Code, 11 U.S.C. § 101

et seq. (the “Bankruptcy Code”), rules 2002, 6004, 6006, and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2002-1, 6004-1 and 9006-1 of the

Local Rules for the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”) for entry of an order (this “Sale Order”), (i) approving that certain asset purchase

agreement, dated as of December [], 2024 by and among NUSEED NUTRITIONAL US INC

(“Nuseed” or “Buyer”) YEILD10 BIOSCIENCE, INC. AND YIELD10 OILSEEDS INC.

(“Y10” or “Seller” or “Pre-Petition Debtors”) (including all exhibits, annexes and schedules



1
  The last four digits of the taxpayer identification numbers of the Debtors follow in parentheses: (i) Yield10
Bioscience, Inc. (x8289), (ii) Yield10 Bioscience Securities Corp. (x7435), and (iii) Yield10 Oilseeds Inc. (Canadian
Business No. x9469). The Debtors’ mailing address is 19 Presidential Way, Suite 201, Woburn, MA 01801.




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321659720.1
               Case 24-12752-MFW        Doc 7-2       Filed 12/06/24   Page 3 of 190




related thereto, and as the same may be amended from time to time in accordance with the terms

thereof, the “Purchase Agreement”), a copy of which is attached hereto as Exhibit 1, (ii)

authorizing and approving the Debtors’ private sale of substantially all of their assets

(collectively, the “Acquired Assets”) to Buyer or to any affiliate thereof designated in

accordance with the Purchase Agreement as a “good faith” purchaser pursuant to 11 U.S.C §

363(m) (the “Sale”) free and clear of all liens, encumbrances, and other interests (collectively,

the “Encumbrances”), except and only to the extent Buyer has expressly assumed a liability as

set forth in the Purchase Agreement (the “Sale”); (iii) authorizing and approving the assumption

and assignment of the executory contracts and leases which Buyer has expressly agreed to assume

as set forth in the Purchase Agreement (the “Assumed Contracts”); and (iv) granting related

relief. This Sale Order is entered in connection with the order entered by the United States

Bankruptcy Court for the District of Delaware (the “Court”) on December [], 2024 (the “Sale

Notice Order”) (i) approving the form and manner of notice of the private Sale to Buyer, (ii)

approving procedures for the assumption and assignment of the Assumed Contracts (the

counterparties thereto, the "Contract Counterparties"); (iii) approving the form of notice to

Contract Counterparties in connection with the Debtors’ proposed amounts necessary to cure any

pre-petition defaults in connection with Assumed Contracts (“Cure Notice”); (iv) approving

procedures for resolving prior to the Sale any objections to the amounts set forth in the Cure Notice

asserted by Contract Counterparties; and (v) granting related relief, all as more fully set forth in

the Motion; and the Court. having held a hearing on January [], 2025 (the "Sale Hearing") to

approve the Sale; and the Court having reviewed and considered (a) the Motion, (b) the

declarations filed in support of the Motion, (c) the objections to the Motion, (d) all responses to

any objections and replies in further support of the Motion, and (e) the arguments of counsel made,


{00040356. }                                      2
321659720.1
               Case 24-12752-MFW              Doc 7-2        Filed 12/06/24       Page 4 of 190




and the evidence proffered or adduced at the Sale Hearing; and it appearing that the relief requested

in the Motion is in the best interests of the Debtors, their estates and creditors, and other parties in

interest; and upon the record of the Sale Hearing and the Chapter 11 Cases; and after due

deliberation thereon; and good cause appearing therefore, it is hereby FOUND AND

DETERMINED THAT: 2

                         Jurisdiction, Final Order and Statutory Predicates

         A.      The Court has jurisdiction to consider the Motion and the relief requested therein

under 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012. The Motion is a core

proceeding under 28 U.S.C. § 157(b). The Court may enter a final order with respect to the Motion,

the Sale, the transactions contemplated thereby, and all related relief, in each case, consistent with

Article III of the United States Constitution. Venue is proper in the Court under 28 U.S.C. §§ 1408

and 1409.

         B.      The statutory bases for the relief requested in the Motion are sections 105(a), 363

and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9007 and 9014, and Local

Rules 2002-1, 6004-1, and 9006-1.

         C.      This Sale Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).

Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent necessary under

Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure, as made applicable

by Bankruptcy Rule 7054, the Court expressly finds that there is no just reason for delay in the




2
 All findings of fact and conclusions of law announced by the Court at the Sale Hearing in relation to the Motion
are hereby incorporated herein to the extent not inconsistent herewith.


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321659720.1
               Case 24-12752-MFW         Doc 7-2       Filed 12/06/24   Page 5 of 190




implementation of this Sale Order, and, thus, waives any stay and expressly directs that this Sale

Order be effective immediately upon entry.

                              Notice of Sale and the Cure Amounts

         D.     Actual written notice of the Motion, the assumption and assignment of the Assumed

Contracts, the Sale Hearing, the Sale of the Purchased Assets, and a reasonable opportunity to

object or be heard with respect to the Motion and the relief requested therein, has been afforded to

all known interested Persons, including, but not limited to the following parties: (i) the Office of

the United States Trustee for the District of Delaware, (ii) counsel to the Official Committee of

Unsecured Creditors (the “Committee”), (iii) counsel to the Buyer, (iv) all Contract

Counterparties and any other non-debtor parties to relevant contracts or leases (executory or

otherwise), (v) all parties who are known or reasonably believed, after reasonable inquiry, to have

asserted any lien, encumbrance, claim, or other interest in the Purchased Assets, (vi) the Internal

Revenue Service, (vii) all applicable state and local taxing authorities, (viii) all parties that have

requested or that are required to receive notice pursuant to Bankruptcy Rule 2002; (ix) all parties

set forth in the Debtors’ Master Service List maintained in these Chapter 11 Cases (collectively,

the “Notice Parties”).

         E.     In accordance with the provisions of the Sale Notice Order, the Debtors have served

notice upon the Contract Counterparties: (i) that the Debtors seek to assume and assign to the

Buyer the Assumed Contracts upon the Closing (as defined in the Purchase Agreement) of the

Sale; and (ii) of the relevant Cure Amounts (as defined below). The service of such notice was

good, proper, timely, adequate, sufficient, and appropriate under the circumstances, and no further

notice need be given in respect of establishing a Cure Amount for the Assumed Contracts. Each




{00040356. }                                       4
321659720.1
               Case 24-12752-MFW        Doc 7-2       Filed 12/06/24   Page 6 of 190




of the Contract Counterparties has had an opportunity to object to the Cure Amounts set forth in

the notice and to the assumption and assignment to the Buyer of the applicable Assumed Contract.

         F.     As evidenced by the certificates of service previously filed with the Court, and

based on the representations of counsel at the Sale Hearing, due, good, proper, timely, adequate,

sufficient, and appropriate notice of the Motion, the Sale, the Sale Hearing, and the transactions

contemplated thereby, including without limitation, the assumption and assignment of the

Assumed Contracts to the Buyer, was provided in accordance with the orders previously entered

by the Court, sections 102(1), 105(a), 363, and 365 of the Bankruptcy Code, and Bankruptcy Rules

2002, 6004, 6006, 9007, 9008 and 9014. The notices described herein were good, proper, timely,

adequate, sufficient, and appropriate under the circumstances, and reasonably calculated to provide

the Notice Parties and all other interested parties with timely and proper notice under the

circumstances of these Chapter 11 Cases and no other or further notice of the Motion, the Sale, the

Auction, the Sale Hearing, the Closing, the assumption and assignment of the Assumed Contracts

to the Buyer or with respect to the matters described herein is, or shall be, required. A reasonable

opportunity to object and be heard with respect to the Sale, the Motion, and the relief requested

therein, including but not limited to the assumption and assignment of the Assumed Contracts and

the Cure Amounts, has been afforded to all interested parties, including the Notice Parties.

         G.     The disclosures made by the Debtors and the Buyer concerning the Sale, the pre-

petition marketing efforts regarding the Purchased Assets, the Purchase Agreement, the Motion,

the Sale Hearing, and the assumption and assignment of the Assumed Contracts to the Buyer were

good, proper, timely, adequate, sufficient, and appropriate.

         H.     A reasonable opportunity to object and be heard with respect to the Sale, the

Motion, and the relief requested therein, including but not limited to the assumption and



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321659720.1
               Case 24-12752-MFW          Doc 7-2       Filed 12/06/24    Page 7 of 190




assignment of the Assumed Contracts and the Cure Amounts, has been afforded to all interested

parties, including the Notice Parties.

                                      Pre-Petition Marketing Efforts

         I.     Based upon evidence presented at the hearing after which the Court entered the Sale

Notice Order, the Declaration(s), and evidence presented at the Sale Hearing, Yield10 was

reincorporated in Delaware in 2017 with a new goal of developing and commercializing (i)

Camelina sativa seed oil that has been genetically engineered to enable production of high levels

of certain types of omega-3 fatty acids and (ii) Camelina sativa seed oil for use as a low-carbon

intensity feedstock oil for biofuels. Since that time, however, the Debtors faced financial and

market challenges that ultimately prevented the Debtors from achieving their operational goal as

a revenue generating business. As a result, the Debtors retained experienced restructuring and other

advisors to facilitate their review, analysis, and development of potential alternatives. The Debtors

had outreach to multiple potential partners and potential acquirers, including players along the

oilseed value chain: seed companies, grain processing companies, biofuel producers and multiple

players in the omega-3 nutrition business. No party came forward with a formal expression of

interest in the acquisition of either Yield10 or its assets. There were indications of potential interest

but when pressed for a formal offer no party except Nuseed was willing to and did move forward.

         J.     The Debtors and Nuseed entered into the Original Agreement (defined in the

Motion) on ______, 2024. Because Yield10 is a public company the Original Agreement was

subject to approval by a majority of Yield10’s common shareholders. To finance operations

pending stockholder approval, the Debtors borrowed $3 million from Nuseed pursuant to a

Promissory Note. The $3 million was fully funded. Repayment of the Promissory Note was

secured by a security interest in and lien upon substantially all of the Debtors’ assets. The



{00040356. }                                        6
321659720.1
               Case 24-12752-MFW        Doc 7-2       Filed 12/06/24   Page 8 of 190




Promissory Note, as amended, was due and payable on December 2, 2024. The requisite

percentage of stockholder approval was not achieved.

         K.     After Yield10 failed to achieve the necessary stockholder approval to close the

Original Agreement, it was left it in a precarious financial position. The Debtors lacked sufficient

funds to pay the Promissory Note at maturity. That meant Nuseed could exercise its right to

foreclose on the Purchased Assets as of December 2, 2024. The Debtors also lacked sufficient cash

to pay rent going forward at their headquarters located in Woburn, Massachusetts where they

stored much of the Purchased Assets.

         L.     The Debtors and Nuseed engaged in good faith discussions to resolve their

respective business issues. Together, they achieved a consensual path forward that is both a value-

maximizing proposition for Yield10 and its residual stakeholders and allows Nuseed to acquire

the Purchased Assets without stockholder approval or much further delay. The Original Agreement

was revised and the need to secure stockholder approval was deleted as a condition to closing. The

revised APA instead requires a private bankruptcy sales process to be completed within 35 days

of the Petition Date; i.e., January 10, 2025, and the certainty of protections contained in a Sale

Order approved by this Court.


         M.     A private sale is appropriate under these circumstances and the proposed timeline

is reasonable. After considering the evidence presented at the Sale Hearing, the Court is persuaded

that there is no viable, value-maximizing transaction for the Debtors other than the private sale to

Nuseed. While there was no cash available to run an active post-petition marketing process for the

Purchased Assets, the private Sale Hearing was noticed, to among others, parties that previously

expressed interest in the assets. No competing offer emerged and given the unique nature of the




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321659720.1
               Case 24-12752-MFW        Doc 7-2       Filed 12/06/24   Page 9 of 190




Purchased Assets, there is a limited number of potential purchasers and no other party has made a

proposal to purchase the assets other than Nuseed.

         N.     [Hold for other factual findings deemed necessary or proper by the Court to support

entry of this Sale Order]



                                     Good Faith of the Buyer

         O.     The Debtors and Buyer have proffered or otherwise adduced evidence that (i) they

proposed, negotiated, and entered into the Purchase Agreement without collusion, in good faith,

and from arm’s length bargaining positions both prepetition and up to and immediately prior to

the Closing, (ii) immediately prior to the Closing, neither the Buyer nor any of the Buyer Parties

(as defined below) was an “insider” or “affiliate” of any Debtor (each as defined under sections

101(2) and 101(31) of the Bankruptcy Code), (iii) the Buyer and the Buyer Parties proceeded in

good faith in connection with all aspects of the Sale, including, but not limited to: (a) recognizing

that the Debtors were free to deal with any other party interested in acquiring the Purchased Assets

pursuant to and in accordance with the Sale Notice Order; (b) neither inducing nor causing the

filing of the Chapter 11 Cases; (c) disclosing all payments to be made, and all other material

agreements or arrangements entered into, by the Buyer in connection with the Sale; and (d) having

no common identity of directors or controlling stockholders between the Buyer, on the one hand,

and the Debtors, on the other hand, and (iv) no admissible evidence having been proffered or

adduced that contradicts clauses (i) through (iii) of this paragraph. The Buyer is therefore

purchasing the Purchased Assets in good faith and is a good faith Buyer within the meaning of

section 363(m) of the Bankruptcy Code. As such, the Buyer is entitled to all of the rights, benefits,




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321659720.1
               Case 24-12752-MFW        Doc 7-2       Filed 12/06/24   Page 10 of 190




privileges and protections afforded under section 363(m) of the Bankruptcy Code, and under any

other applicable or similar bankruptcy and nonbankruptcy law.

         P.      Further, neither the Debtors nor the Buyer has engaged in any conduct that would

cause or permit the Purchase Agreement or the consummation of the Sale to be avoided, or costs

or damages to be imposed under section 363(n) of the Bankruptcy Code, and accordingly neither

the Debtors nor the Buyer has violated section 363(n) of the Bankruptcy by any action or inaction.

Specifically, the Buyer has not acted in a collusive manner with any Person and the Purchase Price

paid by the Buyer for the Purchased Assets was not controlled by any agreement among any of the

interested or potentially interested parties, all of whom acted in good faith, at arm’s length, and in

a noncollusive manner. The transactions under the Purchase Agreement may not be avoided, and

no damages may be assessed against the Buyer or any Buyer Party (defined below) under section

363(n) of the Bankruptcy Code or any other applicable bankruptcy or non-bankruptcy law.

                                      Highest and Best Offer

         Q.      As set forth in the Sale Notice Order, the private sale contemplated thereunder is a

reasonable and appropriate method for maximizing the value of the Purchased Assets and

represents the best available method for conducting the Sale process in a manner that maximizes

value for the benefit of the Debtors’ estates. The Debtors conducted a marketing and sale process

with respect to the Purchased Assets pre-petition as described in the Motion, through testimony at

the Sale Hearing and in Declarations filed with Court in accordance with, and have otherwise

complied in all respects with the Sale Notice Order. The marketing and Sale process that proceeded

the Chapter 11 filing as described in the Sale Notice Order and the ensuing 35 day period during

which higher and better offers could have been presented by third parties afforded a full, fair, and

reasonable opportunity for any Person to make a higher or otherwise better offer to purchase the



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321659720.1
               Case 24-12752-MFW        Doc 7-2         Filed 12/06/24   Page 11 of 190




Purchased Assets. The Sale was duly noticed and conducted in a non-collusive, fair, and good faith

manner, and a reasonable opportunity has been given to any interested party to make a higher or

otherwise better offer for the Purchased Assets.

         R.      The Purchase Agreement constitutes the highest and best offer for the Purchased

Assets and will provide a greater recovery for the Debtors’ estates than would be provided by any

other available alternative in these Chapter 11 Cases and would be better than if such cases were

converted to cases under Chapter 7 of the Bankruptcy Code. The Debtors’ determination that the

Purchase Agreement maximizes value for the benefit of the Debtors’ estates and constitutes the

highest and best offer for the Purchased Assets constitutes a valid and sound exercise of the

Debtors’ business judgment and is in accordance and compliance with the Sale Notice Order.

         S.      The Purchase Agreement represents fair and reasonable terms for the purchase of

the Purchased Assets. No other Person or group of Persons has offered to purchase the Purchased

Assets for greater overall value to the Debtors’ estates than the Buyer.

         T.      Approval of the Motion and the Purchase Agreement and the consummation of the

transactions contemplated thereby will maximize the value of each Debtors’ estates, are in the best

interests of the Debtors, these Chapter 11 Cases, their creditors, and other parties-in-interest.

                 No Merger; The Buyer Not an Insider; No Successor Liability

         U.      Neither the Buyer nor any of the Buyer Parties is a successor to or a mere

continuation or substantial continuation of the Debtors or the Debtors’ estates, and there is no

continuity of enterprise or common identity between the Buyer (or any of the Buyer Parties) and

the Debtors. None of the Buyer or the Buyer Parties is holding itself out to the public as a successor

to or a continuation of the Debtors or the Debtors’ estates. Each of the Buyer and Buyer Parties is

not, and shall not be, considered a successor in interest to any of the Debtors or the Debtors’ estates



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321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 12 of 190




by reason of any theory of law or equity, and the Sale does not amount to a consolidation,

succession, mere continuation of, combination of, merger, or de facto merger of the Buyer and the

Debtors.

         V.      As set forth above, immediately prior to the Closing, neither the Buyer nor any of

the Buyer Parties was an “insider” or “affiliate” (as those terms are defined in the Bankruptcy

Code) of the Debtors, and no common identity of incorporators, directors, or controlling

stockholders existed between the Debtors on the one hand and the Buyer or the Buyer Parties on

the other hand. The transfer of the Purchased Assets to the Buyer, and the assumption of the

Assumed Liabilities, except as otherwise explicitly set forth in the Purchase Agreement, does not,

and will not, subject the Buyer or the Buyer Parties to any liability whatsoever, with respect to the

Debtors or the operation of the Debtors’ businesses prior to the Closing (as modified by the

Purchase Agreement) or by reason of such transfer, including under the laws of any foreign,

federal, state, or local revenue, pension, tax, antitrust, environmental, labor or employment or

benefits law, including without limitation, any WARN Act, the Consolidated Omnibus Budget

Reconciliation Act (COBRA), or Employee Retirement Income Security Act (ERISA), under the

basis of de facto merger, business continuation, substantial continuity, successor, vicarious, alter

ego, derivative, or transferee liability, fraudulent transfer or avoidance, veil piercing, escheat,

continuity of enterprise, mere continuation, product line, or other law, rule, regulation (including

filing requirements under any such laws, rules, or regulations), or under any products liability law

or doctrine with respect to the Debtors’ liability under such law, rule, or regulation or doctrine,

whether now known or unknown, now existing or hereafter arising, whether fixed or contingent,

whether asserted or unasserted, whether legal or equitable, whether matured or unmatured, whether

contingent or noncontingent, whether liquidated or unliquidated, whether arising prior to or



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321659720.1
               Case 24-12752-MFW         Doc 7-2        Filed 12/06/24   Page 13 of 190




subsequent to the Petition Date, whether imposed by agreement, understanding, law, equity, or

otherwise, including, but not limited to, liabilities on account of warranties, intercompany loans,

and receivables among the Debtors, and any taxes, arising, accruing, or payable under, out of, in

connection with, or in any way relating to the cancellation of debt of the Debtors or their respective

affiliates, or in any way relating to the operation of any of the Purchased Assets prior to the Closing

(Paragraphs O and P collectively, the “Successor or Other Liabilities”). Pursuant to the Purchase

Agreement, the Buyer is not purchasing all of the Debtors’ assets in that the Buyer is only

purchasing the Purchased Assets identified in the Purchase Agreement, is not purchasing any of

the Excluded Assets or assuming the Excluded Liabilities and shall have no liability for the

Excluded Liabilities.

                                         Validity of Transfer

         W.      The transfer of the Purchased Assets to the Buyer will be a legal, valid, enforceable,

and effective sale and transfer of the Purchased Assets and will vest the Buyer with all legal,

equitable, and beneficial right, title, and interest of the Debtors to the Purchased Assets free and

clear of all Claims and Interests (as defined below) (other than Assumed Liabilities) of any kind

or nature whatsoever, including without limitation, rights or claims that are Successor or Other

Liabilities, or that are based on any Successor or Other Liabilities.

         X.      The Purchase Agreement is a valid and binding contract between the Debtors and

the Buyer and shall be enforceable pursuant to its terms. The Purchase Agreement, the Sale, and

the consummation thereof shall be specifically enforceable against and binding upon (without

posting any bond) the Debtors and any chapter 7 trustee or chapter 11 trustee appointed in these

Chapter 11 Cases and shall not be subject to rejection or avoidance by the foregoing parties or any

other Person. The Purchase Agreement was not entered into for the purpose of hindering, delaying,



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321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 14 of 190




or defrauding creditors under the Bankruptcy Code or under the laws of the United States, any

state, territory, possession, or the District of Columbia, or foreign jurisdiction. The consideration

provided by the Buyer for the Purchased Assets pursuant to the Purchase Agreement (i) is fair and

reasonable, (ii) is the highest and best offer for the Purchased Assets, (iii) will provide a greater

recovery for the Debtors’ creditors than would be provided by any other available alternative, and

(iv) constitutes reasonably equivalent value and fair consideration under the Bankruptcy Code and

under the laws of the United States, any state, territory, possession, or the District of Columbia,

and any foreign jurisdiction (including the Uniform Fraudulent Conveyance Act, the Uniform

Fraudulent Transfer Act, and similar laws and acts). Neither the Debtors nor the Buyer is entering

into the transactions contemplated by the Purchase Agreement fraudulently for the purpose of

statutory and common-law fraudulent conveyance and fraudulent transfer claims.

         Y.      The Debtors have, to the extent necessary and applicable, (i) full corporate power

and authority to execute and deliver the Purchase Agreement and all other documents

contemplated thereby, (ii) all corporate authority necessary to consummate the transactions

contemplated by the Purchase Agreement, and (iii) taken all corporate action necessary to

authorize and approve the Purchase Agreement and the consummation of the transactions

contemplated thereby. The Sale has been duly and validly authorized by all necessary corporate

action. No consents or approvals, other than those expressly provided for in the Purchase

Agreement, are required for the Debtors to consummate the Sale, execute the Purchase Agreement,

or consummate the transactions contemplated thereby.

                            Free and Clear of All Claims and Interests

         Z.      The Debtors are the sole and lawful owners of the Purchased Assets, and no other

Person has any ownership right, title, or interests therein. The Purchased Assets constitute property



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321659720.1
               Case 24-12752-MFW          Doc 7-2        Filed 12/06/24     Page 15 of 190




of the Debtors’ estates and good title thereto is vested in the Debtors’ estates within the meaning

of section 541(a) of the Bankruptcy Code. The Debtors have (except to the extent otherwise

provided in the Purchase Agreement) all right, title, and interest in the Purchased Assets. The

transfer of the Purchased Assets to the Buyer will be, as of the Closing, a legal, valid, and effective

transfer of the Purchased Assets, which transfer vests or will vest the Buyer with all right, title,

and interest of the Debtors to the Purchased Assets free and clear of any and all (i) liens (including

any liens as that term is defined in section 101(37) of the Bankruptcy Code) and encumbrances

relating to, accruing, or arising any time prior to the Closing (collectively, the “Liens”), and (ii)

all debts (as that term is defined in section 101(12) of the Bankruptcy Code) arising under, relating

to, or in connection with any act of the Debtors or claims (as that term is defined in section 101(5)

of the Bankruptcy Code), liabilities, obligations, demands, guaranties, options in favor of third

parties, rights, contractual commitments, restrictions, interests, mortgages, hypothecations,

charges, indentures, loan agreements, instruments, collective bargaining agreements, leases,

licenses, deeds of trust, security interests or similar interests, conditional sale or other title retention

agreements and other similar impositions, imperfections or restrictions on transfer or use, pledges,

judgments, claims for reimbursement, contribution, indemnity, exoneration, infringement,

products liability, alter ego liability, suits, defenses, credits, allowances, options, limitations,

action, causes of action, choses in action, rights of first refusal or first offer, rebate, chargeback,

credit, or return, proxy, voting trust or agreement or transfer restriction under any shareholder or

similar agreement or encumbrance, and matters of any kind and nature, whether arising prior to or

subsequent to the commencement of the Chapter 11 Cases, whether known or unknown, legal or

equitable, matured or unmatured, contingent or noncontingent, liquidated or unliquidated, asserted

or unasserted, and whether imposed by agreement, understanding, law, equity or otherwise



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321659720.1
               Case 24-12752-MFW         Doc 7-2        Filed 12/06/24   Page 16 of 190




(including, without limitation, rights with respect to Claims (as defined below) and Liens (x) that

purport to give to any party a right or option to effect a setoff against, or a right or option to effect

any forfeiture, modification, profit sharing interest, right of first refusal, purchase, or repurchase

right or option, or termination of, any of the Debtors’ or the Buyer’s interests in the Purchased

Assets, or any similar rights, if any, or (y) in respect of taxes, restrictions, rights of first refusal,

charges or interests of any kind or nature, if any, including, without limitation, any restriction of

use, voting, transfer, receipt of income, or other exercise of any attributes of ownership) (the items

in this clause (ii), collectively, the “Claims”, and together with the Liens and other interests of any

kind or nature whatsoever, the “Claims and Interests”), relating to, accruing, or arising any time

prior to entry of this Sale Order), with the exception of any such Claims and Interests that are

expressly assumed by the Buyer as Assumed Liabilities solely to the extent set forth in the Purchase

Agreement, including, for the avoidance of any doubt, Cure Amounts or any other obligations

arising under the Assumed Contracts solely to the extent identified and/or set forth in the Purchase

Agreement. For the avoidance of doubt, the Buyer shall obtain the Purchased Assets free and clear

of any pre-petition or post-petition Claim for royalties or any other payments or obligations of any

kind whatsoever, unless such Claim is expressly assumed by the Buyer as Assumed Liabilities, or

Cure Amounts arising under the Assumed Contracts.

         AA.     The appointment of a consumer privacy ombudsman pursuant to section 363(b)(1)

or section 332 of the Bankruptcy Code is not required with respect to the relief requested in the

Motion.

                                     Section 363(f) Is Satisfied




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321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 17 of 190




         BB.     The conditions of section 363(f) of the Bankruptcy Code have been satisfied in full;

therefore, the Debtors may sell the Purchased Assets free and clear of any Claims and Interests in

the Purchased Assets (other than the Assumed Liabilities).

         CC.     The Buyer would not have entered into the Purchase Agreement and would not

consummate the transactions contemplated thereby if the Sale of the Purchased Assets to the

Buyer, and the assumption and assignment of the Assumed Contracts to the Buyer, were not free

and clear of all Claims and Interests of any kind or nature whatsoever (except the Assumed

Liabilities), or if the Buyer would, or in the future could, be liable for any of such Claims and

Interests (except the Assumed Liabilities), including, without limitation any pre-petition or post-

petition Claim for royalties or any other payments or obligations of any kind whatsoever arising

under contracts that are not Assumed Contracts. The Buyer will not consummate the transactions

contemplated by the Purchase Agreement unless the Court expressly orders that none of the Buyer,

its affiliates, its past, present and future members, shareholders, subsidiaries, parents, divisions,

agents, representatives, insurers, attorneys, successors and assigns, or any of its or their respective

directors, managers, officers, employees, agents, representatives, attorneys, contractors,

subcontractors, independent contractors, owners, insurance companies, or partners (each a “Buyer

Party”, and collectively, the “Buyer Parties”), or the Purchased Assets, will have any liability

whatsoever with respect to, or be required to satisfy in any manner, whether at law or in equity, or

by payment, setoff, recoupment, or otherwise, directly or indirectly, any Claims and Interests

(other than Assumed Liabilities), including rights or claims based on any Successor or Other

Liabilities. The total consideration to be provided under the Purchase Agreement reflects the

Buyer’s reliance on this Sale Order to provide it, pursuant to sections 105(a) and 363 of the

Bankruptcy Code, with title to and possession of the Purchased Assets free and clear of all Claims



{00040356. }                                      16
321659720.1
                 Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 18 of 190




and Interests (other than Assumed Liabilities) of any kind or nature whatsoever (including, without

limitation, free and clear of any potential Successor or Other Liabilities of any kind whatsoever

including potential Successor or Other Liabilities in connection with any pre-petition or post-

petition Claim for royalties or any other payments or obligations arising under contracts that are

not Assumed Contracts).

           DD.     Not transferring the Purchased Assets free and clear of all Claims and Interests

(other than Assumed Liabilities) of any kind or nature whatsoever, including rights or claims based

on any Successor or Other Liabilities and/or applicable state, federal, or foreign law or otherwise,

would adversely impact the Debtors’ efforts to maximize the value of their estates, and the transfer

of the Purchased Assets other than pursuant to a transfer that is free and clear of all Claims and

Interests (other than Assumed Liabilities) of any kind or nature whatsoever (including any

potential Successor or Other Liabilities) would be of substantially less benefit to the Debtors’

estates.

           EE.     The Debtors may sell the Purchased Assets free and clear of all Claims and Interests

against the Debtors, their estates, or any of the Purchased Assets (except the Assumed Liabilities)

because, in each case, one or more of the standards set forth in sections 363(f)(1)-(5) of the

Bankruptcy Code has been satisfied. Those holders of Claims and Interests against the Debtors,

their estates, or any of the Purchased Assets, who did not timely object, or who withdrew their

objections to, the Sale or the Motion are deemed to have consented thereto pursuant to section

363(f)(2) of the Bankruptcy Code. All other holders of Claims and Interests (except to the extent

that such Claims and Interests are Assumed Liabilities) fall within one or more of the other

subsections of section 363(f) of the Bankruptcy Code. All holders of Claims and Interests are

adequately protected by having their Claims and Interests, if any, in each instance against the



{00040356. }                                        17
321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 19 of 190




Debtors, their estates, or any of the Purchased Assets attach to the net cash proceeds of the Sale

ultimately attributable to the Purchased Assets in which such holder alleges a Claim and Interest,

in the same order of priority, with the same validity, force, and effect that such Claim and Interest

had prior to the Sale, subject to any claims and defenses the Debtors and their estates may possess

thereto.

                     Assumption and Assignment of the Assumed Contracts

         FF.     The assumption and assignment of the Assumed Contracts pursuant to the terms of

this Sale Order, the Sale Notice Order, and the Purchase Agreement, is integral to the Purchase

Agreement and is in the best interests of the Debtors, their estates, their creditors, and all other

parties-in-interest, and represents the Debtors’ reasonable exercise of sound and prudent business

judgment. The assumption and assignment of the Assumed Contracts (i) is necessary to sell the

Purchased Assets to the Buyer, (ii) allows the Debtors to maximize the value of the Purchased

Assets, including the Assumed Contracts, (iii) limits the losses suffered by counterparties to the

Assumed Contracts, and (iv) maximizes the recoveries to other creditors of the Debtors by limiting

the amount of claims against the Debtors’ estates by avoiding the rejection of the Assumed

Contracts. For these reasons, the Debtors have exercised sound business judgment in assuming

and assigning the Assumed Contracts and such assumption and assignment is in the best interests

of the Debtors’ estates.

         GG.     Pursuant to section 365(f) of the Bankruptcy Code, each of the Assumed Contracts

required to be assumed and assigned under the Purchase Agreement shall be assigned and

transferred to and remain in full force and effect for the benefit of, the Buyer, notwithstanding any

provision in such contract or other restrictions prohibiting its assignment or transfer. No section of

any of the Assumed Contracts that would prohibit, restrict, or condition, whether directly or



{00040356. }                                      18
321659720.1
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24   Page 20 of 190




indirectly, the use, assumption, or assignment of any of the Assumed Contracts in connection with

the Sale shall have any force or effect.

         HH.     Except as expressly assumed by the Buyer under the Purchase Agreement, the

transfer of the Purchased Assets to the Buyer and the assignment to the Buyer of the Assumed

Contracts will not subject the Buyer or any Buyer Party to any liability whatsoever which may

become due or owing under the Assumed Contracts prior to the Closing (other than Cure Amounts

which shall be subject to a purchase price adjustment as set forth in the Purchase Agreement), or

by reason of such transfer under the laws of the United States, any state, territory, or possession

thereof, or the District of Columbia, or foreign jurisdiction, based, in whole or in part, directly or

indirectly, on any theory of law or equity, including any Successor or Other Liabilities.

         II.     The respective amounts set forth on Exhibit[●] annexed hereto are the sole

amounts necessary under sections 365(b)(1)(A) and (B) and 365(f)(2)(A) of the Bankruptcy Code

to cure all monetary defaults and pay all pecuniary losses under the Assumed Contracts, subject in

all respects to the terms and conditions of the Purchase Agreement including Section [] regarding

purchase price adjustments. (the “Cure Amounts”).

         JJ.     The Buyer has demonstrated adequate assurance of future performance with respect

to the Assumed Contracts pursuant to sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy

Code to the extent that any such assurance is required and not waived by the counterparties to the

respective Assumed Contracts.

                       Compelling Circumstances for an Immediate Sale

         KK.     The Debtors have demonstrated through the testimony and/or other evidence

proffered or adduced in connection with the Motion, at the hearing to consider approval of the Sale

Notice Order and at the Sale Hearing, and the arguments, statements and representations of counsel



{00040356. }                                         19
321659720.1
               Case 24-12752-MFW          Doc 7-2        Filed 12/06/24    Page 21 of 190




made on the record of the Sale Hearing good and sufficient reasons for approval of the Purchase

Agreement, the Sale and the transactions contemplated thereby. The relief requested in the Motion

is in the best interests of the Debtors, their estates, their creditors, and all other parties-in-interest.

The Debtors have demonstrated (i) good, sufficient, and sound business purposes and justifications

for approving the Purchase Agreement and (ii) compelling circumstances for the immediate

approval and consummation of the transactions contemplated by the Purchase Agreement for the

Sale, in that, among other things, the immediate consummation of the Sale to the Buyer is

necessary and appropriate to maximize the value of the Debtors’ estates, and the Sale will provide

the means for the Debtors to maximize distributions to their creditors. Accordingly, there is cause

to lift the stay contemplated by Bankruptcy Rules 6004 and 6006 with respect to the transactions

contemplated by this Sale Order.

         LL.     To maximize the value of the Purchased Assets and preserve the viability of the

businesses to which they relate, it is essential that the Sale occur within the time constraints set

forth in the Purchase Agreement. Time is of the essence in consummating the Sale.

         MM. Given all of the circumstances of the Chapter 11 Cases and the adequacy and fair

value of the Purchase Price under the Purchase Agreement, the proposed Sale constitutes a

reasonable and sound exercise of the Debtors’ business judgment and should be approved.

         NN.     The Sale does not constitute a sub rosa Chapter 11 plan for which approval has

been sought without the protections that a disclosure statement would afford. The Sale neither

impermissibly restructures the rights of the Debtors’ creditors nor impermissibly dictates a

liquidating Chapter 11 plan for the Debtors.

         OO.     The consummation of the Sale and the assumption and assignment of the Assumed

Contracts is legal, valid, and properly authorized under all applicable provisions of the Bankruptcy



{00040356. }                                        20
321659720.1
               Case 24-12752-MFW         Doc 7-2        Filed 12/06/24   Page 22 of 190




Code, including, without limitation, sections 105(a), 363(b), 363(f), 363(m), 365(b), and 365(f) of

the Bankruptcy Code, and all of the applicable requirements of such sections have been complied

with in respect of the Sale.

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

                                         General Provisions

         1.      The findings and conclusions set forth herein constitute the Court’s findings of fact

and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to these Chapter 11

Cases pursuant to Bankruptcy Rule 9014. To the extent that any of the findings of fact constitute

conclusions of law, they are adopted as such. To the extent any of the conclusions of law constitute

findings of fact, they are adopted as such.

         2.      The Motion and the relief requested in the Motion is granted and approved, and the

Sale and the transactions contemplated in the Motion and by the Purchase Agreement are

approved.

         3.      The Court’s findings of fact and conclusions of law set forth in the Sale Notice

Order remain in full force and effect.

         4.      All objections to, reservations of rights regarding, or other responses to the Motion

or the relief requested therein, the Purchase Agreement, the Sale, the entry of this Sale Order, or

the relief granted herein, including, without limitation, any objections to Cure Amounts or relating

to the cure of any defaults under any of the Assumed Contracts or to the assumption and

assignment of any such Assumed Contracts to the Buyer by the Debtors, that have not been

withdrawn, waived, or settled by announcement to the Court during the Sale Hearing or by

stipulation filed with the Court or otherwise been resolved pursuant to the terms thereof, including

any and all reservations of rights included in such objections or otherwise, are hereby denied and



{00040356. }                                       21
321659720.1
               Case 24-12752-MFW         Doc 7-2        Filed 12/06/24   Page 23 of 190




overruled on the merits with prejudice. Those parties who did not object or withdrew their

objections to the Motion or the entry of this Sale Order in accordance with the Sale Notice Order,

or who withdrew their objections thereto, are deemed to have consented to the relief granted herein

for all purposes, including without limitation, pursuant to section 363(f)(2) of the Bankruptcy

Code.

                              Approval of the Purchase Agreement

         5.      The Debtors are authorized to enter into the Purchase Agreement. Pursuant to

sections 105(a), 363(b) and (f), and 365 of the Bankruptcy Code, the Debtors are authorized and

empowered on behalf of themselves to take any and all actions necessary or appropriate to (i)

consummate the Sale pursuant to and in accordance with the terms and conditions of the Purchase

Agreement, (ii) close the Sale as contemplated in the Purchase Agreement and this Sale Order, and

(iii) execute and deliver, perform under, consummate, implement, and take any and all other acts

or actions as may be reasonably necessary or appropriate to the performance of their obligations

as contemplated by the Purchase Agreement, without further notice to or order from the Court,

including the assumption and assignment of the Assumed Contracts to the Buyer, together with all

additional instruments and documents that may be reasonably necessary or desirable to implement

the Purchase Agreement and the Sale.

         6.      This Sale Order shall be binding in all respects upon (a) the Debtors, (b) the

Debtors’ estates, (c) all creditors of, and holders of equity interests in, the Debtors, (d) all holders

of Liens, encumbrances, or other Claims and Interests (whether known or unknown) in, against,

or on all or any portion of the Purchased Assets, (e) all the Contract Counterparties, (f) the Buyer

and all successors and assigns of the Buyer, (g) the Purchased Assets, and (h) all successors and

assigns of each of the foregoing, including, without limitation, any trustee subsequently appointed



{00040356. }                                       22
321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 24 of 190




in the Chapter 11 Cases, or a chapter 7 trustee appointed upon a conversion of one or more of the

Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code. This Sale Order shall inure

to the benefit of the Debtors, their estates and creditors, the Buyer, and the respective successors

and assigns of each of the foregoing, including, without limitation, any trustee subsequently

appointed in the Chapter 11 Cases or upon conversion to chapter 7 under the Bankruptcy Code,

and any Person seeking to assert rights on behalf of any of the foregoing or that belong to the

Debtors’ estates. The Purchase Agreement shall be binding in all respects upon the Debtors.

                                 Transfer of the Purchased Assets

         7.      Pursuant to sections 105(a), 363(b), 363(f), 365(b), and 365(f) of the Bankruptcy

Code, the Debtors are authorized to transfer the Purchased Assets, including the Assumed

Contracts, to the Buyer at the Closing in accordance with the terms of the Purchase Agreement,

and such transfer shall (a) constitute a legal, valid, binding, and effective transfer of the Purchased

Assets, (b) vest the Buyer with title to and possession of the Purchased Assets, and (c) upon the

Debtors’ receipt of the Purchase Price, be free and clear of all Claims and Interests (other than

Assumed Liabilities) of any kind or nature whatsoever, including, without limitation, any potential

Successor or Other Liabilities, with such Claims and Interests to attach to the net cash proceeds of

the Sale ultimately attributable to the Purchased Assets in which such Claim and Interest is alleged

in the order of their priority, with the same validity, force, and effect which they now have as

against the Purchased Assets (subject to any rights, claims and defenses the Debtors or their estates

may possess with respect thereto). Upon the Closing, the Buyer shall take title to and possession

of the Purchased Assets subject only to the Assumed Liabilities.

         8.      Pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, the sale and transfer

of the Debtors’ right, title and interest in the Purchased Assets to the Buyer pursuant to the



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321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 25 of 190




Purchase Agreement is a legal, valid and effective disposition of the Purchased Assets, and vests

the Buyer with all right, title and interest of the Debtors to and in the Purchased Assets free and

clear of all Claims and Interests. The conditions of section 363(f) of the Bankruptcy Code have

been satisfied in full and the Debtors sale of the Purchased Assets shall be free and clear of any

Claims and Interests in the Purchased Assets (other than the Assumed Liabilities), including,

without limitation, any pre-petition or post-petition Claim for royalties or any other payments or

obligations of any kind whatsoever arising under contracts that are not Assumed Contracts.

         9.      To the extent provided for in the Purchase Agreement, any and all of the Debtors’

security deposits, or other security held by landlords, lessors and other counterparties to the

contracts, leases, and licenses that are to be assumed and assigned under the Purchase Agreement

are being transferred and assigned to, and shall be the property of, the Buyer from and after the

Closing (as modified by the Purchase Agreement), which transfer and assignment of security

deposits, other deposits, or security shall satisfy in full the requirements of section 365(l) of the

Bankruptcy Code for all contracts, leases, and licenses assumed and assigned pursuant to this Sale

Order or the Purchase Agreement.

         10.     The Debtors are hereby authorized on behalf of themselves to take any and all

actions necessary to consummate the transactions contemplated by the Purchase Agreement,

including any actions that otherwise would require further approval by shareholders, partners,

members, or their respective boards of directors or boards of managers, as the case may be, without

the need of obtaining such approvals.

         11.     Each and every federal, state, local, and other governmental agency or department

is hereby authorized to accept any and all documents and instruments necessary and appropriate

to consummate the transactions contemplated by the Purchase Agreement.



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321659720.1
               Case 24-12752-MFW         Doc 7-2        Filed 12/06/24   Page 26 of 190




         12.     The transactions authorized herein shall be of full force and effect, regardless of the

Debtors’ lack of good standing in any jurisdiction in which they are formed or authorized to

transact business. Upon Closing of the transactions set forth in the Purchase Agreement, the Buyer

shall be authorized to file termination statements or lien terminations in any required jurisdiction

to remove any record, notice filing, or financing statement recorded to attach, perfect, or otherwise

notice any Claims and Interests, with respect to the Purchased Assets, that is extinguished or

otherwise released pursuant to this Sale Order under section 363 and the related provisions of the

Bankruptcy Code.

         13.     Subject to the terms, conditions, and provisions of this Sale Order, all Persons are

hereby

forever prohibited and barred from taking any action that would adversely affect or interfere with

the ability of the Debtors to sell and transfer the Purchased Assets to the Buyer in accordance with

the terms of the Purchase Agreement and this Sale Order.

         14.     The Buyer may, but shall not be required to, file a certified copy of this Sale Order

in any filing or recording office in any federal, state, county, or other territory or jurisdiction in

which any of the Debtors are incorporated or have real or personal property, or with any other

appropriate clerk or recorded with any other appropriate recorder.

         15.     The provisions of this Sale Order authorizing the Sale of the Purchased Assets free

and clear of all Claims and Interests, other than Assumed Liabilities, shall be self-executing, and

neither the Debtors nor the Buyer shall be required to execute or file releases, termination

statements, assignments, consents, or other instruments in order to effectuate, consummate and

implement the provisions of this Sale Order. If any Person which has filed a financing statement,

mortgage, mechanic’s lien, lis pendens, or other statement, document, or agreement evidencing



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321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 27 of 190




any Claims and Interests on, or in, all or any portion of the Purchased Assets (other than statements

or documents with respect to Assumed Liabilities) shall not have delivered to the Debtors prior to

the Closing, in proper form for filing and executed by the appropriate parties, termination

statements, instruments of satisfaction, releases, and/or any other documents necessary for the

purpose of documenting the termination of all Claims and Interests which the Person has or may

assert with respect to all or any portion of the Purchased Assets, then (i) the Debtors are hereby

authorized to execute and file such statements, instruments, releases, and/or other similar

documents on behalf of such Person with respect to the Purchased Assets, (ii) the Buyer is hereby

authorized to file, register, or otherwise record a certified copy of this Sale Order that, once filed,

registered, or otherwise recorded, shall constitute conclusive evidence of the termination of all

Claims and Interests of any kind or nature against or in the Purchased Assets, and (iii) the Buyer

is authorized to seek in the Court, or any other court of appropriate jurisdiction, to compel the

appropriate parties to execute termination statements, instruments of satisfaction, releases, and/or

other similar documents with respect to all Claims and Interests that such Person has against or in

the Purchased Assets.

         16.     On the Closing, this Sale Order shall be construed and shall constitute for any and

all purposes a full and complete general assignment, conveyance, and transfer of the Debtors’

interests in the Purchased Assets. And with respect to the Purchased Assets, this Sale Order is and

shall be effective as a determination that, on the Closing, all Claims and Interests and any other

interest of any kind or nature whatsoever including, without limitation, any Successor or Other

Liabilities existing as to such Purchased Assets prior to the Closing, other than the Assumed

Liabilities, shall have been terminated, and that the conveyances described herein have been

effected; provided, however, that such Claims and Interests shall attach to the proceeds of the Sale



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321659720.1
               Case 24-12752-MFW       Doc 7-2        Filed 12/06/24   Page 28 of 190




in the order of their priority, with the same validity, force, and effect which they now have as

against the Purchased Assets.

         17.     To the greatest extent available under applicable law, the Buyer shall be

authorized, as of the Closing, to operate under any license, permit, registration, and governmental

authorization or approval of the Debtors with respect to the Purchased Assets and all such licenses,

permits, registrations, and governmental authorizations and approvals are deemed to have been,

and hereby are, deemed to be transferred to the Buyer as of the Closing.

         18.     To the extent section 525 of the Bankruptcy Code is applicable, no governmental

unit may deny, revoke or suspend, or refuse to renew any permit, license, or similar grant relating

to the operation of the Purchased Assets on account of the filing or pendency of the Chapter 11

Cases or the consummation of the transactions contemplated by the Purchase Agreement,

including the Sale and the assumption and assignment of the Assumed Contracts.

                                     No Successor Liability

         19.     Neither the Buyer nor any of the Buyer Parties is a “successor” to,

continuation of, or alter ego of, any of the Debtors or the Debtors’ estates by reason of any theory

of law or equity. Except for the Assumed Liabilities, the Buyer and the Buyer Parties shall not

have assumed, or be deemed to have assumed, or in any way be responsible for, any liability or

obligation of any of the Debtors, or the Debtors’ estates, or any of the Debtors’ predecessors or

affiliates with respect to the Purchased Assets or otherwise. Neither the purchase of the Purchased

Assets by the Buyer nor the fact that the Buyer is using any of the Purchased Assets previously

used or operated by the Debtors will cause the Buyer or any of the Buyer Parties to be deemed a

successor to, combination of, or alter ego of, in any respect, any of the Debtors or the Debtors’

businesses, or incur any liability derived therefrom within the meaning of any foreign, federal,



{00040356. }                                     27
321659720.1
               Case 24-12752-MFW         Doc 7-2        Filed 12/06/24   Page 29 of 190




state, or local revenue, pension, ERISA, tax, antitrust, environmental, labor law (including any

WARN Act), employment or benefits law, de facto merger, business continuation, substantial

continuity, successor, vicarious, alter ego, derivative, or transferee liability, fraudulent transfer or

avoidance, veil piercing, escheat, continuity of enterprise, mere continuation, product line, or other

law, rule, regulation (including filing requirements under any such laws, rules, or regulations), or

under any products liability law or doctrine with respect to the Debtors’ liability under such law,

rule, or regulation or doctrine, whether now known or unknown, now existing or hereafter arising,

whether fixed or contingent, whether asserted or unasserted, whether legal or equitable, whether

matured or unmatured, whether contingent or noncontingent, whether liquidated or unliquidated,

whether arising prior to or subsequent to the Petition Date, whether imposed by agreement,

understanding, law, equity, or otherwise, including, but not limited to, liabilities on account of

warranties, intercompany loans, and receivables among the Debtors, and any taxes, arising,

accruing, or payable under, out of, in connection with, or in any way relating to the cancellation

of debt of the Debtors or their respective affiliates, or in any way relating to the operation of any

of the Purchased Assets prior to the Closing.

                 Claims and Interests; Prohibition of Actions Against the Buyer

         20.     Except for the Assumed Liabilities, or as otherwise expressly provided for in this

Sale Order or the Purchase Agreement, neither the Buyer nor any of the Buyer Parties shall have

any liability, responsibility or obligation for any Claims and Interests of the Debtors or their

estates, including any claims, liabilities, or other obligations arising under or related to any of the

Purchased Assets which may become due or owing (a) prior to the Closing or (b) from and after

the Closing but which arise out of or relate to any act, omission, circumstances, breach, default, or

other event occurring prior to the Closing.



{00040356. }                                       28
321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 30 of 190




         21.     Except with respect to Assumed Liabilities, or as otherwise permitted by the

Purchase Agreement or this Sale Order, all Persons, including, but not limited to, all debt holders,

equity security holders, governmental, tax and regulatory authorities, lenders, trade creditors,

litigation claimants, Contract Counterparties, customers, landlords, licensors, employees, and

other creditors and holders of Claims and Interests of any kind or nature whatsoever against or in

any of the Debtors or any portion of the Purchased Assets (whether legal or equitable, secured or

unsecured, matured or unmatured, known or unknown, liquidated or unliquidated, senior or

subordinate, asserted or unasserted, whether arising prior to or subsequent to the Petition Date,

whether imposed by agreement, understanding, law, equity, or otherwise), arising under or out of,

in connection with, or in any way relating to, the Debtors, the Purchased Assets, the operation of

the Debtors’ business prior to the Closing, or the transfer of the Purchased Assets to the Buyer

(including without limitation any Successor or Other Liabilities or rights or claims based thereon

or based in any manner upon any pre-petition or post-petition Claim for royalties or any other

payments or obligations of any kind whatsoever arising under contracts that are not Assumed

Contracts) shall be, and hereby are forever barred and estopped from asserting against the Buyer

or any Buyer Party, or their respective assets or properties, including, without limitation, the

Purchased Assets, the Claims and Interests of any kind or nature whatsoever such Person had, has,

or may have against or in the Debtors, their estates, officers, directors, shareholders, or the

Purchased Assets, such Persons’ Claims and Interests or any other interests in and to the Purchased

Assets, including, without limitation, the following actions: (a) commencing or continuing in any

manner any action or other proceeding, the employment of process, or any act (whether in law or

equity, in any judicial, administrative, arbitral, or other proceeding) against the Buyer or any Buyer

Party, or their respective assets or properties, including, without limitation, the Purchased Assets;



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321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 31 of 190




(b) enforcing, attaching, collecting, or recovering in any manner any judgment, award, decree, or

order against the Buyer or any Buyer Party, or their respective assets or properties, including,

without limitation, the Purchased Assets; (c) creating, perfecting, or enforcing any Claims and

Interests against the Buyer or any Buyer Party, or their respective assets or properties, including,

without limitation, the Purchased Assets; (d) asserting any setoff, or right of subrogation of any

kind against any obligation due to the Buyer or any Buyer Party, or their respective assets or

properties, including, without limitation, the Purchased Assets; (e) commencing or continuing any

action, in any manner or place, that does not comply with or is inconsistent with the provisions of

this Sale Order, other orders of the Court, the Purchase Agreement or any other agreements or

actions contemplated or taken in respect thereof; or (f) revoking, terminating, or failing or refusing

to transfer any license, permit, or authorization to operate any of the Purchased Assets or conduct

any of the businesses operated with the Purchased Assets in connection with the Sale.

         22.     On the Closing, or as soon as possible thereafter, each creditor shall, and the

Buyer is hereby authorized, on behalf of each of the Debtors’ creditors, to execute such documents

and take all other actions as may be necessary to release any Claims and Interests and other

interests in or on the Purchased Assets (except Assumed Liabilities), if any, as provided for herein,

as such Claims and Interests may have been recorded or may otherwise exist.

         23.     All Persons are hereby barred and forever prohibited from taking any action that

would adversely affect or interfere with the ability of any of the Debtors to sell and transfer the

Purchased Assets to the Buyer in accordance with the terms of the Purchase Agreement and this

Sale Order.




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321659720.1
               Case 24-12752-MFW       Doc 7-2        Filed 12/06/24   Page 32 of 190




         24.     The consideration provided by the Buyer for the Purchased Assets under the

Purchase Agreement is fair and reasonable, and accordingly, the Sale may not be avoided under

section 363(n) of the Bankruptcy Code.

         25.     Following the Closing, no holder of a Claim or an Interest in the Debtors shall

interfere with the Buyer’s title to or use and enjoyment of the Purchased Assets and the Assumed

Contracts based on or related to such Claim or Interest or any actions that the Debtors may take in

these Chapter 11 Cases.

                            Assumption and Assignment of Contracts

         26.     Pursuant to sections 105(a) and 365 of the Bankruptcy Code and the Sale Notice

Order, and subject to and conditioned upon the terms of the Purchase Agreement and payment of

the applicable Cure Amounts by the Buyer (after adjustment of the Purchase Price pursuant to the

terms of the Purchase Agreement), the Debtors’ assumption and assignment to the Buyer, and the

Buyer’s assumption on the terms set forth in the Purchase Agreement, of the Assumed Contracts

is hereby approved, and the requirements of section 365(b)(1) of the Bankruptcy Code with respect

thereto are hereby deemed satisfied. Upon the Closing and payment of the applicable Cure

Amounts by the Buyer after adjustment of the Purchase Price pursuant to the terms of the Purchase

Agreement (including Section 2.6 thereto) and in accordance with sections 105(a), 363 and 365 of

the Bankruptcy Code, the Buyer shall be fully and irrevocably vested with all right, title, and

interest of the Debtors in and under the Assumed Contracts free and clear of any Claims or

Interests, and each such Assumed Contract shall be fully enforceable by the Buyer in accordance

with its respective terms and conditions, except as limited by this Sale Order. To the extent

provided in the Purchase Agreement, the Debtors shall cooperate with, and take all actions

reasonably requested by, the Buyer to effectuate the foregoing.



{00040356. }                                     31
321659720.1
               Case 24-12752-MFW       Doc 7-2        Filed 12/06/24   Page 33 of 190




         27.     With respect to the assumption and assignment of the Assumed Contracts to Buyer

as provided in Paragraph 26 of this Sale Order: (a) any provisions in any Assumed Contract that

prohibit or condition the assignment of such Assumed Contract or allow the party to such Assumed

Contract to terminate, recapture, impose any penalty, condition renewal or extension, or modify

any term or condition upon the assignment of such Assumed Contract, shall constitute

unenforceable anti-assignment provisions which are void and of no force and effect; (b) all other

requirements and conditions under sections 363 and 365 of the Bankruptcy Code for the

assumption by the Debtors and assignment to the Buyer of each Assumed Contract have been

satisfied; and (c) effective upon the Closing, the Assumed Contracts shall be transferred and

assigned to, and from and following the Closing (as modified by the Purchase Agreement) shall

remain in full force and effect for the benefit of, the Buyer, notwithstanding any provision in any

Assumed Contract (including those of the type described in sections 365(b)(2) and (d) of the

Bankruptcy Code) that prohibits, restricts, or conditions such assignment or transfer, and pursuant

to section 365(k) of the Bankruptcy Code, the Buyer shall be deemed to be substituted for the

applicable Debtor as a party to the applicable Assumed Contract and the Debtors shall be relieved

from any further liability with respect to the Assumed Contracts after such assumption and

assignment to the Buyer, except as otherwise provided in the Purchase Agreement. Further, to the

extent any provision in any of the Assumed Contracts assumed and assigned pursuant to Paragraph

26 of this Sale Order (i) prohibits, restricts, or conditions, or purports to prohibit, restrict, or

condition, such assumption and assignment (including, without limitation, any “change of control”

provision), or (ii) is modified, breached, or terminated, or deemed modified, breached, or

terminated by any of the following: (A) the commencement of the Chapter 11 Cases, (B) the

insolvency or financial condition of any of the Debtors at any time before the closing of the Chapter



{00040356. }                                     32
321659720.1
               Case 24-12752-MFW       Doc 7-2          Filed 12/06/24   Page 34 of 190




11 Cases, (C) the Debtors’ assumption and assignment of such Assumed Contract, (D) a change

of control or similar occurrence, or (E) the consummation of the Sale, then such provision shall be

deemed modified in connection with the Sale so as not to entitle the Contract Counterparty thereto

to prohibit, restrict, or condition such assumption and assignment, to modify, terminate, or declare

a breach or default under such Assumed Contract, or to exercise any other default-related rights or

remedies with respect thereto, including without limitation, any such provision that purports to

allow the Contract Counterparty thereto to terminate or recapture such Assumed Contract, impose

any penalty, additional payments, damages, or other financial accommodations in favor of the

Contract Counterparty thereunder, condition any renewal or extension thereof, impose any rent

acceleration or assignment fee, or increase or otherwise impose any other fees or other charges in

connection therewith. All such provisions constitute unenforceable anti-assignment provisions

that are void and of no force and effect in connection with the Sale pursuant to sections 365(b),

365(e), and 365(f) of the Bankruptcy Code.

         28.     All defaults or other obligations of the Debtors under the Assumed Contracts

arising or accruing prior to the Closing or required to be paid pursuant to section 365 of the

Bankruptcy Code in connection with the assumption and assignment of the Assumed Contracts (in

each case, without giving effect to any acceleration clauses or any default provisions of the kind

specified in section 365(b)(2) of the Bankruptcy Code), whether monetary or non-monetary, shall

be cured solely to the extent set forth in the Purchase Agreement and this Sale Order on the Closing

or as soon thereafter as reasonably practicable.

         29.     All requirements and conditions under sections 363 and 365 of the Bankruptcy

Code for the assumption by the Debtors and assignment to the Buyer of the Assumed Contracts

have been satisfied. Upon the Closing, in accordance with sections 363 and 365 of the Bankruptcy



{00040356. }                                       33
321659720.1
               Case 24-12752-MFW         Doc 7-2        Filed 12/06/24   Page 35 of 190




Code, the Buyer shall be fully and irrevocably vested with all right, title, and interest of the Debtors

in and under the Assumed Contracts, and each Assumed Contract shall be fully enforceable by the

Buyer in accordance with its respective terms and conditions, except as limited by this Sale Order.

To the extent provided in the Purchase Agreement, the Debtors shall cooperate with, and take all

actions reasonably requested by, the Buyer to effectuate the foregoing.

         30.     Upon the Debtors’ assignment of the Assumed Contracts to the Buyer under the

provisions of this Sale Order and the Buyer’spayment of the applicable Cure Amounts (after

adjustment of the Purchase Price pursuant to the terms of the Purchase Agreement), no default or

other obligations arising prior to the Closing shall exist under any Assumed Contract, and each

Contract Counterparty to an Assumed Contract is forever barred and estopped from (a) declaring

a default by the Debtors or the Buyer under such Assumed Contract, (b) raising or asserting against

the Debtors or the Buyer (or any Buyer Party), or the property of either of them, any assignment

fee, default, breach, or claim of pecuniary loss, or condition to assignment, arising under or related

to the Assumed Contracts, or (c) taking any other action against the Buyer or any Buyer Party as

a result of any Debtor’s financial condition, bankruptcy, or failure to perform any of its obligations

under the relevant Assumed Contract, in each case in connection with the Sale. Each Contract

Counterparty is also forever barred and estopped from raising or asserting against the Buyer or any

Buyer Party any assignment fee, default, breach, Claim, pecuniary loss, or condition to assignment

arising under or related to the Assumed Contracts existing as of the Closing or arising by reason

of the closing of the Sale, except for any amounts that are Assumed Liabilities.

         31.     Any party that may have had the right to consent to the assumption or assignment

of an Assumed Contract, including (if applicable) the Contract Counterparty to each Assumed

Contract, is deemed to have consented to such assumption and assignment for purposes of sections



{00040356. }                                       34
321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 36 of 190




365(c)(1)(B) and 365(e)(2)(A)(ii) of the Bankruptcy Code and any other applicable law if such

party failed to object timely to the assumption or assignment of such Assumed Contract (in

accordance with, among other things, the Sale Notice Order (if any)), and the Buyer shall enjoy

all of the Debtors’ rights and benefits under each such Assumed Contract as of the applicable date

of assumption without the necessity of obtaining such Contract Counterparty’s written consent to

the assumption or assignment thereof. The Buyer shall be deemed to have demonstrated adequate

assurance of future performance with respect to such Assumed Contract pursuant to sections

365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy Code.

         32.     To the extent a Contract Counterparty to an Assumed Contract failed to timely

object to a Cure Amount, such Cure Amount shall be deemed to be finally determined and any

such Contract Counterparty shall be prohibited from challenging, objecting to, or denying the

validity and finality of the Cure Amount at any time, and such Cure Amount, when paid, shall be

deemed to resolve any defaults or other breaches with respect to any Assumed Contract to which

it relates.

         33.     With respect to objections to any Cure Amounts that remain unresolved as of the

Hearing, such objections shall be resolved in accordance with the procedures to be developed

among the applicable Contract Counterparty, the Debtors, and the Buyer.

         34.     For the avoidance of doubt, a Contract shall not be an Assumed Contract pursuant

to the Purchase Agreement and shall not be assigned to, or assumed by Buyer to the extent that

such Contract was not listed on the Assumed Contract List.

         35.     Nothing in this Sale Order, the Motion, or in any notice or any other document is

or shall be deemed an admission by the Debtors that any contract or Assumed Contract is an




{00040356. }                                      35
321659720.1
               Case 24-12752-MFW       Doc 7-2        Filed 12/06/24   Page 37 of 190




executory contract or unexpired lease or must be assumed and assigned pursuant to the Purchase

Agreement or in order to consummate the Sale.



                            Buyer Standing and Assumed Liabilities

         36.     The Buyer shall have standing to object to the allowance of claims (as such term

is defined in section 101(5) of the Bankruptcy Code) asserted against the Debtors or their estates

including, without limitation, any unresolved or disputed Assumed Liabilities, Cure Amounts or

otherwise, that constitute obligations assumed by the Buyer pursuant to the terms of the Purchase

Agreement. Nothing in this Sale Order shall divest the Debtors of their standing or duty as debtors-

in-possession under the Bankruptcy Code from reconciling claims asserted against the Debtors or

their estates and objecting to any such claims that should be reduced, reclassified or otherwise

disallowed.

                                             Releases

         37.     Effective as of the Closing of the Sale (the “Debtor Release Effective Date”), the

Buyer, on its own behalf and on behalf of its predecessors, successors, heirs, and past, present and

future subsidiaries and assigns, hereby absolutely, unconditionally and irrevocably releases and

forever discharges and acquits each of the Debtors and each of their estates, and each of their

officers, directors, managers, principals, employees, agents, financial advisors, attorneys,

accountants, investment bankers, consultants, representatives and other professionals and the

respective successors and assigns thereof (solely in their capacities as such) (collectively,

the “Debtor Released Parties”), from any and all liability to the Buyer (and their successors and

assigns) and from any and all claims, counterclaims, demands, defenses, offsets, debts, accounts,

contracts, liabilities, actions and causes of action of any kind, nature and description, whether



{00040356. }                                     36
321659720.1
               Case 24-12752-MFW       Doc 7-2        Filed 12/06/24   Page 38 of 190




matured or unmatured, known or unknown, asserted or unasserted, foreseen or unforeseen, accrued

or unaccrued, suspected or unsuspected, liquidated or unliquidated, pending or threatened, arising

in law or equity, in contract or tort, that the Buyer at any time had, now has or may have, or that

its predecessors, successors or assigns at any time had or hereafter may have against any of the

Debtor Released Parties for or by reason of any act, omission, matter, or cause arising at any time

on or prior to the Debtor Release Effective Date; provided, however, that the release set forth in

this Paragraph 37 shall not release (i) any claims against or liabilities of a Debtor Released Party

that a court of competent jurisdiction determines has resulted from such Debtor Released Party’s

bad faith, fraud, gross negligence, collusion or willful misconduct; or (ii) the Debtors from

honoring their agreements with and obligations to the Buyer that survive the Closing as set forth

in the Purchase Agreement, the Sale Notice Order, and/or this Sale Order.

         38.     Effective as of the Closing of the Sale (“Buyer Release Effective Date”), each of

the Debtors and each of their estates, on its own behalf and on behalf of its and their respective

predecessors, successors, heirs, and past, present and future subsidiaries and assigns, hereby

absolutely, unconditionally and irrevocably releases and forever discharges and acquits Buyer and

its subsidiaries, affiliates, officers, directors, managers, principals, employees, agents, financial

advisors, attorneys, accountants, investment bankers, consultants, representatives and other

professionals and the respective successors and assigns thereof (solely in their capacities as such)

(collectively, the “Buyer Released Parties”), from any and all liability to the Debtors (and their

successors and assigns) and from any and all claims, counterclaims, demands, defenses, offsets,

debts, accounts, contracts, liabilities, actions and causes of action of any kind, nature and

description, whether matured or unmatured, known or unknown, asserted or unasserted, foreseen

or unforeseen, accrued or unaccrued, suspected or unsuspected, liquidated or unliquidated, pending



{00040356. }                                     37
321659720.1
                 Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 39 of 190




or threatened, arising in law or equity, in contract or tort, that the Debtors at any time had, now

have or may have, or that their predecessors, successors or assigns at any time had or hereafter

may have against any of the Buyer Released Parties for or by reason of any act, omission, matter,

or cause arising at any time on or prior to the Buyer Release Effective Date; provided, however,

that the release set forth in this Paragraph 38 shall not release (i) any claims against or liabilities

of a Buyer Released Party that a court of competent jurisdiction determines has resulted from such

Buyer Released Party’s bad faith, fraud, gross negligence, collusion or willful misconduct; or (ii)

Buyer from honoring any of its post-Closing obligations to the Debtors pursuant to the terms of

the Purchase Agreement, the Sale Notice Order, and/or this Sale Order.

                                           Other Provisions

           39.     This Sale Order shall be binding in all respects upon all of the Debtors’ creditors

and equity-holders, all Contract Counterparties, all successors and assigns of the Debtors, and any

of their respective affiliates and subsidiaries, any trustees, examiners, “responsible persons,” or

other fiduciaries appointed in the Chapter 11 Cases or upon a conversion of one or more of the

Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code. The Purchase Agreement

shall not be subject to rejection or avoidance under any circumstances.

           40.     The Purchase Agreement and any other documents ancillary thereto may be

modified, amended, or supplemented by the parties thereto in a writing signed by the parties, in

accordance with the terms thereof, without further order of the Court; provided that any such

modification, amendment, or supplement does not have a material adverse effect on the Debtors’

estates.

           41.     The transactions contemplated by the Purchase Agreement and this Sale Order are

undertaken by the Buyer without collusion and in good faith, as that term is defined in section



{00040356. }                                        38
321659720.1
               Case 24-12752-MFW         Doc 7-2        Filed 12/06/24   Page 40 of 190




363(m) of the Bankruptcy Code, and, accordingly, the reversal or modification on appeal of the

authorization provided herein to consummate the Sale shall not alter, affect, limit, or otherwise

impair the validity of the Sale, unless such authorization and such Sale are duly stayed pending

such appeal. The Buyer is a good faith buyer within the meaning of section 363(m) of the

Bankruptcy Code and, as such, is entitled to, and hereby granted, the full rights, benefits, privileges

and protections of section 363(m) of the Bankruptcy Code. As a good faith buyer of the Purchased

Assets, the Buyer has not entered into an agreement with any other potential bidders and has not

colluded with any potential or actual bidders, and the Sale may not be avoided pursuant to section

363(n) of the Bankruptcy Code.

         42.     No bulk sales law or any similar law of any state or other jurisdiction applies in any

way to the Sale.

         43.     The failure to specifically include any particular provision of the Purchase

Agreement in this Sale Order shall not diminish or impair the effectiveness of such provision, it

being the intent of the Court that the Purchase Agreement be authorized in its entirety. All of the

provisions of this Sale Order are non-severable and mutually dependent.

         44.     The Court shall retain jurisdiction to, among other things, interpret, implement, and

enforce the terms and provisions of this Sale Order and the Purchase Agreement, all amendments

thereto, and any waivers and consents thereunder, and any and all disputes concerning or relating

in any way to the Sale, including, but not limited to, retaining jurisdiction to (a) compel delivery

of the Purchased Assets to the Buyer, (b) interpret, implement, and enforce the provisions of this

Sale Order and the Purchase Agreement, including but not limited to the injunctions and limitations

of liability set forth in this Sale Order, (c) protect the Buyer against any Claims and Interests in or

against the Debtors or the Purchased Assets of any kind or nature whatsoever attaching to the net



{00040356. }                                       39
321659720.1
               Case 24-12752-MFW         Doc 7-2        Filed 12/06/24   Page 41 of 190




cash proceeds of the Sale as provided herein including, without limitation, to enjoin the

commencement or continuation of any action seeking to impose successor liability or bulk sale

liability; (d) enter any orders under sections 105, 363 and 365 of the Bankruptcy Code with respect

to the Purchased Assets and the Assumed Contracts; (e) decide any disputes concerning this Sale

Order, the Purchase Agreement, or the rights and duties of the parties hereunder or thereunder or

any issues relating to the Purchase Agreement and this Sale Order including, but not limited to,

the interpretation of the terms, conditions and provisions hereof and thereof, the status, nature and

extent of the Purchased Assets and any Assumed Contracts and all issues and disputes arising in

connection with the relief authorized herein, inclusive of those concerning the transfer of the assets

free and clear of all Claims and Interests; (f) adjudicate any and all remaining issues concerning

the Debtors’ right and authority to assume and assign the Assumed Contracts and the rights and

obligations of the Debtors and the Buyer with respect to such assignment and the existence of any

default under any such Assumed Contract; (g) adjudicate any and all disputes concerning alleged

pre-closing Claims and Interests in and to the Purchased Assets including without limitation the

extent, validity, enforceability, priority, and nature of any and all such alleged Claims and

Interests; (h) adjudicate any and all disputes relating to the Debtors’ right, title, or interest in the

Purchased Assets and the proceeds thereof; and (i) re-open the Chapter 11 Cases to determine any

of the foregoing.

         45.     Notwithstanding any provision in the Sale Motion, the Asset Purchase Agreement,

this Sale Order, and any implementing sale documents (collectively, “Sale Documents”), nothing

shall: (1) authorize the assumption, sale, assignment or other transfer to the Purchaser of any

federal (i) grants, (ii) grant funds, (iii) contracts, (iv) property, including but not limited to,

intellectual property and patents, (v) leases, (vi) agreements, including but not limited to, any



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321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 42 of 190




Medicare Coverage Gap Discount Program Agreement, (vii) certifications, (viii) applications or

other interests of the federal government (collectively, “Federal Interests”) without compliance

by the Debtors and the Purchaser with all terms of the Federal Interests and with all applicable

non-bankruptcy law; (2) be interpreted to set cure amounts or to require the government to novate,

approve or otherwise consent to the assumption, sale, assignment or other transfer of any Federal

Interests; (3) waive, alter or otherwise limit the United States’ property rights, including but not

limited to, inventory, inventions, records, patents, intellectual property, licenses, and data; (4)

affect the setoff or recoupment rights or defenses of a governmental unit (as defined in 11 U.S.C.

§ 101(27)); (5) authorize the assumption, transfer, sale or assignment of any governmental unit’s

(a) license, (b) permit, (c) registration, (d) authorization or (e) approval, or the discontinuation of

any obligation thereunder, without compliance with all applicable legal requirements, obligations

and approvals under non-bankruptcy laws; (6) release, nullify, preclude or enjoin the enforcement

of any police or regulatory liability to a governmental unit that any entity would be subject to as

the owner or operator of property; (7) confer exclusive jurisdiction to the Bankruptcy Court except

to the extent set forth in 28 U.S.C. § 1334 (as limited by any other provisions of the United States

Code); (8) divest any tribunal of any jurisdiction it may have under police or regulatory law to

interpret this Sale Order or to adjudicate any defense asserted under this Sale Order; or (9) expand

the scope of 11 U.S.C.§ 525. For the avoidance of doubt and without limiting the foregoing,

notwithstanding any provision in the Sale Documents, nothing shall impair, affect, alter or modify

any statutes (including but not limited to the Federal Food, Drug, and Cosmetic Act and the Public

Health Service Act), regulations, rules, guidelines, standards, policies and procedures of the

Department of Health and Human Services, including but not limited to, the Food and Drug

Administration.


{00040356. }                                      41
321659720.1
               Case 24-12752-MFW        Doc 7-2        Filed 12/06/24   Page 43 of 190




         46.     For cause shown, this Sale Order shall take effect immediately and shall not be

stayed

pursuant to Bankruptcy Rules 6004(h), 6006(d), 7062, 9014, or otherwise, but shall be effective

and enforceable immediately upon entry, and the stays provided in Bankruptcy Rules 6004(h) and

6004(d) are hereby expressly waived and shall not apply. Accordingly, the Debtors and the Buyer

are authorized and empowered to close the Sale immediately upon entry of this Sale Order subject

to the terms of the Purchase Agreement.

         47.     To the extent that this Sale Order is inconsistent with the Purchase Agreement or

any prior order or pleading with respect to the Motion in these Chapter 11 Cases, the terms of this

Sale Order shall govern.




{00040356. }                                      42
321659720.1
Case 24-12752-MFW   Doc 7-2   Filed 12/06/24   Page 44 of 190




                        Exhibit 1

                Asset Purchase Agreement
               Case 24-12752-MFW     Doc 7-2   Filed 12/06/24   Page 45 of 190
                                                                   EXECUTION VERSION




                  AMENDED AND RESTATED ASSET PURCHASE AGREEMENT

                                      BY AND AMONG

                             NUSEED NUTRITIONAL US INC.,

                               YIELD10 BIOSCIENCE, INC.

                                           AND

                                   YIELD10 OILSEEDS INC.

                                       DATED AS OF

                                     DECEMBER 4, 2024




{00040268. }
321527252.4
                 Case 24-12752-MFW                       Doc 7-2            Filed 12/06/24            Page 46 of 190



                                                      TABLE OF CONTENTS

ARTICLE I PRINCIPAL TRANSACTION ......................................................................................... 2
     Section 1.01 Sale and Purchase of Assets................................................................................ 2
     Section 1.02 Excluded Assets .................................................................................................. 3
     Section 1.03 Assumed Liabilities ............................................................................................ 3
     Section 1.04 Excluded Liabilities ............................................................................................ 4
     Section 1.05 Purchase Price ..................................................................................................... 5
     Section 1.06 Withholding Tax ................................................................................................. 5
     Section 1.07 Allocation of Purchase Price............................................................................... 5
ARTICLE II CLOSING .......................................................................................................................... 6
     Section 2.01 Closing Date and Transactions. .......................................................................... 6
     Section 2.02 Closing Deliverables. .......................................................................................... 6
     Section 2.03 Purchase Price Adjustment. ................................................................................ 7
     Section 2.04 Payments ............................................................................................................. 9
ARTICLE III REPRESENTATIONS AND WARRANTIES OF SELLERS .................................... 9
     Section 3.01 Organization and Authority; Due Execution; Board Approval. ....................... 10
     Section 3.02 No Conflicts; Consents. .................................................................................... 10
     Section 3.03 Financial Statements; Undisclosed Liabilities. ................................................. 11
     Section 3.04 [INTENTIONALLY OMITTED]..................................................................... 11
     Section 3.05 Title to Purchased Assets; Real Property. ......................................................... 11
     Section 3.06 Condition and Sufficiency of Purchased Assets. .............................................. 12
     Section 3.07 Intellectual Property.......................................................................................... 12
     Section 3.08 IT Systems. ....................................................................................................... 15
     Section 3.09 Privacy and Data Security................................................................................. 15
     Section 3.10 Assigned Contracts. .......................................................................................... 17
     Section 3.11 Suppliers. .......................................................................................................... 17
     Section 3.12 Insurance ........................................................................................................... 17
     Section 3.13 Legal Proceedings; Governmental Orders. ....................................................... 18
     Section 3.14 Compliance With Laws; Permits. ..................................................................... 18
     Section 3.15 Taxes. ................................................................................................................ 18
     Section 3.16 Employment Matters......................................................................................... 20
     Section 3.17 Employee Benefit Matters. ............................................................................... 22
     Section 3.18 Environmental Matters. .................................................................................... 23
     Section 3.19 Related Party Transactions ............................................................................... 25
     Section 3.20 No Brokers ........................................................................................................ 25
ARTICLE IV REPRESENTATIONS AND WARRANTIES OF BUYER ...................................... 25
     Section 4.01 Organization and Authority of Buyer; Due Execution. .................................... 25
     Section 4.02 No Conflicts; Consents. .................................................................................... 25
     Section 4.03 Brokers .............................................................................................................. 26
     Section 4.04 Sufficiency of Funds ......................................................................................... 26
     Section 4.05 Legal Proceedings ............................................................................................. 26
     Section 4.06 Investigation by Buyer ...................................................................................... 26
ARTICLE V COVENANTS ................................................................................................................. 26
     Section 5.01 Conduct of Business Prior to the Closing. ........................................................ 26
     Section 5.02 Access to Information ....................................................................................... 28
     Section 5.03 No Solicitation of Other Bids. .......................................................................... 28
     Section 5.04 Efforts to Consummate Contemplated Transactions. ....................................... 31
     Section 5.05 Approval as Sole Stockholder of Oilseeds........................................................ 31


{00040268. }                                                            i
321527252.4
                 Case 24-12752-MFW                       Doc 7-2              Filed 12/06/24              Page 47 of 190



          Section 5.06          Notice of Certain Events. .................................................................................. 31
          Section 5.07          Employees and Employee Benefits. ................................................................. 32
          Section 5.08          Public Announcements ..................................................................................... 32
          Section 5.09          Confidentiality .................................................................................................. 32
          Section 5.10          INTENTIONALLY OMITTED. ...................................................................... 33
          Section 5.11          Wrong-Pockets.................................................................................................. 33
          Section 5.12          INTENTIONALLY OMITTED ....................................................................... 33
          Section 5.13          Further Assurances ........................................................................................... 33
          Section 5.14          Transfer Taxes .................................................................................................. 33
          Section 5.15          Tax Clearance Certificates ................................................................................ 34
          Section 5.16          Bulk Sales Laws................................................................................................ 34
          Section 5.17          Tax Matters. ...................................................................................................... 34
          Section 5.18          Access to Purchased Assets .............................................................................. 34
          Section 5.19          Reasonable Access to Records. ........................................................................ 35
          Section 5.20          Bankruptcy Matters........................................................................................... 35
ARTICLE VI CONDITIONS TO CLOSING ..................................................................................... 35
     Section 6.01 Closing Conditions of All Parties ..................................................................... 35
     Section 6.02 Closing Conditions of Buyer ............................................................................ 36
     Section 6.03 Closing Conditions of Sellers. .......................................................................... 36
ARTICLE VII TERMINATION .......................................................................................................... 37
     Section 7.01 Termination....................................................................................................... 37
     Section 7.02 Effect of Termination........................................................................................ 38
     Section 7.03 Seller Termination Fee...................................................................................... 38
ARTICLE VIII MISCELLANEOUS ................................................................................................... 39
     Section 8.01 Rules of Construction. ...................................................................................... 39
     Section 8.02 Seller Disclosure Schedule ............................................................................... 40
     Section 8.03 Notices .............................................................................................................. 40
     Section 8.04 Entire Agreement .............................................................................................. 41
     Section 8.05 Amendment and Modification; Waiver ............................................................ 41
     Section 8.06 Successors and Assigns .................................................................................... 41
     Section 8.07 No Third-party Beneficiaries ............................................................................ 41
     Section 8.08 Severability ....................................................................................................... 41
     Section 8.09 Governing Law; Submission to Jurisdiction; Waiver of Jury Trial. ................. 42
     Section 8.10 Specific Performance ........................................................................................ 42
     Section 8.11 Counterparts ...................................................................................................... 42
     Section 8.12 Expenses ........................................................................................................... 42




{00040268. }                                                             ii
321527252.4
               Case 24-12752-MFW        Doc 7-2            Filed 12/06/24   Page 48 of 190



Annex A          Definitions

Schedules

Schedule 1.01(c)        Assigned Contracts
Schedule 1.01(e)        Tangible Personal Property
Schedule 1.01(f)        Permits
Schedule 1.07           Allocation Methodology
Schedule 2.02           Required Consents
Schedule 5.01(b)(v)     Maintained Employees
Seller Disclosure Schedule

Exhibits
Exhibit A        Form of Bill of Sale
Exhibit B        Form of Assignment and Assumption Agreement
Exhibit C        Form of Patent Assignment Agreement




{00040268. }                                         iii
321527252.4
               Case 24-12752-MFW          Doc 7-2       Filed 12/06/24     Page 49 of 190



                 AMENDED AND RESTATED ASSET PURCHASE AGREEMENT

        This Amended and Restated Asset Purchase Agreement (this “Agreement”), dated as of December
4, 2024, is entered into among Nuseed Nutritional US Inc., a Delaware corporation (“Buyer”), Yield10
Bioscience, Inc., a Delaware corporation (“Yield10”) and Yield10 Oilseeds Inc., a Canadian federal
corporation (“Oilseeds”) (Yield10 and Oilseeds collectively referred to herein as “Sellers” or when the
context requires, each individually a “Seller”).

                                            BACKGROUND

         A.     Sellers are engaged in the business of developing and commercializing (i) Camelina sativa
seed oil which has been genetically engineered to enable production of high levels of the omega-3 fatty
acids eicosapentanoic acid (EPA) and docosahexanoic acid (DHA) and (ii) Camelina sativa seed oil for use
as a low-carbon intensity feedstock oil for biofuels (such activities as they are conducted on the Closing
Date, the “Business”).

         B.       Sellers desire to sell and assign to Buyer, and Buyer desires to purchase and assume from
Sellers, all assets that are Related to the Business (the “Proposed Acquisition”).

        C.      For purposes of funding the operation of the Business until the Proposed Acquisition could
be negotiated, approved, and consummated, Buyer, Sellers, and Yield10 Bioscience Securities Corp., a
Massachusetts corporation and wholly owned subsidiary of Yield10, entered into the Operating Loan, the
aggregate principal amount of which has been advanced by Buyer and remains outstanding as of the date
hereof.

       D.       Sellers and Buyer previously entered into that certain Asset Purchase Agreement, dated as
of October 1, 2024 (the “Original Agreement”), pursuant to which Sellers and Buyer agreed to the terms
and conditions of the Proposed Acquisition, including a condition that the Original Agreement shall have
been adopted by the affirmative vote or consent of the holders of a majority of the outstanding shares of
common stock of Yield10.

        E.       Yield10 scheduled a meeting of its shareholders on November 8, 2024 for purposes of
obtaining the requisite shareholder vote to approve the Original Agreement. The meeting was adjourned to
November 21, 2024 as a result of failure to obtain a sufficient number of affirmative votes prior to
November 8, 2024. Yield10 failed to obtain a sufficient number of affirmative votes at the meeting of
shareholders held on November 21, 2024.

        F.       Yield10 intends to file a voluntary petition for relief (the “Petition”) commencing a case
(the “Chapter 11 Case”) under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”)
in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

        G.     In anticipation of such filing, Sellers and Buyer desire to amend and restate the Original
Agreement as set forth herein to permit the Proposed Acquisition to occur in accordance with Sections 105,
363 and 365 of the Bankruptcy Code, subject to, among other things, the entry of the Sale Order under
Sections 363 and 365 of the Bankruptcy Code.

         H.      Capitalized terms used in this Agreement have the meanings set forth in Annex A.

        NOW, THEREFORE, in consideration of the mutual covenants and agreements hereinafter set
forth and for other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the parties agree as follows:


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321527252.4
                 Case 24-12752-MFW          Doc 7-2        Filed 12/06/24      Page 50 of 190



                                             ARTICLE I
                                      PRINCIPAL TRANSACTION

         Section 1.01       Sale and Purchase of Assets. On the terms and subject to the conditions of this
Agreement, Sellers hereby agree to sell, assign, transfer, convey and deliver to Buyer, and Buyer hereby
agrees to purchase from Sellers, free and clear of any Encumbrances, other than Permitted Encumbrances,
all of Sellers’ right, title and interest in, to and under all of the assets, properties and rights of every kind
and nature, whether real, personal or mixed, tangible or intangible (including goodwill), wherever located
and whether now existing or hereafter acquired (other than the Excluded Assets), in each case, which are
Related to the Business (collectively, the “Purchased Assets”), including the following:

                 (a)     all inventory, finished goods, raw materials, work in progress, packaging, supplies,
parts and other inventories (“Inventory”);

                   (b)    all germplasm, seeds (including parent seeds) and other breeding materials;

                (c)     all Contracts, including Business IP Agreements, set forth on Schedule 1.01(c), but
only those Contracts which are assumed by the Seller and assigned to the Buyer at the Closing pursuant to
the Sale Order and Section 365 of the Bankruptcy Code (the “Assigned Contracts”);

              (d)    all Business Intellectual Property, including Sellers’ gene editing algorithm model,
Sellers’ GRAIN gene discovery platform, and Sellers’ seed databases maintained via shinyapps.io and
otherwise;

               (e)      all furniture, fixtures, equipment, machinery, tools, vehicles, office equipment,
supplies, computers, telephones and other tangible personal property listed on Schedule 1.01(e) (the
“Tangible Personal Property”);

                (f)       all Permits, including Environmental Permits, including those listed on
Schedule 1.01(f);

                (g)    all rights to any Actions of any nature available to or being pursued by Sellers,
whether arising by way of counterclaim or otherwise;

                 (h)      all prepaid expenses, credits, advance payments, claims, security, refunds, rights
of recovery, rights of set-off, rights of recoupment, deposits, charges, sums and fees (including any refunds
or credits or other governmental charges relating to the Business through the Closing Date);

                   (i)    all of Sellers’ rights under warranties, indemnities and all similar rights against
third parties;

                   (j)    all insurance policies and insurance benefits, including rights and proceeds;

                 (k)     (i) electronic copies of monthly accounting and financial closing records for the
past three (3) years and (ii) all originals, or where not available, copies, of the other books and records of
the Business, including machinery and equipment maintenance files, supplier lists, production data,
breeding records, quality control records and procedures, research and development files, records and data
(including all correspondence with any Governmental Authority), strategic plans, internal financial
statements, files relating to the Business Intellectual Property and the Business IP Agreements, all
information relating to Taxes imposed on or with respect to the Business, including Tax Returns and related
work papers; and


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321527252.4
               Case 24-12752-MFW            Doc 7-2       Filed 12/06/24      Page 51 of 190



                (l)       all goodwill and the going concern value of the Business and the Purchased Assets,
together with the right to represent to third parties that Buyer is the successor to Sellers in connection with
the Business.

         Section 1.02    Excluded Assets.

                (a)      Notwithstanding the foregoing, the Purchased Assets shall not include any of the
following assets (collectively, the “Excluded Assets”):

                         (i)      all cash and cash equivalents of Sellers;

                       (ii)    any Contracts, including Business IP Agreements, that are not Assigned
Contracts (the “Excluded Contracts”);

                       (iii)   all furniture, fixtures, equipment, machinery, tools, vehicles, office
equipment, supplies, computers, telephones and other tangible personal property other than the Tangible
Personal Property;

                       (iv)     the corporate seals, Organizational Documents, minute books, stock
books, books of account or other records having to do with the corporate organization of Sellers;

                         (v)      the rights that accrue or will accrue to Sellers under the Transaction
Documents;

                         (vi)    any Purchased Assets sold or otherwise disposed of in the Ordinary Course
of Business and not in violation of any provisions of this Agreement during the period from the date hereof
until the Closing Date;

                         (vii)    all rights in connection with, and assets of, any Benefit Plan;

                       (viii) all rights, claims and credits of the Sellers to the extent relating to any
Excluded Asset or any Excluded Liability; and

                         (ix)    all claims arising under Chapter 5 of the Bankruptcy Code as of the
Petition, except for such claims which may exist against counterparties to Assigned Contracts, in which
case such claims shall be released by Seller, as Debtor in Possession on behalf of itself, any statutory
committee which may be or have been appointed in the Chapter 11 Case, and any successor to the Debtor
in Possession, including a Chapter 11 or Chapter 7 Trustee.

                  (b)     At any time prior to the Closing, Buyer may, in its sole discretion and by written
notice to Sellers, designate any of the Purchased Assets as additional Excluded Assets. Buyer acknowledges
and agrees that there shall be no reduction in the Purchase Price if it elects to designate any Purchased
Assets as additional Excluded Assets pursuant to the foregoing sentence.

         Section 1.03      Assumed Liabilities. Subject to the terms and conditions set forth herein, Buyer
shall, effective at the Closing, assume and agree to pay, perform and discharge only the following Liabilities
(collectively, the “Assumed Liabilities”), and no other Liabilities:

                 (a)     all pre-Petition cure costs (including costs related to patents and patents pending)
required to be paid pursuant to Section 365 of the Bankruptcy Code in connection with the assumption and




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321527252.4
               Case 24-12752-MFW             Doc 7-2        Filed 12/06/24      Page 52 of 190



assignment of the Assigned Contracts, as determined by the Bankruptcy Court (collectively, the “Cure
Costs”);

                 (b)      all Assumed Payables under Assigned Contracts;

                  (c)      all Liabilities in respect of the Assigned Contracts to the extent that such Liabilities
are required to be performed after the Closing Date, were incurred in the Ordinary Course of Business and
do not relate to any failure to perform, improper performance, warranty or other breach, default or violation
by Seller on or prior to the Closing; and

                (d)      all other Liabilities solely to the extent arising exclusively or primarily out of
Buyer’s operation of the Business and ownership and use of the Purchased Assets from and after the Closing
Date.

         Section 1.04     Excluded Liabilities. Notwithstanding any provision of this Agreement or any
other writing to the contrary, Buyer shall not assume and shall not be responsible to pay, perform or
discharge any Liabilities of Sellers or any of their Affiliates (or any other predecessor owners of all or part
of their businesses and assets) of any kind or nature whatsoever, whether presently in existence or arising
or asserted hereafter, other than the Assumed Liabilities (the “Excluded Liabilities”). Sellers and their
Affiliates shall remain responsible to pay and satisfy in due course, or to make distributions in accordance
with a confirmed plan of reorganization with respect to, all Excluded Liabilities that they are obligated to
pay and satisfy. Without limiting the generality of the foregoing, the Excluded Liabilities shall include the
following:

                (a)      any Liabilities of Sellers arising or incurred in connection with the negotiation,
preparation, investigation and performance of the Transaction Documents and the Contemplated
Transactions, including fees and expenses of counsel, accountants, consultants, advisers and others;

                  (b)      any Liability for (i) Taxes relating to the Business, the Purchased Assets or the
Assumed Liabilities for any taxable period (or portion thereof) ending on or before the Closing Date;
(ii) Taxes that arise out of the consummation of the Contemplated Transactions or that are the responsibility
of Sellers pursuant to Section 5.14; or (iii) Taxes of Sellers (or any owner or Affiliate of Sellers) of any
kind or description for any taxable period, including any Liability for Taxes of Sellers (or any owner or
Affiliate of Sellers) that becomes a Liability of Buyer under Treasury Regulations Section 1.1502-6 (or any
similar provision of state, local or non-U.S. Law) or any common law doctrine of de facto merger or
transferee or successor liability or otherwise by operation of Contract or Law;

                 (c)      any Liabilities relating to or arising out of the Excluded Assets;

                  (d)     any Liabilities in respect of any pending or threatened Action arising out of,
relating to or otherwise in respect of the operation of the Business or the ownership or use of the Purchased
Assets to the extent such Action relates to such operation, ownership or use on or prior to the Closing Date;

               (e)      any Liabilities of Sellers arising under or in connection with any Benefit Plan
providing benefits to any present or former employee of Sellers, whether arising prior to, on or after the
Closing;

                  (f)      any Liabilities of Sellers for any present or former employees, agents or
independent contractors of Sellers, including any Liabilities associated with any claims for wages or other
benefits, workers’ compensation, severance, retention, termination or other payments, to the extent arising
out of or relating to facts, circumstances or conditions existing on or prior to the Closing;


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321527252.4
               Case 24-12752-MFW            Doc 7-2        Filed 12/06/24      Page 53 of 190



                  (g)      any Environmental Claims, or Liabilities under Environmental Laws, to the extent
arising out of or relating to facts, circumstances or conditions existing on or prior to the Closing or otherwise
to the extent arising out of any actions or omissions of Sellers;

                  (h)      any Liabilities of Sellers relating to or arising from unfulfilled commitments,
quotations, purchase orders, customer orders or work orders that (i) do not constitute part of the Purchased
Assets, (ii) did not arise in the Ordinary Course of Business, or (iii) are not validly and effectively assigned
to Buyer pursuant to this Agreement;

                (i)      any Liabilities to indemnify, reimburse or advance amounts to any present or
former officer, director, employee or agent of Sellers (including with respect to any breach of fiduciary
obligations by same);

                 (j)     any Liabilities under the Excluded Contracts or any other Contracts, including
Business IP Agreements, (i) which are not validly and effectively assigned to Buyer pursuant to this
Agreement, (ii) which do not conform to the representations and warranties with respect thereto contained
in this Agreement, or (iii) to the extent such Liabilities arise out of or relate to a breach by Sellers of such
Contracts prior to Closing;

                (k)     any Liabilities associated with indebtedness for borrowed money of Sellers,
including any debt, loans or credit facilities of Sellers owing to financial institutions; and

                 (l)      any Liabilities arising out of, in respect of or in connection with the failure by
Sellers or any of their Affiliates to comply with any Law or Governmental Order.

         Section 1.05    Purchase Price. The aggregate purchase price to be paid by Buyer for the
Purchased Assets shall consist of (i) the Estimated Closing Consideration Amount and (ii) the Post-Closing
Consideration, subject to adjustment pursuant to Section 2.03, plus the assumption of the Assumed
Liabilities (the “Purchase Price”).

        Section 1.06    Withholding Tax. Buyer shall be entitled to deduct and withhold from amounts
payable under this Agreement all Taxes that Buyer may be required to deduct and withhold under any
provision of applicable Law. All such withheld amounts shall be treated as paid to the relevant Person in
respect of which such deduction or withholding was made.

         Section 1.07    Allocation of Purchase Price. Sellers and Buyer agree that the Purchase Price and
the Assumed Liabilities (plus other relevant items treated as consideration for the Purchased Assets for Tax
purposes) shall be allocated among the Purchased Assets for Tax purposes as shown on the allocation
schedule (the “Allocation Schedule”) in accordance with the methodology set forth on Schedule 1.07 and
Section 1060 of the Tax Code and the Treasury Regulations thereunder (and any corresponding or similar
provisions of applicable state or local Law). A draft of the Allocation Schedule shall be prepared by Buyer
and delivered to Sellers within sixty (60) days following the Closing Date, and such draft shall be deemed
final unless Sellers notify Buyer in writing that Sellers object to one or more items reflected in the
Allocation Schedule within thirty (30) days following delivery of the Allocation Schedule to Sellers. If
Sellers timely notify Buyer in writing that Sellers object to one or more items reflected in the Allocation
Schedule, Sellers and Buyer shall negotiate in good faith to resolve such dispute; provided, however, that
if Sellers and Buyer are unable to resolve any dispute with respect to the Allocation Schedule within
sixty (60) days following the delivery of the Allocation Schedule to Sellers, such dispute shall be resolved
by the Designated Accounting Firm. The fees and expenses of the Designated Accounting Firm shall be
borne equally by Sellers and Buyer. Buyer and Sellers shall file all Tax Returns (including amended returns
and claims for refund) and information reports in a manner consistent with the Allocation Schedule. Any


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321527252.4
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24     Page 54 of 190



adjustments to the Purchase Price pursuant to Section 2.03 shall be allocated in a manner consistent with
the Allocation Schedule. Neither Sellers nor Buyer will take any position (whether in financial statements,
audits, Tax Returns or otherwise) that is inconsistent with the Allocation Schedule as finally determined
under this Section 1.07 unless required to do so pursuant to a final determination as defined in Section
1313(a) of the Tax Code (or pursuant to any similar provision of applicable state or local Law).

                                               ARTICLE II
                                                CLOSING

         Section 2.01    Closing Date and Transactions.

                 (a)      Closing. The closing of the Contemplated Transactions (the “Closing”) shall occur
no later than the second (2nd) Business Day after the fulfillment or waiver of all conditions set forth in
Article VI (other than those conditions which by their terms are to be satisfied or waived at the Closing but
subject to the satisfaction or waiver of such conditions) (the “Closing Date”), and shall take place at the
offices of K&L Gates LLP, 599 Lexington Avenue, New York, NY 10022 (or by electronic exchange of
documents in lieu of an in-person Closing), or at such other time and/or place as the parties may mutually
agree to in writing.

                (b)     Closing Transactions. On the terms and subject to the conditions set forth in this
Agreement, at the Closing, Buyer shall pay or cause to be paid to each Seller, a cash amount equal to such
Seller’s Pro Rata Portion of (x) the Estimated Closing Consideration Amount less (y) the Cure Costs
(subject to Section 5.20(b)), less (z) the outstanding amount of the Operating Loan as of the Closing,
including interest accrued thereon and unpaid as of the Closing (and upon making such payments the
Operating Loan shall be deemed paid in full).

         Section 2.02    Closing Deliverables.

                 (a)     Deliveries by Sellers. At or prior to the Closing, Sellers shall deliver, or cause to
be delivered, to Buyer, the following:

                         (i)     the Sale Order approved and entered by the Bankruptcy Court;

                         (ii)    the Ancillary Documents duly executed by Sellers;

                       (iii)  a schedule setting forth the name of each Seller and each Seller’s Pro Rata
Portion (the “Payment Schedule”);

                       (iv)    at least three (3) Business Days prior to the anticipated Closing Date, the
Estimated Closing Statement pursuant to Section 2.03(a);

                         (v)      a certificate, dated as of the Closing Date and signed by a duly authorized
officer of each Seller, certifying that each of the conditions set forth in Section 6.02(a), Section 6.02(b),
Section 6.02(c), and Section 6.02(d) has been satisfied;

                          (vi)    a certificate, dated as of the Closing Date and executed by the secretary
(or equivalent officer) of each Seller certifying the incumbency and signatures of the officers of each Seller
authorized to act on behalf of each Seller in connection with the Contemplated Transactions and attaching
and certifying as true and correct copies of the resolutions duly adopted by the board of directors of each
Seller authorizing and approving the execution and delivery of this Agreement, each Ancillary Document
to which Sellers are a party and the consummation of the Contemplated Transactions;


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321527252.4
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24     Page 55 of 190



                       (vii)    a properly completed IRS Form W-9 or a certificate satisfying the
requirements of Treasury Regulations Section 1.1445-2(b)(2), duly executed by each Seller of any
Purchased Assets located in the United States, dated within thirty (30) days prior to the Closing Date;

                       (viii) satisfactory evidence that all approvals, consents and notices listed in
Schedule 2.02 have been received or sent and not revoked;

                         (ix)    two (2) complete electronic copies of the VDR;

                          (x)    physical possession of all of the Purchased Assets capable of passing by
delivery at the location where such Purchased Assets are located with the intent that title in such Purchased
Assets shall pass by and upon delivery; and

                        (xi)  such other documents or instruments as Buyer reasonably requests and are
reasonably necessary to consummate the Contemplated Transactions.

                 (b)      Deliveries by Buyer. At or prior to the Closing, Buyer shall deliver, or cause to be
delivered, to Sellers, the following:

                        (i)     a certificate, dated the Closing Date and signed by a duly authorized
officer of Buyer, that each of the conditions set forth in Section 6.03(a) and Section 6.03(b) has been
satisfied;

                       (ii)     the payment of the Estimated Closing Consideration Amount in
accordance with Section 2.01(b); and

                        (iii) such other documents or instruments as Sellers reasonably request and are
reasonably necessary to consummate the Contemplated Transactions.

         Section 2.03    Purchase Price Adjustment.

                  (a)     Closing Estimates. Sellers shall deliver to Buyer, at least three (3) Business Days
prior to the anticipated Closing Date, a written statement (the “Estimated Closing Statement”) setting forth
in reasonable detail Sellers’ good faith estimates of the Assumed Payables with respect to each Pre-Petition
Assigned Contract and each other Assigned Contract (collectively, the “Estimated Assumed Payables
Amount”), which statement shall contain a calculation of each of the Assumed Payables and the Estimated
Assumed Payables Amount. Sellers shall provide Buyer an opportunity to review and comment on the
Estimated Closing Statement and Sellers will consider in good faith any adjustments reasonably requested
by Buyer not later than one (1) Business Day prior to the anticipated Closing Date.

                 (b)     Post-Closing Adjustment. As soon as reasonably practicable, but no later than
sixty (60) days following the Closing Date, Buyer shall deliver to Sellers a written statement (the “Closing
Statement”) setting forth in reasonable detail (i) Buyer’s calculation of the Assumed Payables with respect
to each Pre-Closing Assigned Contract and each other Assigned Contract (collectively, the “Assumed
Payables Amount”) and (ii) the resulting calculation of the Closing Consideration Amount (collectively,
the “Closing Amounts”).

                 (c)     Review; Disputes.

                        (i)    During the thirty (30) day period commencing upon receipt by Sellers of
the Closing Statement (the “Review Period”), Buyer shall provide Sellers and any accountants or advisors


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321527252.4
               Case 24-12752-MFW            Doc 7-2        Filed 12/06/24     Page 56 of 190



retained by Sellers with reasonable access to the books and records and personnel of Buyer in connection
with the Business for the purpose of enabling Sellers and their accountants and advisors to calculate, and
to review Buyer’s calculation of, the Closing Amounts (the “Review Materials”); provided that Buyer shall
not be required to provide access to information that would violate (A) any obligation of confidentiality to
which Buyer or any of its Affiliates may be subject, (B) any attorney-client privilege, attorney work product
protection, or other privilege associated with such information, or (C) any applicable Laws (the matters
referred to in clauses (A), (B) and (C), the “Access Limitations”). If Sellers and Buyer disagree on the scope
of the Review Materials to which Sellers are entitled under this Section 2.03(c)(i), such dispute shall be
referred to the Designated Accounting Firm, who shall be instructed by the parties to resolve such dispute
within fifteen (15) days of the appointment of the Designated Accounting Firm.

                        (ii)     If Sellers dispute the calculation of any of the Closing Amounts set forth
in the Closing Statement, then Sellers shall deliver a written notice (a “Dispute Notice”) to Buyer at any
time during the Review Period. To be in proper form, each disagreement contained in a Dispute Notice must
specify in reasonable detail the nature and amount of such disagreement, as well as a reasonable basis
therefor and relevant supporting documentation and calculations (each specific item in disagreement
meeting the requirements of this Section 2.03(c)(ii) and included in a timely Dispute Notice, a “Disputed
Item”). Any other items and amounts that are not Disputed Items, and the calculation thereof, set forth in
the Closing Statement shall be final and binding on the parties.

                        (iii)   If Sellers deliver to Buyer written notice that they agree with all Closing
Amounts or do not deliver a Dispute Notice in proper form to Buyer prior to the expiration of the Review
Period, Buyer’s calculation of Closing Amounts set forth in the Closing Statement shall be deemed final
and binding on Buyer and Sellers for all purposes of this Agreement.

                         (iv)     If Sellers deliver a Dispute Notice to Buyer prior to the expiration of the
Review Period, then Sellers and Buyer shall use commercially reasonable efforts to reach agreement on the
Disputed Items. In connection therewith, Sellers shall provide Buyer and its Representatives with access to
information that Buyer reasonably requests relating to the Dispute Notice and Sellers’ preparation thereof
(and all information which bears on such calculation shall be deemed to be the subject of a reasonable
request); provided that Sellers shall not be required to provide access to information which would violate
the Access Limitations. Buyer and Sellers acknowledge and agree that the Federal Rules of Evidence Rule
408 (and any applicable similar state rule) shall apply to any such negotiations and communications by or
on behalf of Buyer and Sellers.

                          (v)      If Sellers and Buyer are unable to reach agreement on the Disputed Items
within fifteen (15) days after Sellers deliver a Dispute Notice, either party shall have the right to refer such
dispute to an independent nationally recognized accounting firm that is mutually agreed upon by Buyer and
Sellers (such firm, or any successor thereto, being referred to herein as the “Designated Accounting Firm”)
after such fifteenth (15th) day. In connection with the resolution of any such dispute by the Designated
Accounting Firm (A) the Designated Accounting Firm shall act as an expert and not as an arbitrator,
(B) none of Sellers, Buyer, or any of their respective Affiliates or Representatives shall have any ex parte
communications or meetings with the Designated Accounting Firm regarding the subject matter hereof
without the other parties’ prior written consent, (C) Sellers and Buyer shall each submit to the Designated
Accounting Firm the Closing Statement and the Dispute Notice, and shall have the opportunity to provide
one (1) initial submission with support for such party’s position and one (1) submission responding to the
other party’s initial submission (collectively, the “Dispute Submissions”), (D) the Designated Accounting
Firm shall be instructed to determine the Closing Amounts in accordance with the terms of this Agreement
within thirty (30) days after receipt of the Dispute Submissions, and upon reaching such determination shall
deliver a copy of its calculations (the “Expert Calculations”) to Sellers and Buyer, and (E) the determination
made by the Designated Accounting Firm of the Closing Amounts that are in dispute shall be conclusive,


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321527252.4
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24     Page 57 of 190



binding upon the parties, non-appealable, and not subject to further review absent manifest error, and shall
be considered a final arbitration award that is enforceable pursuant to the terms of the Federal Arbitration
Act. In calculating the Closing Amounts, the Designated Accounting Firm (1) shall be limited to addressing
only those particular Disputed Items referred to in the Dispute Notice and will have no authority to make
any adjustments to any financial statements or amounts other than any items on the Dispute Notice which
Buyer and Sellers dispute, (2) shall be limited to reviewing the Dispute Submissions and, except as may be
agreed in writing by Buyer and Sellers, the Designated Accounting Firm shall not be permitted to review
any other materials or information, including any negotiations and/or settlement offers exchanged by the
parties, (3) shall, with respect to any Disputed Item, not assign an amount greater than the higher amount
calculated by Buyer or Sellers, as the case may be, or lower than the lower amount calculated by Buyer or
Sellers, as the case may be, and (4) shall only apply the provisions of this Agreement concerning the
determination of such amounts, and the decision of the Designated Accounting Firm shall be based solely
upon the Dispute Submissions and the definitions and applicable provisions of this Agreement. The Expert
Calculations shall reflect in detail the differences, if any, between the Closing Amounts reflected therein
and the Closing Amounts set forth in the Closing Statement. The fees and expenses of the Designated
Accounting Firm shall be allocated between Buyer, on the one hand, and Sellers, on the other hand, based
upon the percentage which the portion of the contested amount not awarded to each party bears to the
amount actually contested by such party.

                 (d)     Distributions.

                        (i)     If (x) the Closing Consideration Amount as finally determined pursuant to
this Section 2.03 exceeds (y) the Estimated Closing Consideration Amount (such excess, the “Excess
Amount”), then, no later than two (2) Business Days after such determination, Buyer shall pay to Sellers
the Excess Amount.

                        (ii)    If (x) the Closing Consideration Amount as finally determined pursuant to
this Section 2.03 is less than (y) the Estimated Closing Consideration Amount (such difference, the
“Shortfall Amount”), then, no later than two (2) Business Days after such determination, Sellers shall pay
to Buyer the Shortfall Amount.

                        (iii)   If not paid within the time period set forth above, the amount of the Excess
Amount or the Shortfall Amount shall bear interest from and including the date such payment was to be
made pursuant to this Section 2.03(d) up to and including the date of payment at a rate per annum equal to
five percent (5%). Such interest shall be calculated daily on the basis of a 365-day year and the actual
number of days elapsed, compounding at the end of each calendar month.

                 (e)     Adjustments for Tax Purposes. Any payments made pursuant to Section 2.03 shall
constitute an adjustment of the Purchase Price for Tax purposes and shall be treated as such by the parties
on their Tax Returns to the extent permitted by applicable Law.

       Section 2.04     Payments. Payments made pursuant to this Article II shall be made by wire transfer
of immediately available funds to an account designated by each recipient prior to the Closing.

                                      ARTICLE III
                       REPRESENTATIONS AND WARRANTIES OF SELLERS

         Sellers represent and warrant to Buyer that the statements contained in this Article III are true and
correct as of the date hereof and as of the Closing Date.




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321527252.4
               Case 24-12752-MFW           Doc 7-2         Filed 12/06/24     Page 58 of 190



         Section 3.01    Organization and Authority; Due Execution; Board Approval.

                 (a)      Each Seller is a corporation duly organized, validly existing, and in good standing
under the applicable Laws of its jurisdiction of incorporation and has full corporate power and authority to
own, operate, or lease the properties and assets now owned, operated, or leased by it and to carry on the
Business as it has been and is currently conducted, subject to the entry of the Sale Order. Each Seller has
full corporate power and authority to enter into this Agreement and the other Transaction Documents to
which it is or will be a party, to carry out its obligations hereunder and thereunder and to consummate the
Contemplated Transactions, subject to the entry of the Sale Order. The execution and delivery by each
Seller of this Agreement and any other Transaction Document to which it is or will be a party, the
performance by each Seller of its obligations hereunder and thereunder, and the consummation by each
Seller of the Contemplated Transactions have been duly authorized by all requisite corporate action on the
part of each Seller, subject to the entry of the Sale Order.

                  (b)     Subject to the entry of the Sale Order, (i) this Agreement has been duly executed
and delivered by each Seller and (assuming due authorization, execution, and delivery by Buyer) constitutes
a legal, valid, and binding obligation of each Seller, Enforceable against each Seller, (ii) when each other
Transaction Document to which each Seller is or will be a party has been duly executed and delivered by
such Seller (assuming due authorization, execution and delivery by each other party thereto), such
Transaction Document will constitute a legal, valid, and binding obligation of such Seller, Enforceable
against such Seller, and (iii) all corporate actions taken by Sellers in connection with this Agreement and
the other Transaction Documents will be duly authorized on or prior to the Closing.

                 (c)     Each Seller has made available to Buyer true and correct copies of (i) its
Organizational Documents and (ii) the minutes of all meetings of and written consents taken by its directors
and stockholders during the past three (3) years. Sellers are not in breach of or default under any provision
of their respective Organizational Documents. Section 3.01(c) of the Seller Disclosure Schedule sets forth
a correct and complete list of the officers and directors of each Seller.

                  (d)     The Seller Board, by resolutions duly adopted by a majority vote at a meeting of
all directors of Yield10 duly called and held, or by unanimous written consent in lieu of a meeting, and not
subsequently rescinded, withdrawn, or modified in any way, has: (i) determined that this Agreement and
the Contemplated Transactions, upon the terms and subject to the conditions set forth herein, are fair to,
and in the best interests of, Yield10 and its stockholders and (ii) approved and declared advisable this
Agreement, including the execution, delivery, and performance thereof, and the consummation of the
Contemplated Transactions, upon the terms and subject to the conditions set forth herein.

         Section 3.02    No Conflicts; Consents.

                  (a)     Subject to the entry of the Sale Order, the execution, delivery, and performance by
each Seller of this Agreement and the other Transaction Documents to which it is or will be a party, and
the consummation of the Contemplated Transactions do not and will not: (i) conflict with or result in a
violation or breach of, or default under, any provision of the Organizational Documents of such Seller;
(ii) conflict with or result in a violation or breach of any provision of any Law or Governmental Order
applicable to such Seller; (iii) except as set forth in Section 3.02(a) of the Seller Disclosure Schedule,
require the consent, notice, or other action by any Person under, conflict with, result in a material violation
or material breach of, constitute a default or an event that, with or without notice or lapse of time or both,
would constitute a default under, result in the acceleration of or create in any party the right to accelerate,
terminate, modify, or cancel any Assigned Contract or any Permit affecting the Purchased Assets or the
Business; or (iv) result in the creation or imposition of any Encumbrance (other than Permitted
Encumbrances) on any Purchased Asset.


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321527252.4
               Case 24-12752-MFW            Doc 7-2        Filed 12/06/24     Page 59 of 190



                 (b)      Subject to the entry of the Sale Order, no consent, approval, Permit, Governmental
Order, declaration or filing with, or notice to, any Governmental Authority is required by or with respect to
Sellers in connection with the execution, delivery, and performance of this Agreement and the other
Transaction Documents and the consummation of the Contemplated Transactions, except for such reports
under the Exchange Act as may be required in connection with this Agreement and the Contemplated
Transactions.

         Section 3.03    Financial Statements; Undisclosed Liabilities.

                  (a)     True and correct copies of the audited consolidated financial statements of the
Sellers, consisting of the consolidated balance sheets of the Sellers as at December 31 in each of the years
2022 and 2023 and the related consolidated statements of income and cash flow for the years then ended
(the “Annual Financial Statements”), and unaudited consolidated financial statements consisting of the
balance sheet of Yield10 as at June 30, 2024 and the related statements of income and cash flow for the
three (3) month period then ended (the “Interim Financial Statements” and together with the Annual
Financial Statements, the “Financial Statements”) have been provided to Buyer. The balance sheet of
Yield10 as of December 31, 2023 is referred to herein as the “Balance Sheet” and the date thereof as the
“Balance Sheet Date” and the balance sheet of Yield10 as of June 30, 2024 is referred to herein as the
“Interim Balance Sheet” and the date thereof as the “Interim Balance Sheet Date”.

                  (b)     The Financial Statements have been prepared in accordance with GAAP on the
basis of the same accounting principles, policies, methods, and procedures, consistently applied, throughout
the periods involved, subject, in the case of the Interim Financial Statements, to normal and recurring year-
end adjustments (the amount and effect of which will not be materially adverse) and the absence of notes
(that, if presented, would not differ materially from those presented in the Annual Financial Statements).
The Financial Statements are based on the books and records of Sellers and fairly present in all material
respects the financial condition of the Business as of the respective dates they were prepared and the results
of the operations of the Business for the periods indicated.

                  (c)      Sellers do not have any material Liabilities with respect to the Business, including
guarantees by Sellers of Liabilities of any other Person, except (i) Liabilities as and to the extent reflected
on the Balance Sheet, (ii) Liabilities incurred in the Ordinary Course of Business since the Balance Sheet
Date (none of which is a material Liability for breach of contract, breach of warranty, tort, infringement, or
Action) and adequately reflected on the books and records of Sellers in connection with the Business, and
(iii) obligations not in default under Contracts entered into by Sellers in the Ordinary Course of Business.

         Section 3.04    [INTENTIONALLY OMITTED]

         Section 3.05    Title to Purchased Assets; Real Property.

              (a)      Sellers have good and valid title to, or a valid leasehold interest in, all of the
Purchased Assets. All of the Purchased Assets (including leasehold interests) are free and clear of
Encumbrances, other than Permitted Encumbrances.

                 (b)      Section 3.05(b) of the Seller Disclosure Schedule lists (i) the street address of each
parcel of Real Property used in the Business, (ii) the applicable lease or sublease for each such parcel and,
with respect to each such lease: (A) the landlord, (B) the rental amount currently being paid, and (C) the
expiration date, and (iii) the current use of such Real Property. Sellers are not a sublessor or grantor under
any sublease or other instrument granting to any other Person any right to the possession, lease, occupancy,
or enjoyment of any such Real Property. The use and operation of such Real Property in the conduct of the
Business do not violate in any material respect any Law (including any applicable zoning, building, use,


{00040268. }                                          11
321527252.4
               Case 24-12752-MFW            Doc 7-2        Filed 12/06/24     Page 60 of 190



safety or other similar Law), covenant, condition, restriction, easement, Permit, or Contract. To Sellers’
Knowledge, no material improvements constituting a part of such Real Property encroach on real property
owned or leased by a Person other than Sellers. There are no Actions pending nor, to Sellers’ Knowledge,
threatened against or affecting such Real Property or any portion thereof or interest therein in the nature or
in lieu of condemnation or eminent domain proceedings and no material unrepaired damage by casualty
has occurred with respect thereto. The Real Property listed on Section 3.05(b) of the Seller Disclosure
Schedule comprises all of the Real Property that is Related to the Business, and Sellers are not party to any
Contract, including any option, to purchase any real property or any interest therein.

         Section 3.06    Condition and Sufficiency of Purchased Assets.

                 (a)      The buildings, plants, structures, furniture, fixtures, machinery, equipment,
vehicles, and other items of Tangible Personal Property included within the Purchased Assets are
structurally sound, are in good operating condition and repair, and are adequate for the uses to which they
are being put, in all material respects. None of such buildings, plants, structures, furniture, fixtures,
machinery, equipment, vehicles or other items of Tangible Personal Property is in need of maintenance or
repairs except for ordinary, routine maintenance and repairs that are not material in nature or cost, and such
buildings, plants, structures, furniture, fixtures, machinery, and equipment are supplied with utilities and
other services necessary for the operation of the Business and are safe for their current occupancy and use,
as applicable.

                 (b)      The buildings, plants, structures, furniture, fixtures, machinery, equipment,
vehicles, and other items of Tangible Personal Property included within the Purchased Assets, together with
the intangible assets included within the Purchased Assets, are sufficient for the continued conduct of the
Business immediately after the Closing in substantially the same manner as conducted prior to the Closing
and constitute all of the rights, property and assets necessary to conduct the Business from and after the
Closing. Upon (i) the purchase and acquisition of the Purchased Assets in accordance with this Agreement
and (ii) receipt by Buyer of the services and benefits available or otherwise offered by Sellers or their
Affiliates to Buyer or its Affiliates under the Ancillary Documents, Buyer shall have, directly or indirectly,
immediately following the Closing, the assets, properties, rights and services sufficient to operate the
Business immediately following the Closing in substantially the same manner as the Business is currently
being conducted.

         Section 3.07    Intellectual Property.

                   (a)     Section 3.07(a) of the Seller Disclosure Schedule contains a complete and correct
list of (i) all Business IP Registrations, specifying as to each, as applicable: the title, mark, or design; the
record owner and inventor(s), if any; the jurisdiction by or in which it has been issued, registered, or filed;
the patent, registration, or application serial number; the issue, registration, or filing date; and the current
status, (ii) all unregistered Trademarks included in the Business Owned Intellectual Property, (iii) all
proprietary Software used or held for use in connection with the Business, and (iv) all other Business Owned
Intellectual Property used or held for use in the Business that is material to the conduct of the Business.

                  (b)     Section 3.07(b) of the Seller Disclosure Schedule contains a complete and correct
list of all Business IP Agreements separately identifying the Business IP Agreements (i) under which Sellers
are licensors or otherwise grant to any Person any right or interest relating to any Business Intellectual
Property, (ii) under which Sellers are licensees or otherwise granted any right or interest relating to the
Intellectual Property of any Person, other than licenses for Off-the-Shelf Software, and (iii) which otherwise
relate to Sellers’ ownership or use of Intellectual Property in connection with the Business, in each case
identifying the Intellectual Property covered by such Business IP Agreement. Sellers have made available
to Buyer true and correct copies (or in the case of any oral agreements, a complete and correct written


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321527252.4
               Case 24-12752-MFW           Doc 7-2         Filed 12/06/24     Page 61 of 190



description) of all Business IP Agreements, other than licenses for Off-the-Shelf Software, including all
modifications, amendments, and supplements thereto and waivers thereunder. Each Business IP Agreement
is Enforceable against Sellers and, to Sellers’ Knowledge, is Enforceable against each other party thereto.
Neither Sellers nor any other party thereto are, or are alleged to be, in breach of or default under, or has
provided or received any notice of breach of, default under, or intention to terminate (including by non-
renewal), any Business IP Agreement, with the exception that Seller is in breach of its patent license
agreement with University of Missouri and plans to let the patent license agreement lapse.

                  (c)     Sellers are the sole and exclusive legal and beneficial, and with respect to the
Business IP Registrations, record, owners of all right, title, and interest in and to the Business Owned
Intellectual Property, and have the valid and Enforceable right to use all other Intellectual Property used or
held for use in or necessary for the conduct of the Business, in each case, free and clear of Encumbrances
other than Permitted Encumbrances. Sellers have not granted any Person any right to control the prosecution
or registration of, or commence, defend, or otherwise control any Action with respect to, any (i) Business
Owned Intellectual Property or (ii) Business Licensed Intellectual Property for which Sellers have been
granted the right to control prosecution, registration, or any Actions with respect thereto (as applicable).
Sellers have entered into Enforceable written Contracts with each current and former Employee and
Independent Contractor whereby such Employee or Independent Contractor (A) acknowledges Sellers’
exclusive ownership of all Intellectual Property invented, created, or developed by such Employee or
Independent Contractor within the scope of such Person’s employment or engagement with Sellers,
(B) grants to Sellers a present, irrevocable assignment of any ownership interest such Employee or
Independent Contractor may have in or to such Intellectual Property, and (C) irrevocably waives any right
or interest, including any moral rights, regarding any such Intellectual Property, to the extent permitted by
applicable Law. Sellers have made available to Buyer true and correct copies of all such Contracts. All
assignments and other instruments necessary to establish, record, and perfect Sellers’ ownership interest in
the Business IP Registrations have been validly executed, delivered, and filed with the relevant
Governmental Authorities and authorized registrars. Any payments due by Law or Contract from Sellers to
inventors, authors, or other creators of Business Owned Intellectual Property have been made.

                   (d)     All of the Business Intellectual Property is valid and Enforceable, and all Business
IP Registrations are subsisting and in full force and effect. Sellers have taken all reasonable and necessary
steps to maintain and enforce the Business Intellectual Property and to preserve the confidentiality of all
Trade Secrets included in the Business Intellectual Property, including by requiring all Persons having
access thereto to execute binding, written non-disclosure agreements. Sellers have provided Buyer with
true and correct copies of all such Contracts. All required filings and fees related to the Business IP
Registrations have been timely submitted with and paid to the relevant Governmental Authorities and
authorized registrars, and Section 3.07(d) of the Seller Disclosure Schedule contains a complete and correct
list of all filings and fees due in the next ninety (90) days with respect to the Business IP Registrations.
Sellers have made available to Buyer true and correct copies of all file histories, documents, certificates,
office actions, correspondence, assignments, and other instruments relating to the Business IP Registrations.

                (e)     Neither the execution, delivery nor performance of this Agreement, nor the
consummation of the Contemplated Transactions, will result in the loss or impairment of, or require the
consent of any other Person in respect of Sellers’ right to own or use any Business Intellectual Property or
Business Licensed Intellectual Property, as applicable.

                 (f)     Other than pending challenges by Buyer regarding Buyer’s patents and patent
applications related to Omega-3 technology, of which Yield10 was made aware by letter dated May 24,
2024, previous discussions between Seller and BASF Corporation regarding potential licensing from BASF
Corporation of Camelina varieties that produce land-based Omega-3 docosahexaenoic acid and
eicosapentaenoic acid oils, of which Buyer was made aware, and previous discussions between Seller and


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321527252.4
               Case 24-12752-MFW            Doc 7-2        Filed 12/06/24     Page 62 of 190



Broad/Corteva regarding the requirement for third parties to obtain a commercial license to CRISPR
technology to use Seller’s E3902 Camelina line, FAE1 deletion mutants, and C3007 gene trait, of which
Buyer was made aware, (i) there have been no Actions (including any interference, opposition, reissue, re-
examination, inter partes review, or post grant review), whether settled, pending or threatened (including
in the form of offers to obtain a license) (A) challenging Sellers’ rights to exploit any of the Business
Intellectual Property, (B) alleging any infringement, misappropriation, or other violation by Sellers of the
Intellectual Property rights of any Person, (C) challenging the validity, enforceability, registrability,
patentability, or ownership of any Business Owned Intellectual Property, or Sellers’ right, title, or interest
in or to any Business Owned Intellectual Property or Business Licensed Intellectual Property, or (D) by
Sellers alleging any infringement, misappropriation, or other violation by any Person of the Business
Intellectual Property, and (ii) to Sellers’ Knowledge, there are no facts, circumstances, or conditions that
could reasonably be expected to form the basis for such an Action. Sellers are not subject to any outstanding
or prospective Governmental Order (including any motion or petition therefor) that does or could
reasonably be expected to restrict or impair the use of any Business Intellectual Property.

                 (g)      Other than with respect to pending challenges by Buyer regarding Buyer’s patents
and patent applications related to Omega-3 technology, of which Yield10 was made aware by letter dated
May 24, 2024, previous discussions between Seller and BASF Corporation regarding potential licensing
from BASF Corporation of Camelina varieties that produce land-based Omega-3 docosahexaenoic acid and
eicosapentaenoic acid oils, of which Buyer was made aware, and previous discussions between Seller and
Broad/Corteva regarding the requirement for third parties to obtain a commercial license to CRISPR
technology to use Seller’s E3902 Camelina line, FAE1 deletion mutants, and C3007 gene trait, of which
Buyer was made aware, (i) the conduct of the Business as currently and formerly conducted and as currently
proposed to be conducted, including the use of the Business Intellectual Property in connection therewith,
and the products, processes and services of Sellers in connection with the Business, have not infringed,
misappropriated, or otherwise violated, and will not infringe, misappropriate or otherwise violate, the
Intellectual Property or other rights of any Person, and (ii) to Sellers’ Knowledge, no Person has infringed,
misappropriated, or otherwise violated any Business Intellectual Property.

                 (h)      Sellers have not received any opinion of counsel that the conduct of the Business,
or the practice or other exploitation of any Business Intellectual Property, has infringed, misappropriated,
diluted, or otherwise violated, or will infringe, misappropriate, dilute, or otherwise violate, any Intellectual
Property rights of any other Person.

                (i)      All prior art and information known to Sellers in connection with the Business and
material to the patentability of the Patents included in the Business Owned Intellectual Property was
disclosed to the relevant Governmental Authority during the prosecution of the Patents included in the
Business IP Registrations in accordance with applicable Laws. Sellers have not nor, to Sellers’ Knowledge,
has any other Person, made any untrue statement of a material fact or fraudulent statement or omission to
any applicable Governmental Authority regarding any pending or issued Patent claims included in the
Business IP Registrations. Each of the Patents included in the Business IP Registrations properly identifies
each and every inventor of the claims thereof as determined in accordance with the Laws of the jurisdiction
in which such Patent is issued or pending.

                  (j)      Except as described in Section 3.07(j) of the Seller Disclosure Schedule, no
funding, facilities or personnel of any Governmental Authority were used, directly or indirectly, to develop
or create, in whole or in part, any Business Owned Intellectual Property, and no such Governmental
Authority has any right to, or right to royalties or other payment for, or to impose any requirement on the
manufacture or commercialization of any product incorporating, Business Intellectual Property.




{00040268. }                                          14
321527252.4
               Case 24-12752-MFW             Doc 7-2        Filed 12/06/24      Page 63 of 190



                 (k)     No funding, facilities, or personnel of any educational or research institution, non-
profit organization or any private entity other than Sellers was used to develop or create in whole or in part,
any of Business Owned Intellectual Property, and no such institution or entity has any right to, or right to
royalties or other payment for, or to impose any requirement on the manufacture or commercialization of
any product incorporating, Business Owned Intellectual Property.

                  (l)    Sellers have not used any Open Source Materials in connection with the Business
in a manner that requires any of the Business Owned Intellectual Property, or any portion thereof, to be
subject to any Open Source License. Sellers are in compliance in all material respects with terms of all
relevant licenses (including all requirements related to notices and making source code available to third
parties) for all Open Source Materials Related to the Business.

                 (m)      Sellers are not and have not been, nor are or have any current or former Employee
been, a member of or participated in the work of any standard setting organization, standard development
organization, or patent pool, or may otherwise be obligated to license any Business Owned Intellectual
Property on “reasonable and non-discriminatory” terms or “fair, reasonable, and non-discriminatory” terms,
or to grant a non-assert or a covenant not to sue in relation to Business Intellectual Property.

         Section 3.08     IT Systems.

                  (a)       All Software, computer hardware, servers, networks, platforms, Software services,
communications networks (including telecommunications networks and systems for voice, data, and video),
peripherals, and similar or related items of automated, computerized, or other information technology
networks and systems Related to the Business that are owned, leased, licensed, or used (including through
cloud-based or other third-party service providers) by Sellers (“IT Systems”) are (i) in good working order
in all material respects, (ii) have no material defects, (iii) include safeguards and security, including physical
and electronic access controls, data backup, and disaster recovery systems in accordance in all material
respects with current, generally accepted industry standards and practices, and (iv) are adequate and
sufficient in all material respects for the operation of the Business as currently conducted and as proposed
to be conducted.

                (b)      In the past three (3) years, there has been no material malfunction, failure,
continued substandard performance, denial-of-service, or other cyber incident, including any cyberattack
or other impairment of the IT Systems. The IT Systems are free of any Harmful Code, and Sellers have
taken all commercially reasonable steps to detect and remove any Harmful Code in their IT Systems and to
safeguard the confidentiality, availability, security, and integrity of the IT Systems, including implementing
and maintaining appropriate backup, disaster recovery, and Software and hardware support arrangements.

                 (c)     All third-party Software used in or comprising an IT System, including Software
applications approved by Sellers for use on Personal Devices, are used in all material respects in accordance
with valid Software license agreements and such licenses and related maintenance agreements will remain
in effect notwithstanding the Contemplated Transactions.

         Section 3.09     Privacy and Data Security.

                (a)     Sellers have policies and procedures to provide secure remote access from personal
devices, such as personal computers, cell phones, laptops, and tablet computers (“Personal Devices”), to
the IT Systems and Sellers have processes to enable them to delete confidential, proprietary, and personal
information stored on such Personal Devices.




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321527252.4
               Case 24-12752-MFW            Doc 7-2        Filed 12/06/24     Page 64 of 190



                 (b)     Sellers, and to Sellers’ Knowledge, all vendors, processors, or other third parties
acting for or on behalf of Sellers in connection with the collection, receipt, access, use, handling,
compilation, creation, analysis, monitoring, maintenance, retention, storage, transmission, transfer,
protection, disclosure, distribution, destruction, or disposal of Personal Information in the conduct of the
Business (“Processing”), or that otherwise have been authorized to have access to Personal Information in
the possession or control of Sellers in the conduct of the Business, comply and at all times in the past
three (3) years have complied in all material respects with (i) all applicable Privacy Laws, (ii) rules of self-
regulatory organizations, including the Payment Card Industry Data Security Standard, (iii) industry
standards, guidelines, and best practices for data security, including the National Institute of Standards and
Technology (NIST) Cybersecurity Framework, (iv) Sellers’ Privacy and Data Security Policies, and
(v) applicable contractual obligations concerning the Processing of Personal Information to which Sellers
are a party or otherwise bound.

                 (c)      In the past three (3) years, (i) to Sellers’ Knowledge, no Personal Information in
the possession or control of Sellers or held or Processed by any vendor, processor, or other third party for
or on behalf of Sellers, in each case, in connection with the Business, have been subject to any data breach
or other security incident that has resulted in unauthorized access, disclosure, use, denial of use, alteration,
corruption, destruction, compromise, or loss of such Personal Information or that has caused or would
reasonably be expected to cause a disruption to the conduct of the Business (a “Security Incident”) and
(ii) Sellers have not notified and, to Sellers’ Knowledge, there have been no facts or circumstances that
would require Sellers to notify, any Governmental Authority or other Person of any Security Incident.

                (d)      In the past three (3) years, Sellers have not received any notice, request, claim,
complaint, correspondence, or other communication in writing from any Governmental Authority or other
Person, and to Sellers’ Knowledge there has not been any audit, investigation, enforcement action
(including any fines or other sanctions), or other Action, relating to any actual, alleged, or suspected
Security Incident or violation of any Privacy Law, Sellers’ Privacy and Data Security Policy, any
contractual agreement relating to the Processing of Personal Information, or any Person’s individual privacy
rights involving Personal Information in the possession or control of Sellers, or held or processed by any
vendor, processor, or other third party for or on behalf of Sellers, in each case, in connection with the
Business, and there are no facts or circumstances that would reasonably be expected to give rise to any of
the foregoing.

                (e)      Sellers have at all times in the past three (3) years maintained, and required all
vendors, processors, or other third parties that Process any Personal Information for or on behalf of Sellers
to implement and maintain, commercially reasonable security measures, plans, procedures, controls, and
programs to (i) identify and address internal and external risks to the privacy and security of Personal
Information in their possession or control in connection with the Business, (ii) implement, monitor, and
improve adequate and effective administrative, technical, and physical safeguards to protect such Personal
Information, and (iii) provide notification in compliance with applicable Privacy Laws in the case of any
Security Incident.

                 (f)      For the past three (3) years, Sellers have posted to their websites and any mobile
applications their Privacy and Data Security Policy. No disclosure or representation made or contained in
such Privacy and Data Security Policy has been inaccurate, misleading, deceptive, or in violation of any
applicable Privacy Laws (including by containing any material omission). Sellers and, to Sellers’
Knowledge, any vendor, processor, or other third-party Processing Personal Information for or on behalf
of Sellers in connection with the Business are and have been in compliance with such Privacy and Data
Security Policies in all material respects.




{00040268. }                                          16
321527252.4
               Case 24-12752-MFW             Doc 7-2         Filed 12/06/24      Page 65 of 190



                  (g)     The execution, delivery, and performance of this Agreement and the
consummation of the Contemplated Transactions do not and will not: (i) conflict with or result in a violation
or breach of any Privacy Laws or Sellers’ Privacy and Data Security Policies (as currently existing or as
existing at any time during which any Personal Information was collected or Processed by or for Sellers)
or (ii) require the consent of or notice to any Person concerning such Person’s Personal Information.

                 (h)     For the past two and one half (2.5) years, Sellers have maintained a cyber insurance
policy that is adequate and suitable for the nature and volume of Personal Information Processed by or on
behalf of Sellers in connection with the Business. Sellers have made available to Buyer a true and correct
copy of such cyber insurance policy.

         Section 3.10    Assigned Contracts. Each Assigned Contract is Enforceable against Sellers, and to
Sellers’ Knowledge, is Enforceable against each other party to such Contract. Neither Sellers nor, to Sellers’
Knowledge, any other party thereto is in material breach of or default under (or is alleged to be in material
breach of or default under), or has provided or received any notice of any intention to terminate, any
Assigned Contract. No event or circumstance has occurred that, with notice or lapse of time or both, would
constitute an event of default under any Assigned Contract or result in a termination thereof or would cause
or permit the acceleration or other changes of any right or obligation or the loss of any benefit thereunder.
True and correct copies of each Assigned Contract (including all modifications, amendments, and
supplements thereto and waivers thereunder) have been made available to Buyer.

         Section 3.11     Suppliers.

                (a)     Sellers have not received any written notice or, to Sellers’ Knowledge, oral notice,
and have no reason to believe, that any supplier of goods or services to the Business has ceased, or intends
to cease, to supply goods or services to the Business or to otherwise terminate or materially reduce its
supply of goods or services in connection with the Business.

                (b)      Sellers have no sole-source supplier of significant goods or services with respect
to the Business (other than utilities) with respect to which practical alternative sources are not reasonably
available on substantially equivalent terms and conditions.

         Section 3.12      Insurance. Section 3.12 of the Seller Disclosure Schedule sets forth a complete and
correct list of all current policies and binders of fire, liability, product liability, umbrella liability, real and
personal property, workers’ compensation, vehicular, directors’ and officers’ liability, fiduciary liability,
and other casualty and property insurance maintained by Sellers and primarily relating to the assets,
business, operations, employees, officers, and directors of the Business (collectively, the “Insurance
Policies”) and true and correct copies of such Insurance Policies have been made available to Buyer. The
Insurance Policies are in full force and effect. Sellers have not received any written notice of cancellation
of, premium increase with respect to, or alteration of coverage under, any of the Insurance Policies. All
premiums due on the Insurance Policies have either been paid or, if due and payable prior to Closing, will
be paid prior to Closing in accordance with the payment terms of each Insurance Policy. The Insurance
Policies do not provide for any retrospective premium adjustment or other experience-based liability on the
part of Sellers. All of the Insurance Policies (a) are valid and binding in accordance with their terms and
(b) have not been subject to any lapse in coverage. Sellers are not in default under, and have not otherwise
failed to comply in any material respect with any provision contained in, any Insurance Policy. The
Insurance Policies are of the type and in the amounts customarily carried by Persons conducting a business
similar to the Business and are sufficient for compliance with all applicable Laws and Contracts to which
Sellers are a party or by which they are bound. There are no claims related to the Business pending under
any of the Insurance Policies as to which coverage has been questioned, denied, or disputed or in respect
of which there is an outstanding reservation of rights.


{00040268. }                                            17
321527252.4
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24     Page 66 of 190



       Section 3.13      Legal Proceedings; Governmental Orders. Except in connection with the Chapter
11 Case:

                  (a)     There have been no Actions pending or threatened in writing (i) against or by
Sellers or (ii) against any director, officer, or employee of Sellers acting in their capacity as such who has
a right to seek indemnification from Sellers, in each case, in connection with the Business. No event has
occurred or circumstances exist that may give rise to, or serve as a reasonable basis for, any such Action.
There are no pending or threatened whistleblower claims concerning Sellers (including any employees
thereof) in connection with the Business.

                (b)      There are no Actions pending in which Sellers are plaintiff or claimant, and no
event has occurred or circumstances exist to Sellers’ Knowledge that would give rise to, or serve as a
reasonable basis for, any such Action, in each case, in connection with the Business.

                (c)     There are no outstanding Governmental Orders and no unsatisfied judgments,
penalties, or awards against or affecting Sellers in connection with the Business or any of the Purchased
Assets.

         Section 3.14    Compliance With Laws; Permits.

               (a)      Sellers have complied, and are now complying, in all material respects with all
Laws applicable to the Business.

                 (b)     In connection with the Business, Sellers have not, nor, to the Sellers’ Knowledge,
have any of their directors, officers, agents, employees, or representatives, violated the Foreign Corrupt
Practices Act of 1977, the U.S. Bank Secrecy Act, or the Corruption of Foreign Public Officials Act
(Canada), each as amended, any rules or regulations thereunder, or any other applicable anti-corruption or
anti-kickback Law of any jurisdiction (collectively, “Anti-corruption Laws”), and none of the foregoing
Persons have been involved, or are currently involved, in any investigation or have received notice of any
current or past complaint of an anti-corruption, anti-bribery, or anti-money laundering issue or violation of
any Anti-corruption Laws, or have received any notice of investigation by a Governmental Authority with
respect to any alleged non-compliance with any Anti-corruption Laws.

               (c)      In connection with the Business, neither Sellers nor any of their directors, officers,
agents, employees, or representatives or other persons acting on their behalf has been or is currently subject
to any U.S. sanctions administered by the Office of Foreign Assets Control of the U.S. Treasury
Department.

                  (d)     All material Permits required for Sellers to conduct the Business have been
obtained by them and are valid and in full force and effect. All fees and charges with respect to such Permits
have been paid in full. Section 3.14(d) of the Seller Disclosure Schedule contains a complete and correct
list of all current Permits issued to Sellers in connection with the Business, including the names of the
Permits and their respective dates of issuance and expiration. No event has occurred that, with or without
notice or lapse of time or both, would reasonably be expected to result in the revocation, suspension, lapse,
or limitation of any such Permit.

         Section 3.15    Taxes.

              (a)     All Tax Returns required to be filed by on or behalf of Sellers with respect to the
Business on or before the Closing Date have been, or will be, timely filed with the appropriate
Governmental Authority (taking into account applicable extensions of time to file). All such Tax Returns


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321527252.4
               Case 24-12752-MFW            Doc 7-2        Filed 12/06/24     Page 67 of 190



are, or will be, true, complete and correct in all respects. All Taxes due and owing by Sellers with respect
to the Business (whether or not shown on any Tax Return) have been, or will be, timely paid. All Taxes
required to have been paid by or on behalf of Sellers with respect to the Business on or before the Closing
Date, regardless of whether such Taxes are required to have been shown on any Tax Return, have been
timely paid to the appropriate Governmental Authority.

                 (b)     There are no Encumbrances for Taxes upon any of the Purchased Assets and no
Governmental Authority is in the process of imposing any Encumbrances for Taxes on any of the Purchased
Assets (other than for current Taxes not yet due and payable).

               (c)      There are no Tax audits, examinations, investigations or other claims or
assessments pending or threatened in writing against or with respect to Sellers.

                 (d)     There are not currently in force any waivers, agreements or other arrangements
extending the period for assessment or collection of any Taxes (including any applicable statute of
limitation) by or on behalf of Sellers.

                 (e)      Sellers have complied in all respects with all applicable Laws relating to the
payment and withholding of Taxes and have properly and timely withheld all Taxes required to be withheld
by Sellers in connection with amounts paid or owing to any employee, former employee, independent
contractor, creditor, shareholder, Affiliate, customer, supplier, or other Person as it relates to the Business.
Sellers have properly and timely paid all such withheld Taxes to the appropriate Governmental Authority
or have properly set aside such withheld amounts in accounts for such purpose.

                 (f)      Neither Seller has been a member of an affiliated, combined, consolidated, or
unitary Tax group for Tax purposes, other than a group the common parent of which is Yield10. Sellers
have no Liability for the Taxes of any Person under Treasury Regulations Section 1.1502-6 (or any similar
provision of state, local or foreign Law), as a transferee or successor, by contract or otherwise. Sellers are
not a party to, nor is bound by, any Tax indemnity agreement, Tax sharing agreement or Tax allocation
agreement (other than any agreement entered into in the Ordinary Course of Business the principal purpose
of which is not related to Taxes). Sellers are not, nor has ever been, a party to a “reportable transaction”
within the meaning of Section 6707A of the Tax Code and Treasury Regulation Section 1.6011-4(b).

                   (g)      Sellers have made available to Buyer true and correct copies of (i) the portion of
Sellers’ federal Tax Returns primarily relating to the Business for taxable periods since January 1, 2021,
(ii) any state, local, or foreign Tax Returns of the Business since January 1, 2021, and (iii) any audit report
or statement of deficiencies assessed against, agreed to by, or with respect to Sellers for all Tax periods
ending after January 1, 2021.

                   (h)     None of the Purchased Assets is (i) required to be treated as being owned by
another person pursuant to the so-called “safe harbor lease” provisions of former Section 168(f)(8) of the
Internal Revenue Code of 1954, as amended, (ii) subject to Section 168(g)(1)(A) of the Tax Code, or
(iii) subject to a disqualified leaseback or long-term agreement as defined in Section 467 of the Tax Code.

                (i)     None of the Purchased Assets is tax-exempt use property within the meaning of
Section 168(h) of the Tax Code.

                 (j)     No private letter rulings, technical advice memoranda or similar agreement or
rulings have been requested, entered into or issued by any Governmental Authority with respect to Taxes
of Sellers or with respect to the Business.



{00040268. }                                          19
321527252.4
               Case 24-12752-MFW            Doc 7-2         Filed 12/06/24     Page 68 of 190



                 (k)      No written claim has been made by any Governmental Authority in any
jurisdiction where a Seller does not file Tax Returns that such Seller is, or may be, subject to Tax in that
jurisdiction. Neither Seller has any branch or permanent establishment (within the meaning of any
applicable tax treaty) in any country other than the country of its formation.

         Section 3.16     Employment Matters.

                 (a)     Except as set forth in Section 3.16(a) of the Seller Disclosure Schedule, (i) all
compensation, including wages, commissions, and bonuses, payable to all Employees or Independent
Contractors for services performed on or prior to the date hereof have been paid in full, (ii) there are no
Actions with respect to payment of compensation, commission, bonuses, wages, salary or overtime pay that
are pending or, to Sellers’ Knowledge, threatened before any Governmental Authority with respect to any
Employees or Independent Contractors, and (iii) there are no outstanding agreements, undertakings, or
commitments of Sellers with respect to any compensation, commissions, or bonuses of any Employees or
Independent Contractors that have not been made available to Buyer.

                    (b)      The employment of each Employee is “at will,” and can be terminated at any time
without Liability to Sellers. Except as set forth in Section 3.16(b) of the Seller Disclosure Schedule, Sellers
are not a recipient of any outsourced or temporary labor from any third party or contracts with a professional
employer organization, staffing agency, or similar entity in relation to the Business. No management-level
Employee has informed Sellers of any plan to terminate employment and, to Sellers’ Knowledge, no such
person has any plans to terminate employment with Sellers. To Sellers’ Knowledge, no Employee is a party
to or bound by any Contract that (i) could adversely affect the performance of such Employee’s duties other
than for the benefit of the Business, (ii) could adversely affect the ability of Sellers to conduct the Business,
(iii) restricts or limits in any way the scope or type of work in which such Employee may be engaged other
than for the benefit of the Business, or (iv) requires such Employee to transfer, assign, or disclose
information concerning such Employee’s work to anyone other than Sellers.

                 (c)      Neither Seller is, or has ever been, a party to, bound by, or negotiating any
collective bargaining agreement or other Contract with a union, works council, or labor organization
(collectively, “Union”) in connection with the Business, and there is not, and there has never been, to
Sellers’ Knowledge, any Union representing or purporting to represent any Employee, and no Union or
group of such Employees is seeking or has sought to organize Employees for the purpose of collective
bargaining. Similarly, neither Seller is, or has ever been, a party to, bound by, or negotiating any neutrality
agreement, labor harmony agreement, labor peace agreement or other similar Contract. Sellers are not, and
never have been, subject to any charge, demand, petition, representation proceeding, or picketing seeking
to compel, require, or demand them to bargain with any Union in relation to the Business. Sellers have not
committed any unfair labor practice in relation to the Business and there is no pending or, to Sellers’
Knowledge, threatened complaint regarding any alleged unfair labor practice in relation to the Business,
nor is there any pending grievance (including a grievance which has been arbitrated and is awaiting on a
decision and award) pursuant to any collective bargaining agreement or other Contract. There has never
been, nor is there currently pending, any threat of, any strike, slowdown, work stoppage, lockout, concerted
refusal to work overtime, picketing, or other similar labor disruption or dispute affecting Sellers in relation
to the Business. Sellers have no duty to bargain with any Union in connection with the Business.

                  (d)    Sellers are and have been in compliance in all material respects with all applicable
Laws pertaining to employment and employment practices in the conduct of the Business, including all
Laws relating to labor relations, equal employment opportunities, fair employment practices, employment
discrimination, harassment, retaliation, reasonable accommodation, disability rights or benefits,
immigration (including work visas and employment authorization), wages, hours, overtime compensation,
child labor, hiring, promotion and termination of employees, plant closures and layoffs, affirmative action,


{00040268. }                                           20
321527252.4
               Case 24-12752-MFW             Doc 7-2        Filed 12/06/24      Page 69 of 190



pay transparency, pay equity, working conditions, meal and break periods, privacy, occupational health and
safety, workers’ compensation, paid sick leave, leaves of absence, and unemployment insurance, and the
collection and payment of withholding Tax, social security Tax, and similar Tax arising from the conduct
of the Business. All Persons characterized and treated by Sellers as Independent Contractors satisfy (or
satisfied) the requirements of applicable Laws to be treated as independent contractors, including wage
Laws and Laws applicable to employee benefits, and no current or former Independent Contractor is (or
was) entitled to be classified as an employee of Sellers. To Sellers’ Knowledge, no current or former
Independent Contractor has made any claim, whether verbally or in writing, that they are (or were), or
should be (or should have been) classified as, an employee of Sellers. All current Employees classified as
exempt under the Fair Labor Standards Act and state and local wage and hour laws are (or were) properly
classified.

                 (e)      Sellers are, and since January 1, 2018 have been, in compliance in all material
respects with the requirements of the Immigration Reform Control Act of 1986 in the conduct of the
Business, including maintaining timely, accurate and complete Form I-9s with respect to each of its former
and current Employees as required by and in accordance with applicable Law concerning immigration and
employment eligibility verification obligations. All Employees who are performing services in the United
States are legally permitted to work in the United States and will be legally permitted to work in the United
States and to perform services for Buyer immediately following the consummation of the Contemplated
Transactions. Sellers have not received any written correspondence from the United States Social Security
Administration advising of a “no-match” between any current or former Employee’s name and social
security number, and there has been no alleged mismatch between the name and social security number of
any current or former Employee. To Sellers’ Knowledge, each Employee is legally permitted to be
employed by the applicable entity in the jurisdiction in which such Employee is employed in such
Employee’s current job capacities for the maximum period allowed under applicable Law.

                 (f)      There have been no Actions against Sellers or their Affiliates and there are no
Actions pending, or to Sellers’ Knowledge, threatened to be brought or filed, by or with any Governmental
Authority or arbitrator in connection with the employment of any current or former applicant, Employee,
Independent Contractor, volunteer, or intern of Sellers arising from the conduct of the Business, including
any claim relating to unfair labor practices, employment discrimination, harassment, retaliation, equal pay,
reasonable accommodation, disability rights or benefits, immigration, employee classification, child labor,
privacy, workers’ compensation, or workplace safety and insurance claims, paid sick leave, wage and hours
or any other labor or employment related matter arising under applicable Laws. Neither Seller is a party to,
or otherwise bound by, any consent decree with, or citation by, any Governmental Authority relating to
employees or employment practices in connection with the Business. There are no pending claims against
Sellers or their Affiliates under any workers’ compensation plan or policy or for long-term disability in
connection with to the Business.

                 (g)     Since January 1, 2020, no allegations of discrimination, sexual harassment or
misconduct in the course of being employed by Sellers have been made against (i) any Employee holding
a managerial position, or any current or former officer or director of Sellers, or (ii) Sellers’ service provider,
in each case, in connection with the Business. Sellers have not entered into any settlement agreement or
conducted any investigation related to allegations of sexual harassment or sexual misconduct by or
regarding any employee or other Representative of Sellers arising from the conduct of the Business.

                 (h)     Sellers have complied, and are in compliance, in all material respects with the
Families First Coronavirus Response Act and all similar applicable state and local Laws, including the
provision of paid leave benefits required thereunder and any applicable recordkeeping requirements, in each
case, in the conduct of the Business. Sellers are and have been in compliance in all material respects with
all applicable Laws related to COVID-19 in the workplace in the conduct of the Business, including


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321527252.4
               Case 24-12752-MFW            Doc 7-2         Filed 12/06/24     Page 70 of 190



occupational health and safety Laws, Laws pertaining to confidentiality of employee medical information,
Laws pertaining to sick leave or family and medical leave, and Laws pertaining to vaccination mandates
(and exemptions therefrom).

                (i)      Since January 1, 2021, Sellers have not implemented or been involved in any
“mass layoff”, “plant closing” or similarly defined conduct (as defined in the WARN Act) in connection
with the Business. Sellers are, and at all material times have been, in compliance with the WARN Act, and
have no plans to undertake any action before the Closing Date that would trigger the WARN Act.

         Section 3.17     Employee Benefit Matters.

                 (a)      Each Benefit Plan and any related trust has been established, administered, and
maintained in accordance with its terms and in compliance with all applicable Laws (including ERISA and
the Tax Code). Each Benefit Plan that is intended to be qualified within the meaning of Section 401(a) of
the Tax Code (a “Qualified Benefit Plan”) is so qualified and received a favorable and current determination
letter from the Internal Revenue Service, or with respect to a prototype or volume submitter plan, can rely
on an opinion letter from the Internal Revenue Service to the prototype plan or volume submitter plan
sponsor, to the effect that such Qualified Benefit Plan is so qualified and that the plan and the trust related
thereto are exempt from federal income taxes under Sections 401(a) and 501(a), respectively, of the Tax
Code, and nothing has occurred that could reasonably be expected to adversely affect the qualified status
of any Qualified Benefit Plan. Nothing has occurred with respect to any Benefit Plan that has subjected or
could reasonably be expected to subject Sellers or any of their ERISA Affiliates or, with respect to any
period on or after the Closing Date, Buyer or any of its Affiliates, to a penalty under Section 502 of ERISA
or to tax or penalty under Sections 4975 or 4980H of the Tax Code. Sellers have not taken any corrective
action or made a filing under any voluntary correction program of the Internal Revenue Service, Department
of Labor, or any other Governmental Authority with respect to any Benefit Plan, and, to Sellers’
Knowledge, there are no material plan defects with respect to any Benefit Plan that would qualify for
correction under any such program.

                 (b)     Neither Sellers nor any of their ERISA Affiliates have, in connection with the
Business, (i) violated any of the health care continuation requirements of COBRA, the requirements of the
FMLA, the requirements of the Health Insurance Portability and Accountability Act of 1996, the
requirements of the Women’s Health and Cancer Rights Act of 1998, the requirements of the Newborns’
and Mothers’ Health Protection Act of 1996, the Patient Protection and Affordable Care Act, the Health
Care and Education Reconciliation Act of 2010, or any amendment to each such act, or any similar
provisions of state Law, (ii) incurred or reasonably expect to incur, either directly or indirectly, any material
Liability under Title I or Title IV of ERISA or related provisions of the Tax Code or any Tax or penalty
under Section 4975 or 4980 of the Tax Code or the Patient Protection and Affordable Care Act of 2010, as
amended, (iii) engaged in any transaction which would give rise to liability under Section 4069 or
Section 4212(c) of ERISA, (iv) incurred taxes under Section 4971 of the Tax Code with respect to any
Benefit Plan, or (v) maintained, established, sponsored, participated in, or contributed to any self-insured
plan that provides benefits to employees (including any such plan pursuant to which a stop-loss policy or
contract applies).

                  (c)    With respect to each Benefit Plan: (i) no such plan is a multiemployer plan within
the meaning of Section 3(37) of ERISA, (ii) no such plan is a “multiple employer plan” within the meaning
of Section 413(c) of the Tax Code, a “multiple employer welfare arrangement” (as defined in Section 3(40)
of ERISA), a “funded welfare plan” (within the meaning of Section 419 of the Tax Code) or a “voluntary
employees’ benefit association” (as defined in Section 501(c)(9) of the Tax Code), (iii) no Action has been
initiated by the Pension Benefit Guaranty Corporation to terminate any such plan or to appoint a trustee for
any such plan, (iv) no such plan or the plan of any ERISA Affiliate is subject to Title IV of ERISA or the


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321527252.4
               Case 24-12752-MFW           Doc 7-2         Filed 12/06/24     Page 71 of 190



minimum funding requirements of Section 412 of the Tax Code, and (v) no “reportable event,” as defined
in Section 4043 of ERISA, with respect to which the reporting requirement has not been waived, has
occurred with respect to any such plan.

                (d)      No Benefit Plan provides post-termination or retiree health benefits to any Person
for any reason other than as required under Sections 601 to 608 of ERISA or other applicable Law.

                 (e)      There is no pending or, to Sellers’ Knowledge, threatened Action relating to a
Benefit Plan (other than routine claims for benefits), and no Benefit Plan has within the six (6) years prior
to the date hereof been the subject of an examination or audit by a Governmental Authority or the subject
of an application or filing under or is a participant in, an amnesty, voluntary compliance, self-correction, or
similar program sponsored by any Governmental Authority.

                  (f)      There has been no amendment to, announcement by Sellers or any of their
Affiliates relating to, or change in employee participation or coverage under, any Benefit Plan that would
increase the annual expense of maintaining such plan above the level of the expense incurred for the most
recently completed fiscal year (other than on a de minimis basis) with respect to any Employee, Independent
Contractor, director, or officer of Sellers who performs services in connection with the Business. Neither
Sellers nor any of their Affiliates have any commitment or obligation or have made any representations to
any such Employee, Independent Contractor, director, or officer, whether or not legally binding, to adopt,
amend, modify, or terminate any Benefit Plan.

                (g)     Each Benefit Plan that is subject to Section 409A of the Tax Code has been
administered in compliance with its terms and the operational and documentary requirements of
Section 409A of the Tax Code and all applicable regulatory guidance (including notices, rulings, and
proposed and final regulations) thereunder. Sellers have no obligation to gross up, indemnify, or otherwise
reimburse any Person for any excise taxes, interest, or penalties incurred pursuant to Section 409A or 4999
of the Tax Code.

                  (h)     Neither the execution of this Agreement nor the consummation of the
Contemplated Transactions will (either alone or upon the occurrence of any additional or subsequent
events) (i) entitle any current or former director, officer, Employee or Independent Contractor of Sellers to
severance pay or any other payment, (ii) accelerate the time of payment, funding, or vesting or increase the
amount of compensation (including stock-based compensation) due to any such Person, (iii) increase the
amount payable under or result in any other material obligation pursuant to any Benefit Plan, (iv) result in
“excess parachute payments” within the meaning of Section 280G(b) of the Tax Code, or (v) require a
“gross-up” or other payment to any “disqualified individual” within the meaning of Section 280G(c) of the
Tax Code.

         Section 3.18    Environmental Matters.

                 (a)    Sellers are currently and have been in compliance in all material respects with all
Environmental Laws that are applicable to the Business and the Purchased Assets and have not received
from any Person any (i) Environmental Notice or Environmental Claim or (ii) written request for
information pursuant to Environmental Law, which, in each case, either remains pending or unresolved, or
is the source of ongoing obligations or requirements as of the Closing Date, in each case, with respect to
the Business or the Purchased Assets.

                (b)     Sellers have obtained and are in material compliance with all Environmental
Permits (each of which is disclosed in Section 3.18(b) of the Seller Disclosure Schedule) necessary for the
ownership, lease, or use of the Purchased Assets and the operation of the Business and all such


{00040268. }                                          23
321527252.4
               Case 24-12752-MFW            Doc 7-2        Filed 12/06/24     Page 72 of 190



Environmental Permits are in full force and effect and shall be maintained in full force and effect by Sellers
through the Closing Date in accordance with Environmental Law. To Sellers’ Knowledge, no condition,
event, or circumstance exists that could reasonably be expected to prevent or impede, after the Closing
Date, the conduct of the Business or the ownership, lease, operation or use of the Purchased Assets. With
respect to any such Environmental Permits, Sellers have undertaken, or will undertake prior to the Closing
Date, all measures necessary to facilitate transferability of the same, and Sellers are not aware of any
condition, event or circumstance that might prevent or impede the transferability of the same, and have not
received any Environmental Notice or written communication regarding any Material Adverse Effect in the
status or terms and conditions of the same.

                 (c)      To Sellers’ Knowledge, no Purchased Assets or Real Property currently or
formerly owned, operated, or leased by Sellers in connection with the Business is listed on, or has been
proposed for listing on, the National Priorities List (or CERCLIS) under CERCLA, or any similar state list.

                 (d)      To Sellers’ Knowledge, there has been no Release of Hazardous Materials in
contravention of Environmental Law with respect to the Business or the Purchased Assets or any Real
Property currently or formerly owned, operated, or leased by Sellers in connection with the Business, and
Sellers have not received an Environmental Notice that any Real Property currently or formerly owned,
operated, or leased in connection with the Business (including soils, groundwater, surface water, buildings,
and other structures located on any such Real Property) has been contaminated with any Hazardous Material
that could reasonably be expected to result in an Environmental Claim against, or a violation of
Environmental Law or term of any Environmental Permit by, Sellers.

                   (e)     Section 3.18(e) of the Seller Disclosure Schedule contains a complete and correct
list of all active or abandoned aboveground or underground storage tanks owned or operated by Sellers in
connection with the Business or the Purchased Assets.

                    (f)    Section 3.18(f) of the Seller Disclosure Schedule contains a complete and correct
list of all off-site Hazardous Materials treatment, storage, or disposal facilities or locations used by Sellers
in connection with the Business or the Purchased Assets as to which Sellers may retain liability, and none
of these facilities or locations has been placed or proposed for placement on the National Priorities List (or
CERCLIS) under CERCLA, or any similar state list, and Sellers have not received any Environmental
Notice regarding potential Liabilities with respect to such off-site Hazardous Materials treatment, storage,
or disposal facilities or locations used by Sellers.

                 (g)      Sellers have not retained or assumed, by Contract or operation of Law, any
Liabilities of third parties under Environmental Law in connection with the Business or the Purchased
Assets.

                (h)      Sellers have made available to Buyer and listed in Section 3.18(h) of the Seller
Disclosure Schedule (i) any and all environmental reports, studies, audits, records, sampling data, site
assessments, risk assessments, economic models, and other similar documents with respect to the Business
or Purchased Assets or any currently or formerly owned, operated, or leased Real Property that are in the
possession or control of Sellers related to compliance with Environmental Laws, Environmental Claims or
an Environmental Notice or the Release of Hazardous Materials and (ii) any and all material documents
concerning planned or anticipated capital expenditures required for the Business to reduce, offset, limit, or
otherwise control pollution and/or emissions, manage waste, or otherwise ensure compliance with current
or future Environmental Laws (including costs of remediation, pollution control equipment, and operational
changes).




{00040268. }                                          24
321527252.4
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24     Page 73 of 190



                (i)     To Sellers’ Knowledge, no condition, event, or circumstance concerning the
Release or regulation of Hazardous Materials exists that, after the Closing Date, could reasonably be
expected to prevent, impede, or materially increase the costs associated with the ownership, lease,
operation, performance, or use of the Purchased Assets or the operation of the Business.

               (j)    To Sellers’ Knowledge, there has been no unintended release of any Trait
developed or used by Sellers into the environment in any jurisdiction in which such Trait has not been
deregulated.

        Section 3.19     Related Party Transactions. No officer or director of either Seller nor any Person
owning five percent (5%) or more of the issued and outstanding shares of capital stock of Yield10 (or any
such Person’s immediate family members or Affiliates) is, or has been during the past three (3) years, a
party to any Contract with or binding upon Sellers, in each case, in connection with the Business (other
than Benefit Plans) or has any right, title or interest in any of the Purchased Assets.

         Section 3.20   No Brokers. No broker, finder, or investment banker is entitled to any brokerage,
finder’s, or other fee or commission in connection with the Contemplated Transactions based upon
arrangements made by or on behalf of Sellers.

                                      ARTICLE IV
                        REPRESENTATIONS AND WARRANTIES OF BUYER

        Buyer represents and warrants to Sellers that the statements contained in this Article IV are true
and correct as of the date hereof and as of the Closing Date.

         Section 4.01    Organization and Authority of Buyer; Due Execution.

                 (a)      Buyer is a corporation duly organized, validly existing, and in good standing under
the Laws of the State of Delaware. Buyer has full corporate power and authority to enter into this Agreement
and the other Transaction Documents to which Buyer is a party, to carry out its obligations hereunder and
thereunder and to consummate the Contemplated Transactions.

                  (b)     The execution and delivery by Buyer of this Agreement and any other Transaction
Document to which Buyer is or will be a party, the performance by Buyer of its obligations hereunder and
thereunder, and the consummation by Buyer of the Contemplated Transactions have been duly authorized
by all requisite corporate action on the part of Buyer. This Agreement has been duly executed and delivered
by Buyer, and (assuming due authorization, execution, and delivery by Sellers) constitutes a legal, valid,
and binding obligation of Buyer, Enforceable against Buyer. When each other Transaction Document to
which Buyer is or will be a party has been duly executed and delivered by Buyer (assuming due
authorization, execution, and delivery by each other party thereto), such Transaction Document will
constitute a legal and binding obligation of Buyer, Enforceable against Buyer.

         Section 4.02    No Conflicts; Consents.

                   (a)     Subject to the entry of the Sale Order, the execution, delivery, and performance by
Buyer of this Agreement and the other Transaction Documents to which it is or will be a party, and the
consummation of the Contemplated Transactions, do not and will not (i) conflict with or result in a violation
or breach of, or default under, any provision of its Organizational Documents, (ii) conflict with or result in
a violation or breach of any provision of any Law or Governmental Order applicable to Buyer, or
(iii) require the consent, notice or other action by any Person under any Contract to which Buyer is a party.



{00040268. }                                         25
321527252.4
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24     Page 74 of 190



                 (b)      Subject to the entry of the Sale Order, no consent, approval, Permit, Governmental
Order, declaration or filing with, or notice to, any Governmental Authority is required by or with respect to
Buyer in connection with the execution and delivery of this Agreement and the other Transaction
Documents and the consummation of the Contemplated Transactions, except for such reports under the
Exchange Act as may be required in connection with this Agreement and the Contemplated Transactions.

         Section 4.03   Brokers. No broker, finder, or investment banker is entitled to any brokerage,
finder’s, or other fee or commission in connection with the Contemplated Transactions based upon
arrangements made by or on behalf of Buyer.

      Section 4.04     Sufficiency of Funds. Buyer has sufficient cash on hand or other sources of
immediately available funds to enable it to make payment of the Purchase Price and consummate the
Contemplated Transactions.

        Section 4.05     Legal Proceedings. Except in connection with the Chapter 11 Case, there are no
Actions pending or, to Buyer’s knowledge, threatened against or by Buyer or any Affiliate of Buyer that
challenge or seek to prevent, enjoin, or otherwise delay the Contemplated Transactions.

         Section 4.06     Investigation by Buyer. Except as otherwise specifically provided herein: (a) all of
the Purchased Assets and Assumed Liabilities of Sellers are being sold and transferred to Buyer on an “as
is” and “where is” basis and all warranties, express or implied, including warranties of merchantability and
fitness for use, are excluded from the sale and transfer of the Purchased Assets and Assumed Liabilities of
Sellers and (b) Sellers make no representations or warranties of any nature with respect to the Purchased
Assets, other than as expressly provided for herein, including without limitation, estimates, projections,
predictions, forecasts, data, financial information, memoranda, presentations or future prospects.

                                               ARTICLE V
                                              COVENANTS

         Section 5.01    Conduct of Business Prior to the Closing.

                  (a)     From the date hereof until the earlier to occur of the Closing or the termination of
this Agreement pursuant to Article VII (the “Pre-Closing Period”), except as otherwise provided in this
Agreement or consented to in writing by Buyer (which consent shall not be unreasonably withheld or
delayed), Sellers shall conduct the Business in the Ordinary Course of Business and shall use commercially
reasonable efforts to maintain and preserve intact the current organization and franchise of the Business
and to preserve the rights, franchises, goodwill, and relationships of its Employees, Independent
Contractors, customers, lenders, suppliers, regulators, and others having business relationships with Sellers
in relation to the Business. Without limiting the foregoing, during the Pre-Closing Period, with respect to
the Business, Sellers shall:

                         (i)     use their respective commercially reasonable efforts to preserve and
maintain all of the Permits included within the Purchased Assets;

                        (ii)     maintain the Purchased Assets in the same condition as they were on the
date of this Agreement, subject to reasonable wear and tear;

                         (iii)    continue in full force and effect without modification all Insurance
Policies that are Related to the Business;

                         (iv)    defend and protect the Purchased Assets from infringement or usurpation;


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321527252.4
               Case 24-12752-MFW           Doc 7-2         Filed 12/06/24     Page 75 of 190



                         (v)      perform all of their respective obligations under all Assigned Contracts;

                         (vi)     pay accounts payable of the Business in the Ordinary Course of Business;

                        (vii)    maintain the books and records of Sellers in respect of the Business in
accordance with past practice; and

                         (viii)   comply in all material respects with all applicable Laws in the conduct of
the Business.

                (b)      During the Pre-Closing Period, except (x) with the prior written consent of Buyer
(which consent shall not be unreasonably withheld or delayed), (y) as set forth in Section 5.01(b)(y) of the
Seller Disclosure Schedule, or (z) as specifically contemplated by this Agreement, with respect to the
Business, Sellers shall not:

                        (i)      enter into any new material Contract, or terminate or renew, or amend,
waive, modify, or violate the terms of any Assigned Contract;

                          (ii)    (A) transfer or license to any Person any rights to any Business Intellectual
Property or enter into any agreement with respect to any Business Intellectual Property with any Person
(other than non-exclusive agreements to license or provide the Business’s products to end-users pursuant
to agreements that have been entered into in the Ordinary Course of Business), (B) buy or license any
Intellectual Property or enter into any agreement with respect to the Intellectual Property of any Person
(other than non-exclusive end-user license agreements entered into in the Ordinary Course of Business),
(C) enter into any agreement with respect to the development of any Intellectual Property with a third party,
or (D) terminate, fail to renew, abandon, cancel, let lapse, or fail to continue to prosecute or defend any
Business Intellectual Property;

                       (iii)   grant or agree to grant any increases in the compensation, perquisites, or
benefits (whether through the payment of, or agreement to pay, bonus amounts or otherwise) to any
Employee, Independent Contractor or director who performs services in connection with the Business;

                         (iv)     hire or offer to hire any Employees;

                         (v)    terminate, or encourage to resign from Sellers, any Employees responsible
for or involved in performing Sellers’ obligations under any Assigned Contract or any Employee listed in
Schedule 5.01(b)(v);

                         (vi)     grant or create any Encumbrance over any of the Purchased Assets;

                        (vii)   revalue any of the Purchased Assets (whether tangible or intangible), other
than in the Ordinary Course of Business;

                         (viii) engage in or enter into any material transaction or commitment, or
relinquish any material right, in connection with the Business, in each case, outside the Ordinary Course of
Business;

                         (ix)     initiate or settle any litigation or arbitration in connection with the
Business;




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321527252.4
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24     Page 76 of 190



                         (x)      adopt or change Sellers’ accounting policies or procedures in respect of
the Business, including with respect to reserves for excess or obsolete inventory, reserves, depreciation, or
amortization policies or rates, or payment or collection policies or practices;

                          (xi)    take any action that would result in any of the conditions to the Closing
set forth in Article VI not being satisfied or that would delay their satisfaction; or

                          (xii)   offer to discuss entering into, negotiate entering into, authorize the
entrance into, or enter into any Contract to do any of the foregoing.

         Section 5.02      Access to Information. During the Pre-Closing Period, Sellers shall (i) afford
Buyer and its Representatives, during normal business hours, full and free access to and the right to inspect
all of the Purchased Assets and other documents and data related to the Business, subject to the Access
Limitations, (ii) furnish Buyer and its Representatives with such financial, operating, and other data and
information with respect to the Business as is customarily prepared by or for the management of Sellers in
the Ordinary Course of Business or as Buyer or any of its Representatives may otherwise reasonably
request, and (iii) instruct the Representatives of Sellers to cooperate with Buyer in its investigation of the
Business. Without limiting the foregoing, Sellers shall permit Buyer and its Representatives to conduct
environmental due diligence of the Real Property included in the Purchased Assets, including the collection
and analysis of samples of indoor and outdoor air, surface water, groundwater, or surface or subsurface
land on, at, in, under, or from such Real Property. Any investigation pursuant to this Section 5.02 shall be
conducted in such manner as not to interfere unreasonably with the conduct of the Business. No
investigation by Buyer or its Representatives or other information received by Buyer or its Representatives
shall operate as a waiver or otherwise affect any representation, warranty, or agreement given or made by
Sellers in this Agreement.

         Section 5.03    No Solicitation of Other Bids.

                  (a)     Acquisition Proposal. For purposes hereof, “Acquisition Proposal” means any
inquiry, proposal, or offer from any Person (other than Buyer or any of its Affiliates) concerning the sale
of all or a significant portion of the Business, including in connection with (A) a merger, consolidation,
liquidation, recapitalization, share exchange, or other business combination transaction involving any
Seller, (B) the issuance or acquisition of Equity Interests of any Seller, or (C) the sale, lease, exchange or
other disposition of any significant portion of the Purchased Assets.

                  (b)    Restrictions on Acquisition Proposals. During the Pre-Closing Period, Sellers shall
not, and shall not authorize or permit any of their Affiliates or any of their respective Representatives to,
directly or indirectly:

                         (i)     encourage, solicit, initiate, facilitate, or continue inquiries regarding an
Acquisition Proposal;

                       (ii)    enter into discussions or negotiations with, or provide any information to,
any Person concerning a possible Acquisition Proposal;

                        (iii)  enter into any agreements or other instruments (whether or not binding)
regarding an Acquisition Proposal;

                         (iv)    otherwise facilitate any effort or attempt to make an Acquisition Proposal;




{00040268. }                                         28
321527252.4
               Case 24-12752-MFW           Doc 7-2         Filed 12/06/24     Page 77 of 190



                        (v)     furnish to any Person any non-public information relating to the Business
or afford to any such Person access to the Business, properties, assets, books, records or other non-public
information, in any such case with the intent to induce, or that would reasonably be expected to result in,
the making, submission or announcement of an Acquisition Proposal; or

                          (vi)    grant any waiver or release under, or fail to enforce, any standstill or
similar agreement, except to the extent that Sellers in good faith, after consultation with financial advisors
and outside legal counsel, determine that the failure to do so would cause the Seller Board to be in breach
of its fiduciary duties under applicable Law.

                  (c)     Exceptions to Restrictions. Notwithstanding Section 5.03(b), Sellers may, prior to
the entry of the Sale Order, (i) provide information in response to a request therefor by a Person who makes
an unsolicited bona fide written Acquisition Proposal if (x) such Acquisition Proposal did not result from a
violation of Section 5.03(b) in any material respects, (y) prior to providing such information, Sellers receive
from such Person an executed confidentiality agreement on terms that, taken as a whole, are no less
favorable in the aggregate to the other party than those contained in the Confidentiality Agreement and that
does not prohibit Sellers from complying with their obligations under this Section 5.03 (any confidentiality
agreement satisfying the criteria of this clause (y) being an “Acceptable Confidentiality Agreement”) and
(z) Sellers promptly (and in any event within twenty-four (24) hours thereafter) make available to Buyer
any material non-public information concerning Sellers that Sellers provide to any such Person that was not
previously made available to Buyer; (ii) engage or participate in any discussions or negotiations with any
Person who has made such an Acquisition Proposal, if and only if, (A) prior to taking any action described
in clause (i) or (ii) above, Sellers determine in good faith, after consultation with financial advisors and
outside legal counsel, that the failure to take such action would cause the Seller Board to be in breach of its
fiduciary duties under applicable Law and (B) prior to taking any action described in clause (i) or (ii) above,
Sellers have determined in good faith based on information then available that such Acquisition Proposal
either constitutes a Superior Proposal or is reasonably likely to lead to a Superior Proposal and (iii) provide
notice of the Sale Motion to all Persons that previously expressed, in writing, interest in acquiring all or
substantially all of Yield10’s assets.

                 (d)     Notice of Acquisition Proposals. Sellers agree to promptly (and, in any event,
within twenty-four (24) hours) notify Buyer in writing (i) if any inquiries, proposals or offers with respect
to an Acquisition Proposal are received by Sellers or any of their respective Representatives and the
identities of the Person(s) making such inquiry, proposal or offer, (ii) if any non-public information is
requested from Sellers in connection with an Acquisition Proposal and (iii) if any discussions or
negotiations regarding an Acquisition Proposal are sought to be initiated or continued with Sellers or any
of their Representatives, and in each case Sellers shall provide, in connection with such notice, a summary
of the material terms and conditions of any proposals, offers or requests (including, if applicable, any
modifications to such proposals, offers or requests and unredacted copies of any material and relevant
documents and agreements relating thereto, written requests, proposals or offers, including proposed
agreements). Thereafter, Sellers shall keep Buyer reasonably informed, on a reasonably prompt basis (and,
in any event, within twenty-four (24) hours), of the status and material terms of any such proposals, offers,
or amendments in connection therewith and the status of any such discussions or negotiations.

                 (e)      No Change of Recommendation or Alternative Definitive Agreement. Subject to
Section 5.03(f), Sellers shall not:

                       (i)     approve, authorize, endorse, adopt or recommend (publicly or otherwise)
(or publicly propose to approve, authorize, endorse, adopt or recommend) an Acquisition Proposal (a
“Change of Recommendation”); or



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321527252.4
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24     Page 78 of 190



                       (ii)     cause or permit Sellers to enter into any letter of intent, term sheet,
commitment or definitive agreement (other than any Acceptable Confidentiality Agreement entered into in
accordance with Section 5.03(c)) relating to any Acquisition Proposal.

                 (f)      Change of Recommendation/Superior Proposal Termination. Notwithstanding
Section 5.03(e), (x) Sellers may make a Change of Recommendation at any time prior to the entry of the
Sale Order if Sellers receive a bona fide unsolicited written Acquisition Proposal following the date hereof
that did not result from a violation or breach of Section 5.03(a) in any material respects and has not been
withdrawn and Sellers determine in good faith (after consultation with Sellers’ outside legal and financial
advisors) based on the information then available that such Acquisition Proposal constitutes a Superior
Proposal, only if Sellers determine in good faith that the failure to take such action would cause the Seller
Board to be in breach of its fiduciary duties under applicable Law and (y) if Sellers are permitted to make
a Change of Recommendation pursuant to clause (x), Sellers may also terminate this Agreement pursuant
to Section 7.01(c)(iv) to concurrently enter into a definitive agreement with respect to the applicable
Superior Proposal; provided, however, that Sellers shall not take any of the foregoing actions unless:

                         (i)     Sellers shall have complied with their obligations under this Section
5.03(f);

                          (ii)    Sellers shall have provided prior written notice (a “Determination Notice”)
to Buyer at least five (5) Business Days in advance (the “Notice Period”) to the effect that Sellers intend to
take such action and specifying in writing, in reasonable detail, the circumstances giving rise to such
proposed action, including, in the event that such action is proposed to be taken in connection with an
Acquisition Proposal, the information specified by Section 5.03(d) with respect to such Acquisition
Proposal;

                         (iii)   Sellers shall have, during the Notice Period, negotiated with Buyer and its
Representatives in good faith (to the extent Buyer desires to negotiate) to make such adjustments in the
terms and conditions of this Agreement such that (A) the failure to take such action would no longer cause
the Seller Board to be in breach of its fiduciary duties under applicable Law and (B) with respect to any
such action to be taken in connection with an Acquisition Proposal, such Acquisition Proposal ceases to
constitute a Superior Proposal; provided, however, that in the event of any material revision to the terms of
such Superior Proposal, Sellers shall be required to deliver a new Determination Notice to Buyer and to
comply with the requirements of Section 5.03(f)(ii) and this Section 5.03(f)(iii) with respect to such new
Determination Notice and the revised Superior Proposal (provided, however, that the Notice Period for any
such successive written notices shall be two (2) Business Days instead of five (5) Business Days);

                          (iv)     at or following the end of such Notice Period, Sellers shall have
determined in good faith based on the information then available that (A) after consultation with Sellers’
outside legal and financial advisors, failure to take such action would continue to cause the Seller Board to
be in breach of its fiduciary duties under applicable Law and (B) with respect to any such action to be taken
in connection with an Acquisition Proposal, such Acquisition Proposal continues to constitute a Superior
Proposal, in each case taking into account any revisions to this Agreement made or proposed in writing by
Buyer prior to the time of such determination pursuant to clause (iii) above; and

                       (v)     in the event of a termination of this Agreement to enter into a definitive
agreement with respect to a Superior Proposal, Sellers shall have validly terminated this Agreement in
accordance with Section 7.01 and paid the Seller Termination Fee in accordance with Section 7.03.

                  (g)    Breach. Sellers agree that any breach of this Section 5.03 by any of their Affiliates
or their respective Representatives shall be deemed to be a breach of this Agreement by Sellers.


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321527252.4
               Case 24-12752-MFW             Doc 7-2        Filed 12/06/24      Page 79 of 190



         Section 5.04     Efforts to Consummate Contemplated Transactions.

                 (a)      During the Pre-Closing Period, each of the parties shall act in good faith and use
commercially reasonable efforts to take, or cause to be taken, all actions, and to do, or cause to be done, all
things necessary or advisable to expeditiously satisfy the closing conditions set forth in Article VI and
consummate the Contemplated Transactions as soon as reasonably practicable. If all of the conditions to a
party’s obligation to close hereunder shall have been satisfied, such party shall diligently proceed to close.
Without limiting the foregoing, Sellers shall, and shall cause their respective Affiliates to (i) give all notices
to, and use commercially reasonable efforts to obtain, on or prior to the Closing, all consents from all
Persons that are described in Section 3.02(a) of the Seller Disclosure Schedule, (ii) give all notices to, and
make all filings with and applications and submissions to, all Governmental Authorities that are described
in Section 3.02(b) of the Seller Disclosure Schedule as promptly as reasonably practicable, (iii) provide all
such information concerning Sellers and their respective officers, directors, employees, trustees, and
Affiliates as may be necessary or reasonably requested by another Person in connection with the foregoing,
and (iv) avoid the entry of, or have vacated or terminated, any Governmental Order that would restrain,
prevent or materially delay the consummation of the Contemplated Transactions, including defending
through litigation any claim asserted in any court by any Governmental Authority or other Person.

                 (b)      Without limiting the generality of Section 5.04(a):

                         (i)      as promptly as practicable and in any event within ten (10) Business Days
after the date hereof, Sellers shall submit to the applicable Governmental Authorities all notices, filings,
and other submissions required to transfer to Buyer, as of the Closing, the Permits included in the Purchased
Assets.

                     (ii)    promptly upon Buyer’s request, Yield10 shall enter into a novation
agreement among Yield10, Buyer, and Rothamsted to novate the Rothamsted Agreement from Yield10 to
Buyer.

        Section 5.05    Approval as Sole Stockholder of Oilseeds. Immediately following the execution
and delivery of this Agreement, Yield10, as sole stockholder of Oilseeds, shall adopt this Agreement and
approve the Contemplated Transactions in accordance with applicable Law.

         Section 5.06     Notice of Certain Events.

                 (a)      During the Pre-Closing Period, Sellers shall promptly notify Buyer in writing of:

                          (i)      any fact, circumstance, event, or action the existence, occurrence, or taking
of which (A) has had, or could reasonably be expected to have, individually or in the aggregate, a Material
Adverse Effect, (B) has resulted in, or could reasonably be expected to result in, any representation or
warranty made by Sellers hereunder not being true and correct, or (C) has resulted in, or could reasonably
be expected to result in, the failure of any of the conditions set forth in Section 6.02 to be satisfied;

                        (ii)    any notice or other communication from any Person alleging that the
consent of such Person is or may be required in connection with the Contemplated Transactions;

                       (iii)   any notice or other communication from any Governmental Authority in
connection with the Contemplated Transactions; and

                         (iv)    any Actions commenced or threatened against, relating to, or involving or
otherwise affecting Sellers in connection with the Business that, if pending on the date of this Agreement,


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321527252.4
               Case 24-12752-MFW            Doc 7-2         Filed 12/06/24     Page 80 of 190



would have been required to have been disclosed pursuant to Section 3.13 or that relates to the
consummation of the Contemplated Transactions.

               (b)     Buyer’s receipt of information pursuant to this Section 5.06 shall not operate as a
waiver or otherwise affect any representation, warranty, or agreement given or made by Sellers in this
Agreement and shall not be deemed to amend or supplement the Seller Disclosure Schedule.

         Section 5.07     Employees and Employee Benefits.

                  (a)      During the Pre-Closing Period, Representatives of Buyer shall be entitled to hold
meetings and conferences during normal working hours with the Employees upon reasonable advance
notice to Sellers, to explain and answer questions about the conditions, policies and benefits of employment
in Buyer’s organization. Further, Sellers shall cooperate with Buyer in communicating to the Employees
any information concerning employment in Buyer’s organization and, if requested by Buyer, shall
encourage the Employees to agree to employment with Buyer upon Closing. Sellers shall be entitled to
have one or more Representatives attend all such meetings.

                 (b)      During the Pre-Closing Period, (i) Sellers shall, to the extent permitted by
applicable Law, assist and cooperate with Buyer by permitting Buyer to review compensation data and job
descriptions (if any) for any Employees at Buyer’s reasonable request, (ii) Buyer may offer employment,
on an “at will” basis, to any or all Employees effective as of the Closing, and (iii) Sellers and Buyer shall
cooperate in good faith to effect an orderly transition of any Employee offered employment by Buyer.

                 (c)     Sellers shall be solely responsible, and Buyer shall have no obligations whatsoever
for, any compensation or other amounts payable to any Employee, including hourly pay, commission,
bonus, salary, accrued vacations, fringe, pension or profit sharing benefits, or severance pay payable to any
Employee for any period relating to the service with Sellers at any time prior to the Closing Date and Sellers
shall pay all such amounts to all entitled Employees on or prior to the Closing Date.

                  (d)     Sellers shall remain solely responsible for the satisfaction of all claims for medical,
dental, life insurance, health accident or disability benefits brought by or in respect of Employees that relate
to events occurring prior to the Closing Date. Sellers also shall remain solely responsible for all worker’s
compensation claims of any Employees that relate to events occurring prior to the Closing Date. Sellers
shall pay, or cause to be paid, all such amounts to the appropriate persons as and when due.

         Section 5.08    Public Announcements. Other than pleadings filed in the Chapter 11 Case or in
required regulatory filings, no party to this Agreement shall make any public announcements in respect of
this Agreement or the Contemplated Transactions or otherwise communicate with any news media without
the prior written consent of the other party (which consent shall not be unreasonably withheld, conditioned
or delayed), and the parties shall cooperate as to the timing and contents of any such announcement, unless
otherwise required by applicable Law or the rules and regulations of any securities exchange or national
market system upon which the securities of such party are listed, based upon the reasonable advice of
counsel, in which case such party shall use commercially reasonable efforts to provide the other party with
sufficient time, consistent with such requirements, to review the nature of such requirements and to
comment upon such disclosure prior to publication.

         Section 5.09    Confidentiality. From and after the Closing, Sellers shall, and shall cause their
Affiliates to, hold, and use commercially reasonable efforts to cause their respective Representatives to
hold, in confidence any and all information, whether written or oral, concerning the Business, except to the
extent that Sellers can show that such information (i) is generally available to and known by the public
through no fault of Sellers, any of their Affiliates, or their respective Representatives, or (ii) is lawfully


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321527252.4
               Case 24-12752-MFW           Doc 7-2         Filed 12/06/24     Page 81 of 190



acquired by Sellers, any of their Affiliates, or their respective Representatives from and after the Closing
from sources which are not prohibited from disclosing such information by a legal, contractual, or fiduciary
obligation. If Sellers or any of their Affiliates or their respective Representatives are compelled to disclose
any information by judicial or administrative process or by other requirements of Law, Sellers shall
promptly notify Buyer in writing and shall disclose only that portion of such information which Sellers are
advised by their counsel in writing is legally required to be disclosed; provided that Sellers shall use
commercially reasonable efforts to obtain an appropriate protective order or other reasonable assurance that
confidential treatment will be accorded such information. From and after the Closing Date, Buyer and its
Affiliates and Representatives shall have no further liability or obligation under the Confidentiality
Agreement.

         Section 5.10    INTENTIONALLY OMITTED.

         Section 5.11    Wrong-Pockets.

                 (a)     If, following the Closing, Buyer becomes aware that it owns any Excluded Asset,
Buyer shall promptly inform Sellers of that fact in writing. Thereafter, at the request of Sellers, Buyer
undertakes (and Sellers shall reasonably cooperate with Buyer), as applicable, to execute such documents
as may be reasonably necessary to procure the transfer (without further consideration) of any such Excluded
Asset to Sellers or an Affiliate of Sellers, in each case such that each party is put into the same economic
position as if such action had been taken on or prior to the Closing Date. The parties agree to use
commercially reasonable efforts to structure any transfer of assets referred to in this subsection (a) in a
manner that minimizes Taxes and is equitable from a legal perspective for the parties.

                 (b)     If, following Closing, Sellers or any of their Affiliates become aware that they own
any Purchased Asset, Sellers shall, or shall cause such Affiliate of Sellers to, promptly inform Buyer of that
fact in writing. Thereafter, at the request of Buyer, Sellers shall undertake (and Buyer shall reasonably
cooperate with Sellers), as applicable, to execute and/or cause the relevant Affiliate of Sellers to execute
such documents as may be reasonably necessary to procure the transfer of any such Purchased Asset
(without further consideration) to Buyer, in each case such that each party is put into the same economic
position as if such action had been taken on or prior to the Closing Date. The parties agree to use their
commercially reasonable efforts to structure any transfer of assets referred to in this subsection 5.11(b) in
a manner that minimizes Taxes and is equitable from a legal perspective for the parties.

         Section 5.12    INTENTIONALLY OMITTED.

        Section 5.13    Further Assurances. Following the Closing, each of the parties shall, and shall
cause their respective Affiliates to, execute and deliver such additional documents, instruments,
conveyances, and assurances and take such further actions as may be reasonably required to carry out the
provisions hereof and give effect to the Contemplated Transactions.

         Section 5.14      Transfer Taxes. Notwithstanding anything to the contrary in this Agreement, all
transfer, documentary, sales, use, stamp, registration, value added, and other such Taxes and fees (including
any penalties and interest) incurred in connection with the Contemplated Transactions, including any
interest or penalties in respect thereof, shall be borne and paid by Sellers when due, regardless of the Person
liable for such obligations under applicable Law or the Person making payment to the applicable
Governmental Authority or other third party. Sellers shall, at their own expense, timely file any Tax Return
or other document with respect to such Taxes or fees (and Buyer shall cooperate with respect thereto as
necessary).




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321527252.4
               Case 24-12752-MFW            Doc 7-2        Filed 12/06/24     Page 82 of 190



         Section 5.15     Tax Clearance Certificates. If requested by Buyer, Sellers shall notify all of the
taxing authorities in the jurisdictions that impose Taxes on Sellers or where Sellers have a duty to file Tax
Returns of the Contemplated Transactions in the form and manner required by such taxing authorities, if
the failure to make such notifications or receive any available tax clearance certificate could subject Buyer
to any Taxes of Sellers. If any taxing authority asserts that Sellers are liable for any Tax, Sellers shall
promptly pay any and all such amounts and shall provide evidence to Buyer that such liabilities have been
paid in full or otherwise satisfied.

         Section 5.16      Bulk Sales Laws. The parties hereby waive compliance with the provisions of any
bulk sales, bulk transfer or similar Laws of any jurisdiction that may otherwise be applicable with respect
to the sale of any or all of the Purchased Assets to Buyer; it being understood that any Liabilities arising
out of the failure of Sellers to comply with the requirements and provisions of any bulk sales, bulk transfer
or similar Laws of any jurisdiction which would not otherwise constitute Assumed Liabilities shall be
treated as Excluded Liabilities.

         Section 5.17    Tax Matters.

                 (a)      All personal property taxes and similar ad valorem obligations levied or imposed
with respect to the Business, the Purchased Assets and the Assumed Liabilities (individually or in the
aggregate) for a taxable period which includes (but does not end on) the Closing Date (a “Straddle Period”)
will be apportioned among Sellers and Buyer (the “Apportioned Obligations”) based on the number of days
of such Straddle Period included in the period ending on (and including) the Closing Date and the number
of days of such Straddle Period included in the period after the Closing Date. Sellers will be liable for the
proportionate amount of such Apportioned Obligations that is attributable to such pre-Closing portion of
such Straddle Period, and Buyer will be liable for the proportionate amount of such Apportioned
Obligations that is attributable to such post-Closing portion of such Straddle Period. Sellers and Buyer shall
cooperate to promptly pay or reimburse the other for any such Apportioned Obligations based on their
respective proportionate amounts of such Apportioned Obligations as determined pursuant to this Section
5.17(a). Any refunds of such Taxes with respect to a Straddle Period shall be apportioned between Sellers
and Buyer in a similar manner.

                 (b)     Sellers and Buyer will reasonably cooperate with each other in connection with:
(i) the preparation and filing of any Tax Return with respect to the Business and the Purchased Assets;
(ii) any claim involving Taxes with respect to the Business and the Purchased Assets; and (iii) any other
matter under this Agreement relating to Taxes.

         Section 5.18    Access to Purchased Assets.

                  (a)     As an accommodation to Sellers, Buyer may agree to store certain equipment
constituting Purchased Assets at a Buyer facility prior to the Closing Date. Sellers and Buyer acknowledge
and agree that, unless and until title to such Purchased Assets is conveyed to Buyer at the Closing as
contemplated by this Agreement: (i) title and risk of loss with respect to any such Purchased Assets shall
remain with Sellers and (ii) Buyer shall have no Liability or responsibility to Sellers with respect to such
Purchased Assets. In the event that this Agreement is terminated prior to the Closing, Sellers shall promptly
retrieve any such Purchased Assets in Buyer’s possession and Buyer shall use commercially reasonable
efforts, at Sellers’ expense, to cooperate with Sellers in connection with such retrieval.

                (b)      For a period of thirty (30) days after the Closing Date, Sellers shall (i) afford Buyer
and its Representatives, during normal business hours, full and free access to the locations at which the
physical Purchased Assets are located for purposes of packing and shipping the Purchased Assets and



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321527252.4
               Case 24-12752-MFW           Doc 7-2         Filed 12/06/24     Page 83 of 190



(ii) maintain their rights to use such locations, including by maintaining any applicable leases or other
Contracts providing such rights.

         Section 5.19    Reasonable Access to Records.

Until the closing of the Chapter 11 Case, Buyer shall permit Bankruptcy Court approved or appointed
professionals of Yield10, its estate, or any future Chapter 11 or Chapter 7 Trustee (collectively, “Permitted
Access Parties”) reasonable access to the financial and other books and records relating to the Purchased
Assets or the Business, which access shall include the right of such Permitted Access Parties, at such
Permitted Access Parties’ expense, to access, receive and/or download copies of requested documents and
records, consistent with the requirements of Local Bankruptcy Rule 6004. Any requests for access, copies
or downloads of documents shall include a reasonably detailed written description of the requested
materials and reimbursement to Buyer for the reasonable costs and expenses associated with Buyer’s
compliance with the request, including the reasonable costs incurred by Buyer in making its personnel
available during regular business hours to assist Permitted Access Parties in connection with such requests.

         Section 5.20    Bankruptcy Matters

                  (a)     No later than five (5) Business Days after the execution of this Agreement or
December 6, 2024, Yield10 shall file the Petition with the Bankruptcy Court. Not less than three (3) days
after the filing of the Petition, Yield10 shall file with the Bankruptcy Court a motion for approval of the
Contemplated Transactions in accordance with the terms and conditions hereof as a private sale under
Section 363 of the Bankruptcy Code without the requirement of an auction (the “Sale Motion”).

                 (b)     Yield10 shall notify counterparties to Contracts set forth on Schedule 1.01(c) of
Yield10’s proposed Cure Costs not later than five (5) days after the filing of the Petition, which notice shall
provide such counterparties the opportunity to object to Yield10’s proposed Cure Costs no later than seven
(7) business days before the Sale Hearing. In the event that Yield10 and any such counterparties are unable
to agree on the Cure Costs with respect to such counterparties, then the Cure Costs with respect to such
counterparties shall be determined by the Bankruptcy Court at the Sale Hearing or upon such other date as
the parties may mutually agree. Notwithstanding anything to the contrary contained herein, to the extent
that the Cure Costs with respect to any such counterparties have not been agreed upon or otherwise finally
determined as of the Closing, Buyer shall be entitled to deduct from the Purchase Price the full amount of
the potential Cure Costs with respect to such counterparties as determined in good faith by Buyer, pending
final determination by the Bankruptcy Court or mutual agreement as to such Cure Costs.

                                           ARTICLE VI
                                      CONDITIONS TO CLOSING

        Section 6.01  Closing Conditions of All Parties. The obligations of each party to consummate
the Contemplated Transactions shall be subject to the fulfillment, at or prior to the Closing, of each of the
following conditions:

                 (a)     The Sale Order shall have been approved and entered by the Bankruptcy Court.

                 (b)     No Governmental Authority shall have enacted, issued, promulgated, enforced, or
entered any Law or Governmental Order that is in effect and has the effect of making the Contemplated
Transactions illegal, otherwise restraining or prohibiting consummation of the Contemplated Transactions,
or causing any of the Contemplated Transactions to be rescinded following completion thereof.




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321527252.4
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24    Page 84 of 190



        Section 6.02     Closing Conditions of Buyer. The obligations of Buyer to consummate the
Contemplated Transactions shall be subject to the fulfillment or Buyer’s waiver, at or prior to the Closing,
of each of the following conditions:

                 (a)     Other than the Fundamental Representations of Sellers, the representations and
warranties of Sellers contained in this Agreement and any certificate or other writing delivered pursuant
hereto shall be true and correct in all respects (in the case of any representation or warranty qualified by
materiality or Material Adverse Effect) or in all material respects (in the case of any representation or
warranty not qualified by materiality or Material Adverse Effect) on and as of the date hereof and on and
as of the Closing Date (except those representations and warranties that address matters only as of a
specified date, the accuracy of which shall be determined as of that specified date in all respects). The
Fundamental Representations of Sellers shall be true and correct in all respects on and as of the date hereof
and on and as of the Closing Date.

               (b)     Sellers shall have duly performed and complied in all material respects with all
agreements, covenants, and conditions required by this Agreement and each of the other Transaction
Documents to be performed or complied with by them prior to or on the Closing Date.

                (c)     There shall not have occurred any Material Adverse Effect, nor shall any event or
events have occurred that, individually or in the aggregate, with or without the lapse of time, could
reasonably be expected to result in a Material Adverse Effect.

                (d)     Between the date hereof and the Closing Date, there shall not have been any loss,
damage, or destruction to or of any of the Purchased Assets in excess of $300,000 in the aggregate.

                 (e)     No Action by or before any Governmental Authority shall have been commenced
or threatened in writing against Buyer or Sellers which seeks to prevent or restrain the consummation of
the Contemplated Transactions.

                 (f)     Sellers shall have delivered to Buyer the deliverables pursuant to Section 2.02(a).

              (g)    Rothamsted shall not have exercised its right to object to the assignment of the
Rothamsted Agreement to Buyer.

               (h)     Buyer shall have received all permits that are necessary for it to conduct the
Business as conducted by Sellers as of the Closing Date.

         Section 6.03    Closing Conditions of Sellers. The obligations of Sellers to consummate the
Contemplated Transactions shall be subject to the fulfillment or Sellers’ waiver, at or prior to the Closing,
of each of the following conditions:Other than the Fundamental Representations of Buyer, the
representations and warranties of Buyer contained in this Agreement and any certificate or other writing
delivered pursuant hereto shall be true and correct in all respects (in the case of any representation or
warranty qualified by materiality or Material Adverse Effect) or in all material respects (in the case of any
representation or warranty not qualified by materiality or Material Adverse Effect) on and as of the date
hereof and on and as of the Closing Date (except those representations and warranties that address matters
only as of a specified date, the accuracy of which shall be determined as of that specified date in all
respects). The Fundamental Representations of Buyer shall be true and correct in all respects on and as of
the date hereof and on and as of the Closing Date.




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321527252.4
               Case 24-12752-MFW          Doc 7-2        Filed 12/06/24     Page 85 of 190



               (b)     Buyer shall have duly performed and complied in all material respects with all
agreements, covenants, and conditions required by this Agreement and each of the other Transaction
Documents to be performed or complied with by it prior to or on the Closing Date.

                 (c)    Buyer shall have delivered to Sellers the deliverables pursuant to Section 2.02(b).

                                             ARTICLE VII
                                            TERMINATION

         Section 7.01   Termination. This Agreement may be terminated at any time prior to the Closing:

                 (a)    by the mutual written consent of Sellers and Buyer;

                 (b)    by Buyer by written notice to Sellers if:

                         (i)     Buyer is not then in material breach of any provision of this Agreement
and there has been a breach, inaccuracy in, or failure to perform any representation, warranty, covenant, or
agreement made by Sellers pursuant to this Agreement that would give rise to the failure of any of the
conditions specified in Article VI and, if capable of cure, such breach, inaccuracy, or failure has not been
cured by Sellers within ten (10) Business Days of Sellers’ receipt of written notice of such breach from
Buyer;

                         (ii)    any of the conditions set forth in Section 6.01 or Section 6.02 shall not
have been, or shall have become incapable of, being fulfilled by February 28, 2025 (the “Outside Date”),
unless such failure shall be due to the failure of Buyer to perform or comply with any of the covenants,
agreements, or conditions hereof to be performed or complied with by it prior to the Closing;

                        (iii)    a Change of Recommendation has occurred; or

                         (iv)    Sellers have breached any of their covenants or agreements set forth in
Section 5.03(b) or Section 5.05;

                 (c)    by Sellers by written notice to Buyer if:

                         (i)      Sellers are not then in material breach of any provision of this Agreement
and there has been a breach, inaccuracy in, or failure to perform any representation, warranty, covenant, or
agreement made by Buyer pursuant to this Agreement that would give rise to the failure of any of the
conditions specified in Article VI and such breach, inaccuracy or failure has not been cured by Buyer within
ten (10) Business Days of Buyer’s receipt of written notice of such breach from Sellers;

                           (ii)   any of the conditions set forth in Section 6.01 or Section 6.03 shall not
have been, or become incapable of being, fulfilled by the Outside Date, unless such failure shall be due to
the failure of Sellers to perform or comply with any of the covenants, agreements, or conditions hereof to
be performed or complied with by it prior to the Closing; provided, however, that Sellers shall not have the
right to terminate this Agreement pursuant to this Section 7.01(c)(ii) if Buyer has initiated an Action to
specifically enforce this Agreement in accordance with Section 8.10 and such Action is still pending;

                         (iii)    the Bankruptcy Court has not, within thirty-five (35) calendar days after
the date on which the Petition is filed with the Bankruptcy Court, approved the Contemplated Transactions
as a private sale under Section 363 of the Bankruptcy Code without the requirement of an auction; or



{00040268. }                                        37
321527252.4
               Case 24-12752-MFW           Doc 7-2        Filed 12/06/24     Page 86 of 190



                       (iv)    prior to the entry of the Sale Order: (A) Sellers have decided to terminate
this Agreement in accordance with Section 5.03 in order to, concurrently with such termination, enter into
a definitive agreement with respect to a Superior Proposal and (B) Sellers pay to Buyer the Seller
Termination Fee in accordance with Section 7.03(a) prior to or substantially concurrently with such
termination.

         Section 7.02    Effect of Termination.

                 (a)     In the event of the termination of this Agreement in accordance with this Article
VII, this Agreement shall forthwith become void and there shall be no Liability on the part of any party
except:that the provisions of Section 5.09, this Article VII and Article VIII shall survive such termination;
and

                         (ii)    that nothing herein shall relieve any party from Liability for any breach of
any provision hereof.

         Section 7.03    Seller Termination Fee.

                 (a)      In the event that this Agreement is terminated pursuant to Section 7.01(c)(iv), then
as a condition to such termination of this Agreement, prior to or concurrently with such termination, Sellers
shall pay to Buyer (or its designee) the Seller Termination Fee by wire transfer of immediately available
funds to an account or accounts designated in writing by Buyer. “Seller Termination Fee” means an amount
equal to $120,000.

                 (b)     In the event that this Agreement is terminated pursuant to (i) Section 7.01(b)(iii)
or Section 7.01(b)(iv), or (ii) Section 7.01(b) and at the time Buyer could have terminated this Agreement
pursuant to Section 7.01(b)(iii) or Section 7.01(b)(iv), then within two (2) Business Days after such
termination of this Agreement, Sellers shall pay to Buyer (or its designee) the Seller Termination Fee by
wire transfer of immediately available funds to an account or accounts designated in writing by Buyer.

                  (c)    In the event that (i) this Agreement is terminated by Buyer pursuant to Section
7.01(b), (ii) following the execution and delivery of this Agreement and prior to such termination, an
Acquisition Proposal has been publicly announced, known or disclosed, and (iii) within twelve (12) months
after such termination, Sellers have entered into a definitive agreement with respect to any Acquisition
Proposal, then Sellers will, prior to or concurrently with the earlier of the execution of such definitive
agreement and the consummation of such transaction, pay to Buyer (or its designee) the Seller Termination
Fee by wire transfer of immediately available funds to an account or accounts designated in writing by
Buyer.

                 (d)      The parties hereto acknowledge and hereby agree that in no event shall Sellers be
required to pay the Seller Termination Fee on more than one occasion, whether or not the Seller Termination
Fee may be payable under more than one provision of this Agreement at the same or at different times and
the occurrence of different events.

                   (e)      Recovery. Buyer and Sellers hereby acknowledge and agree that the covenants set
forth in this Section 7.03 are an integral part of this Agreement and the Contemplated Transactions, and
that, without these agreements, Buyer and Sellers would not have entered into this Agreement. Accordingly,
if Sellers fail to pay the Seller Termination Fee pursuant to Section 7.03 within five (5) Business Days after
it becomes due and, in order to obtain such payment, Buyer commences an Action that results in a judgment
against Sellers for such payment or any portion thereof, Sellers will pay to Buyer its out of pocket costs and
expenses (including reasonable attorneys’ and experts’ fees and costs) in connection with such Action,


{00040268. }                                         38
321527252.4
               Case 24-12752-MFW           Doc 7-2         Filed 12/06/24     Page 87 of 190



together with interest on such amount or portion thereof at a rate per annum equal to five percent (5%)
through the date that such payment or portion thereof was actually received, or a lesser rate that is the
maximum permitted by applicable Law.

                (f)       Acknowledgement. Each of the parties acknowledges and agrees that, subject to
Section 7.01(c)(iv), the damages resulting from termination of this Agreement under circumstances where
a Seller Termination Fee is payable are uncertain and incapable of accurate calculation and therefore, the
amounts payable in accordance with Section 7.03 are not a penalty but rather constitute liquidated damages
in a reasonable amount that will compensate Buyer in those circumstances for the efforts and resources
expended and opportunities foregone while negotiating this Agreement and in reliance on this Agreement
and on the expectation of the consummation of the Contemplated Transactions.

                                             ARTICLE VIII
                                            MISCELLANEOUS

         Section 8.01    Rules of Construction.

                (a)      When the context in which words are used in this Agreement indicates that such is
the intent, words used in the singular shall have a comparable meaning when used in the plural, and vice
versa; pronouns stated in the masculine, feminine, or neuter shall include each other gender.

                 (b)      The section headings contained in this Agreement are solely for the purpose of
reference, are not part of the agreement of the parties and shall not in any way affect the meaning or
interpretation of this Agreement.

                 (c)     The term “including” is not limiting and means “including, without limitation.”

                 (d)    References herein to “default under,” “violation of,” or other expressions of similar
import shall be deemed to be followed by the phrase “with or without notice or lapse of time, or both.”

                (e)     Financial terms shall have the meanings given to such terms under GAAP unless
otherwise specified herein.

                  (f)      Unless otherwise expressly provided herein (i) references to agreements (including
this Agreement) and other contractual instruments shall be deemed to include all subsequent amendments
and other modifications thereto, but only to the extent such amendments and other modifications have been
made available to Buyer at least two (2) Business Days prior to the date of this Agreement, (ii) references
to any statute or regulation shall be construed as including all statutory and regulatory provisions amending,
replacing, supplementing, or interpreting such statute or regulation, except that for purposes of determining
the accuracy of any representation and warranty, such reference shall only be to such statute or regulation
as in effect on the date the representation and warranty was made, (iii) references to the “parties” are to the
parties to this Agreement, and (iv) references to “Sections,” “Schedules” or “Exhibits” are to sections,
schedules or exhibits, as applicable, of this Agreement.

                  (g)      Unless otherwise expressly provided herein, “dollars” or “$” means the currency
of the U.S. that, as at the time of payment, is legal tender for the payment of public and private debts.

                 (h)     This Agreement is between financially sophisticated and knowledgeable parties
and is entered into by such parties in reliance upon the economic and legal bargains contained herein. The
language used in this Agreement has been negotiated by the parties and their Representatives and shall be



{00040268. }                                          39
321527252.4
                 Case 24-12752-MFW          Doc 7-2        Filed 12/06/24     Page 88 of 190



interpreted and construed in a fair and impartial manner without regard to such factors as the party who
prepared, or caused the preparation of, this Agreement or the relative bargaining power of the parties.

                 (i)     All references to materials being “made available” by Sellers means documents
posted and accessible to Buyer, its Affiliates and their Representatives in the VDR at least two (2) Business
Days prior to the date of this Agreement.

                (j)   The principles of interpretation set forth in this Section 8.01 shall apply equally to
all Transaction Documents.

         Section 8.02      Seller Disclosure Schedule. The Seller Disclosure Schedule referred to herein and
delivered pursuant to and attached to this Agreement is an integral part of this Agreement. Nothing in the
Seller Disclosure Schedule shall be deemed adequate to disclose an exception to a representation or
warranty made herein, unless the applicable section of the Seller Disclosure Schedule identifies the
exception with reasonable particularity and describes the relevant facts in reasonable detail, including by
explicit cross-reference to another section of the Seller Disclosure Schedule. If any information required by
this Agreement to be furnished in any section of the Seller Disclosure Schedule is contained in any section
of the Seller Disclosure Schedule, such information shall be deemed to be included in any other such section
of the Seller Disclosure Schedule solely to the extent it is reasonably apparent on the face of the actual text
of such disclosure without reference to extrinsic documentation or independent knowledge regarding the
matter disclosed that such information is applicable to such other section of the Seller Disclosure Schedule.
Without limiting the generality of the foregoing, the mere listing, or inclusion of a copy, of a document or
other item shall not be deemed adequate to disclose an exception to a representation or warranty made
herein, unless the representation or warranty is being made as to the existence of the document or other
item itself. Sellers are responsible for preparing and arranging the Seller Disclosure Schedule.

         Section 8.03     Notices. All notices, requests, consents, claims, demands, waivers, and other
communications hereunder shall be in writing and shall be deemed to have been given (i) when delivered
by hand (with written confirmation of receipt), (ii) one (1) Business Day after being delivered to a nationally
recognized overnight courier, (iii) on the date sent by e-mail if sent during normal business hours of the
recipient, and on the next Business Day if sent after normal business hours of the recipient, or (iv) on the
third (3rd) Business Day after the date mailed, by certified or registered mail, return receipt requested,
postage prepaid. Such communications must be sent to the respective parties at the following addresses (or
at such other address for a party as shall be specified in a notice given in accordance with this Section 8.03):

If to Buyer:                             Nuseed Nutritional US Inc.
                                         990 Riverside Parkway, Suite 140
                                         West Sacramento, CA 95605
                                         Attention: Bill Robison
                                         E-mail: bill.robison@nuseed.com with a copy (which shall not
                                         constitute notice) to legal@nufarm.com

with a copy to:                          K&L Gates LLP
                                         599 Lexington Avenue
                                         New York, NY 10022
                                         Attention: Whitney John Smith
                                         E-mail: whitney.smith@klgates.com

If to Sellers:                           Yield10 Bioscience, Inc.
                                         19 Presidential Way
                                         Woburn, MA 01801


{00040268. }                                          40
321527252.4
               Case 24-12752-MFW             Doc 7-2         Filed 12/06/24     Page 89 of 190



                                          Attention: Oliver Peoples
                                          E-mail: peoples@yield10bio.com

with a copy to:                           Pearne & Gordon LLP
                                          1801 East 9th Street, Suite 1200
                                          Cleveland, OH 44114
                                          Attention: Gregory M. York
                                          E-mail: gyork@pearne.com

                                          and

                                          The Rosner Law Group LLC
                                          824 Market Street, Suite 810
                                          Wilmington, Delaware 19801
                                          Attn: Frederick Rosner

         Section 8.04   Entire Agreement. This Agreement, including Annexes, Schedules, and Exhibits,
and the Ancillary Documents constitute the sole and entire agreement of the parties to this Agreement with
respect to the subject matter contained herein and therein, and supersede all prior and contemporaneous
understandings and agreements, both written and oral, with respect to such subject matter (including the
Original Agreement). In the event of any inconsistency between the statements in the body of this
Agreement and those in the Ancillary Documents, the Exhibits, and the Seller Disclosure Schedule (other
than an exception expressly set forth as such in the Seller Disclosure Schedule), the statements in the body
of this Agreement will control.

         Section 8.05      Amendment and Modification; Waiver. This Agreement may only be amended,
modified, or supplemented by an agreement in writing signed by each party. No waiver by any party of any
of the provisions hereof shall be effective unless explicitly set forth in writing and signed by the party so
waiving. No course of dealing between the parties shall be deemed to modify, amend, or discharge any
provision or term of this Agreement. No waiver by any party shall operate or be construed as a waiver in
respect of any failure, breach, or default not expressly identified by such written waiver, whether of a similar
or different character, and whether occurring before or after that waiver. No failure to exercise, or delay in
exercising, any right, remedy, power, or privilege arising from this Agreement shall operate or be construed
as a waiver thereof, nor shall any single or partial exercise of any right, remedy, power, or privilege
hereunder preclude any other or further exercise thereof or the exercise of any other right, remedy, power,
or privilege.

         Section 8.06       Successors and Assigns. This Agreement shall be binding upon and shall inure to
the benefit of the parties and their respective successors and permitted assigns. No party may assign its
rights or obligations hereunder without the prior written consent of the other party, which consent shall not
be unreasonably withheld, conditioned or delayed; provided, however, that Buyer may assign or delegate
any or all of its rights or obligations hereunder to an Affiliate, to any of its lenders as collateral security, or
to any subsequent purchaser of all or substantially all of Buyer’s business or assets.

         Section 8.07    No Third-party Beneficiaries. This Agreement is for the sole benefit of the parties
and their respective successors and permitted assigns and nothing herein, express or implied, is intended to
or shall confer upon any other Person or entity any legal or equitable right, benefit, or remedy of any nature
whatsoever under or by reason of this Agreement.

        Section 8.08    Severability. If in any jurisdiction any term or provision hereof is determined to be
invalid or unenforceable, (i) the remaining terms and provisions hereof shall be unimpaired, (ii) any such


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321527252.4
               Case 24-12752-MFW           Doc 7-2         Filed 12/06/24     Page 90 of 190



invalidity or unenforceability in any jurisdiction shall not invalidate or render unenforceable such provision
in any other jurisdiction, and (iii) the invalid or unenforceable term or provision shall, for purposes of such
jurisdiction, be deemed replaced by a term or provision that is valid and enforceable and that comes closest
to expressing the intention of the invalid or unenforceable term or provision.

         Section 8.09    Governing Law; Submission to Jurisdiction; Waiver of Jury Trial.

                 (a)      This Agreement and any and all Actions (whether in contract or tort or otherwise)
arising out of or relating to this Agreement and the Contemplated Transactions shall be governed by and
construed in accordance with the applicable substantive and procedural Laws of the State of Delaware
without giving effect to any choice or conflict of law provision or rule (whether of the State of Delaware or
any other jurisdiction) that would require or permit the application of the Law of any other jurisdiction.

                 (b)      Any Action arising out of or based upon this Agreement, the Ancillary Documents,
or the Contemplated Transactions may be instituted only in the Federal Courts of the United States of
America located in the State of Delaware or the courts of the State of Delaware, and each party irrevocably
submits to the exclusive jurisdiction of such courts in any such Action. Service of process, summons, notice,
or other document as provided in Section 8.03 shall be effective service of process for any Action brought
in any such court. The parties irrevocably and unconditionally waive any objection to the laying of venue
of any Action in such courts and irrevocably waive and agree not to plead or claim in any such court that
any such Action brought in any such court has been brought in an inconvenient forum.

               (c)     EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY ACTION
WHICH MAY ARISE UNDER THIS AGREEMENT, THE ANCILLARY DOCUMENTS, OR THE
CONTEMPLATED TRANSACTIONS IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT
ISSUES AND, THEREFORE, EACH SUCH PARTY IRREVOCABLY AND UNCONDITIONALLY
WAIVES ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY ACTION
ARISING OUT OF OR RELATING TO THIS AGREEMENT, THE ANCILLARY DOCUMENTS, OR
THE CONTEMPLATED TRANSACTIONS. EACH PARTY TO THIS AGREEMENT CERTIFIES AND
ACKNOWLEDGES THAT (I) NO REPRESENTATIVE OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT SEEK
TO ENFORCE THE FOREGOING WAIVER IN THE EVENT OF AN ACTION, (II) SUCH PARTY
HAS CONSIDERED THE IMPLICATIONS OF THIS WAIVER, (III) SUCH PARTY MAKES THIS
WAIVER VOLUNTARILY, AND (IV) SUCH PARTY HAS BEEN INDUCED TO ENTER INTO THIS
AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS
IN THIS Section 8.09(c).

         Section 8.10      Specific Performance. The parties agree that irreparable damage would occur if
any provision of this Agreement were not performed in accordance with the terms hereof and that the parties
shall be entitled to specific performance of the terms hereof, in addition to any other remedy to which they
are entitled at law or in equity, without the posting of a bond or other security.

         Section 8.11     Counterparts. This Agreement may be executed in multiple original, PDF,
DocuSign and/or similar electronic signature technology counterparts, each of which shall be deemed an
original, but all of which together shall be deemed to be one and the same agreement. A signed copy of this
Agreement delivered by e-mail or other means of electronic transmission shall be deemed to have the same
legal effect as delivery of an original signed copy of this Agreement.

        Section 8.12    Expenses. Except as otherwise expressly provided herein, all costs and expenses,
including fees and disbursements of counsel, financial advisors and accountants, incurred in connection



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321527252.4
               Case 24-12752-MFW         Doc 7-2        Filed 12/06/24   Page 91 of 190



with this Agreement and the Contemplated Transactions shall be paid by the party incurring such costs and
expenses, whether or not the Closing shall have occurred.

                                   [SIGNATURE PAGE FOLLOWS]




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321527252.4
            Case 24-12752-MFW            Doc 7-2     Filed 12/06/24      Page 92 of 190



      IN WITNESS WHEREOF, the parties have caused this Amended and Restated Asset Purchase
Agreement to be executed as of the date first written above by their respective duly authorized officers.

                                                     YIELD10 BIOSCIENCE, INC.


                                                     By_____________________
                                                     Name: Oliver Peoples
                                                     Title: President and CEO


                                                     YIELD10 OILSEEDS INC.


                                                     By_____________________
                                                     Name: Oliver Peoples
                                                     Title: Director


                                                     NUSEED NUTRITIONAL US INC.


                                                     By_____________________
                                                     Name: Brent Zacharias
                                                     Title: Group Executive, Nuseed




                 [Signature Page to Amended and Restated Asset Purchase Agreeement]
               Case 24-12752-MFW           Doc 7-2     Filed 12/06/24         Page 93 of 190



                                                ANNEX A

                                                Definitions

         “Access Limitations” has the meaning set forth in Section 2.03(c)(i).

         “Acquisition Proposal” has the meaning set forth in Section 5.03(a).

        “Action” means any claim, action, cause of action, demand, lawsuit, arbitration, inquiry, internal
investigation, audit, notice of violation, proceeding, litigation, citation, summons, subpoena, or
investigation of any nature, civil, criminal, administrative, regulatory, or otherwise, whether at law or in
equity.

         “Affiliate” of a Person means any other Person that directly or indirectly, through one or more
intermediaries, controls, is controlled by, or is under common control with, such Person. The term “control”
(including the terms “controlled by” and “under common control with”) means the possession, directly or
indirectly, of the power to direct or cause the direction of the management and policies of a Person, whether
through the ownership of voting securities, by contract, or otherwise.

         “Agreement” has the meaning set forth in the preamble.

         “Allocation Schedule” has the meaning set forth in Section 1.07.

        “Ancillary Documents” means the Bill of Sale, the Assignment and Assumption Agreement, the
Patent Assignment Agreement, and all other agreements and certificates executed and delivered by or on
behalf of Buyer or Sellers in connection with this Agreement or the Contemplated Transactions.

         “Annual Financial Statements” has the meaning set forth in Section 3.03(a).

         “Anti-corruption Laws” has the meaning set forth in Section 3.14(b).

         “Apportioned Obligations” has the meaning set forth in Section 5.17(a).

         “Assigned Contracts” has the meaning set forth in Section 1.01(c).

        “Assignment and Assumption Agreement” means an assignment and assumption agreement in the
form of Exhibit B hereto effecting the assignment to and assumption by Buyer of the Purchased Assets and
the Assumed Liabilities.

         “Assumed Liabilities” has the meaning set forth in Section 1.03.

         “Assumed Payables” means (i) with respect to a Pre-Petition Assigned Contract, all amounts owed
pursuant to such Pre-Petition Assigned Contract and unpaid as of the time of assumption of such Pre-
Petition Assigned Contract by Buyer and (ii) with respect to any other Assigned Contract, all amounts owed
pursuant to such Assigned Contract that arose after the filing of the Petition and remain unpaid as of the
Closing.

         “Assumed Payables Amount” has the meaning set forth in Section 2.03(b).

         “Balance Sheet” has the meaning set forth in Section 3.03(a).

         “Balance Sheet Date” has the meaning set forth in Section 3.03(a).

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321527252.4
               Case 24-12752-MFW            Doc 7-2      Filed 12/06/24       Page 94 of 190



         “Bankruptcy Code” has the meaning set forth in the Background.

         “Bankruptcy Court” has the meaning set forth in the Background.

         “Base Purchase Price” means $5,000,000.

         “Benefit Plan” means each pension, benefit, retirement, compensation, employment, consulting,
advisory, profit-sharing, deferred compensation, incentive, bonus, performance award, phantom equity,
equity or equity-based, option, change in control, retention, severance, vacation, paid time off (PTO),
medical, vision, dental, disability, welfare, cafeteria (whether or not subject to Section 125 of the Tax Code),
fringe benefit, and other similar agreement, plan, policy, program, or arrangement (and any amendments
thereto), in each case whether or not reduced to writing and whether funded or unfunded, including each
“employee benefit plan” within the meaning of Section 3(3) of ERISA, whether or not tax-qualified and
whether or not subject to ERISA, which is or has been maintained, sponsored, contributed to, or required
to be contributed to by Sellers for the benefit of any current or former Employee, Independent Contractor,
officer, or of Sellers or any spouse or dependent of such Person, or under which Sellers or any of their
ERISA Affiliates has or may have any Liability in relation to the Business, or with respect to which Buyer
or any of its Affiliates would reasonably be expected to have any Liability, contingent or otherwise.

        “Bill of Sale” means a bill of sale in the form of Exhibit A hereto transferring the tangible personal
property included in the Purchased Assets to Buyer.

         “Business” has the meaning set forth in the Background.

        “Business Day” means any day except Saturday, Sunday, or any other day on which commercial
banks located in New York, New York are authorized or required by Law to be closed for business.

       “Business Intellectual Property” means any and all Business Owned Intellectual Property and
Business Licensed Intellectual Property.

        “Business IP Agreements” means all licenses, sublicenses, consent to use agreements, settlements,
coexistence agreements, covenants not to sue, waivers, releases, permissions, and other Contracts Related
to the Business (including any right to receive or obligation to pay royalties or any other consideration),
whether written or oral, relating to Intellectual Property to which Sellers are a party, beneficiary or
otherwise bound.

        “Business IP Registrations” means all Business Owned Intellectual Property that is subject to any
issuance registration, application, or other filing by, to, or with any Governmental Authority or authorized
private registrar in any jurisdiction, including registered trademarks, domain names, and registered
copyrights, issued and reissued patents, and pending applications for any of the foregoing.

       “Business Licensed Intellectual Property” means any and all Intellectual Property Related to the
Business that is licensed, or for which rights are otherwise granted, to Sellers by a third party.

         “Business Owned Intellectual Property” means any and all Intellectual Property Related to the
Business that is owned by, purported to be owned by, or exclusively licensed to Sellers (either exclusively
or jointly with another Person or Persons).

         “Buyer” has the meaning set forth in the preamble.




{00040268. }                                         A-2
321527252.4
               Case 24-12752-MFW           Doc 7-2      Filed 12/06/24        Page 95 of 190



        “CERCLA” means the Comprehensive Environmental Response, Compensation, and Liability Act
of 1980, as amended by the Superfund Amendments and Reauthorization Act of 1986, 42 U.S.C. §§ 9601
et seq.

         “Chapter 11 Case” has the meaning set forth in the Background.

         “Closing” has the meaning set forth in Section 2.01(a).

         “Closing Amounts” has the meaning set forth in Section 2.03(b).

        “Closing Consideration Amount” means the cash amount that is equal to (i) the Base Purchase
Price, minus (ii) the Assumed Payables Amount.

         “Closing Date” has the meaning set forth in Section 2.01(a).

         “Closing Statement” has the meaning set forth in Section 2.03(b).

        “Confidentiality Agreement” means that certain Confidentiality Agreement, dated as of January
12, 2024, by and between Yield10 and Buyer.

         “Contemplated Transactions” means the transactions contemplated by this Agreement, including
(i) the execution, delivery, and performance of the Ancillary Documents and (ii) the payment of fees and
expenses relating to such transactions.

        “Contracts” means all contracts, leases, deeds, mortgages, licenses, instruments, notes,
commitments, undertakings, indentures, joint ventures, and all other agreements, commitments, and legally
binding arrangements, whether written or oral, and any amendments thereto.

         “Copyleft License” means any license that requires, as a condition of use, that any Software subject
to such license that is distributed or modified (or any other Software incorporated into, derived from, used,
or distributed with any such Software or content) (i) be made available to any third-party recipient in a form
other than binary form (e.g., in source code form), (ii) be made available to any third-party recipient under
terms that allow preparation of derivative works, (iii) be made available to any third-party recipient under
terms that allow Software or interfaces therefor to be reverse engineered, reverse assembled, or
disassembled (other than to the extent any contrary restriction would be unenforceable under applicable
Law), or (iv) be made available to any third-party recipient at no license fee. Copyleft Licenses include the
GNU General Public License, the GNU Lesser General Public License, the GNU Affero General Public
License, the Mozilla Public License, the Common Development and Distribution License, and the Eclipse
Public License.

         “Cure Costs” has the meaning set forth in Section 1.03(a).

         “Designated Accounting Firm” has the meaning set forth in Section 2.03(c)(v).

         “Dispute Notice” has the meaning set forth in Section 2.03(c)(ii).

         “Dispute Submissions” has the meaning set forth in Section 2.03(c)(v).

         “Disputed Item” has the meaning set forth in Section 2.03(c)(ii).

       “Employee” means any employee of Sellers who performs services in connection with the
Business.

{00040268. }                                        A-3
321527252.4
               Case 24-12752-MFW            Doc 7-2       Filed 12/06/24       Page 96 of 190



         “Encumbrance” means any charge, claim, community property interest, pledge, condition,
equitable interest, lien (statutory or other), option, license, security interest, mortgage, easement,
encroachment, right of way, right of first refusal, or restriction of any kind, including any restriction on use,
voting, transfer, receipt of income, or exercise of any other attribute of ownership.

        “Enforceable” means, with respect to any Contract stated to be enforceable by or against any
Person, that such Contract is a legal, valid, and binding obligation enforceable by or against such Person in
accordance with its terms and in full force and effect, except to the extent that enforcement of the rights
and remedies created thereby is subject to bankruptcy, insolvency, reorganization, moratorium, and other
similar Law of general application affecting the rights and remedies of creditors and to general principles
of equity (regardless of whether enforceability is considered in a proceeding in equity or at law).

         “Environmental Claim” means any Action, Governmental Order, lien, fine, penalty, or, as to each,
any settlement or judgment arising therefrom, by or from any Person alleging liability of whatever kind or
nature (including liability or responsibility for the costs of enforcement proceedings, investigations,
cleanup, governmental response, removal or remediation, natural resources damages, property damages,
personal injuries, medical monitoring, penalties, contribution, indemnification, and injunctive relief) arising
out of, based on, or resulting from (i) the presence, Release of, or exposure to, any Hazardous Materials or
(ii) any actual or alleged non-compliance with any Environmental Law or term or condition of any
Environmental Permit.

         “Environmental Law” means any applicable Law, and any Governmental Order or binding
agreement with any Governmental Authority (i) relating to pollution (or the cleanup thereof) or the
protection of natural resources, endangered or threatened species, human health or safety, or the
environment (including ambient air, soil, surface water or groundwater, or subsurface strata) or
(ii) concerning the presence of, exposure to, or the management, manufacture, use, containment, storage,
recycling, reclamation, reuse, treatment, generation, discharge, transportation, processing, production,
disposal, or remediation of any Hazardous Materials. The term “Environmental Law” includes the
following (including their implementing regulations and any state analogs): the Comprehensive
Environmental Response, Compensation, and Liability Act of 1980, as amended by the Superfund
Amendments and Reauthorization Act of 1986, 42 U.S.C. §§ 9601 et seq.; the Solid Waste Disposal Act,
as amended by the Resource Conservation and Recovery Act of 1976, as amended by the Hazardous and
Solid Waste Amendments of 1984, 42 U.S.C. §§ 6901 et seq.; the Federal Water Pollution Control Act of
1972, as amended by the Clean Water Act of 1977, 33 U.S.C. §§ 1251 et seq.; the Toxic Substances Control
Act of 1976, as amended, 15 U.S.C. §§ 2601 et seq.; the Emergency Planning and Community Right-to-
Know Act of 1986, 42 U.S.C. §§ 11001 et seq.; the Clean Air Act of 1966, as amended by the Clean Air
Act Amendments of 1990, 42 U.S.C. §§ 7401 et seq.; and the Occupational Safety and Health Act of 1970,
as amended, 29 U.S.C. §§ 651 et seq.

        “Environmental Notice” means any written directive, notice of violation or infraction, or notice
respecting any Environmental Claim relating to actual or alleged non-compliance with any Environmental
Law or any term or condition of any Environmental Permit.

        “Environmental Permit” means any Permit, letter, clearance, consent, waiver, closure, exemption,
decision, or other action required under or issued, granted, given, authorized by, or made pursuant to
Environmental Law.

        “Equity Interest” means, with respect to any Person, (i) any capital stock, partnership or
membership interest, unit of participation or other similar interest (however designated), in such Person or
any security or evidence of indebtedness convertible into or exchangeable therefor (ii) any option, warrant,
purchase right, conversion right, exchange right, or other Contract which would entitle any other Person to


{00040268. }                                          A-4
321527252.4
               Case 24-12752-MFW           Doc 7-2      Filed 12/06/24        Page 97 of 190



acquire any such interest in such Person or otherwise entitle any other Person to share in the equity, profits,
earnings, losses, or gains of such Person, including stock appreciation, restricted stock unit, phantom stock,
profit participation, or other similar rights.

        “ERISA” means the Employee Retirement Income Security Act of 1974, as amended, and the
regulations promulgated thereunder.

        “ERISA Affiliate” means all employers (whether or not incorporated) that would be treated
together with the Business or any of its Affiliates as a “single employer” within the meaning of Section 414
of the Tax Code.

       “Estimated Closing Consideration Amount” means the cash amount that is equal to (i) the Base
Purchase Price, minus (ii) the Estimated Assumed Payables Amount.

         “Estimated Assumed Payables Amount” has the meaning set forth in Section 2.03(a).

         “Estimated Closing Statement” has the meaning set forth in Section 2.03(a).

         “Excess Amount” has the meaning set forth in Section 2.03(d)(i).

         “Exchange Act” means the Securities Exchange Act of 1934, as amended.

         “Excluded Liabilities” has the meaning set forth in Section 1.04.

         “Expert Calculations” has the meaning set forth in Section 2.03(c)(v).

         “Financial Statements” has the meaning set forth in Section 3.03(a).

         “Fraud” means a material misrepresentation in the representations and warranties of Sellers in this
Agreement or in any written materials (other than estimates, forecasts, projections, and other forward-
looking statements) provided by or Sellers or their Representatives to Buyer, its Affiliates, or
Representatives in connection with the Contemplated Transactions, which was known to be false by Sellers
or their Representatives, or a knowing omission of a material fact necessary to make any such representation
or warranty or such written materials not materially misleading. For the avoidance of doubt, “Fraud” does
not include any claim for equitable fraud, promissory fraud, unfair dealings fraud, or any torts based on
negligence.

       “Fundamental Representations” means the representations and warranties set forth in Section 3.01
(Organization and Authority; Due Execution.), Section 3.05 (Title to Purchased Assets; Real Property),
Section 3.07 (Intellectual Property), Section 3.15 (Taxes), Section 3.20 (Brokers), Section 4.01
(Organization and Authority of Buyer; Due Execution), and Section 4.03 (Brokers).

         “GAAP” means United States generally accepted accounting principles in effect from time to time.

         “Governmental Authority” means any federal, state, local, or foreign government or political
subdivision thereof, or any agency or instrumentality of such government or political subdivision, or any
self-regulated organization or other non-governmental regulatory authority or quasi-governmental authority
(to the extent that the rules, regulations or orders of such organization or authority have the force of Law),
or any arbitrator, court, or tribunal.




{00040268. }                                         A-5
321527252.4
               Case 24-12752-MFW            Doc 7-2       Filed 12/06/24       Page 98 of 190



       “Governmental Order” means any order, writ, judgment, injunction, decree, stipulation,
determination, or award entered by or with any Governmental Authority.

         “Harmful Code” means any “back door,” “drop dead device,” “time bomb,” “Trojan horse,”
“virus,” or “worm” (as such terms are commonly understood in the software industry) or any other code
designed or intended to have, or capable of performing, any of the following functions: (i) disrupting,
disabling, harming, or otherwise materially impeding in any manner the operation of, or providing
unauthorized access to, a computer system or network or other device on which such code is stored or
installed or (ii) damaging or destroying any data or file without the user’s consent.

        “Hazardous Materials” means (i) any material, substance, chemical, waste, product, derivative,
compound, mixture, solid, liquid, mineral or gas, in each case, whether naturally occurring or manmade,
that is hazardous, acutely hazardous, toxic, or words of similar import or regulatory effect under
Environmental Laws and (ii) any petroleum or petroleum-derived products, radon, radioactive materials or
wastes, asbestos in any form, lead or lead-containing materials, urea formaldehyde foam insulation, PFAS
(per- and polyfluoralkyl) and polychlorinated biphenyls.

        “Independent Contractor” means any Person, other than an Employee, who is or has been engaged
by Sellers or a third Person to provide services in connection with the Business, including any consultant,
advisory board member, staffing agency, professional employer organization or independent contractor
agent and any of their respective employees or sub-contractors.

         “Insurance Policies” has the meaning set forth in Section 3.12.

          “Intellectual Property” means any and all rights of Sellers in, arising out of, or associated with any
of the following in any jurisdiction throughout the world (i) issued patents (including plant patents) and
patent applications (whether provisional or non-provisional), including divisionals, continuations,
continuations-in-part, substitutions, reissues, reexaminations, extensions, or restorations of any of the
foregoing, and other Governmental Authority-issued indicia of invention ownership (including certificates
of invention, petty patents, and patent utility models) (“Patents”), (ii) trademarks, service marks, brands,
certification marks, logos, trade dress, trade names, and other similar indicia of source or origin, together
with the goodwill connected with the use of and symbolized by, and all registrations, applications for
registration, and renewals of, any of the foregoing (“Trademarks”), (iii) copyrights and works of authorship,
whether or not copyrightable, and all registrations, applications for registration, and renewals of any of the
foregoing (“Copyrights”), (iv) internet domain names and social media account or user names (including
“handles”), whether or not Trademarks, all associated web addresses, URLs, websites and web pages, social
media sites and pages, and all content and data thereon or relating thereto, whether or not Copyrights,
(v) mask works and all registrations, applications for registration, and renewals thereof, (vi) industrial
designs and all Patents, registrations, applications for registration, and renewals thereof, (vii) trade secrets,
know-how, inventions (whether or not patentable), discoveries, improvements, technology, business and
technical information, databases, data compilations and collections, tools, methods, processes, techniques,
and other confidential and proprietary information, and all rights therein (“Trade Secrets”), (viii) Software,
operating systems, applications, firmware, and other code, including all source code, object code,
application programming interfaces, data files, databases, protocols, specifications, and other
documentation thereof, (ix) rights of publicity, (x) plant breeder rights and plant variety protection rights,
(xi) all other intellectual or industrial property and proprietary rights that is Related to the Business, and
(xii) all rights to sue at law or in equity for any past or future infringement or other impairment of any of
the foregoing, including the right to receive all proceeds and damages therefrom.

         “Interim Balance Sheet” has the meaning set forth in Section 3.03(a).



{00040268. }                                          A-6
321527252.4
               Case 24-12752-MFW           Doc 7-2      Filed 12/06/24        Page 99 of 190



         “Interim Balance Sheet Date” has the meaning set forth in Section 3.03(a).

         “Interim Financial Statements” has the meaning set forth in Section 3.03(a).

         “Inventory” has the meaning set forth in Section 1.01(a).

         “IT Systems” has the meaning set forth in Section 3.08(a).

        “Law” means any statute, law, ordinance, regulation, rule, code, order, constitution, treaty, common
law, judgment, or decree of any Governmental Authority.

         “Liabilities” means any debts, liabilities, commitments or obligations, whether absolute or
contingent, asserted or unasserted, known or unknown, liquidated or unliquidated, due or to become due,
fixed or unfixed.

         “Material Adverse Effect” means any event, occurrence, fact, condition, or change that is, or could
reasonably be expected to become, individually or in the aggregate, materially adverse to (i) the results of
operations or condition (financial or otherwise) of the Business, the Purchased Assets or the Assumed
Liabilities or (ii) the ability of Sellers to perform its obligations hereunder and consummate the
Contemplated Transactions on a timely basis; provided, however, that “Material Adverse Effect” shall not
include any event, occurrence, fact, condition, or change, directly or indirectly, to the extent arising out of
or attributable to (A) general economic or political conditions, (B) conditions generally affecting the
industries in which the Business is operated, (C) any changes in financial or securities markets in general,
(D) acts of war (whether or not declared), armed hostilities, or terrorism or the escalation or worsening
thereof, (E) acts of God, pandemics, earthquakes, hurricanes, or other natural disasters, (F) any changes in
applicable Laws or accounting rules, including GAAP, or (G) the public announcement, pendency, or
completion of the Contemplated Transactions; provided further, however, that any event, occurrence, fact,
condition, or change referred to in clauses (A) through (F) immediately above shall be taken into account
in determining whether a Material Adverse Effect has occurred or could reasonably be expected to occur
to the extent that such event, occurrence, fact, condition, or change has a disproportionate effect on the
Business compared to other participants in the industries in which the Business is conducted.

        “Off-the-Shelf Software” means Software licensed from a third party in the Ordinary Course of
Business and uncustomized for the Business by the third party that is generally commercially available,
other than Software obtained from a third party under licenses that obligate Sellers to pay continuing
payments, including royalties or annual maintenance fees.

         “Oilseeds” has the meaning set forth in the preamble.

         “Open Source License” means any license meeting the Open Source Definition (as promulgated by
the Open Source Initiative) or the Free Software Definition (as promulgated by the Free Software
Foundation), or any substantially similar license, including any license approved by the Open Source
Initiative. For the avoidance of doubt, Open Source Licenses include Copyleft Licenses.

         “Open Source Materials” means any Software subject to an Open Source License.

        “Operating Loan” means that certain Secured Promissory Note, dated September 5, 2024, issued
by Sellers and Yield10 Bioscience Securities Corp. to Buyer.




{00040268. }                                         A-7
321527252.4
               Case 24-12752-MFW          Doc 7-2      Filed 12/06/24       Page 100 of 190



        “Ordinary Course of Business” means the conduct of the Business in accordance with Sellers’
normal day-to-day customs, practices, and procedures, consistent with past practice (including with respect
to quantity and frequency).

         “Organizational Documents” means, with respect to any Person (other than an individual), (i) the
certificate or articles of incorporation or organization and any limited liability company, operating, or
partnership agreement adopted or filed in connection with the creation, formation or organization of such
Person and (ii) all by-laws and equity holders agreements to which such Person is a party relating to the
organization or governance of such Person, in each case, as amended or supplemented.

         “Outside Date” has the meaning set forth in Section 7.01(b)(ii).

        “Patent Assignment Agreement” means the Patent Assignment Agreement by and between Buyer
and Sellers, substantially in the form of Exhibit C hereto.

         “Payment Schedule” has the meaning set forth in Section 2.02(a)(iii).

         “Permits” means all permits, licenses, franchises, certifications, approvals, authorizations,
registrations, certificates, variances, and similar rights obtained, or required to be obtained, from
Governmental Authorities.

         “Permitted Access Parties” has the meaning set forth in Section 5.19.

         “Permitted Encumbrances” means (i) liens for Taxes not yet due and payable, (ii) mechanics,
carriers’, workmen’s, repairmen’s, or other like liens arising or incurred in the Ordinary Course of Business
or amounts that are not delinquent and which are not, individually or in the aggregate, material to the
Business, or (iii) easements, rights of way, zoning ordinances, and other similar encumbrances affecting
Real Property which do not, individually or in the aggregate, materially and adversely affect the operations
of the Business.

      “Person” means an individual, corporation, partnership, joint venture, limited liability company,
Governmental Authority, unincorporated organization, trust, association, or other entity.

         “Personal Devices” has the meaning set forth in Section 3.09(a).

         “Personal Information” means any information that identifies or, alone or in combination with any
other information, could reasonably be used to identify, locate, or contact a natural Person, including name,
street address, telephone number, email address, identification number issued by a Governmental Authority,
credit card number, bank information, customer or account number, online identifier, device identifier, IP
address, browsing history, search history, or other website, application, or online activity or usage data,
location data, biometric data, medical or health information, or any other information that is considered
“personally identifiable information,” “personal information,” or “personal data” under any applicable Law.

         “Petition” has the meaning set forth in the Background.

       “Post-Closing Consideration” means the Excess Amount, if any, that is actually payable to Sellers
pursuant to the terms of this Agreement.

         “Pre-Closing Period” has the meaning set forth in Section 5.01(a).




{00040268. }                                        A-8
321527252.4
               Case 24-12752-MFW          Doc 7-2     Filed 12/06/24       Page 101 of 190



        “Pre-Petition Assigned Contracts” means all Assigned Contracts that Buyer and Sellers mutually
agree shall be assigned to Buyer prior to the filing of the Petition.

         “Privacy and Data Security Policies” means all past or present, internal or public-facing policies,
notices, and statements concerning the privacy, security, or Processing of Personal Information.

         “Privacy Laws” means all applicable Laws, Governmental Orders, and binding guidance issued by
any Governmental Authority concerning the privacy, security, or Processing of Personal Information
(including Laws of jurisdictions where Personal Information was collected), including, as applicable, data
breach notification Laws, consumer protection Laws, Laws concerning requirements for website and
mobile application privacy policies and practices, social security protection Laws, data security Laws, and
Laws concerning email, text message, or telephone communications. Without limiting the foregoing,
Privacy Laws include: The Federal Trade Commission Act, the Telephone Consumer Protection Act, the
Telemarketing and Consumer Fraud and Abuse Prevention Act, the Controlling the Assault of Non-
Solicited Pornography and Marketing Act of 2003, the Children’s Online Privacy Protection Act, the
Computer Fraud and Abuse Act, the Electronic Communications Privacy Act, the Fair Credit Reporting
Act, the Fair and Accurate Credit Transaction Act the Health Insurance Portability and Accountability Act
of 1996, as amended and supplemented by the Health Information Technology for Economic and Clinical
Health Act of the American Recovery and Reinvestment Act of 2009, the Gramm-Leach-Bliley Act, the
Family Educational Rights and Privacy Act, the General Data Protection Regulation, and all other similar
international, federal, state, provincial, and local Laws.

       “Pro Rata Portion” means, with respect to each Seller, the percentage set forth in the Payment
Schedule under the column labeled “Pro Rata Portion.”

         “Processing” (or words of correlative meaning) has the meaning set forth in Section 3.09(b).

         “Proposed Acquisition” has the meaning set forth in the Background.

         “Purchase Price” has the meaning set forth in Section 1.05.

         “Purchased Assets” has the meaning set forth in Section 1.01.

         “Qualified Benefit Plan” has the meaning set forth in Section 3.17(a)

        “Real Property” means the real property leased, subleased, licensed, sublicensed, or occupied by
the Business, together with all buildings, structures, and facilities located thereon.

       “Related to the Business” means arising from, related to or used or held for use in, required for the
conduct of, or otherwise necessary for or material to the operation of, the Business as currently conducted,
the ownership and use of the Purchased Assets, or the satisfaction and discharge of the Assumed Liabilities.

        “Release” means any actual or threatened release, spilling, leaking, pumping, pouring, emitting,
emptying, discharging, injecting, escaping, leaching, dumping, abandonment, disposing, or allowing to
escape or migrate into or through the environment (including ambient air (indoor or outdoor), surface water,
groundwater, land surface or subsurface strata, or within any building, structure, facility, or fixture).

       “Representative” means, with respect to any Person, any and all directors, officers, managers,
employees, consultants, financial advisors, counsel, accountants, and other agents of such Person.

         “Review Materials” has the meaning set forth in Section 2.03(c)(i).


{00040268. }                                        A-9
321527252.4
               Case 24-12752-MFW           Doc 7-2       Filed 12/06/24       Page 102 of 190



         “Review Period” has the meaning set forth in Section 2.03(c)(i).

         “Rothamsted” means Rothamsted Research Limited, a company limited by guarantee and
registered in England and Wales under registration no. 2393175 and a charity registered in England with
number 802038.

       “Rothamsted Agreement” means the Licence Agreement, dated June 12, 2024, between Yield10
and Rothamsted.

       “Sale Hearing” means the hearing conducted by the Bankruptcy court to approve the transactions
contemplated by this Agreement.

         “Sale Motion” has the meaning set forth in Section 5.20(a).

         “Sale Order” means a final order of the Bankruptcy Court, in form and substance reasonably
acceptable to Buyer, approving, authorizing, and directing the sale of the Purchased Assets to Buyer in
accordance with this Agreement and containing customary buyer protections including, without limitation,
that the sale is free of all interests, liens, claims and encumbrances to the full extent permitted under Section
363 of the Bankruptcy Code and a “good faith” finding under subsection 363(m) of the Bankruptcy Code,
for which no appeal has been filed, all applicable appeal periods have expired and no stay pending appeal
has been granted.

         “Security Incident” has the meaning set forth in Section 3.09(c).

         “Seller Board” means the board of directors of Yield10.

        “Seller Disclosure Schedule” means the disclosure schedule delivered by Sellers concurrently with
the execution and delivery of this Agreement.

         “Seller Termination Fee” has the meaning set forth in Section 7.03(a).

         “Sellers” has the meaning set forth in the preamble.

         “Sellers’ Knowledge” means, when used with respect to the Business, any facts or other
information actually known by Oliver Peoples, Kristi Snell, Meghna Malik, Benjamin Locke, or any other
senior manager of the Business, or which a prudent individual in such position could be expected to discover
in the course of conducting a reasonable investigation of the relevant subject matter.

         “Shortfall Amount” has the meaning set forth in Section 2.03(d)(ii).

        “Software” means any and all software of any type (including programs, applications, middleware,
interfaces, utilities, tools, drivers, firmware, microcode, scripts, batch files, JCL files, instruction sets and
macros) and in any form (including source code, object code and executable code), databases, associated
data, and related documentation, and all rights therein.

         “Straddle Period” has the meaning set forth in Section 5.17(a).

         “Superior Proposal” means a bona fide written Acquisition Proposal that did not result from a
breach of Section 5.03 and if consummated would result in a Person owning, directly or indirectly, (i) more
than fifty percent (50%) of either Seller’s outstanding shares of capital stock or (ii) more than fifty percent
(50%) of the assets of Sellers, taken as a whole, in either case, which Sellers determine in good faith, after


{00040268. }                                         A-10
321527252.4
               Case 24-12752-MFW          Doc 7-2      Filed 12/06/24       Page 103 of 190



consultation with their financial advisors and outside legal counsel, (A) to be reasonably likely to be
consummated if accepted, and (B) if consummated, would result in a transaction more favorable to
Yield10’s stockholders from a financial point of view than the Contemplated Transactions, in each case,
taking into account at the time of determination (1) any changes to the terms of this Agreement offered by
Buyer in writing in response to such Acquisition Proposal and (2) the financial, regulatory, legal, certainty,
timing and other aspects of such Acquisition Proposal (including the likelihood of such Acquisition
Proposal to be consummated on a timely basis).

         “Tangible Personal Property” has the meaning set forth in Section 1.01(e).

        “Tax” or “Taxes” means all federal, state, local, foreign, and other income, gross receipts, sales,
use, production, ad valorem, transfer, franchise, registration, profits, license, lease, service, service use,
withholding, payroll, employment, unemployment, estimated, excise, severance, environmental, stamp,
occupation, premium, property (real or personal), real property gains, windfall profits, Liability under
unclaimed property or escheat Laws, customs, duties, or other taxes, fees, assessments, or charges of any
kind whatsoever, whether computed on a separate or consolidated, affiliated, unitary or combined basis or
in any other manner, including any interest, penalty, or addition thereto, whether disputed or not and
including any obligation to indemnify or otherwise assume or succeed to the Tax liability of any other
Person.

         “Tax Code” means the Internal Revenue Code of 1986, as amended.

       “Tax Return” means any return, declaration, report, claim for refund, information return or
statement, or other document relating to Taxes, including any schedule or attachment thereto, and including
any amendment thereof.

        “Trait” means any biochemical, physiological, physical or other attribute or phenotype of a plant,
plant part, plant cell, plant tissue, breeding material, seed product or other plant material.

         “Transaction Documents” means this Agreement and the Ancillary Documents.

         “Treasury Regulations” means the temporary and final regulations promulgated under the Tax
Code, revenue rulings and other public interpretations of the Tax Code by the IRS, as such regulations,
rulings and interpretations may be amended or otherwise revised from time to time.

         “Union” has the meaning set forth in Section 3.16(c).

       “VDR” means the virtual data room for “Yield10 Bioscience” prepared by Sellers and hosted by
ShareVault.

        “WARN Act” means the federal Worker Adjustment and Retraining Notification Act of 1988, and
similar state, local and foreign laws related to plant closings, relocations, mass layoffs, and employment
losses.

         “Yield10” has the meaning set forth in the preamble.




{00040268. }                                        A-11
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                  Case 24-12752-MFW      Doc 7-2      Filed 12/06/24    Page 104 of 190
                                                                                 CONFIDENTIAL


                                          SCHEDULE 1.01(c)
                                      ASSIGNED CONTRACTS


                  Name                                   Counterparty                     Effective date

Mutual Confidentiality Agreement      A.G.P./Alliance Global Partners                     11/10/2023
Confidential Disclosure Agreement     AdFarm US Inc.                                      06/16/2022

2023-24 Field Experiment Plan         Ag-Quest Holdings Ltd.                              08/15/2023

Master Services Agreement             Ag-Quest Holdings Ltd.                              09/22/2022

Confidential Disclosure Agreement     Ag-Quest Holdings Ltd.                              10/20/2021

2024 Field Experiment Plan            AgraServ, LLC                                       04/24/2024
Master Services Agreement             AgraServ, LLC                                       08/23/2023
Work Order | 2024 Field Experiment
Plan                                  AgraServ, LLC                                       04/22/2024

Master Services Agreement             AgriThority LLC                                     08/22/2023
Work Order | 2024 Spring Camelina
Trials                                AgriThority LLC                                     04/29/2024
Mutual Confidential Disclosure
Agreement                             AgriThority LLC                                     06/16/2021
Mutual Non-disclosure Agreement       American Airlines, Inc.                             12/15/2022

Confidential Disclosure Agreement     Analome Inc                                         06/25/2021
Confidentiality Agreement -
Appendix                              APAGROU SAS                                         08/22/2022

Confidentiality Agreement             Archer-Daniels-Midland Company (ADM)                08/03/2022
Confidential Disclosure Agreement     ARE-MA Region No. 20, LLC                           12/04/2023

Confidential Disclosure Agreement     Ash Creek Renewables LLC.                           08/31/2022
Confidential Disclosure Agreement     Atmospheric and Environmental Research, Inc. (AER) 03/08/2023
Confidential Disclosure Agreement |
Amendment 1                           Atmospheric and Environmental Research, Inc. (AER) 05/05/2023

Confidentiality Agreement             Bartlett and Company, LP                            08/26/2022

Materials Transfer Agreement          BASF Agricultural Solutions Seed US LLC             02/29/2024
Confidentiality Agreement             BASF Agricultural Solutions Seed US LLC             05/20/2023
Confidentiality Agreement -
Amendment 1                           BASF Agricultural Solutions Seed US LLC             05/20/2024
Mutual Non-disclosure Agreement       Bayer CropScience LP (BCS)                          01/05/2024

Confidentiality Agreement             BP Products North America Inc.                      06/04/2024


   320287098.12
                 Case 24-12752-MFW              Doc 7-2       Filed 12/06/24     Page 105 of 190




                  Name                                            Counterparty                     Effective date
Confidentiality Agreement                   Bunge North America, Inc                               10/03/2022

Confidential Disclosure Agreement           Camelina Company Espana S.L.                           02/25/2021
Yield10 Camelina Stewardship
Management Program 1                        Campbell Farms & Livestock LLC (Jeff Campbell)         04/30/2024
Confidential Disclosure Agreement           CAMSTAR, INC.                                          02/01/2022

Confidential Disclosure Agreement           Canaccord Genuity LLC                                  06/10/2024

Confidential Disclosure Agreement           Canary Biofuels, Inc.                                  10/21/2021

Mutual Non-disclosure Agreement             Canopy Growth Corporation                              10/31/2023

Confidential Disclosure Agreement           Canpressco                                             03/19/2024
Mutual Confidentiality Agreement            Cargill, Incorporated                                  10/13/2023
Mutual Confidentiality Agreement            Cargill, Incorporated                                  01/19/2024
Mutual Confidentiality Agreement            Cargill, Incorporated                                  07/14/2022

Confidential Disclosure Agreement           CBIZ MHM, LLC                                          08/15/2022
Confidential Disclosure Agreement           Cermaq Group AS                                        11/14/2023
Confidential Disclosure Agreement           CGB Enterprises, Inc.                                  01/23/2024
Confidential Disclosure Agreement           Critereon Company, LLC                                 11/21/2022

Confidential Disclosure Agreement           Delek US Energy, Inc.                                  01/23/2023
Confidential Disclosure Agreement           Deveron UAS Corp.                                      06/05/2020

Materials Transfer Agreement                DSM Nutritional Products, LLC                          01/10/2024
Mutual Confidentiality Agreement            DSM Nutritional Products, LLC                          11/13/2023

Confidential Disclosure Agreement           Duane Johnson (Clearskies Biolubricants, Inc.)         10/07/2019

Confidential Disclosure Agreement           Elementa Foods                                         12/19/2023
Materials Transfer Agreement                ENEOS Corporation                                      04/12/2023

Confidential Disclosure Agreement           ENEOS Corporation                                      02/03/2023

Confidential Disclosure Agreement           Evogene Ltd.                                           01/10/2024

Confidentiality Agreement                   Exxon Mobil Corporation                                03/23/2023

Confidentiality Agreement                   ExxonMobil Technology and Engineering Company          03/15/2024
Non-disclosure Agreement                    Farmer's Business Network, Inc.                        09/08/2021

  1
      This contract will be excluded from the Assumed Payables calculation.


  320287098.12
                 Case 24-12752-MFW      Doc 7-2      Filed 12/06/24     Page 106 of 190




                 Name                                   Counterparty                      Effective date
2023-24 Field Experiment Plan        G2 Ag Research LLC                                   08/15/2023

Master Services Agreement            G2 Ag Research LLC                                   08/22/2023
Confidential Disclosure Agreement    GDM Argentina S.A                                    02/26/2024
First Amendment To The Research
License Agreement                    GDM Seeds                                            09/05/2023

ARM Full Bundle License              GDM Seeds                                            10/13/2023

Mutual Nondisclosure Agreement       GENEWIZ, LLC                                         09/22/2021

Confidential Disclosure Agreement    Global Agricultural Development Corporation          02/12/2020

Confidential Disclosure Agreement    HATCH Blue Holding Ltd                               11/15/2023
Confidential Disclosure Agreement    Hawaii Agriculture Research Center                   10/06/2022
2023-24 Field Experiment Plan        ICMS                                                 09/08/2023
Master Services Agreement            ICMS                                                 09/05/2023

Gross Sublease                       Innovation Saskatchewan                              11/19/2024
Confidential Disclosure Agreement    Jeremy Scott Tax Law                                 09/08/2023
Confidential Disclosure Agreement    Joseph Gunnar & Co. LLC                              08/26/2022
Master Services Agreement            KayJay Ag Services                                   04/22/2024
Work Order | 2024 Field Experiment
Plan                                 KayJay Ag Services                                   04/22/2024

Confidential Disclosure Agreement    KD Pharma Group SA                                   11/03/2023
Non-disclosure Agreement             knoell USA, LLC                                      09/22/2022

Confidential Disclosure Agreement    Koch Engineered Solutions LLC.                       11/08/2021
Confidential Disclosure Agreement    KWS SAAT SE & Co. KGaA                               02/13/2020

Mutual Confidentiality Agreement     Lake Street Capital Markets, LLC                     08/26/2023

Mutual Non-disclosure Agreement      LG Chem, Ltd.                                        02/06/2023
Mutual Non-disclosure And
Confidentiality Agreement            Louis Dreyfus Company LLC                            06/12/2024

Non-disclosure Agreement             Marcum LLP                                           02/19/2024

Non-Disclosure Agreement             Maxim Group LLC                                      11/06/2023

Mutual Nondisclosure Agreement       Mazars USA LLP                                       02/19/2024

Confidential Disclosure Agreement    Millborn Seeds, Inc.                                 09/26/2022



  320287098.12
                  Case 24-12752-MFW    Doc 7-2      Filed 12/06/24      Page 107 of 190




              Name                                       Counterparty                     Effective date
Non-Exclusive License for a Plant
Variety                             Minister of Agriculture and Agri-Food (AAFC)          01/27/2020
Amendment No. 1 To Variety
Licencing Agreement                 Minister of Agriculture and Agri-Food (AAFC)          03/24/2021

Material Transfer Agreement         Minister of Agriculture and Agri-Food (AAFC)          04/08/2022

Material Transfer Agreement         Minister of Agriculture and Agri-Food (AAFC)          02/01/2020
Standard Material Transfer
Agreement                           Minister of Agriculture and Agri-Food (AAFC)          02/12/2024
Four-way Confidentiality And Non-
disclosure Agreement                Mitsubishi Corporation (Americas)                     09/08/2023
Mutual Non-disclosure Agreement     Mitsui & Co. (U.S.A.), Inc.                           04/10/2024
Material Transfer Agreement         National Research Council of Canada (NRC)             11/18/2021

Confidential Disclosure Agreement   Nissui Corporation                                    03/07/2024

Confidential Disclosure Agreement   North Dakota State University                         04/18/2024
Confidential Disclosure Agreement   NorthStar Genetics                                    08/17/2022
License Agreement                   Nuseed Nutritional US Inc.                            07/12/2024

Confidentiality Agreement           Nuseed Nutritional US Inc.                            01/12/2024
Confidential Disclosure Agreement   Nutreco                                               09/27/2023

Confidential Disclosure Agreement   Nyrasta LLC                                           11/03/2021

Confidential Disclosure Agreement   Par Pacific Holdings, Inc.                            05/02/2023
Confidential Disclosure Agreement   Peaker Energy Group, LLC                              01/12/2021

2023-24 Field Experiment Plan       Performance Crop Research, LLC                        08/17/2023
Master Services Agreement           Performance Crop Research, LLC                        08/23/2023

Materials Transfer Agreement        Petro-Lubricant Testing Laboratories, Inc.            12/22/2021

Confidential Disclosure Agreement   Petro-Lubricant Testing Laboratories, Inc.            12/21/2021
Framework Agreement On The
Provision Of Contract Services      Platform Genetics Inc.                                04/25/2022

Materials Transfer Agreement        POS Biosciences Corp.                                 02/15/2024
First Amendment To Plant Material
Testing Agreement                   Regents of the University of Minnesota                02/15/2023
First Amendment To Plant Material
Testing Agreement                   Regents of the University of Minnesota                02/28/2023
Plant Material Testing Agreement    Regents of the University of Minnesota                08/25/2021

Plant Material Testing Agreement    Regents of the University of Minnesota                08/27/2021


   320287098.12
                  Case 24-12752-MFW              Doc 7-2       Filed 12/06/24     Page 108 of 190




                   Name                                            Counterparty                     Effective date
Plant Material Testing Agreement             Regents of the University of Minnesota                 08/27/2021

Confidential Disclosure Agreement            Richter LLP                                            03/30/2022
Yield10 Camelina Stewardship
Management Program 2                         Robert Kostek                                          04/19/2024
License Agreement                            Rothamsted Research Limited                            06/12/2024

Materials Transfer Agreement                 Rothamsted Research Limited                            05/03/2022

Non-Disclosure Agreement                     Rothamsted Research Limited                            07/24/2024

Material Transfer Agreement                  S&W Seed Company                                       05/11/2021

2023-24 Field Experiment Plan                Saskatchewan Conservation Learning Centre (CLC)        08/29/2023
Confidential Disclosure Agreement            SNPsaurus LLC                                          03/16/2022
Confidential Disclosure Agreement            SNPsaurus LLC                                          02/07/2022
Confidentiality Agreement                    Société des Produits Nestlé SA                         03/03/2022

Master Services Agreement                    South East Research Farm (SERF)                        08/29/2023
Confidential Disclosure Agreement            Strategic Vision Consulting Ltd                        03/14/2023
Consulting Agreement                         Strategic Vision Consulting Ltd                        3/31/2023
Mutual Confidentiality Agreement             Suntory Holdings Limited                               05/01/2024

Mutual Non-disclosure Agreement              Sustainable Oils, Inc.                                 01/18/2024
Mutual Non-disclosure Agreement              The Broad Institute, Inc.                              11/22/2022

Confidential Disclosure Agreement            Thenell & Associates LLC                               11/19/2019
Transportation and Storage
Agreement                                    Tobin & Sons Moving and Storage, LLC                   11/25/2024
Biorepository Services Agreement             Tobin Scientific                                       11/25/2024

Exclusive License Agreement                  University of Missouri (Curators of the)               05/17/2018
Exclusive License Agreement -
Amendment 1                                  University of Missouri (Curators of the)               04/08/2019
Material Transfer Agreement                  University of Nebraska (Board of Regents)              07/16/2021

Confidential Disclosure Agreement            USDA-ARS-WRRC                                          04/08/2020

Confidential Disclosure Agreement            vCPO LLC                                               02/22/2021

License And Service Fee Agreement            Vision Bioenergy Oilseeds LLC                          02/09/2024


   2
       This contract will be excluded from the Assumed Payables calculation.


   320287098.12
                 Case 24-12752-MFW              Doc 7-2       Filed 12/06/24     Page 109 of 190




                  Name                                            Counterparty                     Effective date
Stewardship Management Program              Vision Bioenergy Oilseeds LLC                          03/13/2024

Confidential Disclosure Agreement           Vision Bioenergy Oilseeds LLC                          10/11/2023
Mutual Confidential Disclosure
Agreement                                   Washington State University                            02/21/2024
2023-24 Field Experiment Plan               Western Applied Research Corporation (WARC)            08/29/2023

Master Services Agreement                   Western Applied Research Corporation (WARC)            08/29/2023

2023-24 Field Experiment Plan               Wheatland Conservation Area (WCA)                      08/28/2023

Master Services Agreement                   Wheatland Conservation Area (WCA)                      08/28/2023

Confidential Disclosure Agreement           Wincrest Capital                                       08/09/2023
Confidential Disclosure Agreement           Wolf & Co.                                             02/05/2024
Master Services Agreement                   2010282 AB Ltd. (Kerschbaumer)                         09/27/2023
Master Services Agreement                   AgGro Innovations LLC                                  11/14/2022

2023 PNT Camelina Trial                     Ag-Quest Holdings Ltd.                                 04/25/2023
2021 Camelina Seed & Germplasm
Eval                                        AgraServ, LLC                                          06/15/2021

2023-24 Field Experiment Plan               AgraServ, LLC                                          07/31/2023
Master Services Agreement                   AgraServ, LLC                                          05/05/2023
Master Services Agreement                   Conservation Learning Centre (CLC)                     08/29/2023

Master Services Agreement                   Cropwise Research LLC                                  09/15/2022
Camelina Germplasm Evaluation &
Herbicide Tolerance Trials                  G2 Ag Research LLC                                     03/20/2021
Master Services Agreement                   G2 Ag Research LLC                                     08/29/2022

Research License Agreement                  GDM Seeds                                              08/10/2020

2023-24 Field Experiment Plan               Mackenzie Applied Research Association (MARA)          09/08/2023

2023-24 Field Experiment Plan               Mackenzie Applied Research Association (MARA)          09/08/2023
Master Services Agreement                   Mackenzie Applied Research Association (MARA)          09/08/2023
Collaborative Research And
Development Agreement Amendment
No. 1                                       Minister of Agriculture and Agri-Food (AAFC)           01/27/2017
Yield10 Camelina Stewardship
Management Program 3                        Mortenson Farm partners                                04/29/2024


  3
      This contract will be excluded from the Assumed Payables calculation.


  320287098.12
                  Case 24-12752-MFW     Doc 7-2      Filed 12/06/24     Page 110 of 190




               Name                                      Counterparty                     Effective date
Camelina Sativa (Winter Type) Non-
Regulated Seed Increase              Rakochy Farms                                        09/07/2021

Confirmation of Seed Destruction     Regents of the University of Minnesota               07/12/2024

Work Agreement                       Research Designed for Agriculture (RD4AG)            04/23/2018
RNA-Sequencing Project SOW           Rothamsted Research Limited                          07/05/2021
Seed Production And Processing
Services Agreement                   S&W Seed Company                                     04/20/2021

Master Services Agreement            SGS North America Inc                                09/20/2022
Work Order | 2022-23 Field
Experiment Plan                      SGS North America Inc                                09/15/2022

Master Services Agreement            South Dakota State University                        08/26/2022
Work Order | 2022-23 Field
Experiment Plan                      South Dakota State University                        08/31/2022
2022 Field Experiment Plan -
Camelina                             South East Research Farm (SERF)                      05/04/2022

2023-24 Field Experiment Plan        South East Research Farm (SERF)                      08/28/2023
Master Services Agreement            South East Research Farm (SERF)                      08/19/2022
Work Order | 2022-23 Field
Experiment Plan                      South East Research Farm (SERF)                      09/01/2022

License Side Letter                  The Broad Institute, Inc.                            04/04/2024
2019 PNT Soybean Trials              Wellington Agricultural Research Ltd.                04/26/2019
2021 Camelina Germplasm
Evaluation                           Wellington Agricultural Research Ltd.                06/21/2021
Master Services Agreement            Westman Agricultural Diversification Organization    09/07/2022




   320287098.12
               Case 24-12752-MFW   Doc 7-2   Filed 12/06/24   Page 111 of 190



                                   SCHEDULE 1.01(e)
                            TANGIBLE PERSONAL PROPERTY

                                      [See attached]




320287098.12
                                  Case 24-12752-MFW                                           Doc 7-2                      Filed 12/06/24
                                                                                                              Woburn Equipment
                                                                                                                                                                      Page 112 of 190


Asset Tag #         Category                          Description                           Brand                                Model                                  Serial Number        Woburn/Amherst location

002117        Balance             Balance, 630 g                                Sartorius                     BCE622I-1S, Entris II Precision Balance   0043501992                      WMA 310 Bench 20
01049         Balance             Balance, Analytical                           Sartorius                     BA 110 S                                  30406108                        WMA 307 Stock Room
01046         Balance             Balance, Two-pan                              Ohaus                         Havard Trip, 1400/1500 SERIES                                             WMA 307 Bench 11
01050         Balance             Balance, Ultramicro                           Mettler Toledo                XP - 6                                    1129203974                      WMA 307 Stock Room
002074        Balance             Scale, 200 lb                                 Pelouze                       10B200                                                                    WMA 310 Bench 19
01045         Balance             Scale, 410 g (0.9 lb)                         Denver                        XS-410                                    N0095627                        WMA 307 Bench 11
002024        Balance             Scale, 6000 g (15 lb)                         Ohaus                         R31P6                                     8341515724                      WMA 310 Bench 19
01047         Balance             Balance, Analytical                           Mettler Toledo                AG245                                     1116150938                      WMA 310 Bench 19
01328         Balance             Balance, Analytical                           Mettler Toledo                XS105DU                                   1129063874                      WMA 307 Bench 10 Window
001722        Balance             Balance, Analytical                           Mettler Toledo                XPR206DR                                  C048539137                      WMA 307 Bench 08 Window
01312         Bioanalyzer         Bioanalyzer 2100                              Agilent                       G2939A                                    DE 72901829                     WMA 310 Bench 20D
001781        Cart                Gas cylinder truck                            Uline                         H-3192                                    n/a                             WMA 307 Stock Room
01695         Centrifuge          Centrifuge, Benchtop Swinging Bucket          Eppendorf                     5810                                      5810DM363984                    WMA 310 Bench 17
01471         Electroporator      Electroporator                                Eppendorf                     2510                                      EC - 1897                       WMA 307 Stock Room
01320         Electroporator      Electroporator: 2-500V                        BTX Harvard Apparatus         ECM 399                                   3990596                         WMA 307 Bench 09
01470         Freeze Dryer        Lyophilizer                                   Labconco                      7753020                                   100829443 D                     WMA 307 Bench 11 Wall
01003         Freezer             -20C freezer                                  Kenmore Frost free            253.23024104                              WB42122969                      WMA 307 Bench 03 Wall
01005         Freezer             -20C freezer                                  VWR by Revco                  U2020GA14                                 U2IH392057UH                    WMA 307 Seed Room
01075         Freezer             -20C freezer                                  Kenmor Elite                  253 - 26082100                            WB 61821949                     WMA 307 Bench 13 Wall
01693         Freezer             -20C freezer                                  So-Low                        ABT-EP-1720-S                             WB 20764476-1305                WMA 307 Bench 02 Wall
002021        Freezer             -20C freezer                                  Electrolux                    FFUE2022AW6                               BB23818410                      WMA 307 Seed Room
001724        Growth chamber      Plant Growth Chamber                          Conviron                      Gen2000                                   200517                          WMA 310 Bench 15
001725        Growth chamber      Plant Growth Chamber                          Conviron                      Gen2000                                   200518                          WMA 310 Bench 15
01436         Heat block          Heat block, Digital, 4 blocks                 VWR Scientific                VWR Digital 4 Heatblock 949306            90210007                        WMA 307 Bench 04
002108        Heat Block          Heat block, Digital, 4 blocks                 VWR Scientific                VWR Digital 4 Heatblock 949306            100216002                       WMA 307 Bench 04
01790         Ice machine         Ice machine                                   Hoshizaki                     F-330BAH                                  C33565                          WMA Boiler Room
01291         Imaging system      Gel Doc XR/ChemiDoc XRS                       Bio-Rad                       170-8070 WS, Universal Hood II            76 S 04744                      WMA 307 Bench 13 Window
01083         Incubator           Incubator, Benchtop                           VWR Scientific                1545                                      300593                          WMA 307 Bench 07
01084         Incubator           Incubator, Benchtop                           VWR Scientific                1545                                      1101094                         WMA 307 Bench 06
01444         Microscope          Microscope (Leica) camera                     Leica                         DFC310 FX                                 467941910 BZ 02                 WMA 310 Bench 20C
01444         Microscope          Microscope (Leica) Fluorescence Illuminator   Excelitas Technologies        XMPS                                      XMPS-0884S                      WMA 310 Bench 20C
01444         Microscope          Microscope (Leica) light source               Volpi                         Intralux 6000-1, 10257                    4000206                         WMA 310 Bench 20C
01444         Microscope          Microscope (Leica), Fluorescece               Leica                         MZ16F                                     10446157                        WMA 310 Bench 20C
01443         Microscope          Microscope (Zeiss) camera                     Leica                         DFC310 FX                                 464461610 BZ 02                 WMA 310 Bench 20C
01443         Microscope          Microscope (Zeiss) Halogen lamp housing       Zeiss                         HBO 100                                   1007-980                        WMA 310 Bench 20C
01443         Microscope          Microscope (Zeiss) Power Supply               Leistung                      LEJ ebq 100, D-07745                      1003-928/K35245288              WMA 310 Bench 20C
01443         Microscope          Microscope (Zeiss), Fluoresence               Zeiss                         Axiolab E re, 45 09 07                    7701028                         WMA 310 Bench 20C
002104        Microscope          Microscope camera                             Zeiss                         MC80DX                                    29347                           WMA 310 Bench 20C
002105        Microscope          Microscope camera                             Leica                         DFC500                                    1454705                         WMA 310 Bench 20C
002107        Microscope          Microscope Power Supply                       LEISTUNG                      D-07745                                   54380801226                     WMA 310 Bench 20C
01150         microscope          Microscope, Dissecting                        Olympus                       SZ2-ILST                                  7C18306                         WMA Tissue culture room
01151         microscope          Microscope, Dissecting                        Olympus                       SZ2-ILST                                  8B13516                         WMA Tissue culture room
002020        Microscope          Microscope, Dissecting                        Olympus                       SZ2-ILST                                  3F41799                         WMA 307 Bench 11 Window
n/a           Microscope          Stereo microscope                             Swift Instruments             TriPower M27                              9.80E+05                        WMA 310 Bench 20A
001723        Oil press           Oil press                                     Oilpress Co                   M70.2                                                                     WMA 310 Bench 20A
01014         Orbital shaker      Incubator shaker, Benchtop                    Barnstead                     MAX Q4000, SHKE-4000-5                    1412070458126                   WMA Tissue culture room
002019        pH meter            pH meter                                      Mettler Toledo                SevenDirect SD20                          C201290351                      WMA 307 Bench 11
002077        Pump                Vacuum pump                                   Welch                         2511B01                                   31100000884                     WMA Tissue culture room
002086        Pump                Vacuum pump                                   Welch Thomas                  2545B-01                                  6000027 20                      WMA 310 Bench 20
002116        Seed Analyzer       Seed Analyzer                                 MARViN                        Proline II                                1100-350                        WMA 310 Bench 20
002023        Seed Blower         Seed Cleaner, Small column                    Agriculex                     CB-1                                      CB12010                         Umass CNS Greenhouse
002115        Seed Blower         Seed Cleaner, Small column                    Agriculex                     CB-1                                      CB123006                        WMA 307 Seed Room
002118        Seed Counter        Seed Counter                                  Elmor                         C1                                        56398                           WMA 310 Bench 20
001721        Spectrophotometer   Spectrophotometer, Cuvette and microplate     Molecular Devices             SpectraMax ABS Plus                       ABP00858                        WMA 307 Bench 02
01620         Thermal Cycler      Thermal cycler, Dual block                    Bio-Rad                       C1000 Touch Thermal Cycler                CT001428                        WMA 307 Bench 07
n/a           UV Lamp             Handheld UV Lamp                              ID Technologies               UVG-54                                                                    WMA 310 Bench 20A
01268         Vortexer            Vortexer                                      VWR Scientific                VM - 3000                                 090323036                       WMA 307 Bench 04
01295         Vortexer            Vortexer                                      Ika Lab                       MV - 1                                    03 - 010551                     WMA 307 Bench 12

01298         Vortexer            Vortexer                                      Ika Lab                       MS 3                                      03 300851                       WMA 310 Bench 20D
01361         Vortexer            Vortexer                                      VWR Scientific                VM-3000, 945300, 58816-121                60119017                        WMA 307 Bench 01
01376         Vortexer            Vortexer                                      VWR Scientific                G - 560                                   2 - 257658                      WMA 307 Bench 05
01446         Vortexer            Vortexer with adaptor for 1.5mL tubes         Scientific Industries, Inc.   G 560                                     2.352609                        WMA 307 Bench 12
01382         Vortexer            Vortexer                                      VWR Scientific                G - 560                                   2 - 227178                      WMA 307 Bench 08
01380         Water Bath          Water Bath, 2.liter                           Fisher Scientific             2LS water bath                            310735                          WMA 307 Stock Room
                           Case 24-12752-MFW                           Doc 7-2          Filed 12/06/24          Page 113 of 190
                                                                                Woburn Pipets



                                   2 µL                  10 µL         20 µL   100 µL   200 µL        1000 µL          5 mL   Multi-   Misc pipets***
     Pipet size & style*
                              SL         XLS        SL         XLS      SL       SL       SL     SL     XLS      LTS    XLS    XLS          Electronic
               Quantity       5           1          3          1        5       3        5      5       2        1      1      1               2
            *Pipet style SL, XLS, LTS = Rainin: newer styles

** Multi-channel pipets 0.5-10 µL LTS 8-channel multi (Rainin)
                        5-50 µL 12-channel multi (VWR)
                        5-100 µL 12-channel multi (BioHit)

        ***Misc pipets LTS 1 and 10 mL electronic pipets (old model)
                             Case 24-12752-MFW                            Doc Saskatoon
                                                                              7-2 Equipment
                                                                                        Filed 12/06/24                       Page 114 of 190


Asset                                                                                      Country of                             Dimensions
                          Description                       Make              Model                          Serial Number                      Location
Tag #                                                                                        Origin                                 WxDxH
1589    Analytical Balance                        Mettler Toledo             XS105DU       Switzerland        B049095158                         NRC lab
2033    Centrifuge                                Eppendorf                   5810R         Germany          5811LQ299271                        NRC lab
1760    King Fisher Flex                          Thermo Scientific          5400630         Finland            711-328                          NRC lab
1766    plate stacker                             Caliper Life Sciences      126864/E          USA           T21121N0583                         NRC lab
1599    Column Blower Seed Cleaner                Ariculex                     CB1           Canada            CB110014                        IP_Seed lab
1704    Elmor seed counter                        Elmor                         C1         Switzerland           56329                         IP_Seed lab
1717    Marvin 1000 weight seed analyzer                                                                                                       IP_Seed lab
1752    Leaf porometer                            Decagon Devices Inc            SC-1         USA                LPS1767                         NRC lab
2030    Barcode/Tag printer                       Toshiba                       B-EX6      Indonesia          2322A290738                      IP_Seed lab
2031    Column Blower Seed Cleaner                Agriculex                      CB-1       Canada              CB123001                       IP_Seed lab
1289    minus 20 freezer                          VWR                       SCBMF-2020                    SYM-WB03359476-1009     32x29x70       NRC lab
1349    minus 20 freezer                          VWR                       U2020GA15         USA            T03T-627456-TT       34x29x67     IP_Seed lab
1701    -20C upright freezer                      Whirlpool                EV201NZTQ03        USA              U41202372                       IP_Seed lab
1702    -20C upright freezer                      Whirlpool               WZF79R20DW00        USA              U73803835                       IP_Seed lab
1703    -20C upright freezer                      Whirlpool               WZF79R20DW00        USA              U73803834                       IP_Seed lab
1757    -20 Freezer                               VWR                           R134A         USA             DGK57C88RPU                        NRC lab
2034    -20C freezer                              VWR                        HCMFS-20         USA          VWR-21032621-2109                     NRC lab
1285    bench centrifuge                          Eppendorf                     5417R                          5407-13603                        NRC lab
1324    centrifuge                                Eppendorf                     5810R       Germany              0039168          28x24x13       NRC lab
1336    centrifuge                                Eppendorf                      5430       Germany          5427WR905297         13x16x10       NRC lab
1339    centrifuge                                Eppendorf                     5417R       Germany          5407XG225485         13x24x10       NRC lab
1767    power supply                              VWR                     AccuPower 500       USA                 G38086                         NRC lab
1768    power supply                              Life Technologies            PS0300        Taiwan            0300591157                        NRC lab
1275    small refrigerator                        LG                        GR-151RCW                           23RE3039          24x24x36       NRC lab
1276    mini vortex                               VWR                         VM-3000                              18945           5x7x7         NRC lab
1277    mini vortex                               VWR                         VM-3000                              19547           5x7x7         NRC lab
1281    flow bench                                Microzone               H6-MW-99-C30                          804-4815B                        NRC lab
1284    floor shaker                              New Brunswick                  C-24                           200937424         28x28x18       NRC lab
1288    RO system                                 Barnstead                    D11931                        1193020960396                       NRC lab
1290    Sterilizer Dry Glass Bead                 VWR                           IS-350                             14558                         NRC lab
1322    electroporator                            Eppendorf                      2510      Germany                EC1617           9x11x3.5      NRC lab
1326    incubator/shaker                          New Brunswick              Excella E24      USA               800432434          23x30x24      NRC lab
1330    water bath                                VWR                        89032-216        USA              WK0817001           13x15x17      NRC lab
1333    incubator/oven                            VWR                            1545         USA               04021608          25x28x37.5     NRC lab
1335    microwave oven                            GE Profile              PEB2060DM1BB       China             DR900333U          24x18x13.5     NRC lab
1337    vortex mixer                              Vortex Genie 2                 G560         USA                2-403693           5x7x7        NRC lab
1338    vortex mixer                              Vortex Genie 2                 G560         USA                2-403688           5x7x7        NRC lab
1340    hot plate                                 Barnstead Cimarec           S131125      Malaysia          1760080562637          8x12x4       NRC lab
1342    pH meter                                  Fisher                         AB15      Singapore           AB92329277           9x8x4        NRC lab
1350    minus 4 freezer                           VWR                        R421GA15         USA            S28T-627329-TT        34x29x67    IP_Seed lab
1583    light meter                               Li Cor                       LI-250A        USA               LM2-2831                       IP_Seed lab
1584    photometric sensors                       Li Cor                       LI-1905        USA                 Q44070                       IP_Seed lab
1586     4 C referigerator                        VWR                        SCGP-1804                    SYM-WA04001992-1011     25x20x56       NRC lab
1587    minus 86 freezer                          Thermo Scientific              5604         USA              822397-372         33x37x 78      NRC lab
1588    Balance                                   Ohaus                        EP2102      Switzerland      0327B041076115P                    IP_Seed lab
1590    10X10 CER Hotplate/stirrer                VWR                        97042-674        USA               110225002                        NRC lab
1591    incubator/oven                            VWR                          1380FM         USA                1207310                         NRC lab
1592    Growth Chamber                            Percival                    AR36L3X         USA             10696 01.07K                       NRC lab
1593    growth chamber                            Percival                     AR41L3         USA             11130.02.08D                       NRC lab
1594    Stereomicroscope                          Leica                          L5 Fl      Germany                62548                         NRC lab
1597    Vacuum pump                               Welsch                      2522B-01        USA             101000004780                       NRC lab
1598    Vacuum pump                               Welsch                      2534B-01        USA             011100002574                     IP_Seed lab
1600     Growth Chamber                           Conviron                    CMP6050        Canada               100240                       IP_Seed lab
1601    Blender T010S                             Waring Commercial         WF2211214         USA                 110330                         NRC lab
1602    Dryer                                     Binder                          720       Germany              11-03701                      IP_Seed lab
1604    Inverted microscope                       Motic                        AE2000                          1290000435                        NRC lab
1605    Sterilizer Dry Glass Bead                 VWR                           IS-350                          11-14'362                        NRC lab
1609    digital camera                            Kodak                          Z990       Vietnam         KVYNW113K0595                        NRC lab
1706    microwave                                 Panasonic                NN-SG626W         China       EB06128400218713112887                 NRC lab
1708    Fluorometer                               Invitrogen                 Qubit 4       Singapore         2322619026573                      NRC lab
1709    digital caliper                           Aurora                     TLV181                           31180941711                       NRC lab
1710    Ohaus Valor 4000 large capacity balance   Ohaus                     V41PWE15T        China            8340025725                       IP_Seed lab

1714    platefuge (microplate microcentrifuge)    Benchmark Scientific        C2000           USA              AXXXXXXXX                        NRC lab
1716    Thermal printer                           Mitsubishi Electric        P95DW          Malaysia          776C413610                         NRC lab
1718    analytical balance                                                                                                                     IP_Seed lab
1751    SPAD Chlorophyll Meter                    Konica Minolta             2900PDL         Japan              20003831                         NRC lab
1754    microwave oven                            Panasonic                 NN-ST651B        China            F00067603CP                        NRC lab
1755    top loading balance                       Ohaus                       EX2202       Switzerland        B639089858                         NRC lab
                                                                          Minibeadbeater
1758    Mini bead beater                          BioSpec Products                            USA                none                           NRC lab
                                                                           96, Cat#1001
1761    centrifuge                                Sigma                         4-16        Germany             140262                          NRC lab
1769    SPAD Chlorophyll Meter                    Konica Minolta               2900P         Japan             20009595                         NRC lab
1770    -80C freezer                              VWR                      VWR32086A          USA              300199801                        NRC lab
2032    top loading balance                       Ohaus                      AX2202          China            C244196041                        NRC lab
2037    Fridge/Freezer                            Whirlpool               WRS312SNHW05                        HRC2611172                        NRC lab
              Case 24-12752-MFW         Doc 7-2    Filed 12/06/24     Page 115 of 190
                                       American Falls Equipment


Description       Make                     Model                  Location
Seed cleaner Clipper AGM 224   https://www.hoffmanmfg.com/pr American Falls
                                   oducts/clipper-agm-224/    at Agraserv
                                                                 (CRO)
            Case 24-12752-MFW         Doc 7-2       Filed 12/06/24   Page 116 of 190
                                        Other Equipment



   ID                         Name

FAM000044    Centrifuge
FAM000111    Seed Counter (5718,00 CHF)
FAM000128    Control Chambers CMP6060
FAM000135    XPR Analytical Balance
FAM000136    XPR Analytical Balance
FAM000143    Seed cleaner system
FAM000149    M70.2 Precision Cold Screw oil press
               Case 24-12752-MFW       Doc 7-2      Filed 12/06/24     Page 117 of 190



                                         SCHEDULE 1.01(f)
                     CURRENT AND EXPIRED PERMITS/NOTIFICATIONS

                     for transfer of obligations of volunteer monitoring to Nuseed

                                       CURRENT PERMITS

 Permit/Notification Type           Issuing Authority                Permit/Notification #

 Confined Field Release Permit      CFIA                             21-MET1-415-CAM

 Confined Field Release Permit      CFIA                             21-MET1-415-CAM02

 Confined Field Release Permit      CFIA                             22-MET1-656-CAM

 Confined Field Release Permit      CFIA                             23-YOS-656-CAM

 Confined Field Release Permit      CFIA                             23-YOS1-656-CAM

 Planting Environmental Release     USDA-APHIS                       20-084-102n
 and Interstate Movement
 Notification

 Planting Environmental Release     USDA-APHIS                       20-268-103n
 and Interstate Movement
 Notification

 Interstate Movement Notification   USDA-APHIS                       21-091-102n

 Planting Environmental Release     USDA-APHIS                       AUTH – 0000221513
 and Interstate Movement Permit

 Planting Environmental Release     USDA-APHIS                       AUTH – 0000273034
 and Interstate Movement Permit

 Planting Environmental Release     USDA-APHIS                       AUTH – 0000237210
 and Interstate Movement Permit

 Planting Environmental Release     USDA-APHIS                       20-357-102rm
 and Interstate Movement Permit

 Planting Environmental Release     USDA-APHIS                       AUTH - 0000204861
 and Interstate Movement Permit

 Planting Environmental Release     USDA-APHIS                       AUTH - 0000221513
 and Interstate Movement Permit

 Planting Environmental Release     USDA-APHIS                       21-005-102rm
 and Interstate Movement Permit



320287098.12
               Case 24-12752-MFW        Doc 7-2     Filed 12/06/24      Page 118 of 190




 Permit/Notification Type           Issuing Authority                Permit/Notification #

 Planting Environmental Release     USDA-APHIS                       AUTH – 0000205408
 and Interstate Movement Permit



                                        EXPIRED PERMITS

   for transfer of obligations for seed storage and inventory required for shipment of seed to Nuseed



 Permit Type                        Issuing Authority                Permit #

 Planting Environmental Release     USDA-APHIS                       21-005-102rm
 and Interstate Movement Permit

 Planting Environmental Release     USDA-APHIS                       AUTH – 0000205408
 and Interstate Movement Permit

 Confined Field Release Permit      CFIA                             18-MET1-415_CAN

 Confined Field Release Permit      CFIA                             20-MET1-415_CAN

 Confined Field Release Permit      CFIA                             18-MET1-415_CAM

 Confined Field Release Permit      CFIA                             19-MET1-415_CAM

 Confined Field Release Permit      CFIA                             20-MET1-415_CAM

 Importation Permit                 CFIA                             P-2022-03642

 Importation Permit                 CFIA                             P-2022-00896

 Importation Permit                 CFIA                             P-2023-01329

 Importation Permit                 CFIA                             P-2023-01330

 Importation Permit                 CFIA                             P-2023-00273

 Importation Permit                 CFIA                             P-2023-01294

 Importation Permit                 CFIA                             P-2024-00605




320287098.12
               Case 24-12752-MFW            Doc 7-2     Filed 12/06/24      Page 119 of 190



                                             SCHEDULE 1.07
                                   ALLOCATION METHODOLOGY

For U.S. federal and applicable state and local income tax purposes, and for purposes of the Income Tax
Act (Canada), Buyer, Sellers, and their respective Affiliates shall allocate the Purchase Price (and the
agreed value of any Assumed Liabilities or other capitalized costs treated as part of the Purchase Price for
applicable income tax purposes) among the Purchased Assets, and among the Sellers (and on a basis
consistent with the foregoing shall allocate the agreed value of any Assumed Liabilities or other
capitalized costs treated as part of the Purchase Price for applicable income tax purposes among the
Assumed Liabilities) in accordance with the allocation methodology set forth below:

 Assets                                                 Allocation Methodology

 Class I (generally, cash and general deposit           N/A
 accounts (other than CDs) held in depositary
 institutions)

 Class II (certain actively traded personal property,   N/A
 certificates of deposit, and foreign currency)

 Class III (assets marked-to-market at least            N/A
 annually for federal income tax purposes and
 certain debt instruments)

 Class IV (certain inventory type-assets)               N/A

 Class V (all assets not included in Classes I-IV)      Fair market value will equal net book value as of
                                                        the Closing Date

 Class VI (Section 197 intangibles except goodwill      Fair market value will equal present value of
 and going concern value)                               future cash flows as of the Closing Date

 Class VII (goodwill and going concern value)           Fair market value will equal the Purchase Price
                                                        (plus Assumed Liabilities or other capitalized
                                                        costs treated as part of the Purchase Price for
                                                        applicable income Tax purposes) less the fair
                                                        market value of the assets described in the junior
                                                        classes III-VI



The final Purchase Price will be further allocated among the Purchased Assets within each Class.




320287098.12
               Case 24-12752-MFW        Doc 7-2     Filed 12/06/24    Page 120 of 190



                                          SCHEDULE 2.02
                                      REQUIRED CONSENTS

1. Consent of Vision Bioenergy Oilseeds LLC under the License and Service Fee Agreement, dated
   February 9, 2024, between Vision Bioenergy Oilseeds LLC and Yield10.

2. Consent of the University of Missouri under the Exclusive License Agreement, dated May 17, 2018,
   between The Curators of the University of Missouri and Yield10.

3. Notice to the Minister of Agriculture and Agri-Food (“AAFC”) pursuant to Section 9.1.1 of the
   Collaborative Research and Development Agreement, dated October 1, 2021, between AAFC and
   Oilseeds.

4. Consent of AAFC pursuant to Sections 4.7.1 and 9.6 of the Collaborative Research and Development
   Agreement, dated October 1, 2021, between AAFC and Oilseeds.

5. Notice to Rothamsted pursuant to Section 5.04(b)(ii)(A).




320287098.12
               Case 24-12752-MFW   Doc 7-2   Filed 12/06/24   Page 121 of 190



                                   SCHEDULE 5.01(b)(v)
                               MAINTAINED EMPLOYEES

1. Nirmala Sharma

2. Tengsheng Zhou

3. Martha Sholl

4. Venkatesh Bollina




320287098.12
              Case 24-12752-MFW   Doc 7-2    Filed 12/06/24   Page 122 of 190




                          SELLER DISCLOSURE SCHEDULE
                                        to the

              AMENDED AND RESTATED ASSET PURCHASE AGREEMENT

                                  BY AND AMONG

                          NUSEED NUTRITIONAL US INC.,

                            YIELD10 BIOSCIENCE, INC.

                                            and

                              YIELD10 OILSEEDS INC.

                                    DATED AS OF

                                  DECEMBER 4, 2024




320500398.4
              Case 24-12752-MFW         Doc 7-2     Filed 12/06/24      Page 123 of 190




        This Seller Disclosure Schedule (this “Disclosure Schedule”) is being delivered in
accordance with, and is incorporated and made part of, the Amended and Restated Asset Purchase
Agreement referred to above (the “Agreement”). Capitalized terms used in this Disclosure
Schedule but not otherwise defined herein will have the respective meanings given to such terms
in the Agreement.

        Nothing in this Disclosure Schedule shall be deemed adequate to disclose an exception to
a representation or warranty made in the Agreement, unless the applicable section of this
Disclosure Schedule identifies the exception with reasonable particularity and describes the
relevant facts in reasonable detail, including by explicit cross-reference to another section of this
Disclosure Schedule. If any information required by the Agreement to be furnished in any section
of this Disclosure Schedule is contained in any section of this Disclosure Schedule, such
information shall be deemed to be included in any other such section of this Disclosure Schedule
solely to the extent it is reasonably apparent on the face of the actual text of such disclosure without
reference to extrinsic documentation or independent knowledge regarding the matter disclosed that
such information is applicable to such other section of this Disclosure Schedule. Without limiting
the generality of the foregoing, the mere listing, or inclusion of a copy, of a document or other
item shall not be deemed adequate to disclose an exception to a representation or warranty made
herein, unless the representation or warranty is being made as to the existence of the document or
other item itself. Sellers are responsible for preparing and arranging this Disclosure Schedule.
        .




320500398.4
              Case 24-12752-MFW        Doc 7-2    Filed 12/06/24     Page 124 of 190




                                         Section 3.01(c)
                                      Officers and Directors

Yield10

Directors:
                Oliver P. Peoples
                Robert van Nostrand
                Sherri Brown
                Willie Loh
                Richard Hamilton
                Anthony Sinskey

Officers:
                Oliver P. Peoples (President and Chief Executive Officer)
                Lynne H. Brum (Vice President, Planning and Corporate Communications)
                Charles Haaser (Vice President, Finance, Chief Accounting Officer and Treasurer)
                Kristi Snell (Vice President, Research and Chief Science Officer)



Oilseeds

Directors:      Meghna Malik
                Oliver P. Peoples


Officers:
                Charles Haaser (Treasurer)
                Lynne H. Brum (President, Secretary)




320500398.4
              Case 24-12752-MFW         Doc 7-2     Filed 12/06/24    Page 125 of 190




                                           Section 3.02(a)
                                            No Conflicts

1. Notice to the Minister of Agriculture and Agri-Food (“AAFC”) regarding the Contemplated
   Transaction pursuant to the Collaborative Research and Development Agreement, dated
   September 13, 2021, as amended July 6, 2022, between AAFC and Oilseeds.

2. Consents of the counterparties under the following Assigned Contracts:

         a. License and Service Fee Agreement, dated February 9, 2024, between Vision Bioenergy
            Oilseeds LLC and Yield10.

         b. Exclusive License Agreement, dated May 17, 2018, as amended April 2019, between The
            Curators of the University of Missouri and Yield10.

         c. Consent of AAFC under the Collaborative Research and Development Agreement, dated
            September 13, 2021, as amended July 6, 2022, between AAFC and Oilseeds.

         d. Mutual Confidentiality Agreement, dated November 10, 2023, between A.G.P./Alliance
            Global Partners and Yield10.

         e. Mutual Non-disclosure Agreement, dated December 15, 2022, between American
            Airlines, Inc. and Yield10.

         f. Confidentiality Agreement, dated August 3, 2022, between Archer-Daniels-Midland
            Company (ADM) and Yield10.

         g. Confidentiality Agreement, dated May 20, 2023, between BASF Agricultural Solutions
            Seed US LLC and Yield10.

         h. Mutual Non-disclosure Agreement, dated January 5, 2024, between Bayer CropScience
            LP (BCS) and Yield10.

         i.   Confidentiality Agreement, dated June 4, 2024, between BP Products North America Inc.
              and Yield10.

         j.   Confidentiality Agreement, dated October 3, 2022, between Bunge North America, Inc
              and Yield10.

         k. Mutual Non-disclosure Agreement, dated October 31, 2023, between Canopy Growth
            Corporation and Yield10.

        l.    Mutual Confidentiality Agreement, dated January 19, 2024, between Cargill,
              Incorporated and Yield10.

        m. Mutual Confidentiality Agreement, dated November 13, 2023, between DSM Nutritional
           Products, LLC and Yield10.



320500398.4
              Case 24-12752-MFW         Doc 7-2    Filed 12/06/24     Page 126 of 190




         n. Confidential Disclosure Agreement, dated January 10, 2024, between Evogene Ltd. and
            Yield10.

         o. Confidentiality Agreement, dated March 23, 2023, between Exxon Mobil Corporation
            and Yield10.

         p. Non-disclosure Agreement, dated September 22, 2022, between knoell USA, LLC and
            Yield10.

         q. Confidential Disclosure Agreement, dated February 13, 2020, between KWS SAAT SE
            & Co. KGaA and Yield10.

         r. Mutual Confidentiality Agreement, dated August 26, 2023, between Lake Street Capital
            Markets, LLC and Yield10.

         s. Mutual Non-disclosure Agreement, dated February 6, 2023, between LG Chem, Ltd. and
            Yield10.

         t.   Mutual Non-disclosure And Confidentiality Agreement, dated June 12, 2024, between
              Louis Dreyfus Company LLC and Yield10.

         u. Non-Disclosure Agreement, dated November 6, 2023, between Maxim Group LLC and
            Yield10.

         v. Mutual Nondisclosure Agreement, dated February 19, 2024, between Mazars USA LLP
            and Yield10.

         w. Four-way Confidentiality And Non-disclosure Agreement, dated September 8, 2023,
            between Mitsubishi Corporation (Americas) and Yield10.

         x. Mutual Non-disclosure Agreement, dated April 10, 2024, between Mitsui & Co.
            (U.S.A.), Inc. and Yield10.

         y. Non-Disclosure Agreement, dated July 24, 2024, between Rothamsted Research Limited
            and Yield10.

         z. Mutual Confidentiality Agreement, dated May 1, 2024, between Suntory Holdings
            Limited and Yield10.

         aa. Mutual Non-disclosure Agreement, dated January 18, 2024, between Sustainable Oils,
             Inc. and Yield10.

         bb. Non-Exclusive License for a Plant Variety, dated January 27, 2020, between Minister of
             Agriculture and Agri-Food (AAFC) and Oilseeds.

         cc. Stewardship Management Program, dated March 13, 2024, between Vision Bioenergy
             Oilseeds LLC and Yield10.


320500398.4
              Case 24-12752-MFW        Doc 7-2     Filed 12/06/24    Page 127 of 190




         dd. Material Transfer Agreement, dated February 1, 2020, between Minister of Agriculture
             and Agri-Food (AAFC) and Oilseeds.

         ee. Standard Material Transfer Agreement, dated February 12, 2024, between Minister of
             Agriculture and Agri-Food (AAFC) and Oilseeds.

         ff. Material Transfer Agreement, dated May 11, 2021, between S&W Seed Company and
             Yield10.

         gg. Material Transfer Agreement, dated July 16, 2021, between University of Nebraska
             (Board of Regents) and Yield10.Notice of assignment of the Exclusive License
             Agreement, dated June 30, 2015, as amended April 13, 2021 and May 2, 2022, between
             the University of Massachusetts and Yield10.




320500398.4
                       Case 24-12752-MFW        Doc 7-2     Filed 12/06/24    Page 128 of 190




                                                   Section 3.05(b)
                                                    Real Property

Street Address         Applicable Lease(s)   Landlord          Current Rent     Expiration       Current Use of the
                       or Sublease(s)                                           Date             Property
19 Presidential Way    Provided: ARE         ARE               $69,680/mo       Nov. 2026        Office and Lab
Woburn, MA 01801       master Lease and CJ                     YTEN portion                      Negotiation about
                       sublease                                                                  exit from the space
                                                                                                 is in progress.
NRC Plant              NRC lease provided.   NRC               $7,993.83/mo     Sept. 30, 2024   Office and Lab
Biotechnology          Oilseeds has given                                                        Lease ending
Institute              Notice to vacate on                                                       9/30/24
110 Gymnasium          Sept. 30, 2024
Place
Saskatoon,
Saskatchewan
S7N 0W9

Innovation Place       Lease provided.       Innovation        $25,169/mo       Sept. 30, 2024   Lab and
410 Downey Road        Oilseeds has given    Saskatchewan                                        Greenhouses
Saskatoon, SK S7N      Notice to vacate on                                                       Lease ending
5B5                    Sept. 30, 2024                                                            9/30/24
                                                                                                 Sellers have
                                                                                                 extended the lease
                                                                                                 on Lab 2 for 2
                                                                                                 months to enable
                                                                                                 safe storage of
                                                                                                 equipment and
                                                                                                 biological materials
                                                                                                 that would be
                                                                                                 transferred to
                                                                                                 Nuseed upon
                                                                                                 completion of the
                                                                                                 Contemplated
                                                                                                 Transactions




         320500398.4
              Case 24-12752-MFW   Doc 7-2    Filed 12/06/24       Page 129 of 190




                                     Section 3.07(a)
                           Business Owned Intellectual Property

                                     [See attachment]




320500398.4
                                              Case 24-12752-MFW                               Doc 7-2              Filed 12/06/24                  Page 130 of 190




Seller’s Disclosure Schedule Section 3.07(a)

3.07(a)(i): Business IP Registrations, including, as applicable: the title, mark, or design; the record owner and inventor(s), if
any; the jurisdiction by or in which it has been issued, registered, or filed; the patent, registration, or application serial
number; the issue, registration, or filing date; and the current status

(1) Yield10 in-house patent families
                      ATTY CASE                                                                         FILING                                         PATENT      ISSUED      EXPIRATION    RECORD
        FILE #          FILE #                    TITLE                     COUNTRY     CASE TYPE        DATE           SERIAL NO.       STATUS          NO.        DATE          DATE       OWNER        INVENTORS
 YTEN 001 (ALL                    Multi-Gene Expressions Constructs
 ABANDONED/EXPIRED)               Containing Modified Inteins               US            Utility      2/9/2001     9/779,957           Abandoned     7,026,526   4/11/2006     6/5/2021                  Kristi D. Snell
                                                                                                                                                                                              Yield10
                                  Multi-Gene Expressions Constructs                                                                                                                         Bioscience,
                      60191US0    Containing Modified Inteins               US           Div Con      4/21/2010     12/764,516          Expired       8,293,971   10/23/2012   10/23/2020       Inc.      Kristi D. Snell
                                                                                                                                                                                              Yield10
                                  Multi-Gene Expressions Constructs                                                                                                                         Bioscience,
                      60192US0    Containing Modified Inteins               US             Div         6/8/2005     11/147,546          Expired       7,741,530   6/22/2010    10/11/2021       Inc.      Kristi D. Snell


                                  Stable, Fertile, High
 YTEN 002 (ALL                    Polyhyroxyalkanoate Producing Plants
 ABANDONED/EXPIRED                and Methods of Producing Same             Europe        Utility                                       Abandoned                               3/5/2030
                                                                                                                                                                                                              Karen
                                                                                                                                                                                                            Bohmert-
                                                                                                                                                                                                             Tatarev,
                                                                                                                                                                                                              Susan
                                                                                                                                                                                                            McAvoy,
                                  Stable, Fertile, High                                                                                                                                                     Oliver P.
                                  Polyhyroxyalkanoate Producing Plants                                                                                                                      Metabolix,      Peoples,
                                  and Methods of Producing Same             US             DIV         3/5/2010     12/718,498          Expired       9,096,861    4/4/2015     8/4/2019      Inc.        Kristi D. Snell


                                                                                                                                                                                                          Madana M.R.
                                                                                                                                                                                              Yield10     Ambavaram,
                                  Transcriptional Regulation for Improved                                                                                                                   Bioscience,     Mariya
 YTEN 003             60124US0    Plant Productivity                        US          Provisional   12/18/2012    61/738,675          Abandoned                                               Inc.       Somleva
                                                                                                                                                                                                          Madana M.R.
                                                                                                                                                                                              Yield10     Ambavaram,
                                  Transcriptional Regulation for Improved                                                               National                                            Bioscience,     Mariya
                      60124WO     Plant Productivity                        PCT           Utility     12/18/2013    PCT/US2013/076308   Phase                                                   Inc.       Somleva
                                                                                                                                                                                                          Madana M.R.
                                                                                                                                                                                              Yield10     Ambavaram,
                                  Transcriptional Regulation for Improved                                                                                                                   Bioscience,     Mariya
                      60124AU     Plant Productivity                        Australia     Utility     12/18/2013    2013361456          Abandoned                                               Inc.       Somleva
                                                                                                                                                                                                          Madana M.R.
                                                                                                                                                                                              Yield10     Ambavaram,
                                  Transcriptional Regulation for Improved                                                                                                                   Bioscience,     Mariya
                      60124BR     Plant Productivity                        Brazil        Utility     12/18/2013    BR112015014488-8    Abandoned                                               Inc.       Somleva
                                                                                                                                                                                                          Madana M.R.
                                                                                                                                                                                              Yield10     Ambavaram,
                                  Transcriptional Regulation for Improved                                                                                                                   Bioscience,     Mariya
                      60124CN     Plant Productivity                        China         Utility     12/18/2013    2.0138E+11          Abandoned     104981481   5/14/2019    12/18/2033       Inc.       Somleva
                                                                                                                                                                                                          Madana M.R.
                                                                                                                                                                                              Yield10     Ambavaram,
                                  Transcriptional Regulation for Improved                                                                                                                   Bioscience,     Mariya
                      60124DE     Plant Productivity                        Germany       Utility     12/18/2013    13818142.5          Expired       2935315      5/6/2020    12/18/2033       Inc.       Somleva




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                                         Case 24-12752-MFW                             Doc 7-2              Filed 12/06/24                  Page 131 of 190



                 ATTY CASE                                                                       FILING                                         PATENT       ISSUED      EXPIRATION    RECORD
        FILE #     FILE #                    TITLE                     COUNTRY   CASE TYPE        DATE           SERIAL NO.       STATUS          NO.         DATE          DATE       OWNER        INVENTORS
                                                                                                                                                                                                    Madana M.R.
                                                                                                                                                                                        Yield10     Ambavaram,
                             Transcriptional Regulation for Improved                                                                                                                  Bioscience,      Mariya
                 60124EP     Plant Productivity                        Europe      Utility     12/18/2013    13818142.5          Expired        2935315      5/6/2020    12/18/2033       Inc.        Somleva
                                                                                                                                                                                                    Madana M.R.
                                                                                                                                                                                        Yield10     Ambavaram,
                             Transcriptional Regulation for Improved                                                                                                                  Bioscience,      Mariya
                 60124EP1    Plant Productivity                        Europe       DIV        12/18/2013    20166622.9          Abandoned                                                Inc.        Somleva
                                                                                                                                                                                                    Madana M.R.
                                                                                                                                                                                        Yield10     Ambavaram,
                             Transcriptional Regulation for Improved                                                                                                                  Bioscience,      Mariya
                 60124FR     Plant Productivity                        France      Utility     12/18/2013    13818142.5          Expired        2935315      5/6/2020    12/18/2033       Inc.        Somleva
                                                                                                                                                                                                    Madana M.R.
                                                                                                                                                                                        Yield10     Ambavaram,
                             Transcriptional Regulation for Improved   United                                                                                                         Bioscience,      Mariya
                 60124GB     Plant Productivity                        Kingdom     Utility     12/18/2013    13818142.5          Expired        2935315      5/6/2020    12/18/2033       Inc.        Somleva
                                                                                                                                                                                                    Madana M.R.
                                                                                                                                                                                        Yield10     Ambavaram,
                             Transcriptional Regulation for Improved                                                                                                                  Bioscience,      Mariya
                 60124US1    Plant Productivity                        US          Utility     6/18/2015     14/653,431          Abandoned                                                Inc.        Somleva
                                                                                                                                                                                                    Madana M.R.
                                                                                                                                                                                        Yield10     Ambavaram,
                             Transcriptional Regulation for Improved                                                                                                                  Bioscience,      Mariya
                 60124US2    Plant Productivity                        US           CON        2/15/2018     15/897,958          Granted       10,450,580   10/22/2019   12/18/2033       Inc.        Somleva
                                                                                                                                                                                                    Madana M.R.
                                                                                                                                                                                        Yield10     Ambavaram,
                             Transcriptional Regulation for Improved                                                                                                                  Bioscience,      Mariya
                 60124US3    Plant Productivity                        US           CON        9/13/2019     16/570,489          Granted       11,072,798   07/27/2021   12/18/2033       Inc.        Somleva
                                                                                                                                                                                                    Madana M.R.
                                                                                                                                                                                        Yield10     Ambavaram,
                             Transcriptional Regulation for Improved                                                                                                                  Bioscience,      Mariya
                 60124US4    Plant Productivity                        US           CON        3/24/2021     17/210,962          Granted       11,746,356   09/05/2023   9/11/2034        Inc.        Somleva


                                                                                                                                                                                                     Meghna
                                                                                                                                                                                                    Malik, Jihong
                             Plants with Enhanced Yield and                                                                                                                                         Tang, Kristi
 YTEN 004        60322US0    Methods of Construction                   US        Provisional    4/8/2015     62/144,727          Abandoned                                                              Snell
                                                                                                                                                                                                     Meghna
                                                                                                                                                                                                    Malik, Jihong
                             Plants with Enhanced Yield and                                                                                                                                         Tang, Kristi
                 60322US1    Methods of Construction                   US        Provisional   4/10/2015     62/145,757          Abandoned                                                              Snell
                                                                                                                                                                                                     Meghna
                                                                                                                                                                                                    Malik, Jihong
                             Plants with Enhanced Yield and                                                                                                                                         Tang, Kristi
                 60322US2    Methods of Construction                   US        Provisional    7/9/2015     62/190,281          Abandoned                                                              Snell
                                                                                                                                                                                                     Meghna
                                                                                                                                                                                        Yield10     Malik, Jihong
                             Plants with Enhanced Yield and                                                                      National                                             Bioscience,   Tang, Kristi
                 60322WO     Methods of Construction                   PCT         Utility      4/8/2016     PCT/US2016/026767   Phase                                                    Inc.          Snell
                                                                                                                                                                                                     Meghna
                                                                                                                                                                                        Yield10     Malik, Jihong
                             Plants with Enhanced Yield and                                                                                                                           Bioscience,   Tang, Kristi
                 60322US3    Methods of Construction                   US          Utility     10/6/2017     15/565,086          Granted       11,174,467   11/16/2021   11/25/2036       Inc.          Snell
                                                                                                                                                                                                     Meghna
                                                                                                                                                                                        Yield10     Malik, Jihong
                             Plants with Enhanced Yield and                                                                                                                           Bioscience,   Tang, Kristi
                 60322US4    Methods of Construction                   US          Utility     10/11/2021    17/498,240          Granted       11,965,182   04/23/2024    4/8/2036        Inc.          Snell




320500399.2
                                              Case 24-12752-MFW                           Doc 7-2             Filed 12/06/24                  Page 132 of 190



                      ATTY CASE                                                                    FILING                                        PATENT   ISSUED   EXPIRATION    RECORD
        FILE #          FILE #                    TITLE                   COUNTRY   CASE TYPE       DATE           SERIAL NO.       STATUS         NO.     DATE       DATE       OWNER        INVENTORS
                                                                                                                                                                                                Oliver P.
                                                                                                                                                                                                Peoples,
                                                                                                                                                                                                Kristi D.
                                  Transgenic Land Plants Comprising A                                                                                                                            Snell,
 YTEN 005 (MBX-118)               Bicarbonate Transporter Protein Of An                                                                                                                         Meghna
 (ALL ABANDONED)      55463US0    Edible Eukaryotic Algae                 US        Provisional   2/4/2016     62/291,341          Abandoned                                                     Malik
                                                                                                                                                                                                Oliver P.
                                                                                                                                                                                                Peoples,
                                                                                                                                                                                                Kristi D.
                                  Transgenic Land Plants Comprising A                                                                                                             Yield10        Snell,
                                  Bicarbonate Transporter Protein Of An                                                            National                                     Bioscience,     Meghna
                      55463WO     Edible Eukaryotic Algae                 PCT         Utility     2/3/2017     PCT/US2017/016421   Phase                                            Inc.         Malik
                                                                                                                                                                                                Oliver P.
                                                                                                                                                                                                Peoples,
                                                                                                                                                                                                Kristi D.
                                  Transgenic Land Plants Comprising A                                                                                                             Yield10        Snell,
                                  Bicarbonate Transporter Protein Of An                                                                                                         Bioscience,     Meghna
                      55463US1    Edible Eukaryotic Algae                 US          Utility     8/2/2018     16/074,812          Abandoned                                        Inc.         Malik


                                                                                                                                                                                                 Meghna
                                                                                                                                                                                                Malik, Nii
                                                                                                                                                                                                Patterson,
                                                                                                                                                                                                  Jihong
                                                                                                                                                                                                   Tang,
                                                                                                                                                                                                Matthew
                                                                                                                                                                                                 Martino,
                                                                                                                                                                                                 Nirmala
                                                                                                                                                                                                 Sharma,
                                  TRANSGENIC LAND PLANTS THAT                                                                                                                                    Oliver P.
                                  EXPRESS A POLYHYDROXYALKANOATE                                                                                                                  Yield10        Peoples,
                                  SYNTHASE SEED SPECIFICALLY WITH                                                                                                               Bioscience,      Kristi D.
 YTEN 006             60449US0    CYTOSOLIC LOCALIZATION                  US        Provisional   7/11/2019    62/859,244          Abandoned                                        Inc.           Snell
                                                                                                                                                                                                Matthew
                                                                                                                                                                                                 Martino,
                                                                                                                                                                                                 Meghna
                                                                                                                                                                                                Malik, Nii
                                                                                                                                                                                                Patterson,
                                                                                                                                                                                                 Oliver P.
                                                                                                                                                                                                 Peoples,
                                                                                                                                                                                                 Nirmala
                                                                                                                                                                                                 Sharma,
                                                                                                                                                                                                   Frank
                                  TRANSGENIC LAND PLANTS THAT                                                                                                                                    Anthony
                                  EXPRESS A POLYHYDROXYALKANOATE                                                                                                                  Yield10     Skraly, Kristi
                                  SYNTHASE SEED SPECIFICALLY WITH                                                                  National                                     Bioscience,      D. Snell,
                      60449WO     CYTOSOLIC LOCALIZATION                  PCT         Utility     6/9/2020     PCT/US2020/036786   Phase                                            Inc.      Jihong Tang




320500399.2
                                     Case 24-12752-MFW                        Doc 7-2             Filed 12/06/24              Page 133 of 190



               ATTY CASE                                                               FILING                                    PATENT   ISSUED   EXPIRATION    RECORD
      FILE #     FILE #                  TITLE               COUNTRY     CASE TYPE      DATE           SERIAL NO.    STATUS        NO.     DATE       DATE       OWNER         INVENTORS
                                                                                                                                                                                Matthew
                                                                                                                                                                                 Martino,
                                                                                                                                                                                 Meghna
                                                                                                                                                                                Malik, Nii
                                                                                                                                                                                Patterson,
                                                                                                                                                                                 Oliver P.
                                                                                                                                                                                 Peoples,
                                                                                                                                                                                 Nirmala
                                                                                                                                                                                 Sharma,
                                                                                                                                                                                  Frank
                           TRANSGENIC LAND PLANTS THAT                                                                                                                           Anthony
                           EXPRESS A POLYHYDROXYALKANOATE                                                                                                         Yield10     Skraly, Kristi
                           SYNTHASE SEED SPECIFICALLY WITH                                                                                                      Bioscience,      D. Snell,
               60449AU     CYTOSOLIC LOCALIZATION            Australia    Utility     6/9/2020     2020293986       Pending                                         Inc.      Jihong Tang
                                                                                                                                                                                Matthew
                                                                                                                                                                                 Martino,
                                                                                                                                                                                 Meghna
                                                                                                                                                                                Malik, Nii
                                                                                                                                                                                Patterson,
                                                                                                                                                                                 Oliver P.
                                                                                                                                                                                 Peoples,
                                                                                                                                                                                 Nirmala
                                                                                                                                                                                 Sharma,
                                                                                                                                                                                  Frank
                           TRANSGENIC LAND PLANTS THAT                                                                                                                           Anthony
                           EXPRESS A POLYHYDROXYALKANOATE                                                                                                         Yield10     Skraly, Kristi
                           SYNTHASE SEED SPECIFICALLY WITH                                                                                                      Bioscience,      D. Snell,
               60449CA     CYTOSOLIC LOCALIZATION            Canada       Utility     6/9/2020     3,141,340        Pending                                         Inc.      Jihong Tang
                                                                                                                                                                                Matthew
                                                                                                                                                                                 Martino,
                                                                                                                                                                                 Meghna
                                                                                                                                                                                Malik, Nii
                                                                                                                                                                                Patterson,
                                                                                                                                                                                 Oliver P.
                                                                                                                                                                                 Peoples,
                                                                                                                                                                                 Nirmala
                                                                                                                                                                                 Sharma,
                                                                                                                                                                                  Frank
                           TRANSGENIC LAND PLANTS THAT                                                                                                                           Anthony
                           EXPRESS A POLYHYDROXYALKANOATE                                                                                                         Yield10     Skraly, Kristi
                           SYNTHASE SEED SPECIFICALLY WITH                                                                                                      Bioscience,      D. Snell,
               60449EP     CYTOSOLIC LOCALIZATION            Europe       Utility     6/9/2020     20822454.3       Pending                                         Inc.      Jihong Tang
                                                                                                                                                                                Matthew
                                                                                                                                                                                 Martino,
                                                                                                                                                                                 Meghna
                                                                                                                                                                                Malik, Nii
                                                                                                                                                                                Patterson,
                                                                                                                                                                                 Oliver P.
                                                                                                                                                                                 Peoples,
                                                                                                                                                                                 Nirmala
                                                                                                                                                                                 Sharma,
                                                                                                                                                                                  Frank
                           TRANSGENIC LAND PLANTS THAT                                                                                                                           Anthony
                           EXPRESS A POLYHYDROXYALKANOATE                                                                                                         Yield10     Skraly, Kristi
                           SYNTHASE SEED SPECIFICALLY WITH   United                                                                                             Bioscience,      D. Snell,
               60449US1    CYTOSOLIC LOCALIZATION            States       Utility    12/10/2021    17/596,110       Pending                                         Inc.      Jihong Tang




320500399.2
                                       Case 24-12752-MFW                     Doc 7-2             Filed 12/06/24                  Page 134 of 190



                 ATTY CASE                                                            FILING                                         PATENT       ISSUED     EXPIRATION    RECORD
        FILE #     FILE #                  TITLE             COUNTRY   CASE TYPE       DATE           SERIAL NO.       STATUS          NO.         DATE         DATE       OWNER        INVENTORS


                                                                                                                                                                                         Oliver P.
                                                                                                                                                                                         Peoples,
                                                                                                                                                                                         Kristi D.
                                                                                                                                                                                           Snell,
                                                                                                                                                                                         Meghna
                             TRANSGENIC LAND PLANTS                                                                                                                                       Malik,
                             COMPRISING ENHANCED LEVELS OF                                                                                                                  Yield10      Madana
                             MITOCHONDRIAL TRANSPORTER                                                                                                                    Bioscience,      M.R.
 YTEN 007        57171US0    PROTEIN                         US        Provisional   2/22/2017    62/462,074          Abandoned                                               Inc.      Ambavaram
                                                                                                                                                                                         Oliver P.
                                                                                                                                                                                         Peoples,
                                                                                                                                                                                         Madana
                                                                                                                                                                                           M.R.
                             TRANSGENIC LAND PLANTS                                                                                                                                     Ambavaram,
                             COMPRISING ENHANCED LEVELS OF                                                                                                                  Yield10      Meghna
                             MITOCHONDRIAL TRANSPORTER                                                                National                                            Bioscience,   Malik, Kristi
                 57171WO     PROTEIN                         PCT         Utility     2/22/2018    PCT/US2018/019105   Phase                                                   Inc.        D. Snell
                                                                                                                                                                                         Oliver P.
                                                                                                                                                                                         Peoples,
                                                                                                                                                                                         Madana
                                                                                                                                                                                           M.R.
                             TRANSGENIC LAND PLANTS                                                                                                                                     Ambavaram,
                             COMPRISING ENHANCED LEVELS OF                                                                                                                  Yield10      Meghna
                             MITOCHONDRIAL TRANSPORTER                                                                                                                    Bioscience,   Malik, Kristi
                 57171AU     PROTEIN                         AU          Utility     2/22/2018    2018224065          Granted       2018224065   2/24/2022   2/22/2038        Inc.        D. Snell
                                                                                                                                                                                         Oliver P.
                                                                                                                                                                                         Peoples,
                                                                                                                                                                                         Madana
                                                                                                                                                                                           M.R.
                             TRANSGENIC LAND PLANTS                                                                                                                                     Ambavaram,
                             COMPRISING ENHANCED LEVELS OF                                                                                                                  Yield10      Meghna
                             MITOCHONDRIAL TRANSPORTER                                                                                                                    Bioscience,   Malik, Kristi
                 57171CA     PROTEIN                         CA          Utility     2/22/2018    3054060             Granted        3054060     9/26/2023   2/22/2038        Inc.        D. Snell
                                                                                                                                                                                         Oliver P.
                                                                                                                                                                                         Peoples,
                                                                                                                                                                                         Madana
                                                                                                                                                                                           M.R.
                             TRANSGENIC LAND PLANTS                                                                                                                                     Ambavaram,
                             COMPRISING ENHANCED LEVELS OF                                                                                                                  Yield10      Meghna
                             MITOCHONDRIAL TRANSPORTER                                                                                                                    Bioscience,   Malik, Kristi
                 57171EP     PROTEIN                         EP          Utility     2/22/2018    18756996            Abandoned                                               Inc.        D. Snell
                                                                                                                                                                                         Oliver P.
                                                                                                                                                                                         Peoples,
                                                                                                                                                                                         Madana
                                                                                                                                                                                           M.R.
                             TRANSGENIC LAND PLANTS                                                                                                                                     Ambavaram,
                             COMPRISING ENHANCED LEVELS OF                                                                                                                  Yield10      Meghna
                             MITOCHONDRIAL TRANSPORTER                                                                                                                    Bioscience,   Malik, Kristi
                 57171US2    PROTEIN                         US          Utility     8/21/2019    16/487,494          Abandoned                                               Inc.        D. Snell




320500399.2
                                         Case 24-12752-MFW                             Doc 7-2              Filed 12/06/24                  Page 135 of 190



                 ATTY CASE                                                                       FILING                                         PATENT       ISSUED     EXPIRATION    RECORD
        FILE #     FILE #                     TITLE                    COUNTRY   CASE TYPE        DATE           SERIAL NO.       STATUS          NO.         DATE         DATE       OWNER        INVENTORS
                                                                                                                                                                                                       Frank
                                                                                                                                                                                                     Anthony
                                                                                                                                                                                                   Skraly, Oliver
                                                                                                                                                                                                    P. Peoples,
                                                                                                                                                                                                     Kristi D.
                             Genetically Engineered Land Plants that                                                                                                                   Yield10         Snell,
                             Express a Plant CCP1-Like                                                                                                                               Bioscience,     Meghna
 YTEN 008        57557US0    Mitochondrial Transporter Protein         US        Provisional   6/16/2017     62/520,785          Abandoned                                               Inc.          Malik
                                                                                                                                                                                                       Frank
                                                                                                                                                                                                     Anthony
                                                                                                                                                                                                      Skraly,
                                                                                                                                                                                                     Meghna
                                                                                                                                                                                                    Malik, Kristi
                             Genetically Engineered Land Plants that                                                                                                                   Yield10       D. Snell,
                             Express a Plant CCP1-Like                                                                           National                                            Bioscience,     Oliver P.
                 57557WO     Mitochondrial Transporter Protein         PCT         Utility     6/15/2018     PCT/US2018/037740   Phase                                                   Inc.        Peoples
                                                                                                                                                                                                       Frank
                                                                                                                                                                                                     Anthony
                                                                                                                                 Abandoned                                                            Skraly,
                                                                                                                                 - per                                                               Meghna
                                                                                                                                 instruction                                                        Malik, Kristi
                             Genetically Engineered Land Plants that                                                             to let                                                Yield10       D. Snell,
                             Express a Plant CCP1-Like                                                                           application                                         Bioscience,     Oliver P.
                 57557AU     Mitochondrial Transporter Protein         AU          Utility     6/15/2018     2018283286          lapse         2018283286   5/26/2022   6/15/2038        Inc.        Peoples
                                                                                                                                                                                                       Frank
                                                                                                                                                                                                     Anthony
                                                                                                                                 Abandoned                                                            Skraly,
                                                                                                                                 - per                                                               Meghna
                                                                                                                                 instruction                                                        Malik, Kristi
                             Genetically Engineered Land Plants that                                                             to let                                                Yield10       D. Snell,
                             Express a Plant CCP1-Like                                                                           application                                         Bioscience,     Oliver P.
                 57557BR     Mitochondrial Transporter Protein         BR          Utility     6/15/2018     BR 112019026301-2   lapse                                                   Inc.        Peoples
                                                                                                                                                                                                       Frank
                                                                                                                                                                                                     Anthony
                                                                                                                                 Abandoned                                                            Skraly,
                                                                                                                                 - per                                                               Meghna
                                                                                                                                 instruction                                                        Malik, Kristi
                             Genetically Engineered Land Plants that                                                             to let                                                Yield10       D. Snell,
                             Express a Plant CCP1-Like                                                                           application                                         Bioscience,     Oliver P.
                 57557CA     Mitochondrial Transporter Protein         CA          Utility     6/15/2018     3066220             lapse                                                   Inc.        Peoples
                                                                                                                                                                                                       Frank
                                                                                                                                                                                                     Anthony
                                                                                                                                                                                                      Skraly,
                                                                                                                                 Abandoned                                                           Meghna
                                                                                                                                 - per                                                              Malik, Kristi
                             Genetically Engineered Land Plants that                                                             instruction                                           Yield10       D. Snell,
                             Express a Plant CCP1-Like                                                                           to not pay                                          Bioscience,     Oliver P.
                 57557EP     Mitochondrial Transporter Protein         EP          Utility     6/15/2018     18816558.3          annuity                                                 Inc.        Peoples
                                                                                                                                                                                                       Frank
                                                                                                                                                                                                     Anthony
                                                                                                                                                                                                      Skraly,
                                                                                                                                                                                                     Meghna
                                                                                                                                                                                                    Malik, Kristi
                             Genetically Engineered Land Plants that                                                                                                                   Yield10       D. Snell,
                             Express a Plant CCP1-Like                                                                                                                               Bioscience,     Oliver P.
                 57557US1    Mitochondrial Transporter Protein         US          Utility     12/12/2019    16/622,000          Granted       11834666     12/5/2023   6/15/2038        Inc.        Peoples




320500399.2
                                          Case 24-12752-MFW                            Doc 7-2              Filed 12/06/24               Page 136 of 190



                  ATTY CASE                                                                      FILING                                         PATENT       ISSUED     EXPIRATION    RECORD
         FILE #     FILE #                    TITLE                    COUNTRY   CASE TYPE        DATE           SERIAL NO.       STATUS          NO.         DATE         DATE       OWNER        INVENTORS


                              Methods, Genes and Systems for
                              Producing Land Plants With Increased
                              Expression of Mitochnodrial Metabolite                                                                                                                                  Frank
                              Transporter Genes                                                                                                                                        Yield10       Anthony
 YTEN 009 (ALL                                                                                                                                                                       Bioscience,   Skraly, Kristi
 ABANDONED)       57727US0                                             US        Provisional   6/23/2017     62/524,134          Abandoned                                               Inc.        D. Snell
                              Methods, Genes and Systems for
                              Producing Land Plants With Increased
                              Expression of Mitochnodrial Metabolite                                                                                                                                  Frank
                              Transporter and/or Plastidial                                                                                                                            Yield10       Anthony
                              Dicarboxylate Transporter Genes and                                                                                                                    Bioscience,   Skraly, Kristi
                  57727US1    Proteins                                 US        Provisional   8/16/2017     62/546,268          Abandoned                                               Inc.        D. Snell
                              Methods and Genes for Producing Land
                              Plants With Increased Expression of                                                                                                                                     Frank
                              Mitochnodrial Metabolite Transporter                                                                                                                     Yield10       Anthony
                              and/or Plastidial Dicarboxylate                                                                    National                                            Bioscience,   Skraly, Kristi
                  57727WO     Transporter Genes                        PCT         Utility     6/22/2018     PCT/US2018/038927   Phase                                                   Inc.        D. Snell
                                                                                                                                 Abandoned
                              Methods and Genes for Producing Land
                                                                                                                                 - per
                              Plants With Increased Expression of
                                                                                                                                 instruction                                                          Frank
                              Mitochnodrial Metabolite Transporter
                                                                                                                                 to let                                                Yield10       Anthony
                              and/or Plastidial Dicarboxylate
                                                                                                                                 application                                         Bioscience,   Skraly, Kristi
                              Transporter Genes
                  57727AU                                              AU          Utility     6/22/2018     2018290308          lapse         2018290308   6/16/2022   6/22/2038        Inc.        D. Snell
                              Methods, Genes and Systems for                                                                     Abandoned
                              Producing Land Plants With Increased                                                               - per
                              Expression of Mitochnodrial Metabolite                                                             instruction                                                          Frank
                              Transporter and/or Plastidial                                                                      to let                                                Yield10       Anthony
                              Dicarboxylate Transporter Genes and                                                                application                                         Bioscience,   Skraly, Kristi
                  57727BR     Proteins                                 BR          Utility     6/22/2018     BR 112019026873-1   lapse                                                   Inc.        D. Snell
                              Methods, Genes and Systems for                                                                     Abandoned
                              Producing Land Plants With Increased                                                               - per
                              Expression of Mitochnodrial Metabolite                                                             instruction                                                          Frank
                              Transporter and/or Plastidial                                                                      to let                                                Yield10       Anthony
                              Dicarboxylate Transporter Genes and                                                                application                                         Bioscience,   Skraly, Kristi
                  57727CA     Proteins                                 CA          Utility     6/22/2018     3066470             lapse                                                   Inc.        D. Snell
                              Methods and Genes for Producing Land                                                               Abandoned
                              Plants With Increased Expression of                                                                - per                                                                Frank
                              Mitochnodrial Metabolite Transporter                                                               instruction                                           Yield10       Anthony
                              and/or Plastidial Dicarboxylate                                                                    to not pay                                          Bioscience,   Skraly, Kristi
                  57727EP     Transporter Genes                        EP          Utility     6/22/2018     18821327.6          annuity                                                 Inc.        D. Snell
                                                                                                                                 Abandoned
                              Methods and Genes for Producing Land
                                                                                                                                 - per
                              Plants With Increased Expression of
                                                                                                                                 instruction                                                          Frank
                              Mitochnodrial Metabolite Transporter
                                                                                                                                 to let                                                Yield10       Anthony
                              and/or Plastidial Dicarboxylate
                                                                                                                                 application                                         Bioscience,   Skraly, Kristi
                              Transporter Genes
                  57727US2                                             US          Utility     12/19/2019    16/624,637          lapse                                                   Inc.        D. Snell


                                                                                                                                                                                                   Madana M.R.
                                                                                                                                                                                                   Ambavaram,
                                                                                                                                                                                                   Jihong Tang,
                                                                                                                                                                                                      Mariya
                                                                                                                                                                                                     Somleva,
                                                                                                                                                                                                   Kieran Ryan,
                                                                                                                                                                                                     Oliver P.
 YTEN 010 (ALL                Genes and Gene Combinations for                                                                                                                                        Peoples,
 ABANDONED)       1000        Enhanced Crops                           US        Provisional   11/2/2017     62/580,959          Abandoned                                                         Kristi D. Snell




320500399.2
                                         Case 24-12752-MFW                      Doc 7-2              Filed 12/06/24                  Page 137 of 190



                  ATTY CASE                                                               FILING                                        PATENT   ISSUED   EXPIRATION    RECORD
         FILE #     FILE #                   TITLE              COUNTRY   CASE TYPE        DATE           SERIAL NO.       STATUS         NO.     DATE       DATE       OWNER        INVENTORS
                                                                                                                                                                                     Madana M.R.
                                                                                                                                                                                     Ambavaram,
                                                                                                                                                                                     Jihong Tang,
                                                                                                                                                                                        Kristi D.
                                                                                                                                                                                     Snell, Kieran
                                                                                                                                                                                     Ryan, Oliver
                                                                                                                                                                         Yield10      P. Peoples,
                              Genes and Gene Combinations for                                                             National                                     Bioscience,      Mariya
                  59975WO     Enhanced Crops                    PCT         Utility     11/2/2018     PCT/US2018/058840   Phase                                            Inc.        Somleva
                                                                                                                                                                                     Madana M.R.
                                                                                                                                                                                     Ambavaram,
                                                                                                                                                                                     Jihong Tang,
                                                                                                                                                                                        Kristi D.
                                                                                                                                                                                     Snell, Kieran
                                                                                                                                                                                     Ryan, Oliver
                                                                                                                                                                         Yield10      P. Peoples,
                              Genes and Gene Combinations for                                                                                                          Bioscience,      Mariya
                  59975US1    Enhanced Crops                    US          Utility     4/30/2020     16/760,639          Abandoned                                        Inc.        Somleva




                                                                                                                                                                                        Frank
                              GENETICALLY ENGINEERED LAND                                                                                                                Yield10       Anthony
 YTEN 011 (ALL                PLANTS THAT EXPRESS AN LCID/E                                                                                                            Bioscience,   Skraly, Kristi
 ABANDONED)       57558US0    PROTEIN                           US        Provisional   11/27/2017    62/590,793          Abandoned                                        Inc.        D. Snell
                                                                                                                                                                                        Frank
                              GENETICALLY ENGINEERED LAND                                                                                                                Yield10       Anthony
                              PLANTS THAT EXPRESS AN LCID/E                                                                                                            Bioscience,   Skraly, Kristi
                  57588US1    PROTEIN                           US        Provisional   6/26/2018     62/690,148          Abandoned                                        Inc.        D. Snell
                                                                                                                                                                                        Frank
                              GENETICALLY ENGINEERED LAND                                                                                                                Yield10       Anthony
                              PLANTS THAT EXPRESS AN LCID/E                                                               National                                     Bioscience,   Skraly, Kristi
                  57588WO     PROTEIN                           PCT         Utility     11/26/2018    PCT/US2018/062468   Phase                                            Inc.        D. Snell
                                                                                                                                                                                        Frank
                              GENETICALLY ENGINEERED LAND                                                                                                                Yield10       Anthony
                              PLANTS THAT EXPRESS AN LCID/E                                                                                                            Bioscience,   Skraly, Kristi
                  57558US2    PROTEIN                           US          Utility     5/26/2020     16/766,789          Abandoned                                        Inc.        D. Snell


                                                                                                                                                                                     Madana M.R.
                                                                                                                                                                                     Ambavaram,
                                                                                                                                                                                     Jihong Tang,
                                                                                                                                                                         Yield10        Kristi D.
 YTEN 012 (ALL                GENES AND GENE COMBINATIONS FOR                                                                                                          Bioscience,   Snell, Oliver
 ABANDONED)       58988US0    ENHANCED CORN PERFORMANCE         US        Provisional    4/2/2018     62/651,451          Abandoned                                        Inc.        P. Peoples
                                                                                                                                                                                     Madana M.R.
                                                                                                                                                                                     Ambavaram,
                                                                                                                                                                                     Jihong Tang,
                                                                                                                                                                         Yield10        Kristi D.
                              GENES AND GENE COMBINATIONS FOR                                                                                                          Bioscience,   Snell, Oliver
                  58988US1    ENHANCED CORN PERFORMANCE         US        Provisional   5/10/2018     62/669,662          Abandoned                                        Inc.        P. Peoples
                                                                                                                                                                                     Madana M.R.
                                                                                                                                                                                     Ambavaram,
                                                                                                                                                                                        Oliver P.
                                                                                                                                                                                        Peoples,
                                                                                                                                                                         Yield10        Kristi D.
                              GENES AND GENE COMBINATIONS FOR                                                             National                                     Bioscience,   Snell, Jihong
                  58988WO     ENHANCED CORN PERFORMANCE         PCT         Utility      4/1/2019     PCT/US2019/025163   Phase                                            Inc.           Tang




320500399.2
                                         Case 24-12752-MFW                             Doc 7-2              Filed 12/06/24          Page 138 of 190



                 ATTY CASE                                                                       FILING                                   PATENT   ISSUED   EXPIRATION    RECORD
        FILE #     FILE #                     TITLE                    COUNTRY   CASE TYPE        DATE           SERIAL NO.    STATUS       NO.     DATE       DATE       OWNER        INVENTORS
                                                                                                                                                                                       Madana M.R.
                                                                                                                                                                                       Ambavaram,
                                                                                                                                                                                         Oliver P.
                                                                                                                                                                                         Peoples,
                                                                                                                                                                           Yield10       Kristi D.
                             GENES AND GENE COMBINATIONS FOR                                                                                                             Bioscience,   Snell, Jihong
                 58988US2    ENHANCED CORN PERFORMANCE                 US          Utility                   17/044,015       Abandoned                                      Inc.         Tang


                                                                                                                                                                                       Jihong Tang,
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                                                                                                                                                                           Yield10       Oliver P.
                             Genetically Engineered Land Plants that                                                                                                     Bioscience,     Peoples,
 YTEN 013        P59704US0   Express an Increased Seed Yield Protein   US        Provisional    9/4/2018     62/726,653       Abandoned                                      Inc.      Kristi D. Snell
                                                                                                                                                                                       Jihong Tang,
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                                                                                                                                                                                         Peoples,
                                                                                                                                                                                          Kristi D.
                                                                                                                                                                           Yield10      Snell, Frank
                             Genetically Engineered Land Plants that                                                                                                     Bioscience,     Anthony
                 P59704US1   Express an Increased Seed Yield Protein   US        Provisional   10/12/2018    62/744,932       Abandoned                                      Inc.          Skraly
                                                                                                                                                                                       Jihong Tang,
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                             Genetically Engineered Land Plants that                                                                                                     Bioscience,    Venkatesh
                 P59704US2   Express an Increased Seed Yield Protein   US        Provisional   4/16/2019     62/834,766       Abandoned                                      Inc.          Bollina




320500399.2
                                       Case 24-12752-MFW                            Doc 7-2            Filed 12/06/24                  Page 139 of 190



               ATTY CASE                                                                    FILING                                        PATENT      ISSUED     EXPIRATION    RECORD
      FILE #     FILE #                     TITLE                    COUNTRY   CASE TYPE     DATE           SERIAL NO.       STATUS         NO.        DATE         DATE       OWNER         INVENTORS
                                                                                                                                                                                            Jihong Tang,
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                           Genetically Engineered Land Plants that                                                          National                                          Bioscience,      D. Snell,
               59704WO     Express an Increased Seed Yield Protein   PCT        Utility    9/3/2019     PCT/US2019/049281   Phase                                                 Inc.       Yuanyuan Ji
                                                                                                                                                                                            Jihong Tang,
                                                                                                                                                                                               Oliver P.
                                                                                                                                                                                               Peoples,
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                           Genetically Engineered Land Plants that                                                                                                            Bioscience,      D. Snell,
               P59704US3   Express an Increased Seed Yield Protein   US         Utility    3/3/2021     17/273,159          Granted       12084672   9/10/2024   11/22/2040       Inc.       Yuanyuan Ji
                                                                                                                                                                                            Jihong Tang,
                                                                                                                                                                                               Oliver P.
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                           Genetically Engineered Land Plants that                                                                                                            Bioscience,      D. Snell,
               P59704US4   Express an Increased Seed Yield Protein   US         Utility    8/30/2024    18/821,276          Pending                                               Inc.       Yuanyuan Ji




320500399.2
                                       Case 24-12752-MFW                            Doc 7-2           Filed 12/06/24                 Page 140 of 190



               ATTY CASE                                                                    FILING                                       PATENT      ISSUED     EXPIRATION    RECORD
      FILE #     FILE #                     TITLE                    COUNTRY   CASE TYPE     DATE         SERIAL NO.        STATUS         NO.        DATE         DATE       OWNER         INVENTORS
                                                                                                                                                                                           Jihong Tang,
                                                                                                                                                                                              Oliver P.
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                                                                                                                                                                               Yield10     Bollina, Kristi
                           Genetically Engineered Land Plants that                                                                                                           Bioscience,      D. Snell,
               P59704AU    Express an Increased Seed Yield Protein   AU         Utility    9/3/2019    2019335193          Granted      2019335193   8/3/2023    9/3/2039        Inc.       Yuanyuan Ji
                                                                                                                                                                                           Jihong Tang,
                                                                                                                                                                                              Oliver P.
                                                                                                                                                                                              Peoples,
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                                                                                                                                                                               Yield10     Bollina, Kristi
                           Genetically Engineered Land Plants that                                                                                                           Bioscience,      D. Snell,
               P59704BR    Express an Increased Seed Yield Protein   BR         Utility    9/3/2019    BR 112021004034-0   Pending                                               Inc.       Yuanyuan Ji
                                                                                                                                                                                           Jihong Tang,
                                                                                                                                                                                              Oliver P.
                                                                                                                                                                                              Peoples,
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                                                                                                                                                                                             Venkatesh
                                                                                                                                                                               Yield10     Bollina, Kristi
                           Genetically Engineered Land Plants that                                                                                                           Bioscience,      D. Snell,
               P59704CA    Express an Increased Seed Yield Protein   CA         Utility    9/3/2019    3111368             Pending                                               Inc.       Yuanyuan Ji




320500399.2
                                          Case 24-12752-MFW                             Doc 7-2              Filed 12/06/24                  Page 141 of 190



                  ATTY CASE                                                                       FILING                                        PATENT   ISSUED   EXPIRATION    RECORD
         FILE #     FILE #                     TITLE                    COUNTRY   CASE TYPE        DATE           SERIAL NO.       STATUS         NO.     DATE       DATE       OWNER         INVENTORS
                                                                                                                                                                                             Jihong Tang,
                                                                                                                                                                                                Oliver P.
                                                                                                                                                                                                Peoples,
                                                                                                                                                                                             Madana M.R.
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                                                                                                                                                                                 Yield10     Bollina, Kristi
                              Genetically Engineered Land Plants that                                                                                                          Bioscience,      D. Snell,
                  P59704EP    Express an Increased Seed Yield Protein   EP          Utility      9/3/2019     19858165.4          Pending                                          Inc.       Yuanyuan Ji


                                                                                                                                                                                 Yield10     Frank Skraly,
 YTEN 014 (ALL                MQO Expression in Plants                                                                                                                         Bioscience,   Jihong Tang,
 ABANDONED)       61543                                                 US        Provisional   10/12/2018    62745134            Abandoned                                        Inc.      Kristi D. Snell
                                                                                                                                                                                                Kristi D.
                                                                                                                                                                                              Snell, Frank
                              GENETICALLY ENGINEERED PLANTS
                                                                                                                                                                                             Skraly, Jihong
                              THAT EXPRESS A QUINONE-UTILIZING
                                                                                                                                                                                 Yield10         Tang,
                              MALATE DEHYDROGENASE
                                                                                                                                  National                                     Bioscience,      Meghna
                  61543WO                                               PCT         Utility     10/10/2019    PCT/US2019/055575   Phase                                            Inc.          Malik
                                                                                                                                                                                                Kristi D.
                                                                                                                                                                                              Snell, Frank
                              GENETICALLY ENGINEERED PLANTS
                                                                                                                                                                                             Skraly, Jihong
                              THAT EXPRESS A QUINONE-UTILIZING
                                                                                                                                                                                 Yield10         Tang,
                              MALATE DEHYDROGENASE
                                                                                                                                                                               Bioscience,      Meghna
                  61543US1                                              US          Utility      4/9/2021     17/284,135          Abandoned                                        Inc.          Malik


                                                                                                                                                                                             Madana M.R.
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                                                                                                                                                                                              Venkatesh
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                                                                                                                                                                                               Anthony
                                                                                                                                                                                                Skraly,
                              GENES AND GENE COMBINATIONS FOR                                                                                                                    Yield10       Meghna
 YTEN 015 (ALL                ENHANCED SEED YIELD AND OIL                                                                                                                      Bioscience,    Malik, Kristi
 ABANDONED)       60941US0    CONTENT                                   US        Provisional   5/14/2019     62/847,625          Abandoned                                        Inc.         D. Snell
                                                                                                                                                                                             Madana M.R.
                                                                                                                                                                                             Ambavaram,
                                                                                                                                                                                              Venkatesh
                              GENES AND GENE COMBINATIONS FOR                                                                                                                                Bollina, Frank
                              ENHANCED SEED YIELD AND OIL                                                                                                                                      Anthony
                              CONTENT                                                                                                                                                           Skraly,
                                                                                                                                                                                 Yield10       Meghna
                                                                                                                                                                               Bioscience,    Malik, Kristi
                  60941US1                                              US        Provisional   7/11/2019     62/873,014          Abandoned                                        Inc.         D. Snell




320500399.2
                                       Case 24-12752-MFW                        Doc 7-2              Filed 12/06/24                  Page 142 of 190



                 ATTY CASE                                                                FILING                                         PATENT       ISSUED     EXPIRATION    RECORD
        FILE #     FILE #                 TITLE                 COUNTRY   CASE TYPE        DATE           SERIAL NO.       STATUS          NO.         DATE         DATE       OWNER         INVENTORS
                                                                                                                                                                                            Madana M.R.
                                                                                                                                                                                            Ambavaram,
                             MODIFIED PLANTS COMPRISING A                                                                                                                                     Venkatesh
                             POLYNUCLEOTIDE COMPRISING A NON-                                                                                                                               Bollina, Frank
                             COGNATE PROMOTER OPERABLY                                                                                                                                         Anthony
                             LINKED TO A CODING SEQUENCE THAT                                                                                                                                   Skraly,
                             ENCODES A TRANSCRIPTION FACTOR                                                                                                                     Yield10        Meghna
                                                                                                                                                                              Bioscience,    Malik, Kristi
 YTEN 016        60942US0                                       US        Provisional   5/14/2019     62/847,658          Abandoned                                               Inc.         D. Snell
                                                                                                                                                                                            Madana M.R.
                                                                                                                                                                                            Ambavaram,
                             MODIFIED PLANTS COMPRISING A                                                                                                                                     Venkatesh
                             POLYNUCLEOTIDE COMPRISING A NON-                                                                                                                               Bollina, Frank
                             COGNATE PROMOTER OPERABLY                                                                                                                                         Anthony
                             LINKED TO A CODING SEQUENCE THAT                                                                                                                                   Skraly,
                             ENCODES A TRANSCRIPTION FACTOR                                                                                                                     Yield10        Meghna
                                                                                                                                                                              Bioscience,    Malik, Kristi
                 60942US1                                       US        Provisional   7/11/2019     62/873,018          Abandoned                                               Inc.         D. Snell
                                                                                                                                                                                              Venkatesh
                                                                                                                                                                                               Bollina,
                                                                                                                                                                                            Madana M.R.
                             MODIFIED PLANTS COMPRISING A
                                                                                                                                                                                            Ambavaram,
                             POLYNUCLEOTIDE COMPRISING A NON-
                                                                                                                                                                                               Kristi D.
                             COGNATE PROMOTER OPERABLY
                                                                                                                                                                                                 Snell,
                             LINKED TO A CODING SEQUENCE THAT
                                                                                                                                                                                               Meghna
                             ENCODES A TRANSCRIPTION FACTOR
                                                                                                                                                                                Yield10     Malik, Frank
                                                                                                                          National                                            Bioscience,      Anthony
                 60942WO                                        PCT         Utility     5/13/2020     PCT/US2020/032696   Phase                                                   Inc.          Skraly
                                                                                                                                                                                              Venkatesh
                                                                                                                                                                                               Bollina,
                                                                                                                                                                                            Madana M.R.
                             MODIFIED PLANTS COMPRISING A
                                                                                                                                                                                            Ambavaram,
                             POLYNUCLEOTIDE COMPRISING A NON-
                                                                                                                                                                                               Kristi D.
                             COGNATE PROMOTER OPERABLY
                                                                                                                                                                                                 Snell,
                             LINKED TO A CODING SEQUENCE THAT
                                                                                                                                                                                               Meghna
                             ENCODES A TRANSCRIPTION FACTOR
                                                                                                                                                                                Yield10     Malik, Frank
                                                                                                                                                                              Bioscience,      Anthony
                 60942US2                                       US          Utility     10/18/2021    17/594,475          Pending                                                 Inc.          Skraly
                                                                                                                                                                                              Venkatesh
                                                                                                                                                                                               Bollina,
                                                                                                                                                                                            Madana M.R.
                             MODIFIED PLANTS COMPRISING A
                                                                                                                                                                                            Ambavaram,
                             POLYNUCLEOTIDE COMPRISING A NON-
                                                                                                                                                                                               Kristi D.
                             COGNATE PROMOTER OPERABLY
                                                                                                                                                                                                 Snell,
                             LINKED TO A CODING SEQUENCE THAT
                                                                                                                                                                                               Meghna
                             ENCODES A TRANSCRIPTION FACTOR
                                                                                                                                                                                Yield10     Malik, Frank
                                                                                                                                                                              Bioscience,      Anthony
                 60942AU                                        AU          Utility     5/13/2020     2020274996          Granted       2020274996   5/16/2024   5/13/2040        Inc.          Skraly
                                                                                                                                                                                              Venkatesh
                                                                                                                                                                                               Bollina,
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                             MODIFIED PLANTS COMPRISING A
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                             POLYNUCLEOTIDE COMPRISING A NON-
                                                                                                                                                                                               Kristi D.
                             COGNATE PROMOTER OPERABLY
                                                                                                                                                                                                 Snell,
                             LINKED TO A CODING SEQUENCE THAT
                                                                                                                                                                                               Meghna
                             ENCODES A TRANSCRIPTION FACTOR
                                                                                                                                                                                Yield10     Malik, Frank
                                                                                                                                                                              Bioscience,      Anthony
                 60942CA                                        CA          Utility     5/13/2020     3138204             Pending                                                 Inc.          Skraly




320500399.2
                                       Case 24-12752-MFW                         Doc 7-2             Filed 12/06/24                  Page 143 of 190



                 ATTY CASE                                                                FILING                                        PATENT   ISSUED   EXPIRATION    RECORD
        FILE #     FILE #                  TITLE                 COUNTRY   CASE TYPE       DATE           SERIAL NO.       STATUS         NO.     DATE       DATE       OWNER        INVENTORS
                                                                                                                                                                                      Venkatesh
                                                                                                                                                                                       Bollina,
                                                                                                                                                                                     Madana M.R.
                             MODIFIED PLANTS COMPRISING A
                                                                                                                                                                                     Ambavaram,
                             POLYNUCLEOTIDE COMPRISING A NON-
                                                                                                                                                                                       Kristi D.
                             COGNATE PROMOTER OPERABLY
                                                                                                                                                                                        Snell,
                             LINKED TO A CODING SEQUENCE THAT
                                                                                                                                                                                       Meghna
                             ENCODES A TRANSCRIPTION FACTOR
                                                                                                                                                                         Yield10     Malik, Frank
                                                                                                                                                                       Bioscience,     Anthony
                 60942EP                                         EP          Utility     5/13/2020    20804868.6          Pending                                          Inc.         Skraly



                             GENETICALLY MODIFIED PLANTS THAT
                             EXHIBIT AN INCREASE IN SEED YIELD
                             COMPRISING A FIRST HOMEOLOG OF
                             SUGAR-DEPENDENT1 (SDP1)                                                                                                                                    Meghna
                             HOMOZYGOUS FOR A WILD-TYPE                                                                                                                              Malik, Jihong
                             ALLELE AND A SECOND HOMEOLOG OF                                                                                                             Yield10         Tang,
                             SDP1 HOMOZYGOUS FOR A MUTANT                                                                                                              Bioscience,   Yuanyuan Ji,
 YTEN 017        61224US0    ALLELE                              US        Provisional   7/23/2019    62/877,591          Abandoned                                        Inc.      Kristi D. Snell
                             GENETICALLY MODIFIED PLANTS THAT
                             EXHIBIT AN INCREASE IN SEED YIELD
                             COMPRISING A FIRST HOMEOLOG OF
                             SUGAR-DEPENDENT1 (SDP1)                                                                                                                                   Meghna
                             HOMOZYGOUS FOR A WILD-TYPE                                                                                                                              Malik, Kristi
                             ALLELE AND A SECOND HOMEOLOG OF                                                                                                             Yield10       D. Snell,
                             SDP1 HOMOZYGOUS FOR A MUTANT                                                                 National                                     Bioscience,   Yuanyuan Ji,
                 61224WO     ALLELE                              PCT         Utility     7/22/2020    PCT/US2020/043063   Phase                                            Inc.      Jihong Tang
                             GENETICALLY MODIFIED PLANTS THAT
                             EXHIBIT AN INCREASE IN SEED YIELD
                             COMPRISING A FIRST HOMEOLOG OF
                             SUGAR-DEPENDENT1 (SDP1)                                                                                                                                   Meghna
                             HOMOZYGOUS FOR A WILD-TYPE                                                                                                                              Malik, Kristi
                             ALLELE AND A SECOND HOMEOLOG OF                                                                                                             Yield10       D. Snell,
                             SDP1 HOMOZYGOUS FOR A MUTANT                                                                                                              Bioscience,   Yuanyuan Ji,
                 61224US1    ALLELE                              US          Utility     1/19/2022    17/597,707          Pending                                          Inc.      Jihong Tang
                             GENETICALLY MODIFIED PLANTS THAT
                             EXHIBIT AN INCREASE IN SEED YIELD
                             COMPRISING A FIRST HOMEOLOG OF
                             SUGAR-DEPENDENT1 (SDP1)                                                                                                                                   Meghna
                             HOMOZYGOUS FOR A WILD-TYPE                                                                                                                              Malik, Kristi
                             ALLELE AND A SECOND HOMEOLOG OF                                                                                                             Yield10       D. Snell,
                             SDP1 HOMOZYGOUS FOR A MUTANT                                                                                                              Bioscience,   Yuanyuan Ji,
                 61224AU     ALLELE                              AU          Utility     7/22/2020    2020316428          Abandoned                                        Inc.      Jihong Tang
                             GENETICALLY MODIFIED PLANTS THAT
                             EXHIBIT AN INCREASE IN SEED YIELD
                             COMPRISING A FIRST HOMEOLOG OF
                             SUGAR-DEPENDENT1 (SDP1)                                                                                                                                   Meghna
                             HOMOZYGOUS FOR A WILD-TYPE                                                                                                                              Malik, Kristi
                             ALLELE AND A SECOND HOMEOLOG OF                                                                                                             Yield10       D. Snell,
                             SDP1 HOMOZYGOUS FOR A MUTANT                                                                                                              Bioscience,   Yuanyuan Ji,
                 61224AU1    ALLELE                              AU          Utility     7/22/2020    2024205702          Pending                                          Inc.      Jihong Tang
                             GENETICALLY MODIFIED PLANTS THAT
                             EXHIBIT AN INCREASE IN SEED YIELD
                             COMPRISING A FIRST HOMEOLOG OF
                             SUGAR-DEPENDENT1 (SDP1)                                                                                                                                   Meghna
                             HOMOZYGOUS FOR A WILD-TYPE                                                                                                                              Malik, Kristi
                             ALLELE AND A SECOND HOMEOLOG OF                                                                                                             Yield10       D. Snell,
                             SDP1 HOMOZYGOUS FOR A MUTANT                                                                                                              Bioscience,   Yuanyuan Ji,
                 61224CA     ALLELE                              CA          Utility     7/22/2020    3148212             Pending                                          Inc.      Jihong Tang




320500399.2
                                            Case 24-12752-MFW                          Doc 7-2             Filed 12/06/24                  Page 144 of 190



                     ATTY CASE                                                                  FILING                                          PATENT     ISSUED      EXPIRATION    RECORD
        FILE #         FILE #                    TITLE                 COUNTRY   CASE TYPE       DATE           SERIAL NO.       STATUS           NO.       DATE          DATE       OWNER        INVENTORS


                                                                                                                                                                                                   Jixiang Han,
                                                                                                                                                                                                     Oliver P.
                                 Generation of High                                                                                                                                                  Peoples,
 YTEN 018 (MBX078)               Polyhydroxybutyrate Producing Seeds   US        Provisional   9/15/2009    61/242,522          Abandoned                                                         Kristi D. Snell
                                                                                                                                                                                                  Jihong Tang,
                                                                                                                                                                                                      Thomas
                                                                                                                                                                                                       Martin
                                                                                                                                                                                                    Ramseier,
                                                                                                                                                                                                       Karen
                                                                                                                                                                                                     Bohmert-
                                                                                                                                                                                                      Tatarev,
                                                                                                                                                                                                      Zhigang
                                                                                                                                                                                                    Zhang, Nii
                                                                                                                                                                                                    Patterson,
                                                                                                                                                                                                   Jixiang Han,
                                                                                                                                                                                                     Oliver P.
                                                                                                                                                                                                     Peoples,
                                                                                                                                                                                                      Andrew
                                                                                                                                                                                                       Hertig,
                                                                                                                                                                                      Yield10         Venkata
                                 Generation of High                                                                             National                                            Bioscience,   Tavva, Kristi
                                 Polyhydroxybutyrate Producing Seeds   PCT         Utility     9/15/2010    PCT/US2010/048963   Phase                                                   Inc.          D. Snell
                                                                                                                                                                                                  Jihong Tang,
                                                                                                                                                                                                      Thomas
                                                                                                                                                                                                       Martin
                                                                                                                                                                                                    Ramseier,
                                                                                                                                                                                                       Karen
                                                                                                                                                                                                     Bohmert-
                                                                                                                                                                                                      Tatarev,
                                                                                                                                                                                                      Zhigang
                                                                                                                                                                                                    Zhang, Nii
                                                                                                                                                                                                    Patterson,
                                                                                                                                                                                                   Jixiang Han,
                                                                                                                                                                                                     Oliver P.
                                                                                                                                                                                                     Peoples,
                                                                                                                                                                                                      Andrew
                                                                                                                                                                                                       Hertig,
                                                                                                                                                                                      Yield10         Venkata
                                 Generation of High                                                                                                                                 Bioscience,   Tavva, Kristi
                     61672       Polyhydroxybutyrate Producing Seeds   US          Utility     3/13/2012    13/395,702          Granted       9,181,559   11/10/2015   12/24/2031       Inc.          D. Snell


                                 GENETICALLY ENGINEERED PLANTS                                                                                                                                        Frank
                                 THAT EXPRESS 6-PHOSPHOGLUCONATE                                                                                                                                    Anthony
                                 DEHYDRATASE AND/OR 2-KETO-3-                                                                                                                         Yield10     Skraly, Jihong
                                 DEOXY-6-PHOSPHOGLUCONATE                                                                                                                           Bioscience,    Tang, Kristi
 YTEN 019            62241US0    ALDOLASE                              US        Provisional   2/20/2020    62/979,198          Abandoned                                               Inc.         D. Snell
                                 GENETICALLY ENGINEERED PLANTS                                                                                                                                        Frank
                                 THAT EXPRESS 6-PHOSPHOGLUCONATE                                                                                                                                    Anthony
                                 DEHYDRATASE AND/OR 2-KETO-3-                                                                                                                         Yield10     Skraly, Jihong
                                 DEOXY-6-PHOSPHOGLUCONATE                                                                       National                                            Bioscience,    Tang, Kristi
                     62241WO     ALDOLASE                              PCT         Utility     2/19/2021    PCT/US2021/018743   Phase                                                   Inc.         D. Snell
                                 GENETICALLY ENGINEERED PLANTS                                                                                                                                        Frank
                                 THAT EXPRESS 6-PHOSPHOGLUCONATE                                                                                                                                    Anthony
                                 DEHYDRATASE AND/OR 2-KETO-3-                                                                                                                         Yield10     Skraly, Jihong
                                 DEOXY-6-PHOSPHOGLUCONATE                                                                                                                           Bioscience,    Tang, Kristi
                     62241US1    ALDOLASE                              US          Utility     8/16/2022    17/904,343          Pending                                                 Inc.         D. Snell




320500399.2
                                       Case 24-12752-MFW                         Doc 7-2             Filed 12/06/24                  Page 145 of 190



                 ATTY CASE                                                                FILING                                        PATENT   ISSUED   EXPIRATION    RECORD
        FILE #     FILE #                   TITLE                COUNTRY   CASE TYPE       DATE           SERIAL NO.       STATUS         NO.     DATE       DATE       OWNER         INVENTORS
                             GENETICALLY ENGINEERED PLANTS                                                                                                                                Frank
                             THAT EXPRESS 6-PHOSPHOGLUCONATE                                                                                                                            Anthony
                             DEHYDRATASE AND/OR 2-KETO-3-                                                                                                                Yield10     Skraly, Jihong
                             DEOXY-6-PHOSPHOGLUCONATE                                                                                                                  Bioscience,     Tang, Kristi
                 62241AU     ALDOLASE                            AU          Utility     2/19/2021    2021224206          Pending                                          Inc.          D. Snell
                             GENETICALLY ENGINEERED PLANTS                                                                                                                                Frank
                             THAT EXPRESS 6-PHOSPHOGLUCONATE                                                                                                                            Anthony
                             DEHYDRATASE AND/OR 2-KETO-3-                                                                                                                Yield10     Skraly, Jihong
                             DEOXY-6-PHOSPHOGLUCONATE                                                                                                                  Bioscience,     Tang, Kristi
                 62241CA     ALDOLASE                            CA          Utility     2/19/2021    3170510             Pending                                          Inc.          D. Snell


                             GENETICALLY MODIFIED PLANTS THAT
                             EXHIBIT AN INCREASE IN SEED YIELD
                             COMPRISING A FIRST BIOTIN
                             ATTACHMENT DOMAIN-CONTAINING                                                                                                                               Meghna
                             (BADC) GENE HOMOZYGOUS FOR A                                                                                                                            Malik, Jihong
                             WILD-TYPE ALLELE, A SECOND BADC                                                                                                                             Tang,
                             GENE HOMOZYGOUS FOR A MUTANT                                                                                                                Yield10     Yuanyuan Ji,
                             ALLELE, AND HOMOLOGS OF THE FIRST                                                                                                         Bioscience,    Venkatesh
 YTEN 020        63059       AND SECOND BADC GENES               US        Provisional   8/12/2020    63/064,796          Abandoned                                        Inc.         Bollina
                                                                                                                                                                                        Kristi D.
                                                                                                                                                                                     Snell, Jihong
                             GENETICALLY MODIFIED PLANTS THAT                                                                                                                            Tang,
                             EXHIBIT AN INCREASE IN SEED YIELD                                                                                                                        Venkatesh
                             COMPRISING A FIRST BIOTIN                                                                                                                                  Bollina,
                             ATTACHMENT DOMAIN-CONTAINING                                                                                                                            Lifeng Chen,
                             (BADC) GENE HOMOZYGOUS FOR A                                                                                                                                Marie
                             WILD-TYPE ALLELE, A SECOND BADC                                                                                                                         Mykytyshyn,
                             GENE HOMOZYGOUS FOR A MUTANT                                                                                                                Yield10     Yuanyuan Ji,
                             ALLELE, AND HOMOLOGS OF THE FIRST                                                            National                                     Bioscience,      Meghna
                 63059WO     AND SECOND BADC GENES               PCT         Utility     8/12/2021    PCT/US2021/045717   Phase                                            Inc.          Malik
                                                                                                                                                                                        Kristi D.
                                                                                                                                                                                     Snell, Jihong
                             GENETICALLY MODIFIED PLANTS THAT                                                                                                                            Tang,
                             EXHIBIT AN INCREASE IN SEED YIELD                                                                                                                        Venkatesh
                             COMPRISING A FIRST BIOTIN                                                                                                                                  Bollina,
                             ATTACHMENT DOMAIN-CONTAINING                                                                                                                            Lifeng Chen,
                             (BADC) GENE HOMOZYGOUS FOR A                                                                                                                                Marie
                             WILD-TYPE ALLELE, A SECOND BADC                                                                                                                         Mykytyshyn,
                             GENE HOMOZYGOUS FOR A MUTANT                                                                                                                Yield10     Yuanyuan Ji,
                             ALLELE, AND HOMOLOGS OF THE FIRST                                                                                                         Bioscience,      Meghna
                 63059US1    AND SECOND BADC GENES               US          Utility     1/12/2023    18/005,302          Pending                                          Inc.          Malik
                                                                                                                                                                                        Kristi D.
                                                                                                                                                                                     Snell, Jihong
                             GENETICALLY MODIFIED PLANTS THAT                                                                                                                            Tang,
                             EXHIBIT AN INCREASE IN SEED YIELD                                                                                                                        Venkatesh
                             COMPRISING A FIRST BIOTIN                                                                                                                                  Bollina,
                             ATTACHMENT DOMAIN-CONTAINING                                                                                                                            Lifeng Chen,
                             (BADC) GENE HOMOZYGOUS FOR A                                                                                                                                Marie
                             WILD-TYPE ALLELE, A SECOND BADC                                                                                                                         Mykytyshyn,
                             GENE HOMOZYGOUS FOR A MUTANT                                                                                                                Yield10     Yuanyuan Ji,
                             ALLELE, AND HOMOLOGS OF THE FIRST                                                                                                         Bioscience,      Meghna
                 63059AU     AND SECOND BADC GENES               AU          Utility     8/12/2021    2021324821          Pending                                          Inc.          Malik




320500399.2
                                         Case 24-12752-MFW                          Doc 7-2              Filed 12/06/24                 Page 146 of 190



                  ATTY CASE                                                                   FILING                                       PATENT   ISSUED   EXPIRATION    RECORD
         FILE #     FILE #                   TITLE                  COUNTRY   CASE TYPE        DATE           SERIAL NO.       STATUS        NO.     DATE       DATE       OWNER        INVENTORS
                                                                                                                                                                                           Kristi D.
                                                                                                                                                                                        Snell, Jihong
                              GENETICALLY MODIFIED PLANTS THAT                                                                                                                              Tang,
                              EXHIBIT AN INCREASE IN SEED YIELD                                                                                                                          Venkatesh
                              COMPRISING A FIRST BIOTIN                                                                                                                                    Bollina,
                              ATTACHMENT DOMAIN-CONTAINING                                                                                                                              Lifeng Chen,
                              (BADC) GENE HOMOZYGOUS FOR A                                                                                                                                  Marie
                              WILD-TYPE ALLELE, A SECOND BADC                                                                                                                           Mykytyshyn,
                              GENE HOMOZYGOUS FOR A MUTANT                                                                                                                  Yield10     Yuanyuan Ji,
                              ALLELE, AND HOMOLOGS OF THE FIRST                                                                                                           Bioscience,      Meghna
                  63059CA     AND SECOND BADC GENES                 CA          Utility     8/12/2021     3188488             Pending                                         Inc.          Malik
                                                                                                                                                                                           Kristi D.
                                                                                                                                                                                        Snell, Jihong
                              GENETICALLY MODIFIED PLANTS THAT                                                                                                                              Tang,
                              EXHIBIT AN INCREASE IN SEED YIELD                                                                                                                          Venkatesh
                              COMPRISING A FIRST BIOTIN                                                                                                                                    Bollina,
                              ATTACHMENT DOMAIN-CONTAINING                                                                                                                              Lifeng Chen,
                              (BADC) GENE HOMOZYGOUS FOR A                                                                                                                                  Marie
                              WILD-TYPE ALLELE, A SECOND BADC                                                                                                                           Mykytyshyn,
                              GENE HOMOZYGOUS FOR A MUTANT                                                                                                                  Yield10     Yuanyuan Ji,
                              ALLELE, AND HOMOLOGS OF THE FIRST                                                                                                           Bioscience,      Meghna
                  63059EP     AND SECOND BADC GENES                 EP          Utility     8/12/2021     21856715.4          Pending                                         Inc.          Malik


                                                                                                                                                                                            Frank
                                                                                                                                                                                          Anthony
                              TRANSGENIC LAND PLANTS THAT                                                                                                                   Yield10         Skraly,
 YTEN 021 (ALL                PRODUCE POLYHYDROXYALKANOATE                                                                                                                Bioscience,   Martha Sholl,
 ABANDONED)       65953       COPOLYMERS                            US        Provisional    4/6/2022     63/362,541          Abandoned                                       Inc.      Kristi D. Snell


                                                                                                                                                                                        Jihong Tang,
                                                                                                                                                                                           Meghna
                                                                                                                                                                                            Malik,
                                                                                                                                                                                           Nirmala
                              TRANSGENIC CAMELINA PLANTS                                                                                                                                   Sharma,
                              GENETICALLY MODIFIED TO BE                                                                                                                    Yield10         Lauren
                              TOLERANT TO GLUFOSINATE WITHOUT                                                                                                             Bioscience,     Rakochy,
 YTEN 022         66877       EXHIBITING A DECREASE IN SEED YIELD   US        Provisional   11/11/2022    63/383,353          Abandoned                                       Inc.      Kristi D. Snell
                                                                                                                                                                                        Jihong Tang,
                                                                                                                                                                                           Meghna
                                                                                                                                                                                            Malik,
                                                                                                                                                                                           Nirmala
                              TRANSGENIC CAMELINA PLANTS                                                                                                                                   Sharma,
                              GENETICALLY MODIFIED TO BE                                                                                                                    Yield10         Lauren
                              TOLERANT TO GLUFOSINATE WITHOUT                                                                                                             Bioscience,     Rakochy,
                  66877WO     EXHIBITING A DECREASE IN SEED YIELD   PCT         Utility     11/9/2023     PCT/US2023/079186   Pending                                         Inc.      Kristi D. Snell


                                                                                                                                                                                           Meghna
                                                                                                                                                                                        Malik, Jihong
                                                                                                                                                                                            Tang,
                                                                                                                                                                                        Yuanyuan Ji,
                                                                                                                                                                                         Venkatesh
                                                                                                                                                                                           Bollina,
                                                                                                                                                                                        Lifeng Chen,
                              GENOME-EDITED PLANTS COMPRISING                                                                                                               Yield10         Marie
 YTEN 023 (ALL                INACTIVATED BADC1, BADC2, AND/OR                                                                                                            Bioscience,   Mykytyshyn,
 ABANDONED)       67803       BADC3 GENES                           US        Provisional   2/13/2023     63/484,717          Abandoned                                       Inc.      Kristi D. Snell




320500399.2
                                                    Case 24-12752-MFW                             Doc 7-2            Filed 12/06/24                 Page 147 of 190



                          ATTY CASE                                                                       FILING                                       PATENT        ISSUED     EXPIRATION     RECORD
         FILE #             FILE #                      TITLE                 COUNTRY     CASE TYPE        DATE          SERIAL NO.        STATUS        NO.          DATE         DATE        OWNER         INVENTORS




(2) Yield10 in-licensed patent families
                                                                                                        FILING                                                                         EXPIRATION   RECORD
 FILE #           ATTY CASE FILE #    TITLE                                 COUNTRY     CASE TYPE       DATE          SERIAL NO.          STATUS        PATENT NO.        ISSUE DATE   DATE         OWNER          INVENTORS
 NCSU1
 (LICENSE                             Synthetic Pathway for Biological                                                                    License
 DROPPED)                             Carbon Dioxide Sequestration          US                          1/22/2013     20140150135         Dropped
                                      Synthetic Pathway for Biological                                                                    License
                                      Carbon Dioxide Sequestration          Canada                                    2892551             Dropped



 NCSU2
 (CWII)
 (LICENSE         NCSU13058 5051-     Method and Compositions for                                                                         License
 DROPPED)         834                 Improvement in Seed Yield             US          Provisional     6/24/2013     61/838,789          Dropped
                                      Method and Compositions for                                                                         License
                                      Improvement in Seed Yield             PCT         International   6/20/2014     PCT/US2014/043407   Dropped
                                      Method and Compositions for                                                     14/900,799          License
                                      Improvement in Seed Yield             US          Utility         12/22/2015    20160138038         Dropped


                                      (Biotin-Ferredoxin) Methods and
 NCSU3                                Compositions for Enhanced Biomass
 (LICENSE         NCSU15250 5051-     Production and Increased Abiotic                                                                    License
 DROPPED)         884                 Stress Tolerance                      US          Provisional     7/20/2015     62/194,550          Dropped
                                      (Biotin-Ferredoxin) Methods and
                                      Compositions for Enhanced Biomass
                                      Production and Increased Abiotic                                                                    License
                                      Stress Tolerance                      PCT         International   7/20/2016     PCTUS16043064       Dropped
                                      (Biotin-Ferredoxin) Methods and
                                      Compositions for Enhanced Biomass
                                      Production and Increased Abiotic                                                                    License
                                      Stress Tolerance                      US          Utility         1/19/2018     15/875,272          Dropped


 NCSU4
 (LICENSE         NCSU15290 5051-     Synthetic Pathway for Biological                                                                    License
 DROPPED)         887                 Carbon Dioxide Sequestration          US          Provisional     7/20/2015     62/194,446          Dropped
                                      Synthetic Pathway for Biological                                                                    License
                                      Carbon Dioxide Sequestration          PCT         International   7/20/2016     PCT/US2016/043064   Dropped
                                      Synthetic Pathway for Biological                                                                    License
                                      Carbon Dioxide Sequestration          US          Utility         1/19/2018     15/875,313          Dropped




 UMASS
                                                                                                                                                                                                                   Danny J.
                                                                                                                                                                                                                   Schnell, Mine
                                                                                                                                                                                                                   O. Canakci,
                                                                                                                                                                                                                   Bibin Paulose,
                                      Plants with Enhanced Photosynthesis                                                                                                                                          Michelle
 UMA 13-040       UMA0050US           and Methods of Manufacture Thereof    US          Provisional     12/31/2013    61/922,141          Expired                                                                  DaCosta




320500399.2
                                              Case 24-12752-MFW                              Doc 7-2            Filed 12/06/24                Page 148 of 190



                                                                                                   FILING                                                                           EXPIRATION   RECORD
 FILE #       ATTY CASE FILE #   TITLE                                 COUNTRY     CASE TYPE       DATE          SERIAL NO.          STATUS           PATENT NO.       ISSUE DATE   DATE         OWNER            INVENTORS
                                                                                                                                                                                                                  Danny J.
                                                                                                                                                                                                                  Schnell, Mine
                                                                                                                                                                                                                  O. Canakci,
                                                                                                                                                                                                                  Bibin Paulose,
                                                                                                                                                                                                 The University   Michelle
                                 Plants with Enhanced Photosynthesis                                                                                                                             of               DaCosta
 UMA 13-040   UMA0050US2         and Methods of Manufacture Thereof    US          Utility         6/30/2016     15/109,349          Granted          10337024         7/2/2019     12/24/2034   Massachusetts    Inguagiato
                                                                                                                                                                                                                  Danny J.
                                                                                                                                                                                                                  Schnell, Mine
                                                                                                                                                                                                                  O. Canakci,
                                                                                                                                                                                                                  Bibin Paulose,
                                                                                                                                                                                                 The University   Michelle
                                 Plants with Enhanced Photosynthesis                                                                                                                             of               DaCosta
 UMA 13-040   UMA0050USC         and Methods of Manufacture Thereof    US          Con             5/24/2019     16/421,599          Granted          10865422         12/15/2020   12/24/2034   Massachusetts    Inguagiato
                                                                                                                                                                                                                  Danny J.
                                                                                                                                                                                                                  Schnell, Mine
                                                                                                                                                                                                                  O. Canakci,
                                                                                                                                                                                                                  Bibin Paulose,
                                                                                                                                                                                                                  Michelle
                                 Plants with Enhanced Photosynthesis                                                                                                                                              DaCosta
 UMA 13-040   UMA0050PCT         and Methods of Manufacture Thereof    PCT         International   12/24/2014    PCT/US2014/072347   National Phase                                                               Inguagiato
                                                                                                                                                                                                                  Danny J.
                                                                                                                                                                                                                  Schnell, Mine
                                                                                                                                                                                                                  O. Canakci,
                                                                                                                                                                                                                  Bibin Paulose,
                                                                                                                                                                                                                  Michelle
 UMA 13-                         Plants with Enhanced Photosynthesis                                                                                                                                              DaCosta
 040AU        UMA0050AU          and Methods of Manufacture Thereof    Australia                   12/24/2014    2014374057          Granted          2014374057B2     8/27/2020    12/24/2034                    Inguagiato
                                                                                                                                                                                                                  Danny J.
                                                                                                                                                                                                                  Schnell, Mine
                                                                                                                                                                                                                  O. Canakci,
                                                                                                                                                                                                                  Bibin Paulose,
                                                                                                                                                                                                                  Michelle
 UMA 13-                         Plants with Enhanced Photosynthesis                                                                                                                                              DaCosta
 040BR        UMA0050BR          and Methods of Manufacture Thereof    Brazil                      6/30/2016     BR 112016015424.0   Abandoned                                                                    Inguagiato
                                                                                                                                                                                                                  Danny J.
                                                                                                                                                                                                                  Schnell, Mine
                                                                                                                                                                                                                  O. Canakci,
                                                                                                                                                                                                                  Bibin Paulose,
                                                                                                                                                                                                                  Michelle
 UMA-13-                         Plants with Enhanced Photosynthesis                                                                                                                                              DaCosta
 040CA        UMA0050CA          and Methods of Manufacture Thereof    Canada                      6/22/2016     2,934,997           Granted          2,934,997        6/13/2023    12/24/2034                    Inguagiato
                                                                                                                                                                                                                  Danny J.
                                                                                                                                                                                                                  Schnell, Mine
                                                                                                                                                                                                                  O. Canakci,
                                                                                                                                                                                                                  Bibin Paulose,
                                                                                                                                                                                                                  Michelle
 UMA13-                          Plants with Enhanced Photosynthesis                                                                                                                                              DaCosta
 040CN        UMA0050CN          and Methods of Manufacture Thereof    China                       12/24/2014    201480071736.6      Granted          201480071736.6   10/12/2021   12/24/2034                    Inguagiato
                                                                                                                                                                                                                  Danny J.
                                                                                                                                                                                                                  Schnell, Mine
                                                                                                                                                                                                                  O. Canakci,
                                                                                                                                                                                                                  Bibin Paulose,
                                                                                                                                                                                                                  Michelle
 UMA13-                          Plants with Enhanced Photosynthesis                                                                                                                                              DaCosta
 040EP        UMA0050EP          and Methods of Manufacture Thereof    EP                          12/24/2014    EP 14877312         Granted          3090057          10/30/2019   12/24/2034                    Inguagiato




320500399.2
                                               Case 24-12752-MFW                               Doc 7-2            Filed 12/06/24                 Page 149 of 190



                                                                                                     FILING                                                                         EXPIRATION   RECORD
 FILE #        ATTY CASE FILE #   TITLE                                  COUNTRY     CASE TYPE       DATE          SERIAL NO.          STATUS           PATENT NO.     ISSUE DATE   DATE         OWNER    INVENTORS
                                                                                                                                                                                                          Danny J.
                                                                                                                                                                                                          Schnell, Mine
                                                                                                                                                                                                          O. Canakci,
                                                                                                                                                                                                          Bibin Paulose,
                                                                                                                                                                                                          Michelle
 UMA13-                           Plants with Enhanced Photosynthesis                                                                                                                                     DaCosta
 040EP         UMA0050FR          and Methods of Manufacture Thereof     France                      12/24/2014    14877312.0          Abandoned        3090057        10/30/2019   12/24/2034            Inguagiato
                                                                                                                                                                                                          Danny J.
                                                                                                                                                                                                          Schnell, Mine
                                                                                                                                                                                                          O. Canakci,
                                                                                                                                                                                                          Bibin Paulose,
                                                                                                                                                                                                          Michelle
 UMA13-                           Plants with Enhanced Photosynthesis                                                                                   60 2014 056                                       DaCosta
 040EP         UMA0050DE          and Methods of Manufacture Thereof     Germany                     12/24/2014    14877312.0          Abandoned        109.8          10/30/2019   12/24/2034            Inguagiato
                                                                                                                                                                                                          Danny J.
                                                                                                                                                                                                          Schnell, Mine
                                                                                                                                                                                                          O. Canakci,
                                                                                                                                                                                                          Bibin Paulose,
                                                                                                                                                                                                          Michelle
 UMA13-                           Plants with Enhanced Photosynthesis    UK/Great                                                                                                                         DaCosta
 040EP         UMA0050GB          and Methods of Manufacture Thereof     Britian                     12/24/2014    14877312.0          Validated        3090057        10/30/2019   12/24/2034            Inguagiato
                                                                                                                                                                                                          Danny J.
                                                                                                                                                                                                          Schnell, Mine
                                                                                                                                                                                                          O. Canakci,
                                                                                                                                                                                                          Bibin Paulose,
                                                                                                                                                                                                          Michelle
                                  Plants with Enhanced Photosynthesis                                                                                                                                     DaCosta
 UMA13-040IN   UMA0050IN          and Methods of Manufacture Thereof     India                       6/25/2016     201617021874        Abandoned                                                          Inguagiato


 UMASS/NCSU
 (ALL
 ABANDONED)
                                  Compositions and Methods for
                                  Enhanced Plant Growth and Seed
                                  Yield                                  US          Provisional     10/21/2016    62/245,502          Abandoned


                                  BADC Increasing Plant Oil Content By
 U.MISSOU                         Altering Negative Regulators of                                                                                                                                         Jay Thelen,
 15UMC023      UVMO:115USP1       ACCase                                 US          Provisional     8/28/2015     62/211,371          Expired                                                            Mathew Salie
                                  BADC Increasing Plant Oil Content By
                                  Altering Negative Regulators of                                                                                                                                         Jay Thelen,
               UVMO:115US         ACCase                                 US          Utility         2/28/2018     15/756,468          Granted          10883113       1/5/2021     8/17/2036             Mathew Salie
                                  INCREASING PLANT OIL CONTENT BY
                                  ALTERING A NEGATIVE REGULATOR                                                                                                                                           Jay Thelen,
               UVMO:115USC1       OF ACETYL-COA CARBOXYLASE              US          Con             11/4/2020     17/089,241          Granted          11959087       4/16/2024    7/7/2036              Mathew Salie
                                  BADC Increasing Plant Oil Content By                                                                                                                                    Mathew
                                  Altering Negative Regulators of                                                                                                                                         Salie, Jay
               UVMO:115WO         ACCase                                 PCT         International   7/7/2016      PCT/US2016/041386   National Phase                                                     Thelen
                                  BADC Increasing Plant Oil Content By                                                                                                                                    Mathew
                                  Altering Negative Regulators of                                                                                                                                         Salie, Jay
               UVMO:115AU         ACCase                                 Australia                   7/7/2016      2016317094          Granted          2016317094B2   3/31/2022    7/7/2036              Thelen
                                  BADC Increasing Plant Oil Content By                                                                                                                                    Mathew
                                  Altering Negative Regulators of                                                                                                                                         Salie, Jay
               UVMO:115BR         ACCase                                 Brazil                      7/7/2016      BR112018003576-9    Abandoned                                                          Thelen
                                  BADC Increasing Plant Oil Content By                                                                                                                                    Mathew
                                  Altering Negative Regulators of                                                                                                                                         Salie, Jay
               UVMO:115CA         ACCase                                 Canada                      7/7/2016      2995573             Pending                                                            Thelen




320500399.2
                                                Case 24-12752-MFW                               Doc 7-2            Filed 12/06/24                 Page 150 of 190



                                                                                                      FILING                                                                       EXPIRATION   RECORD
 FILE #       ATTY CASE FILE #    TITLE                                     COUNTRY   CASE TYPE       DATE          SERIAL NO.          STATUS           PATENT NO.   ISSUE DATE   DATE         OWNER          INVENTORS
                                  BADC Increasing Plant Oil Content By                                                                                                                                          Mathew
                                  Altering Negative Regulators of                                                                                                                                              Salie, Jay
              UVMO:115CN          ACCase                                    China                     4/2/2018      CN 201680057571.6   Abandoned                                                              Thelen
                                  BADC Increasing Plant Oil Content By                                                                                                                                          Mathew
                                  Altering Negative Regulators of                                                                                                                                              Salie, Jay
              UVMO:115CND1        ACCase                                    China                     3/10/2023     CN 202310229890.2   Abandoned                                                              Thelen
                                  BADC Increasing Plant Oil Content By                                                                                                                                          Mathew
                                  Altering Negative Regulators of                                                                                                                                              Salie, Jay
              UVMO:115EP          ACCase                                    Europe                    7/7/2016      16842484.4          Abandoned                                                              Thelen
                                  BADC Increasing Plant Oil Content By                                                                                                                                          Mathew
                                  Altering Negative Regulators of                                                                                                                                              Salie, Jay
              UVMO:115IN          ACCase                                    India                     7/7/2016      201817006061        Abandoned                                                              Thelen




 U.MISSOU
 17UMC003     UVMO:116USP1        Increasing Plant Oil increasing alphaCT   US        Provisional     7/7/2016      62/359,635          Expired                                                                Jay Thelan

              UVMO:116WO          Increasing Plant Oil increasing alphaCT   PCT       International   7/6/2017      PCT/US2017/040851   National Phase                                                          Jay Thelan
                                                                                                                                                                                                               Jay Thelan,
              UVMO:116US          Increasing Plant Oil increasing alphaCT   US        Utility         1/3/2019      16/315,140          Granted          11802286     10/31/2023   9/14/2037                   Matthew Salie

              UVMO:116CA          Increasing Plant Oil increasing alphaCT   Canada                    7/6/2017      3030170             Pending                                                                Jay Thelan
                                                                                                                                                                                                               Jay Thelan,
              UVMO.116USC1        Increasing Plant Oil increasing alphaCT   US        Con             9/12/2023     18/465,802          Pending                                                                Matthew Salie


                                  Methods of Altering Seed Weight and
                                  Seed Oil Content by Manipulating
                                  Alpha-Carboxyltransferase (A-CT)
 U.MISSOU                         Activity Via Carboxyltrasferase                                                                                                                                              Jay Thelan,
 18UMCO62                         Interactor (CTI) Protein Expression       US        Provisional     5/30/2018     62/678,212          Abandoned                                                              Yajin Ye
                                  Methods of Altering Seed Weight and
                                  Seed Oil Content by Manipulating
                                  Alpha-Carboxyltransferase (A-CT)
              40451-PCT (31458-   Activity Via Carboxyltrasferase                                                                                                                                              Yajin Ye, Jay
              39)                 Interactor (CTI) Protein Expression       PCT       International   5/30/2019     PCT/US2019/034754   National Phase                                                         Thelan
                                  Methods of Altering Seed Weight and
                                  Seed Oil Content by Manipulating
                                  Alpha-Carboxyltransferase (A-CT)
              40451-CA (31458-    Activity Via Carboxyltrasferase                                                                                                                                              Yajin Ye, Jay
              42)                 Interactor (CTI) Protein Expression       CA                        5/30/2019     3101203             Pending                                                                Thelan
                                  Methods of Altering Seed Weight and
                                  Seed Oil Content by Manipulating
                                  Alpha-Carboxyltransferase (A-CT)
              40451-US (31458-    Activity Via Carboxyltrasferase                                                                                                                                              Jay Thelan,
              43)                 Interactor (CTI) Protein Expression       US        Utility         11/30/2020    17/250,117          Pending                                                                Yajin Ye


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                                  Production of Omega-3 Long Chain                                                                                                                              Rothamsted     Richard
 RR213                            Polyunsaturated Fatty Acids               PCT       International   4/12/2013     PCT/GB2013/050955   National Phase                                          Research Ltd   Haslam




320500399.2
                                             Case 24-12752-MFW                            Doc 7-2         Filed 12/06/24                Page 151 of 190



                                                                                             FILING                                                                     EXPIRATION   RECORD
 FILE #       ATTY CASE FILE #   TITLE                                COUNTRY   CASE TYPE    DATE          SERIAL NO.         STATUS        PATENT NO.     ISSUE DATE   DATE         OWNER          INVENTORS
                                                                                                                                                                                                    Johnathan
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                                 Production of Omega-3 Long Chain                                                                                                                    Rothamsted     Richard
              PC930586US         Polyunsaturated Fatty Acids          US        Utility                    14/391,818         Granted       10881631       1/5/2021     10/13/2035   Research Ltd   Haslam
                                                                                                                                                                                                    Johnathan
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                                 Production of Omega-3 Long Chain                                                                                                                                   Richard
              PC930586USA        Polyunsaturated Fatty Acids          US        Utility      12/31/2020    17/139,232         Pending                                                               Haslam
                                                                                                                                                                                                    Johnathan
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                                 Production of Omega-3 Long Chain                                                                                                                                   Richard
              PC30586AU          Polyunsaturated Fatty Acids          AU                     4/12/2013     2013246661         Granted       2013246661B2   4/4/2019     4/12/2033                   Haslam
                                                                                                                                                                                                    Johnathan
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                                 Production of Omega-3 Long Chain                                                                                                                                   Richard
              PC930586AUA        Polyunsaturated Fatty Acids          AU                     4/12/2013     2019201875         Granted       2019201875B2   12/23/2021   4/12/2033                   Haslam
                                                                                                                                                                                                    Johnathan
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                                 Pr+C64:L64oduction of Omega-3 Long                                                                                                                                 Richard
              PC930586AUB        Chain Polyunsaturated Fatty Acids    AU                     4/12/2013     2021282443         Pending                                                               Haslam
                                                                                                                                                                                                    Johnathan
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                                 Production of Omega-3 Long Chain                                                                                                                                   Richard
              PC930586BR         Polyunsaturated Fatty Acids          BR                     4/12/2013     BR112014025265-3   Abandoned                                                             Haslam
                                                                                                                                                                                                    Johnathan
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                                 Production of Omega-3 Long Chain                                                                                                                                   Richard
              PC930586CA         Polyunsaturated Fatty Acids          CA                     4/12/2013     2869738            Granted       2869738        4/5/2022     4/12/2033                   Haslam
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                                 Production of Omega-3 Long Chain                                                                                                                                   Richard
              PC930586CAA        Polyunsaturated Fatty Acids          CA                     4/12/2013     3148246            Allowed                                                               Haslam




320500399.2
                                                 Case 24-12752-MFW                              Doc 7-2           Filed 12/06/24                Page 152 of 190



                                                                                                      FILING                                                                  EXPIRATION   RECORD
 FILE #          ATTY CASE FILE #   TITLE                                   COUNTRY   CASE TYPE       DATE         SERIAL NO.          STATUS       PATENT NO.   ISSUE DATE   DATE         OWNER    INVENTORS
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                                    Production of Omega-3 Long Chain                                                                                                                                Richard
                 PC930586CL         Polyunsaturated Fatty Acids             CL                        4/12/2013    02723-2014          Granted      63.327       ???          ???                   Haslam
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                                    Production of Omega-3 Long Chain                                                                                                                                Richard
                 PC930586EP         Polyunsaturated Fatty Acids             EP                        4/12/2013    13718360            Granted      2836599B1    11/6/2019    4/12/2033             Haslam
                                                                                                                                                                                                    Johnathan
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                                    Production of Omega-3 Long Chain                                                                                                                                Richard
                 PC930586DE         Polyunsaturated Fatty Acids             DE                        4/12/2013    13718360            Validated    2836599B1    11/6/2019    4/12/2033             Haslam
                                                                                                                                                                                                    Johnathan
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                                    Production of Omega-3 Long Chain                                                                                                                                Richard
                 PC930586ES         Polyunsaturated Fatty Acids             ES                        4/12/2013    13718360            Validated    2836599B1    11/6/2019    4/12/2033             Haslam
                                                                                                                                                                                                    Johnathan
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                                    Production of Omega-3 Long Chain                                                                                                                                Richard
                 PC930586FR         Polyunsaturated Fatty Acids             FR                        4/12/2013    13718360            Validated    2836599B1    11/6/2019    4/12/2033             Haslam
                                                                                                                                                                                                    Johnathan
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                                    Production of Omega-3 Long Chain                                                                                                                                Richard
                 PC930586GB         Polyunsaturated Fatty Acids             GB                        4/12/2013    13718360            Validated    2836599B1    11/6/2019    4/12/2033             Haslam
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                                    Production of Omega-3 Long Chain                                                                                                                                Richard
                 PC930586NO         Polyunsaturated Fatty Acids             NO                        4/12/2013    13718360            Validated    2836599B1    11/6/2019    4/12/2033             Haslam


 RR230
 (EXCLUDED
 BY YIELD10 IN                                                                                                                         License
 2022)                              Recombinant Organisms                   PCT       International   10/1/2003    PCT/GB2013/052553   Dropped
                                    Transgenic Microalgae with Increased
                                    Production of at Least One Omega-3                                                                 License
                                    Long Chain Polyunsaturated Fatty Acid   US        Utility         3/31/2015    14/432,579          Dropped      10017796     7/10/2018




320500399.2
                                              Case 24-12752-MFW                              Doc 7-2         Filed 12/06/24                 Page 153 of 190



                                                                                                FILING                                                                         EXPIRATION   RECORD
 FILE #       ATTY CASE FILE #   TITLE                                   COUNTRY   CASE TYPE    DATE          SERIAL NO.          STATUS           PATENT NO.     ISSUE DATE   DATE         OWNER        INVENTORS
                                 Transgenic Microalgae with Increased
                                 Production of at Least One Omega-3                                                               License
              PC926590USA        Long Chain Polyunsaturated Fatty Acid   US        Utility      6/11/2018     16/004,840          Dropped
                                                                                                                                  License
                                 Recombinant Organisms                   AU                     10/1/2003     2013326297          Dropped          2013326297B2   10/24/2019
                                                                                                                                  License
                                 Recombinant Organisms                   BR                     10/1/2003     BR112015007329      Dropped
                                                                                                                                  License
                                 Recombinant Organisms                   CN                     10/1/2003     201380062580.0      Dropped
                                                                                                                                  License
                                 Recombinant Organisms                   EP                     10/1/2003     2013774228          Dropped          2904091B1      11/20/2019
                                                                                                                                  License
                                 Recombinant Organisms                   JP                     10/1/2003     2015533701          Dropped
                                                                                                                                  License
                                 Recombinant Organisms                   KR                     10/1/2003     1020157011412       Dropped


                                 Optimisation & Improvement of
 RR304 (ALL                      Omega 3 LC PUFA Composition in
 ABANDONED)   PC931425LU         Transgenic Camelina                     LX                     12/18/2020    102307              Abandoned




                                 Increasing the Accumulation of EPA
 RR305        PC931426LU         and DHA in Transgenic Camelina          LX                     12/18/2020    102308              Abandoned
                                                                                                                                                                                                         Johnathan
                                                                                                                                                                                                         Andrew
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                                                                                                                                                                                                         Richard Philip
                                                                                                                                                                                            Rothamsted   Haslam,
                                 Increasing the Accumulation of EPA                                                                                                                         Research     Susana
              PC931426WO         and DHA in Transgenic Camelina          PCT                    12/17/2021    PCT/EP2021/086663   National Phase                                            Limited      Silvestre
                                                                                                                                                                                                         Johnathan
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                                                                                                                                                                                                         Sayanova,
                                                                                                                                                                                                         Richard Philip
                                                                                                                                                                                            Rothamsted   Haslam,
                                 Increasing the Accumulation of EPA                                                                                                                         Research     Susana
              PC931426AU         and DHA in Transgenic Camelina          AU                     12/17/2021    2021399149          Pending                                                   Limited      Silvestre




320500399.2
                                              Case 24-12752-MFW                        Doc 7-2           Filed 12/06/24          Page 154 of 190



                                                                                            FILING                                                             EXPIRATION   RECORD
 FILE #       ATTY CASE FILE #   TITLE                                COUNTRY   CASE TYPE   DATE          SERIAL NO.   STATUS        PATENT NO.   ISSUE DATE   DATE         OWNER        INVENTORS
                                                                                                                                                                                         Johnathan
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                                                                                                                                                                                         Vladimirovna
                                                                                                                                                                                         Sayanova,
                                                                                                                                                                                         Richard Philip
                                                                                                                                                                            Rothamsted   Haslam,
                                 Increasing the Accumulation of EPA                                                                                                         Research     Susana
              PC931426CA         and DHA in Transgenic Camelina       CA                    12/17/2021    3202599      Pending                                              Limited      Silvestre
                                                                                                                                                                                         Johnathan
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                                                                                                                                                                                         Vladimirovna
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                                                                                                                                                                                         Richard Philip
                                                                                                                                                                            Rothamsted   Haslam,
                                 Increasing the Accumulation of EPA                                                                                                         Research     Susana
              PC931426EP         and DHA in Transgenic Camelina       EP                    12/17/2021    21839552.3   Pending                                              Limited      Silvestre
                                                                                                                                                                                         Johnathan
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                                                                                                                                                                                         Sayanova,
                                                                                                                                                                                         Richard Philip
                                                                                                                                                                            Rothamsted   Haslam,
                                 Increasing the Accumulation of EPA                                                                                                         Research     Susana
              PC931426US         and DHA in Transgenic Camelina       US                    6/15/2023     18/267,536   Pending                                              Limited      Silvestre



(3) Yield10 other Business IP Registrations

Yield10 has no registered trademarks, design registrations, copyrights, or other Business IP Registrations.

3.07(a)(ii) Unregistered Trademarks included in the Business Owned Intellectual Property

Yield10 Bioscience, the Yield10 Bioscience logo, Yield10 Oilseeds company name, and Yield10 Oilseeds logo

3.07(a)(iii) Proprietary Software used or held for use in connection with the Business

None




320500399.2
                            Case 24-12752-MFW        Doc 7-2    Filed 12/06/24    Page 155 of 190




3.07(a)(iv) Other Business Owned Intellectual Property used or held for use in the Business that is material to the conduct of
the Business

Yield10’s GRAIN gene discovery platform; Seed database




320500399.2
              Case 24-12752-MFW            Doc 7-2   Filed 12/06/24   Page 156 of 190




                                          Section 3.07(b)
                                      Business IP Agreements

    (i)

              1. Commercial license to Vision Bioenergy for HT technology.
              2. Research license to GDM dated August 10, 2020, as amended August 10, 2020, for
                 testing traits in soybean.

    (ii)

              1. Rothamsted Research Ltd: Commercial license to Omega-3 IP
              2. University of Missouri: Research and Commercial license to BADC IP
              3. University of Massachusetts: Research license to IP involving C3003, C3004
              4. Broad/Corteva: Research and Commercial license to IP for using Crispr/Cas9
                 technology
              5. AAFC: License to Camelina variety WDH3.
              6. Yield10 has rights to License new Camelina lines based on a CRADA with AAFC
                 for breeding of targeted traits in Camelina (e.g. downy mildew resistance)

    (iii)

              1. No additional licenses.




320500398.4
              Case 24-12752-MFW    Doc 7-2    Filed 12/06/24     Page 157 of 190




                                      Section 3.07(d)
                         Business IP Registrations Filings and Fees

                                     [See attachment]




320500398.4
                               Case 24-12752-MFW         Doc 7-2      Filed 12/06/24      Page 158 of 190




Seller’s Disclosure Schedule Section 3.07(d)

3.07(d): Filings and fees due in the next ninety (90) days with respect to the Business IP Registrations

(1) Yield10 in-house patent families

 ATTY         FILE            TITLE           COUNTRY    SERIAL NO.     FILING     PATENT    ACTION NAME    CURRENT       FINAL       STATUS
 CASE FILE      #                                                       DATE        NO.                     DUE DATE    DUE DATE
 #
 P61224US1    YTEN   GENETICALLY MODIFIED     US        17/597,707     1/19/2022             RESPONSE TO    9/20/2024   12/20/2024   PUBLISHED
              017    PLANTS THAT EXHIBIT AN                                                  OA
                     INCREASE IN SEED YIELD
                     COMPRISING A FIRST
                     HOMEOLOG OF SUGAR-
                     DEPENDENT1 ( SDP1)
                     HOMOZYGOUS FOR A
                     WILD-TYPE ALLELE AND A
                     SECOND HOMEOLOG OF
                     SDP1 HOMOZYGOUS FOR A
                     MUTANT ALLELE
 P60449US1    YTEN   TRANSGENIC LAND          US        17/596,110     12/3/2021             RESPONSE TO    9/27/2024   9/27/2024    PUBLISHED
              006    PLANTS THAT EXPRESS A                                                   OA
                     POLYHYDROXYALKANOATE
                     SYNTHASE SEED
                     SPECIFICALLY WITH
                     CYTOSOLIC LOCALIZATION




320500400.3
                                Case 24-12752-MFW         Doc 7-2      Filed 12/06/24        Page 159 of 190



 ATTY         FILE             TITLE           COUNTRY    SERIAL NO.     FILING     PATENT       ACTION NAME      CURRENT        FINAL       STATUS
 CASE FILE      #                                                        DATE          NO.                        DUE DATE     DUE DATE
 #
 P61224CA0    YTEN    GENETICALLY MODIFIED     Canada    3,148,212      7/22/2020                INSTRCT ASSC     11/8/2024    11/8/2024    PENDING
              017     PLANTS THAT EXHIBIT AN                                                     RE: DIVISIONAL
                      INCREASE IN SEED YIELD
                      COMPRISING A FIRST
                      HOMEOLOG OF SUGAR-
                      DEPENDENT1 (SDP1)
                      HOMOZYGOUS FOR A
                      WILD-TYPE ALLELE AND A
                      SECOND HOMEOLOG OF
                      SDP1 HOMOZYGOUS FOR A
                      MUTANT ALLELE
 P61224CA0    YTEN    GENETICALLY MODIFIED     Canada    3,148,212      7/22/2020                INSTRUCT         11/8/2024    11/8/2024    PENDING
              017     PLANTS THAT EXHIBIT AN                                                     ASSC RE: OA
                      INCREASE IN SEED YIELD
                      COMPRISING A FIRST
                      HOMEOLOG OF SUGAR-
                      DEPENDENT1 (SDP1)
                      HOMOZYGOUS FOR A
                      WILD-TYPE ALLELE AND A
                      SECOND HOMEOLOG OF
                      SDP1 HOMOZYGOUS FOR A
                      MUTANT ALLELE
 P59704US3    YTEN-   GENETICALLY              US        17/273,159     3/3/2021    12,084,672   REPORT           11/10/2024   11/10/2024   ISSUED
              013     ENGINEERED LAND                                                            PATENT DOC
                      PLANTS THAT EXPRESS AN
                      INCREASED SEED YIELD
                      PROTEIN AND/OR AN
                      INCREASED SEED YIELD
                      RNA




320500400.3
                                  Case 24-12752-MFW          Doc 7-2      Filed 12/06/24       Page 160 of 190



 ATTY         FILE               TITLE         COUNTRY       SERIAL NO.     FILING      PATENT    ACTION NAME    CURRENT        FINAL       STATUS
 CASE FILE      #                                                            DATE        NO.                     DUE DATE     DUE DATE
 #
 P62241US1    YTEN    GENETICALLY              US        17/904,343        8/16/2022              RESPONSE TO    11/13/2024   2/13/2025    PUBLISHED
              019     ENGINEERED PLANTS                                                           OA
                      THAT EXPRESS 6-
                      PHOSPHOGLUCONATE
                      DEHYDRATASE AND/OR 2-
                      KETO-3-DEOXY-6-
                      PHOSPHOGLUCONATE
                      ALDOLASE
 P62241CA0    YTEN    GENETICALLY              Canada    3,170,510         2/19/2021              INSTRUCT       11/14/2024   11/14/2024   PENDING
              019     ENGINEERED PLANTS                                                           ASSC RE: OA
                      THAT EXPRESS 6-
                      PHOSPHOGLUCONATE
                      DEHYDRATASE AND/OR 2-
                      KETO-3-DEOXY-6-
                      PHOSPHOGLUCONATE
                      ALDOLASE
 P59704BR0    YTEN-   GENETICALLY              Brazil    BR                 9/3/2019              ANNUITY DUE    12/3/2024     6/3/2025    PUBLISHED
              013     ENGINEERED LAND                    112021004034-
                      PLANTS THAT EXPRESS AN             0
                      INCREASED SEED YIELD
                      PROTEIN
 P60942US2    YTEN-   MODIFIED PLANTS          US        17/594,475        10/18/2021             CONTINUATION   12/5/2024    12/5/2024    ALLOWED
              016     COMPRISING A                                                                DEADLINE
                      POLYNUCLEOTIDE
                      COMPRISING A NON-
                      COGNATE PROMOTER
                      OPERABLY LINKED TO A
                      CODING SEQUENCE THAT
                      ENCODES A
                      TRANSCRIPTION FACTOR




320500400.3
                                 Case 24-12752-MFW         Doc 7-2      Filed 12/06/24      Page 161 of 190



 ATTY         FILE              TITLE         COUNTRY      SERIAL NO.     FILING     PATENT    ACTION NAME    CURRENT        FINAL       STATUS
 CASE FILE      #                                                         DATE        NO.                     DUE DATE     DUE DATE
 #
 P61224CA0    YTEN   GENETICALLY MODIFIED     Canada      3,148,212      7/22/2020             RESPONSE TO    12/8/2024    12/8/2024    PENDING
              017    PLANTS THAT EXHIBIT AN                                                    OA
                     INCREASE IN SEED YIELD
                     COMPRISING A FIRST
                     HOMEOLOG OF SUGAR-
                     DEPENDENT1 (SDP1)
                     HOMOZYGOUS FOR A
                     WILD-TYPE ALLELE AND A
                     SECOND HOMEOLOG OF
                     SDP1 HOMOZYGOUS FOR A
                     MUTANT ALLELE
 P63059AU0    YTEN   GENETICALLY MODIFIED     Australia   2021324821     8/12/2021             INSTRUCT       12/14/2024   12/14/2024   PENDING
              020    PLANTS THAT EXHIBIT AN                                                    ASSC RE: OA
                     INCREASE IN SEED YIELD
 P63059AU0    YTEN   GENETICALLY MODIFIED     Australia   2021324821     8/12/2021             RESPONSE TO    12/14/2024   12/14/2024   PENDING
              020    PLANTS THAT EXHIBIT AN                                                    OA
                     INCREASE IN SEED YIELD
 P62241CA0    YTEN   GENETICALLY              Canada      3,170,510      2/19/2021             RESPONSE TO    12/15/2024   12/15/2024   PENDING
              019    ENGINEERED PLANTS                                                         OA
                     THAT EXPRESS 6-
                     PHOSPHOGLUCONATE
                     DEHYDRATASE AND/OR 2-
                     KETO-3-DEOXY-6-
                     PHOSPHOGLUCONATE
                     ALDOLASE




320500400.3
                                   Case 24-12752-MFW                 Doc 7-2    Filed 12/06/24                Page 162 of 190



 ATTY         FILE                TITLE           COUNTRY        SERIAL NO.           FILING       PATENT         ACTION NAME        CURRENT          FINAL        STATUS
 CASE FILE      #                                                                     DATE              NO.                          DUE DATE       DUE DATE
 #
 P62241AU0    YTEN     GENETICALLY                Australia     2021224206           2/19/2021                   INSTRUCT            12/17/2024    12/17/2024    PENDING
              019      ENGINEERED PLANTS                                                                         ASSC RE: OA
                       THAT EXPRESS 6-
                       PHOSPHOGLUCONATE
                       DEHYDRATASE AND/OR 2-
                       KETO-3-DEOXY-6-
                       PHOSPHOGLUCONATE
                       ALDOLASE
 P62241AU0    YTEN     GENETICALLY                Australia     2021224206           2/19/2021                   RESPONSE TO         12/17/2024    12/17/2024    PENDING
              019      ENGINEERED PLANTS                                                                         OA
                       THAT EXPRESS 6-
                       PHOSPHOGLUCONATE
                       DEHYDRATASE AND/OR 2-
                       KETO-3-DEOXY-6-
                       PHOSPHOGLUCONATE
                       ALDOLASE


(2) Yield10 in-licensed patent families

 ATTY CASE           FILE #               TITLE          COUNTRY         SERIAL NO.            FILING          PATENT NO.           ACTION        CURRENT         FINAL      STATUS
 FILE #                                                                                        DATE                                 NAME          DUE DATE      DUE DATE

 UVMO.116USC1       17UMC003   INCREASING PLANT OIL      US             18/465,802         9/12/2023                           RESPONSE TO        9/18/2024     12/18/2024   PENDING
                               CONTENT BY IMPROVING                                                                            RR
                               ACTIVITY OF ACETYL-
                               COA CARBOXYLASE
 PC931426AU         RR305      INCREASING THE            Australia      2021399149         12/17/2021                          DEADLINE           09/25/2024    09/25/2024   PENDING
                               ACCUMULATION OF EPA                                                                             FOR
                               AND DHA IN                                                                                      OPTIONAL
                               TRANSGENIC CAMELINA                                                                             CLAIM
                                                                                                                               AMENDMENT
                                                                                                                               TO REDUCE
                                                                                                                               CLAIM FEES




320500400.3
                            Case 24-12752-MFW            Doc 7-2        Filed 12/06/24     Page 163 of 190



 ATTY CASE     FILE #              TITLE        COUNTRY      SERIAL NO.        FILING       PATENT NO.         ACTION   CURRENT        FINAL      STATUS
 FILE #                                                                         DATE                           NAME     DUE DATE     DUE DATE

 PC931426US   RR305      INCREASING THE         US          18/267,536         6/15/2023                  FILE          10/17/2024   10/17/2024   PENDING
                         ACCUMULATION OF EPA                                                              INFORMATION
                         AND DHA IN                                                                       DISCLOSURE
                         TRANSGENIC CAMELINA
 40451-US     18UMC062   METHODS OF ALTERING    US          17/250,117        11/30/2020                  RESPONSE TO   9/22/2024    11/22/2024   PENDING
 (31458-43)              SEED WEIGHT AND SEED                                                             OA
                         OIL CONTENT BY
                         MANIPULATING ALPHA-
                         CARBOXYLTRANSFERASE
                         (A-CT) ACTIVITY VIA
                         CARBOXYLTRANSFERASE
                         INTERACTOR (CTI)
                         PROTEIN EXPRESSION
 UVMO:116CA   17UMC003   INCREASING PLANT OIL   Canada      3,030,170          7/6/2017                   RESPONSE TO   10/28/2024   12/28/2024   PENDING
                         CONTENT BY IMPROVING                                                             OA
                         ACTIVITY OF ACETYL-
                         COA-CARBOXYLASE
 PC931426CA   RR305      INCREASING THE         Canada      3202599           12/17/2021                  ANNUITY DUE   12/17/2024   12/17/2024   PENDING
                         ACCUMULATION OF EPA
                         AND DHA IN
                         TRANSGENIC CAMELINA
 PC931426EP   RR305      INCREASING THE         Europe      21839552.3        12/17/2021                  ANNUITY DUE   12/17/2024   12/17/2024   PENDING
                         ACCUMULATION OF EPA
                         AND DHA IN
                         TRANSGENIC CAMELINA
 UMA0050AU    UMA 13-    PLANTS WITH            Australia   2014374057        12/24/2014   2014374057B2   ANNUITY DUE   12/24/2024   12/24/2024   ISSUED
              040AU      ENHANCED
                         PHOTOSYNTHESIS AND
                         METHODS OF
                         MANUFACTURE
                         THEREOF




320500400.3
                            Case 24-12752-MFW             Doc 7-2        Filed 12/06/24     Page 164 of 190



 ATTY CASE      FILE #             TITLE      COUNTRY         SERIAL NO.        FILING       PATENT NO.        ACTION      CURRENT        FINAL      STATUS
 FILE #                                                                          DATE                           NAME       DUE DATE     DUE DATE

 UMA0050CA     UMA-13-   PLANTS WITH          Canada         2,934,997         6/22/2016    2,934,997        ANNUITY DUE   12/24/2024   12/24/2024   ISSUED
               040CA     ENHANCED
                         PHOTOSYNTHESIS AND
                         METHODS OF
                         MANUFACTURE
                         THEREOF
 UMA0050CN     UMA13-    PLANTS WITH          China          201480071736.6    12/24/2014   201480071736.6   ANNUITY DUE   12/24/2024   12/24/2024   ISSUED
               040CN     ENHANCED
                         PHOTOSYNTHESIS AND
                         METHODS OF
                         MANUFACTURE
                         THEREOF
 UMA0050GB     UMA13-    PLANTS WITH          United         14877312.0        12/24/2014   3090057          ANNUITY DUE   12/24/2024   12/24/2024   ISSUED
               040EP     ENHANCED             Kingdom
                         PHOTOSYNTHESIS AND
                         METHODS OF
                         MANUFACTURE
                         THEREOF
 PC930586AUB   RR213     PRODUCTION OF        Australia      2021282443         4/12/2013                    DEADLINE      1/16/2025    1/16/2025    PENDING
                         OMEGA-3 LONG CHAIN                                                                  FOR
                         PUFAS                                                                               OBTAINING
                                                                                                             ALLOWANCE


(3) Yield10 Other Business IP Registrations

None




320500400.3
               Case 24-12752-MFW        Doc 7-2     Filed 12/06/24     Page 165 of 190




                                           Section 3.07(j)
              Governmental Authority Involvement in Business Owned Intellectual Property

(1) Government funding for Yield10 in-house patent families

The following Yield10 in-house patent families were developed with funding from the United States
government.

YTEN 004 patent family

U.S. Provisional Appl. No. 62/144,727; Filed 4/8/2015; Status: Abandoned

         Statement of Government Support included in this application as filed:

         This invention was made in part with government support from the United States
         ARPA-e program. The government has certain rights in this invention

U.S. Provisional Appl. No. 62/145,757; Filed 4/10/2015; Status: Abandoned
U.S. Provisional Appl. No. 62/190,281; Filed 7/9/2015; Status: Abandoned

         Statement of Government Support included in these applications as filed:

         This invention was made in part with government support from the United States
         DOE, ARPA-e PETRO program Grant Number DE-AR0000201. The government
         has certain rights in this invention

PCT International Appl. No. PCT/US2016/026767; Filed 4/8/2016; Status: National Phase
U.S. Appl. No. 15/565,086; Filed 10/6/2017; Status: Granted
U.S. Appl. No. 17/498,240; Filed 10/11/2021; Status: Granted

         Statement of Government Support included in these applications as filed:

         This invention was made in part with government support under Grant Number DE-
         AR0000201 from the United States DOE, ARPA-e PETRO program. The
         government has certain rights in this invention

YTEN 017 patent family

U.S. Provisional Appl. No. 62/877,591; Filed 7/23/2019; Status: Abandoned
PCT International Appl. No. PCT/US2020/043063; Filed 7/22/2020; Status: National Phase
U.S. Appl. No. 17/597,707; Filed 1/19/2022; Status: Pending

         Statement of Government Support included in these applications as filed:

         This invention was made with government support under Contract No. DE-
         EE0007003 awarded by the United States Department of Energy. The government
         has certain rights in the invention




320500398.4
              Case 24-12752-MFW         Doc 7-2    Filed 12/06/24      Page 166 of 190




YTEN 016 patent family

U.S. Provisional Appl. No. 62/847,658; Filed 5/14/2019; Status: Abandoned
U.S. Provisional Appl. No. 62/873,018; Filed 7/11/2019; Status: Abandoned
PCT International Appl. No. PCT/US2020/032696; Filed 5/13/2020; Status: National Phase
U.S. Appl. No. 17/594,475; Filed 10/18/2021; Status: Pending

         Applications entered into i-Edison post-filing on May 21, 2024. This was done post-
         filing because the awardee did not inform Yield10 about the government funding
         until after Yield10 had filed the applications.

         Statement of Government Support added to U.S. Appl. No. 17/594,475 by
         amendment on August 12, 2024.

         This invention was made with government support under Contract No. DE-
         SC0018269 awarded by the United States Department of Energy. The government
         has certain rights in the invention.

YTEN 019 patent family

U.S. Provisional Appl. No. 62/979,198; Filed 2/20/2020; Status: Abandoned
PCT International Appl. No. PCT/US2021/018743; Filed 2/19/2021; Status: National Phase
U.S. Appl. No. 17/904,343; Filed 8/16/2022; Status: Pending

         Applications entered into i-Edison post-filing on May 23, 2024. This was done post-
         filing because the awardee did not inform Yield10 about the government funding
         until after Yield10 had filed the applications.

         Statement of Government Support added to U.S. Appl. No. 17/904,343 by
         amendment on July 1, 2024.

         This invention was made with government support under Contract No. DE-
         SC0018269 awarded by the United States Department of Energy. The government
         has certain rights in the invention.

(2) Government funding for Yield10 in-licensed patent families

UMASS 13-040

U.S. Provisional Appl. No. 61/922,141; Filed 12/31/2013; Status: Abandoned
PCT International Appl. No. PCT/US2014/072347; Filed 12/24/2014; Status: National Phase
U.S. Appl. No. 15/109,349; Filed 6/30/2016; Status: Granted
U.S. Appl. No. 16/421,599; Filed 5/24/2019; Status: Granted

         Statement of Government Support included in these applications as filed:

         This invention was made in part with government support from the United States
         Department of Energy. The government has certain rights in this invention.



320500398.4
              Case 24-12752-MFW         Doc 7-2     Filed 12/06/24      Page 167 of 190




U MISSOU 15UMC023

U.S. Provisional Appl. No. 62/211,371; Filed 8/28/2015; Status: Abandoned
PCT International Appl. No. PCT/US2016/041386; Filed 7/7/2016; Status: National Phase
U.S. Appl. No. 15/756,468; Filed 2/28/2018; Status: Granted
U.S. Appl. No. 17/089,241; Filed 11/4/2020; Status: Granted

         Statement of Government Support included in these applications as filed:

         This invention was made with Government support under Grant No. PGRP IOS-
         1339385 awarded by National Science Foundation and Grant No. T32 GM008396 by
         the National Institutes of Health. The Government has certain rights in the invention.

U MISSOU 17UMC003

U.S. Provisional Appl. No. 62/359,635; Filed 7/7/2016; Status: Abandoned

         Statement of Government Support included in this application as filed:

         This invention was made with Government support under Grant No. ______ awarded
         by National Science Foundation. The Government has certain rights in the invention.

PCT International Appl. No. PCT/US2017/040851; Filed 7/6/2017; Status: National Phase
U.S. Appl. No. 16/315,140; Filed 1/3/2019; Status: Granted
U.S. Appl. No. 18/465,802; Filed 9/12/2023; Status: Pending

         Statement of Government Support included in this application as filed:

         This invention was made with Government support under contract No. 1339385
         awarded by National Science Foundation (NSF). The Government has certain rights
         in the invention.

U MISSOU 18UMCO62

U.S. Provisional Appl. No. 62/678,212; Filed 5/30/2018; Status: Abandoned
PCT International Appl. No. PCT/US2019/034754; Filed 5/30/2019; Status: National Phase
U.S. Appl. No. 17/250,117; Filed 11/30/2020; Status: Pending

         Statement of Government Support included in these applications as filed:

         This invention was made with government support under Grant No. IOS-1339385
         awarded by National Science Foundation. The Government has certain rights in the
         invention.

ROTHAMSTED RR213 and RR305

The In-License from Rothamsted Research Institute was funded by The Biotechnology and
Biological Sciences Research Council (BBSRC) which is part of UKRI, a non-departmental
public body funded by a grant-in-aid from the UK government.

320500398.4
              Case 24-12752-MFW   Doc 7-2    Filed 12/06/24   Page 168 of 190




(3) Government funding for Yield10 other Business Owned IP

None




320500398.4
              Case 24-12752-MFW    Doc 7-2     Filed 12/06/24   Page 169 of 190




                                       Section 3.12
                                        Insurance

               Policy                       Insurer             Occurrence-Based or Claims-
                                                                          Made

   D&O-$10M ELU19395023              XL Specialty Ins. Co              Claims Made

   Excess D&O V1322731201                   Beazley                    Claims Made

Excess D&O ORPRO12104393             Old Republic Ins. Co              Claims Made

    Excess Side A 016933588       National Union Fire Ins. Co          Claims Made

        Crime 016933593           National Union Fire Ins. Co   Occurrence/Loss Discovered

     Fiduciary ML42632362              Argonaut Ins. Co                Claims Made

          Cyber Liability           Coalition Ins. Solutions           Claims Made

  C4MBQ171454CYBER2023

  Excess D&O BPRO8101222               Berkley Ins. Co.                Claims Made

       EPLI-ML42632352                 Argonaut Ins. Co                Claims Made

Excess side A ORPRO012104426         Old Republic Ins. Co              Claims Made

   CAN D&O ELU193952-23              XL Specialty Ins. Co              Claims Made

US Worker’s Comp C55919082         Indemnity Ins. Co of NA      Claims Made or Occurance?

   Canadian Worker’s Comp         Thru Saskatchewan and               Claims Made?
                               Alberta Workers’ Comp Boards




320500398.4
              Case 24-12752-MFW        Doc 7-2         Filed 12/06/24    Page 170 of 190




                                           Section 3.14(d)
                                               Permits

          Permit            Issuing Authority             Issuance Date         Expiration Date*
 AUTH – 0000273034          USDA APHIS BRS                  04/10/2024              4/15/2025
 (Movement & Release)
 AUTH – 0000273592          USDA APHIS BRS                  03/08/2024              03/08/2027
    (Importation)
 AUTH – 0000273622          USDA APHIS BRS                  03/05/2024              03/05/2027
    (Importation)
 AUTH – 0000273662          USDA APHIS BRS                  03/07/2024              03/08/2027
    (Importation)
    P-2022-01152                   CFIA                     03/38/2022              03/38/2025
 (Import of non PNT)

     P-2022-03240                  CFIA                     11/09/2022              11/09/2025
  (Import of non PNT)

     P-2022-02543                  CFIA                     08/09/2022              08/09/2025
  (Import of non PNT)
     P-2023-03387                  CFIA                     12/01/2023              12/01/2024
    (Import of PNT)

     P-2024-00687                  CFIA                     02/16/2024              02/16/2025
    (Import of PNT)
     P-2024-00794                  CFIA                     02/23/2024              02/23/2025
    (Import of PNT)
     P-2024-00605                  CFIA                     02/09/2024              02/09/2025
    (Import of PNT)

     * USDA-APHIS and CFIA field release permits, including permits that have expired, have
  monitoring and storage requirements that are not listed in this table. This is detailed in the tables
below. See tables below. This information has been formatted as required by the regulatory agencies
             to transfer the permits upon completion of the Contemplated Transaction.

                                                   .




320500398.4
              Case 24-12752-MFW       Doc 7-2     Filed 12/06/24     Page 171 of 190




Section 3.14(d) (continued)

                   CURRENT AND EXPIRED PERMITS/NOTIFICATIONS
                   for transfer of obligations of volunteer monitoring to Nuseed.
     (Yield10 is working with regulatory agencies to formally transfer these permits to Nuseed)


 Permit/Notification Type          Issuing Authority               Permit/Notification #

 Confined Field Release Permit     CFIA                            21-MET1-415-CAM

 Confined Field Release Permit     CFIA                            21-MET1-415-CAM02

 Confined Field Release Permit     CFIA                            22-MET1-656-CAM

 Confined Field Release Permit     CFIA                            23-YOS-656-CAM

 Confined Field Release Permit     CFIA                            23-YOS1-656-CAM

 Planting Environmental Release    USDA-APHIS                      20-084-102n
 and Interstate Movement
 Notification

 Planting Environmental Release    USDA-APHIS                      20-268-103n
 and Interstate Movement
 Notification

 Interstate Movement               USDA-APHIS                      21-091-102n
 Notification

 Planting Environmental Release USDA-APHIS                         19-391-103rm
 and Interstate Movement Permit

 Planting Environmental Release USDA-APHIS                         AUTH – 0000221513
 and Interstate Movement Permit

 Planting Environmental Release USDA-APHIS                         AUTH – 0000273034
 and Interstate Movement Permit



 Planting Environmental Release    USDA-APHIS                      20-357-102rm
 and Interstate Movement

 Planting Environmental Release USDA-APHIS                         AUTH - 0000204861
 and Interstate Movement Permit




320500398.4
              Case 24-12752-MFW      Doc 7-2     Filed 12/06/24     Page 172 of 190




                                        EXPIRED PERMITS
for transfer of obligations for seed storage and inventory required for shipment of seed to Nuseed
    (Yield10 is working with regulatory agencies to formally transfer these permits to Nuseed)


 Permit Type                      Issuing Authority               Permit #

 Planting Environmental Release USDA-APHIS                        21-005-102rm
 and Interstate Movement Permit

 Planting Environmental Release USDA-APHIS                        AUTH – 0000205408
 and Interstate Movement Permit

 Confined Field Release Permit    CFIA                            18-MET1-415_CAN

 Confined Field Release Permit    CFIA                            20-MET1-415_CAN

 Confined Field Release Permit    CFIA                            18-MET1-415_CAM

 Confined Field Release Permit    CFIA                            19-MET1-415_CAM

 Confined Field Release Permit    CFIA                            20-MET1-415_CAM

 Importation Permit               CFIA                            P-2022-03642

 Importation Permit               CFIA                            P-2022-00896

 Importation Permit               CFIA                            P-2023-01329

 Importation Permit               CFIA                            P-2023-01330

 Importation Permit               CFIA                            P-2023-00273

 Importation Permit               CFIA                            P-2023-01294

 Importation Permit               CFIA                            P-2024-00605




320500398.4
              Case 24-12752-MFW         Doc 7-2      Filed 12/06/24      Page 173 of 190




                                Section 3.16 Employment Matters

(a)

  On September 9, 2024, Yield10 provided Working Termination Notice to 6 Employees. Each
  employee was presented with a termination letter setting forth the terms of their separation in
  accordance with their offer letter. A release is required to obtain payment for separation
  beyond the statutory minimum.




                                                                                  Minimum
                                                                                  Weeks of
                                                                   Years of       Written
 Name                            Start Date      Notice Date       Service         Notice
 Armstrong, Denise                  11/1/2021        9/9/2024           2.9           4
 Chen, Lifeng                        5/1/2019        9/9/2024           5.4           6
 Heath, Julian                      12/6/2021        9/9/2024           2.8           4
 Mykytyshyn, Marie                 11/17/2010        9/9/2024         13.8            8
 Ranasinghe, Swarna                 2/19/2019        9/9/2024           5.6           6
 Schaan, Rachel                     7/25/2022        9/9/2024           2.1           4
 Lauren Rakochy                    10/02/2013     09/19/2024           10.9           6
 Baxter, Tiera (on leave) *          1/3/2023             TBD           1.7           4

  *Ms. Baxter is on maternity/parental leave, so it is not practical to provide her with
  Working Notice. Our plan is to provide her with a termination and lump sum payment.


  (b)

  Section 3.16(a) above is incorporated herein by reference.




320500398.4
              Case 24-12752-MFW   Doc 7-2    Filed 12/06/24   Page 174 of 190




                                     Section 3.18(b)
                                  Environmental Permits

1. In 2024, UPL obtained from EPA a label amendment for (HT-glufosinate) Camelina to the
   label of their Interline® glufosinate product in states where it is registered.




320500398.4
              Case 24-12752-MFW   Doc 7-2   Filed 12/06/24   Page 175 of 190




                                    Section 3.18(e)
                                    Storage Tanks

1. None.




320500398.4
              Case 24-12752-MFW     Doc 7-2     Filed 12/06/24    Page 176 of 190




                                       Section 3.18(f)
                                     Hazardous Materials

1. In Woburn, Sellers use 2 vendors to remove chemical and biohazardous waste. In our
   Canadian facilities, there are communal areas for waste disposal. Sellers have also used GFL
   Environmental for chemical waste disposal in Sellers’ Canadian facilities.

Woburn Vendors.
Chemical waste removal
Veolia
53 State St #14
Boston, MA 02109
(617) 849-6600

Biohazardous waste removal
Stericycle
2355 Waukegan Rd,
Bannockburn, IL 60015
866-783-7422

Canadian Vendors.
Chemical waste removal
GFL Environmental, Inc.
100 New Park Place
Vaughan, On. L4K 0H9
800-263-8602




320500398.4
              Case 24-12752-MFW     Doc 7-2   Filed 12/06/24   Page 177 of 190




                                       Section 3.18(h)
                                  Environmental Documents

1. None.




320500398.4
              Case 24-12752-MFW        Doc 7-2    Filed 12/06/24    Page 178 of 190




                                         Section 5.01(b)
                              Conduct of Business Prior to the Closing

    (i)

              1. None.

    (ii)

              1. None.

    (iii)

              1. None.

    (iv)

              1. Sellers plan to terminate employees in conjunction with Sellers’ wind down of
              Canadian operations. As of Sept. 10, 2024, Sellers have provided Notice of
              Termination to 6 employees (Armstrong 10/4/24; Chen 11/1/24; Heath 10/4/24;
              Mykytyshyn 11/1/24; Ranasinghe 11/1/24; Rakochy 09/19/2024; Schaan 10/4/24).
              Sellers expect to terminate 2 additional Canadian employees in the near future
              (Baxter, Greenfield). Sellers have not terminated 3 Canadian employees (Sharma,
              Zhou, , Malik).

    (v)

              1. None.

    (vi)

              1. None.

    (vii)

              1. None.

    (viii)

              1. None.

    (ix)

              1. None.

    (x)

              1. None.



320500398.4
              Case 24-12752-MFW   Doc 7-2   Filed 12/06/24   Page 179 of 190




    (xi)

              1. None.




320500398.4
              Case 24-12752-MFW        Doc 7-2      Filed 12/06/24     Page 180 of 190

                                                                                         EXHIBIT A


                                          BILL OF SALE

        THIS BILL OF SALE (this “Bill of Sale”) is executed as of [DATE], by Yield10
Bioscience, Inc., a Delaware corporation (“Yield10”), and Yield10 Oilseeds Inc., a Canadian
federal corporation (“Oilseeds”, and together with Yield10, “Sellers”), in favor of Nuseed
Nutritional US Inc., a Delaware corporation (“Buyer”). This Bill of Sale is being delivered in
connection with the Closing under the Amended and Restated Asset Purchase Agreement dated as
of December 4, 2024 (the “Purchase Agreement”), by and among Sellers and Buyer. Capitalized
terms used but not defined in this Bill of Sale have the meanings given such terms in the Purchase
Agreement.

                                                  I.

                                          BILL OF SALE

         1.1.    Purchased Assets. In accordance with and subject to the terms of the Purchase
Agreement and for the consideration set forth in the Purchase Agreement, the receipt and
sufficiency of which Sellers and Buyer hereby acknowledge, Sellers do hereby irrevocably sell,
transfer, assign, convey, and deliver to Buyer, effective as of the Closing, all of Sellers’ respective
right, title, and interest in, to, and under the Purchased Assets consisting of tangible personal
property, free and clear of all Encumbrances other than Permitted Encumbrances, as contemplated
by Section 1.01 of the Purchase Agreement.

                                                  II.

                                       MISCELLANEOUS

        2.1.    Purchase Agreement. This Bill of Sale is expressly made subject to the terms of the
Purchase Agreement. The delivery of this Bill of Sale shall not amend, affect, enlarge, diminish,
supersede, modify, replace, rescind, waive, or otherwise impair any of the representations,
warranties, covenants, terms, or provisions of the Purchase Agreement or any of the rights,
remedies, or obligations of Sellers or Buyer provided for therein or arising therefrom in any way.
In the event of any conflict or inconsistency between the terms of the Purchase Agreement and the
terms of this Bill of Sale, the terms of the Purchase Agreement shall control.

        2.2.   Incorporation By Reference. The terms set forth in Article IX of the Purchase
Agreement are incorporated by reference herein, except that, as applicable, any and all references
to “this Agreement” shall mean and refer to this Bill of Sale.

                                     [Signature Page Follows]




320173005.3
          Case 24-12752-MFW       Doc 7-2    Filed 12/06/24     Page 181 of 190




       IN WITNESS WHEREOF, Sellers have executed this Bill of Sale to be effective as of
the Closing.

                                            SELLERS:


                                            YIELD10 BIOSCIENCE, INC.


                                            By:
                                            Name:
                                            Title:




                                            YIELD10 OILSEEDS INC.


                                            By:
                                            Name:
                                            Title:




                             [Signature Page to Bill of Sale]
              Case 24-12752-MFW          Doc 7-2     Filed 12/06/24      Page 182 of 190

                                                                                           EXHIBIT B


                     ASSIGNMENT AND ASSUMPTION AGREEMENT

       THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Agreement”) is
executed as of [DATE], by and among Yield10 Bioscience, Inc., a Delaware corporation
(“Yield10”), Yield10 Oilseeds Inc., a Canadian federal corporation (“Oilseeds”, and together with
Yield10, “Assignors”), and Nuseed Nutritional US Inc., a Delaware corporation (“Assignee”).
Assignors and Assignee may be referred to herein individually as a “Party” and, collectively, as
the “Parties.” This Agreement is being delivered in connection with the Closing under the
Amended and Restated Asset Purchase Agreement dated as of December 4, 2024 (the “Purchase
Agreement”), by and among Assignors and Assignee. Capitalized terms used but not defined in
this Agreement have the meanings given such terms in the Purchase Agreement.

                                                    I.

                               ASSIGNMENT AND ASSUMPTION

        1.1.    Purchased Assets. In accordance with and subject to the terms of the Purchase
Agreement and for the consideration set forth in the Purchase Agreement, the receipt and
sufficiency of which Assignors and Assignee hereby acknowledge, Assignors do hereby
irrevocably sell, transfer, assign, convey, and deliver to Assignee, effective as of the Closing, all
of Assignors’ respective right, title, and interest in, to, and under the Purchased Assets, free and
clear of all Encumbrances other than Permitted Encumbrances, as contemplated by Section 1.01
of the Purchase Agreement.

         1.2.    Excluded Assets. Assignors do not, and in no event shall Assignors be deemed to,
sell, transfer, assign, convey, or deliver, and Assignors do hereby retain, all right, title, and interest
in, to, and under the Excluded Assets, as contemplated by Section 1.02 of the Purchase Agreement.

        1.3.    Assumed Liabilities. In accordance with and subject to the terms of the Purchase
Agreement, effective as of the Closing, Assignee does hereby assume from Assignors (and from
and after the Closing agrees to pay, perform, discharge, or otherwise satisfy in accordance with
their respective terms or as may otherwise be agreed between Assignee and the relevant obligee),
and Assignors do hereby irrevocably convey, transfer and assign to Assignee, the respective
Assumed Liabilities of Assignors, as contemplated by Section 1.03 of the Purchase Agreement.

         1.4.   Excluded Liabilities. The Parties expressly acknowledge and agree that Assignee
is not a successor to Assignors in respect of, and does not assume and shall not be deemed to have
assumed or be liable or obligated to pay, perform, or otherwise discharge or in any other manner
be liable or responsible for, the Excluded Liabilities, as contemplated by Section 1.04 of the
Purchase Agreement.

                                                   II.

                                         MISCELLANEOUS

       2.1.  Purchase Agreement. This Agreement is expressly made subject to the terms of the
Purchase Agreement. The delivery of this Agreement shall not amend, affect, enlarge, diminish,
supersede, modify, replace, rescind, waive, or otherwise impair any of the representations,

320173022.3
              Case 24-12752-MFW       Doc 7-2    Filed 12/06/24     Page 183 of 190




warranties, covenants, terms, or provisions of the Purchase Agreement or any of the rights,
remedies, or obligations of Assignors or Assignee provided for therein or arising therefrom in any
way. In the event of any conflict or inconsistency between the terms of the Purchase Agreement
and the terms of this Agreement, the terms of the Purchase Agreement shall control.

        2.2.   Incorporation By Reference. The terms set forth in Article IX of the Purchase
Agreement are incorporated by reference herein, except that, as applicable, any and all references
to “this Agreement” shall mean and refer to this Agreement.

                                   [Signature Pages Follow]




                                                2
320173022.3
         Case 24-12752-MFW      Doc 7-2    Filed 12/06/24   Page 184 of 190




     IN WITNESS WHEREOF, Assignors and Assignee have executed this Assignment and
Assumption Agreement to be effective as of the Closing.

                                          ASSIGNORS:


                                          YIELD10 BIOSCIENCE, INC.


                                          By:
                                          Name:
                                          Title:




                                          YIELD10 OILSEEDS INC.


                                          By:
                                          Name:
                                          Title:




               [Signature Page to Assignment and Assumption Agreement]
Case 24-12752-MFW     Doc 7-2    Filed 12/06/24   Page 185 of 190




                                ASSIGNEE:


                                NUSEED NUTRITIONAL US INC.


                                By:       ____________________________
                                Name:
                                Title:




     [Signature Page to Assignment and Assumption Agreement]
           Case 24-12752-MFW           Doc 7-2     Filed 12/06/24     Page 186 of 190

                                                                                       EXHIBIT C


                           PATENT ASSIGNMENT AGREEMENT

        THIS PATENT ASSIGNMENT AGREEMENT (this “Agreement”) is executed as of
[DATE], by and between Yield10 Bioscience, Inc., a Delaware corporation (“Assignor”), and
Nuseed Nutritional US Inc., a Delaware corporation (“Assignee”). Assignor and Assignee may be
referred to herein individually as a “Party” and, collectively, as the “Parties.” This Agreement is
being delivered in connection with the Closing under the Amended and Restated Asset Purchase
Agreement dated as of December 3, 2024 (the “Purchase Agreement”), by and among Assignor,
Yield10 Oilseeds Inc. (“Oilseeds”), and Assignee. Capitalized terms used but not defined in this
Agreement have the meanings given such terms in the Purchase Agreement.

        WHEREAS, pursuant to the Purchase Agreement, Assignor has agreed to sell, assign,
transfer, and convey to Assignee all of Assignor’s right, title, and interest in and to the Purchased
Assets; and

        WHEREAS, the Purchased Assets include certain patents and applications for patents
owned by Assignor, as set forth on Schedule 1 attached hereto, as well as any application claiming
priority to any such patent or application (collectively, the “Acquired Patents”).

        NOW, THEREFORE, in consideration of the premises and the covenants and agreements
herein contained, and intending to be legally bound, the Parties hereby agree as follows:

                                                 I.

                             ASSIGNMENT AND ASSUMPTION

        1.1.   Acquired Patents. In accordance with and subject to the terms of the Purchase
Agreement and for the consideration set forth in the Purchase Agreement, the receipt and
sufficiency of which Assignor and Assignee hereby acknowledge, Assignor does hereby
irrevocably sell, transfer, assign, convey, and deliver to Assignee, effective as of the Closing, all
of Assignor’s right, title, and interest in, to, and under the Acquired Patents, including all of
Assignor’s rights to prosecute and maintain registrations and applications for, claim priority to,
and sue and recover for past, present, and future infringements of, or other conflicts with, the
Acquired Patents, free and clear of all Encumbrances other than Permitted Encumbrances, as
contemplated by Section 1.01 of the Purchase Agreement.

       1.2.  Assumption. In accordance with and subject to the provisions of the Purchase
Agreement and this Agreement, Assignee hereby accepts the sale, assignment, transfer,
conveyance, and delivery of Assignor’s right, title, and interest in, to, and under the Acquired
Patents.

        1.3.    Recordation. The Parties agree to reasonably cooperate with each other with respect
to preparing instruments to record Assignee as the owner of the Acquired Patents in the United
States Patent and Trademark Office and any applicable non-U.S. Governmental Body or registrar,
in each case in form and substance reasonably acceptable to the Parties and in accordance with the
applicable Laws of the jurisdiction to which such instrument pertains.
            Case 24-12752-MFW            Doc 7-2      Filed 12/06/24      Page 187 of 190




         1.4.     Excluded Assets. Assignor does not, and in no event shall Assignor be deemed to,
sell, transfer, assign, convey, or deliver, and Assignor does hereby retain, all right, title, and interest
in, to, and under the Excluded Assets, as contemplated by Section 1.02 of the Purchase Agreement.

                                                    II.

                                         MISCELLANEOUS

       2.1.    Purchase Agreement. This Agreement is expressly made subject to the terms of the
Purchase Agreement. The delivery of this Agreement shall not amend, affect, enlarge, diminish,
supersede, modify, replace, rescind, waive, or otherwise impair any of the representations,
warranties, covenants, terms, or provisions of the Purchase Agreement or any of the rights,
remedies, or obligations of Assignor or Assignee provided for therein or arising therefrom in any
way. In the event of any conflict or inconsistency between the terms of the Purchase Agreement
and the terms of this Agreement, the terms of the Purchase Agreement shall control.

        2.2.   Incorporation By Reference. The terms set forth in Article IX of the Purchase
Agreement are incorporated by reference herein, except that, as applicable, any and all references
to “this Agreement” shall mean and refer to this Agreement.

                                       [Signature Pages Follow]




                                                    2
         Case 24-12752-MFW       Doc 7-2    Filed 12/06/24   Page 188 of 190




      IN WITNESS WHEREOF, Assignor and Assignee have executed this Patent Assignment
Agreement to be effective as of the Closing.

                                           ASSIGNOR:


                                           YIELD10 BIOSCIENCE, INC.


                                           By:
                                           Name:
                                           Title:




                    [Signature Page to Patent Assignment Agreement]
Case 24-12752-MFW    Doc 7-2    Filed 12/06/24   Page 189 of 190




                            ASSIGNEE:

                            NUSEED NUTRITIONAL US INC.


                            By: ____________________________
                            Name:
                            Title:




        [Signature Page to Patent Assignment Agreement]
                     Case 24-12752-MFW    Doc 7-2   Filed 12/06/24   Page 190 of 190




                                            SCHEDULE 1

                                         ACQUIRED PATENTS



TITLE   JURISDICTION FILING DATE   SERIAL NO.       STATUS     PATENT NO. ISSUED DATE   OWNER / APPLICANT
